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 Eric J. Olson (SBN 37630)
 EJOlsonLaw
 301 East Colorado Boulevard, Suite 520
 Pasadena, California 91101
 T: (818) 245-2246
 C: (626) 224-5619
 E: Eric@EJOlsonLaw.com

 Attorney for Debtor and Defendant
 Leslie Klein

                           UNITED STATES BANKRUPTCY COURT

                           CENTRAL DISTRICT OF CALIFORNIA

                                LOS ANGELES DIVISION

 In re                                       Case No.: 2:23-bk-10990-SK

 LESLIE KLEIN,                               Chapter 11

              Debtor.                        Adv. No.: 2:23-ap-01169-SK


                                             MOTION FOR RELIEF FROM
 DAVID BERGER,                               JUDGMENT INCLUDING
                                             RECONSIDERATION (FRBP 9024)
              Plaintiff,                     AND/OR NEW TRIAL (FRBP 9023)
                                             RELATIVE TO AMENDED JUDGMENT
         V.                                  FOR NONDISCHARGEABILITY OF
                                             DEBT PURSUANT TO 11 USC §
 LESLIE KLEIN,                               523(A)(2)(A), 11 USC§ 523(A)(4), & 11
                                             use § 523(A)(6) IN THE AMOUNT OF
              Defendant.                     $7,401,369.86 (DOC 66); POINTS AND
                                             AUTHORITIES; DECLARATION AND
                                             EXHIBITS

                                             Date:      April 10, 2024
                                             Time:      9:00 AM
                                             Courtroom: 1575
                                             Place:     255 E. Temple St.
                                                        Los Angeles, CA 90012




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 9    of the Safety Vision. LLC v. Enter. Funding Corp .• and should have considered the Declaration as
10
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11
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 7
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 1                                                                  EXHIBITS
 2    Exhibit I A . .. . .. . .. . . . . .. . . . . .. .. . . . . .. . ... . .. . Plaintiff Mermelstein's Complaint for Nondischargeability of Debt
 3    Exhibit I B ......... ... ...... ... ...... ... ... .... Plaintiff Berger's Complaint for Nondischargeability of Debt
 4    Exhibit II A ... .. . .. . ... .. . .. . ... .. . ... . .. .. . .. .. Plaintiff Mermelstein's Motion for Default Judgment on Amended
 5                                                          Claims
 6    Exhibit II B .. . .. . .. . . .. .. . .. . .. . .. . ... . . . .. . .. .. Plaintiff Berger's Motion for Default Judgment on Amended
 7                                                          Claims
 8    Exhibit Ill A ..................................... Defendant Klein's Answer to Plaintiff Mermelstein's Complaint to
 9
                                                            Deny Discharge of Debt and Denial of Discharge
10    Exhibit Ill B ..................................... Defendant Klein's Answer to Plaintiff Berger's Complaint to Deny
11                                                          Discharge of Debt and Denial of Discharge
12
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13                                                          Plaintiff Mermelstein's Motion for Default
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15                                                          Plaintiff Berger's Motion for Default
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17
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19
                                                            Response to Motion for Default
20

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                                        MOTION
 2
         Debtor and Defendant Leslie Klein seeks in this motion Relief from
 3

 4
      Judgment including Reconsideration (FRBP 9024) and/or New Trial

 5    (FRBP 9023) relative to Judgment for Nondischargeability of Debt
 6
      Pursuant to 11 USC § 523(A)(2)(A), 11 USC § 523(A)(4 ), & 11 USC
 7

 8    §523(A)(6) in the Amount of $7,401,369.86 (Doc 66) on the following
 9
      bases:

11
         1. The Court should have permitted Defendant Klein in pro se to have

12          substituted in Attorney Olson as his attorney for the hearings
13
            February 14, 2024.
14

15       2. The Court should have permitted either or both Defendant Klein or
16
            Attorney Olson to present to the Court or otherwise identify to the
17

18
            Court the case of Safety Visions, LLC v. Enter. Funding Company

19          2022 U.S. Dist. LEXIS 240538 in support of their contention that the
20
            actions of Plaintiff by filing amended claim(s) and moving for default
21

22          judgments based thereon had opened the default whereupon
23
            Defendant Klein filed Answers which, by definition, meant there was
24

25
            no default upon which to base a Default Judgment.

26

27

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         3. Insofar as the Declaration of Eric J. Olson was contended to be and
 2
            may have been deemed by the Court to be late, there was no notice
 3

 4          pursuant to LBR 9013(c)(2) of the 14-day requirement.
 5
         4. The Answers (filed amply more than 14 days before the February
 6

 7
            14, 2024, hearing) which called out that defaults had been opened

 8          by the filing by Plaintiffs of amended claims and moving for
 9
            judgment based thereon went unchallenged by Plaintiffs or even

11          inquired about by the Plaintiffs.
12
         5. Plaintiffs by their own conduct filing of amended claims and moving
13

14
            for default judgment based thereon caused any default to be

15          opened (so there was no need to be set aside by motion) and the
16
            Answers on file precluded any default on which to base a default
17

18          judgment.
19
         6. No default judgment should be entered (whether or not there were
20

21
            deemed to be a default) under the tests of the 9th Circuit case of

22          Eitel v. McCool, including because of the substantial amounts
23
            involved (which implicate the other creditors and the estate as well
24

25          as the Debtor), the strong policy that cases be determined on the
26
            merits, and that Plaintiffs cannot be said to be prejudiced in that
27

28




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            they face only the burden that any Plaintiff would have in filing a
 2
            complaint.
 3

 4       7. The fact of Plaintiffs' actions opening the defaults should be
 5
            dispositive to eliminate any default, but if for any reason there were
 6

 7
            deemed to be a default, that Defendant be given a reasonable time

 8          to file a motion to set aside such default.
 9
         8. This motion is timely as within 14 days of the relevant judgment.
10

11       The Motion will be presented on this Motion and the moving papers
12
      presented herewith, the transcript of the hearings on February 14, 2024
13

14
      (not yet received by Defendant, the files, and records of the Court, and

15    such other and further matters as may be presented at the hearing.
16

17

18    Dated: March 1, 2024
19

20
                                              Eric J. Olson
21
                                              Attorney for Defendant
22                                            Leslie Klein
23

24

25

26

27

28




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                             POINTS AND AUTHORITIES
 2
                                        FACTS
 3

 4          Plaintiffs Mermelstein filed a Complaint for Nondischargeability of
 5
      Debt Pursuant to 11 USC §523(a)(2)(A), 11 USC §523(a)(4), & 11 USC
 6

 7
      §523(a)(6); & for Denial of Discharge Pursuant to 11 USC §727(a)(2)(A);

 8    11 USC §727(a)(2)(B); 11 USC §727(a)(3); 11 USC §727(a)(4 ); 11 USC
 9
      §727(a)(5) seeking damages of $13,480,949 on May 12, 2023 (See
10

11    Exhibit I A). Plaintiff Berger filed a Complaint for Nondischargeability of
12
      Debt Pursuant to 11 USC §523(a)(2)(A), 11 USC §523(a)(4), & 11 USC
13

14
      §523(a)(6); & for Denial of Discharge Pursuant to 11 USC §727(a)(2)(A);

15    11 USC §727(a)(2)(B); 11 USC §727(a)(3); 11 USC §727(a)(4); 11 USC
16
      §727(a)(5) seeking damages of $7,143,835.62 on June 9, 2023 (See
17

18    Exhibit I B).
19
            Default thereon was entered on November 28, 2023 in both cases.
20

21
            Plaintiff Berger filed an amended claim on December 19, 2023 in

22    the amount of $12,511,547.00 and on December 19, 2023 filed a motion
23
      for Default Judgment (See Exhibit II B). Defendant Klein filed an Answer
24

2s    to Complaint to Deny Discharge of Debt and Denial of Discharge on
26
      January 2, 2024 which stated in part, "Plaintiff caused a request for entry
27

28
      default to be filed November 28, 2023 and Default was entered thereon



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 1    November 29, 2023. Plaintiff filed Proof of Claim dated December 19,
 2
      2023 thereby opening the defaulf'. (See Exhibit Ill B)
 3

 4          Plaintiffs Mermelstein filed 7 amended claims on January 10, 2024,
 5
      totaling in the amount of $21,737,740.70 and on January 10, 2024 filed a
 6

 7
      motion for Default Judgment (See Exhibit II A). Defendant Klein filed an

 8    Answer to Complaint to Deny Discharge of Debt and Denial of Discharge
 9
      on January 12, 2024 which stated in part, "Plaintiff caused a request for
10

11    entry default to be filed November 28, 2023 and Default was entered
12
      thereon November 28, 2023. Plaintiff filed 6 [sic] amended Proof of Claim
13

14
      dated January 10, 2024 thereby opening default'. (See Exhibit Ill A)

15          Defendant Klein filed in each case a Declaration of Eric J. Olson in
16
      Response to Plaintiff's Motion for Default on February 5, 2024 (See
17

18    Exhibit IV A and Exhibit IV B) To the best of Defendant's knowledge
19
      and belief he did not receive a 14 day notice pursuant to LBR 9013(c)(2)
20

21
      and no such notice appears on the docket.

22          Late in the day before the hearing, on February 13, 2024, the Court
23
      ordered the personal appearance of Defendant Leslie Klein and Eric
24

2s    Olson. They both appeared at the hearing February 14, 2024.
26
            At the outset of the hearing on February 14, 2024, Mr. Olson and
27

28
      Defendant Klein stated to the Court that they desired that Mr. Klein, who



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 1    had been appearing in pro se substitute Mr. Olson as his attorney of
 2
      record for the purposes of the arguments. They stated that one of the
 3

 4    purposes of the substitution was that Mr. Olson would present to the
 5
      Court a copy of an opinion in the case supporting the proposition that the
 6

 7
      filing of an amended pleading "opened" any default thus permitting the

 8    Defendant an opportunity to file an answer which he did. The Court
 9
      denied permission to make such a substitution or for him or Defendant
10

11    Klein to present a copy of the case or otherwise identify it for the record
12
      and Defendant is informed and believes that it was not considered in
13

14
      awarding Plaintiff's judgment.

15                                     ARGUMENT
16
       The Court should have permitted the substitution of Mr. Olson and
17

18       the presentation to the Court of the Safety Vision, LLC v. Enter.
19
          Funding Corp., and should have considered the Declaration as
20

21
                                       timely filed.

22          Defendant should have been permitted to substitute Mr. Olson, a
23
      member of the Bar of this Court, and previous attorney of record, to
24

25    appear on his behalf at the hearing. A party is permitted to appear in pro
26
      se or by counsel as provided in 28 USC §1654. Appearance personally or
27

28
      by counsel in all courts of the United States the parties may plead and



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 1    conduct their own cases personally or by counsel as, by the rules of such
 2
      courts, respectively, are permitted to manage and conduct causes
 3

 4    therein. No cause was given for not permitting Mr. Olson to substitute in.
 5
      A formal substitution is being submitted herewith.
 6

 7
            This was not a harmless error because Mr. Olson was proposing to

 8    give the Court a copy of the case of Safety Vision, LLC v. Enter. Funding
 9
      Corp. 2022 U.S. Dist. LEXIS 240385, supporting the point referred to both
IO

11    in the Answers and his declaration filed February 5 2024, that the default
                                                           1



12
      had been opened. He further offered it to Mr. Klein in pro se but the Court
13

14
      did not allow Mr. Klein to present it.

15          Insofar as Plaintiffs did not serve a notice pursuant to LBR
16
      9013(c)(2) giving 14 days' notice and the Court acted on the contention of
17

18    lateness the matter should be reconsidered on the assumption that
19
      declaration is timely, the Court should consider Defendant's contention,
20

21
      and should set aside the Judgment.

22     The Rule exemplified by Safety Vision, of "opening a default" is well
23
                   established and recognized in Federal Courts.
24

25          The case that Messrs. Olson and Klein sought to give to the Court
26
      at the hearing, but the Court declined, is Safety Vision, LLC v. Enter.
27

28
      Funding Corp. 2022 U.S. Dist. LEXIS 240385, Lexis states with respect to



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 1 such case, "In federal practice, when a default has been entered and the
 2
      plaintiff amends the complaint, the amendment can open the default if it
 3

 4 involves a matter of substance rather than a matter of form. For instance,
 5
      adding an additional cause of action or an additional defendant is
 6

 1
      considered a matter of substance. In such cases, the default entered

 8    against the defendant must be re-opened and the newly added defendant
 9
      must be given an opportunity to respond Safety Vision, LLC v. Enter.
10

11    Funding Corp., 2022 U.S. Dist. LEXIS 240385. However, if the plaintiff is
12
      not prejudiced by the defendant's failure to timely respond, the drastic
13

14
      sanction of default judgment may not be warranted. Furthermore, a

15    plaintiff is not entitled to a default judgment for the defendant's failure to
16
      file a timely answer to the plaintiff's second amended complaint, where
17
18    the complaint re-alleges all claims of the first amended complaint and
19
      adds claims under federal statute and common law as alternative grounds
20
21    for relief uses Fed Rules Civ Proc R 55, Default; Default Judgment.

22    Therefore, whether an amended complaint opens the default depends on
23
      the nature of the amendment and the specific circumstances of the case
24

25    Safety Vision, LLC v. Enter. Funding Corp., 2022 U.S. Dist. LEXIS
26
      240385, uses Fed Rules Civ Proc R 55, Default; Default Judgment."
27

28




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               Safety Vision is not just a "one off'' case or the subject of an arcane
 2
      point.
 3

 4             Among California Federal cases to which the rule is applied are:
 5
      Schneider v. Bank of Am. N.A. 2015 U.S. Dist. LEXIS 24294 which states
 6

 7
      "However, it was explained to plaintiff that by adding new claims and new

 8    a/legations against Home Retention Group to the second amended
 9
      complaint, that party's default is opened and the plaintiff was required to
10

11    serve that defendant with a copy of the second amended complaint. See
12
      The Rutter Group, Cal. Prac. Guide Fed. Civ. Pro. Before Trial, § 8:1437
13

14
      (''An amended complaint need not be served on defendants whose

15    default has been entered for failure to respond to the original
16
      complaint ... unless the amendment asserts new or additional claims for
17

1s    relief against those defendants . ... If new or additional claims for relief
19
      are sought against the party in default, the amendment 'opens' the default
20

21
      and new service is required under Rule 4." (emphasis added) (citing Fed.

22    R. Civ. P. 5(a)(2); Blair v. City of Worcester, 522 F.3d 105, 109 (1st Cir.
23
      2008); D'Angelo v. Potter, 221 F.R.D. 289, 293 (D. Mass. 2004)) . ... The
24

25    proof of service filed with plaintiff's second amended complaint indicates
26
      that Home Retention Group was not served a copy of the second
27

28
      amended complaint. ECF No. 91 at 48-49."



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            MKay, Inc. v. City of Huntington Park 2017 U.S. Dist. LEXIS 225830
 2
      which states: "While the Federal Rules of Civil Procedure do not
 3

 4    specifically address the effect of amending a pleading on an entry of
 5
      default, Rule 5 provides that "[n]o service is required on a party who is in
 6

 7
      default for failing to appear. But a pleading that asserts a new claim for

 8    relief against such a party must be served on that party under Rule 4."
 9
      Fed. R. Civ. P. 5(a)(2). This Rule "ensures that a party, having been

11    served, is able to make an informed decision not to answer a complaint
12
      without fearing additional exposure to liability for claims raised only in
13

14
      subsequent complaints that are never served." ...

15    "As an initial matter, neither the Federal Rules nor the cases cited by
16
      Plaintiffs or Defendants directly address the effect of an amended
17

18    pleading on an entry of default. JBR, Inc. v. Cafe Don Paco, Inc., cited by
19
      Plaintiffs, discusses only whether service on a defendant in default is
20

21
      required when new factual a/legations, but not new claims, are added to

22    an amended complaint. No. 12-cv-02377-JD, 2014 U.S. Dist. LEXIS
23
      142850, 2014 WL 5034292, at *1 (N.D. Cal. 2014). Ferdik, cited by
24

25    Defendants, rejects the notion that an earlier complaint can be used to fill
26
      in the names of defendants omitted in a later amended complaint. 963
27

28




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 1    F.2d at 1262. This decision was based on "the well-established doctrine
 2
      that an amended pleading supersedes the original pleading." Id.
 3

 4    "Federal Bankruptcy Courts, for example, have held that 'Ta]n amendment
 5
      of a complaint after a default has been taken which introduces a new
 6

 7
      cause of action or goes to the substance of the pleading operates to open

 8    the default." In re Johnson, 24 B.R. 751, 754 (Bankr. N.D. Ill. 1982).
 9
      California courts have also held that 'Tw]here, after the default of a

11    defendant has been entered, a complaint is amended in a matter of
12
      substance as distinguished from a matter of form, the amendment opens
13

14
      the default, and unless the amended pleading is first served on the

15    defaulting defendant, no judgment can properly be entered on the
16
      default." Ostling v. Loring, 27 Cal. App. 4th 1731, 1736, 33 Cal. Rptr. 2d
17

18    391 (3d Dist. 1994); see also Beeman v. Burling, 216 Cal. App. 3d 1586,
19
      1594-95, 265 Cal. Rptr. 719 (1st Dist. 1990)." ...
20

21
            "For the foregoing reasons, the Court DENIES Defendants MJIC,

22    Inc., C4Eversystems, Inc., Goodness 4 Life, Inc., Robert Hodge, Natural
23
      Compassionate Center, Vibha C. Patel, Michael A. Schenone, and United
24

25    Health & Care Center's Special Motion to Strike Under California Code of
26
      Civil Procedure§ 425.16. Defendants MJIC, Inc., C4Eversystems, Inc.,
27

28
      Goodness 4 Life, Inc., Robert Hodge, Natural Compassionate Center,



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 1 Vibha C. Patel, Michael A. Schenone, and United Health & Care Center
 2
      are ORDERED to file within ten (10) days of the issuance of this Order:
 3

 4    (1) a motion to set aside entry of default pursuant to Fed. R. Civ. P. 55(a);
 5
      and (2) a request for leave to file Defendants' Special Motion to Strike
 6

 7 Under California Code of Civil Procedure § 425. 16."
 8          River Wuhai, LLC v. E.O.A. Mgmt. Grp., LLC 2023 U.S. Dist. LEXIS
 9
      74935 which states: "Before seeking default judgment, a plaintiff must first
10
11    seek entry of default from the clerk of court. Fed. R. Civ. P. 55(b)(2).
12
      Once default is entered, 'TiJf new or additional claims for relief are sought
13

14    against the party in default, the amendment 'opens' the default and new

15    service is required under Rule 4." Schneider v. Bank of Am., 2015 U.S.
16
      Dist. LEXIS 24294, 2015 WL 13651208, at *2 (E.D. Cal. Feb. 26, 2015);
17

18    see also Mackey v. Wash. Mut. Bank F.A., 2019 U.S. Dist. LEXIS
19
      241020, 2019 WL 13038586 (G.D. Cal. Mar. 26, 2019) ("Further, because
20
21
      the amendment adds a new claim for violation of RESPA and Regulation

22    Z against Defendant JP Morgan, JP Morgan's default on the previous
23
      complaint no longer has any effect'1."
24

25          While Plaintiffs did not literally amend their complaints, they sought
26
      to achieve the same result (avoiding the need to seek leave to amend) by,
27

28    after the clerk entered defaults to the original complaints, Plaintiffs then



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 1    filed amended claims and sought default judgments based on the original
 2
      complaints plus substantial amounts so that in the case of the Plaintiffs
 3

 4    Mermelstein with a complaint seeking $13,480,949 moved for a default
 5
      judgment based on 7 amended claims of $21,737,740.70 (See Motion
 6

 7
      Doc 46 pages 26 and 36) Plaintiff Berger with a complaint seeking

 8    $7,143,835.62 moved for a default judgment based on amended claims of
 9
      $12,511,547.
10

11         Even if all requirements for opening default are not met, the
12
       Defendant should be given opportunity to move to set aside default.
13

14
            In the MKay and River Wuhai cases, supra, where the Court that the

15    defendant had not literally met all requirements, it gave defendant an
16
      opportunity to file a further motion to set aside default.
17

18        Even if a default exists, there is no ground for entry of default
19
                                        iudgment.
20

21
            The leading case in the Ninth Circuit on entry of a default judgment

22    is Eitel v. McCool 782 F.2d 1470 (gth Cir. 1986). Among the criteria cited in
23
      the Court are the sum of money at stake and the strong policy underlying
24

2s    the Federal Rules of Civil Procedure favoring decisions on the merits and
26
      prejudice to the Plaintiff. Eitel v. McCool 782 F.2d@1471-1472. In this case,
27

28
      not only were the amounts in the original complaints substantial, but by



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 1    filing amended claims, Plaintiff sought to increase the amounts sought in
 2
      their motions for default judgments by some $13,000,000. These would be
 3

 4    substantial   amounts under any circumstances             but in   Bankruptcy
 5
      proceedings, they impact not only the Defendant but also the other
 6

 7
      creditors involved in the proceeding whose claims would be materially

 8    impacted by a default judgment in the favor of other creditors in such
 9
      amounts. A party bringing a complaint accepts as part of their burden that
10

11    they will have to bear the burden of proving up their claims and it is not
12
      "prejudice" if Plaintiff does not enjoy the windfall of an early judgment which
13

14
      it does not need to bear the burden of trial. (See United States v. Signed

15    Personal Check 615 F.3d 1085, 1094-1095 (9 th Cir. 2010)
16
                                     CONCLUSION
17

18          For the reasons set forth, the Judgment should be vacated and the
19
      motion for default judgment denied, the default be determined to have been
20

21
      opened and hence of no effect, and the Answer of Defendant to be in effect.

22

23
      Dated: March 1, 2024
24

25

26

27                                            Attorney for Defendant
                                              Leslie Klein
28




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                          DECLARATION OF ERIC J. OLSON
 2
         Eric J. Olson states:
 3

 4       1. I am the attorney for Defendant Klein in the matters set forth herein.
 5
            All matters are of my own firsthand knowledge unless otherwise
 6

 7
            stated and I am competent to testify thereto.

 8       2. Plaintiffs Mermelstein filed a Complaint for Nondischargeability of
 9
            Debt Pursuant to 11 USC §523(a)(2)(A), 11 USC §523(a)(4), & 11
10

11          USC §523(a)(6); & for Denial of Discharge Pursuant to 11 USC
12
            §727(a)(2)(A); 11 USC §727(a)(2)(B); 11 USC §727(a)(3); 11 USC
13

14
            §727(a)(4); 11 USC §727(a)(5) seeking damages of $13,480,949 on

15          May 12, 2023 (See Exhibit I A). Plaintiff Berger filed a Complaint for
16
            Nondischargeability of Debt Pursuant to 11 USC §523(a)(2)(A), 11
17

18          USC §523(a)(4), & 11 USC §523(a)(6); & for Denial of Discharge
19
            Pursuant to 11 USC §727(a)(2)(A); 11 USC §727(a)(2)(B); 11 USC
20

21
            §727(a)(3); 11 USC §727(a)(4); 11 USC §727(a)(5) seeking damage

22          of $7,143,835.62 on June 9, 2023 (See Exhibit I B).
23
         3. Default on such complaints was entered on November 28, 2023 in
24

25          both cases.
26
         4. Plaintiff Berger filed an amended claim on December 19, 2023 in the
27

28
            amount of $12,511,547.00 and on December 19, 2023 filed a motion



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            for Default Judgment (See Exhibit II B). Defendant Klein filed an
 2
            Answer to Complaint to Deny Discharge of Debt and Denial of
 3

 4          Discharge on January 2, 2024 which stated in part, "Plaintiff caused a
 5
            request for entry default to be filed November 28, 2023 and Default
 6

 7
            was entered thereon November 29, 2023. Plaintiff filed Proof of Claim

 8          dated December 19, 2023 thereby opening the default". (See Exhibit
 9
            Ill B)

11       5. Plaintiffs Mermelstein filed 7 amended claims on January 10, 2024,
12
            totaling in the amount of $21,737,740.70 and on January 10, 2024
13

14
            filed a motion for Default Judgment (See Exhibit II A). Defendant

15          Klein filed an Answer to Complaint to Deny Discharge of Debt and
16
            Denial of Discharge on January 12, 2024 which stated in part,
17

18          "Plaintiff caused a request for entry default to be filed November 28,
19
            2023 and Default was entered thereon November 28, 2023. Plaintiff
20

21
            filed 6 (sic] amended Proof of Claim dated January 10, 2024 thereby

22          opening default". (See Exhibit Ill A)
23
         6. Defendant Klein filed in each case a Declaration of Eric J. Olson in
24

25          Response to Plaintiff's Motion for Default on February 5, 2024 (See
26
            Exhibit IV A and Exhibit IV B). To the best of my knowledge and
27

28
            belief Mr. Klein did not receive a 14 day notice pursuant to LBR



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            9013(c)(2), I have never seen any such notices and no such notice
 2
            appears on the docket.
 3

 4       7. Plaintiffs filed in their cases Replies to the Declarations of Eric J
 5
            Olson. (See Exhibit VA and Exhibit V B)
 6

 7
         8. Late in the day before the hearing, on February 13, 2024, the Court

 8          ordered the personal appearance of Defendant Leslie Klein and me.
 9
            We both appeared personally at the hearing February 14, 2024.
10

11       9. At the outset of the hearing on February 14, 2024, I and Defendant
12
            Klein stated to the Court that they desired that Mr. Klein, who had
13

14
            been appearing in pro se substitute me as his attorney of record for

15          the purposes of the arguments. We stated that one of the purposes o
16
            the substitution was that I would present to the Court a copy of an
17

18          opinion in the case supporting the proposition that the filing of an
19
            amended claims and motion for default judgment thereon "opened"
20

21
            any default thus permitting the Defendant an opportunity to file an

22          answer which he did. The Court denied permission to make such a
23
            substitution or for me or Defendant Klein to present a copy of the
24

25          case or otherwise identify it for the record and I informed and believe
26
            that it was not considered in awarding Plaintiff's judgment.
27

28




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         10.        The point that Plaintiffs' actions in filing amended claims and
 2
            seeking default judgment thereon "opens the default" is dispositive
 3

 4          and moots any questions of needing to show cause to set aside the
 5
            default. However, if deemed necessary, I believe that I could make
 6

 7
            such showing including confusion engendered by the fact that the

 8          original response date was a Saturday, the circumstances set forth in
 9
            my Declaration, and the failure of Plaintiffs to give 14-day notices as
10

11          required by the LBRs.
12
      I declare under penalty of perjury under the laws of the United States that
13

14
      the foregoing is true and correct and executed March 1, 2024 at Pasadena,

15    California.
16

17

18    Dated: March 1, 2024
19

20

21

22

23

24

25

26

27

28




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 1   Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
 2           A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
 3   Los Angeles, California 90010
     Tel: (323) 937-4501 Fax: (888) 316-6107
 4   email: baruchcohen@baruchcohenesq.com
 5   Attorney For Plaintiffs Robert & Esther Mermelstein
 6                              UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 7                                  LOS ANGELES ANA DIVISION
 8
 9    In re                                             Case No. 2:23-bk-10990-SK

10    LESLIE KLEIN,                                     Hon. Sandra Klein

11            Debtor and Debtor in Possession,          Chapter 11

12
13    ROBERT & ESTHER MERMELSTEIN,                      COMPLAINT FOR
                                                        NONDISCHARGEABILITY
14                        Plaintiffs                    OF DEBT PURSUANT TO 11 USC §
                                                        523(a)(2)(A), 11 USC§ 523(a)(4), & 11
15    vs.                                               USC § 523(a)(6); & FOR DENIAL OF
                                                        DISCHARGE PURSUANT TO 11 USC
16    LESLIE KLEIN                                      § 727(a)(2)(A); 11 USC § 727(a)(2)(B);
                                                        11 USC§ 727(a)(3); 11 USC§ 727(a)(4);
17                       Defendant                      11 USC § 727(a)(5)

18
19
              TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
20
     JUDGE, THE DEBTOR AND HIS COUNSEL, AND ALL OTHER INTERESTED
21
     PARTIES:
22
              Plaintiffs-Creditors, Robert & Esther Mermelstein ("Plaintiffs"), complain for
23
     nondischargeability of debt & for denial of discharge against Defendant-Debtor, Leslie Klein
24
     ("Defendant"), and alleges respectfully as follows:
25
                                   CORE/NON-CORE DESIGNATION
26
     1.       In accordance with Local ~ankruptcy Rule 7008-1, Plaintiffs allege that this adversary
                                           I
27                                     I
              proceeding constitutes ~1 core proceeding under 28 USC§ 157(b)(2). Plaintiffs
28
              acknowledge that the Court has the power to enter final orders and judgments in this
Case
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 1         matter. Plaintiffs also consent to the Court's entry of final orders and judgments in this
 2         matter under FRBP Rule 7008 ..
 3                            JURISDICTION, VENUE & STANDING
 4   2.    This adversary proceeding arises under In re Klein, 2:23-bk-10990-SK, a Chapter 11 case
 5         commenced in the United States Bankruptcy Court for the Central District of California
 6         ("Bankruptcy Case"). The Court has jurisdiction under 11 USC § § 523 and 727, and 28
 7         USC§§ 157 and 1334.
 8   3.    The venue is proper in this Court pursuant to 28 USC § 1409.
 9   4.    Plaintiffs have standing to bring this action because Plaintiffs are creditors in the
10         Bankruptcy Case under 11 USC§ 101(10).
11                                              PARTIES
12   5.    The following is a description of the relevant parties involved in the facts forming the
13         basis of this Complaint.
14   6.    Plaintiffs are individuals, senior citizens residing in Brooklyn, NY.
15   7.    Defendant is an individual, whose principal residence is in Los Angeles County,
16         California and who regularly conducted business from Los Angeles County, California.
17         Defendant was a certified public accountant, formerly licensed by the State of California,
18         and a former, and an attorney licensed by the State of California. 1 Defendant is the debtor
19         in the above-captioned Chapter 11 bankruptcy case.
20   Ill
21

22           On September 10, 1992, the Supreme Court of the State of California, in State Bar
23           Court Case No. 86-0-1425 8, ordered that Defendant be suspended from the practice
             of law for 18 months and further ordered that he take and pass the California
24           Professional Responsibility Examination ("CPRE"). Defendant failed the November
             1993 and January 1994 CPREs. In Case No. 86-0-14258, Defendant admitted to
25           intentional misrepresentations. On August 3, 1995, the Supreme Court of the State
             of California, in State Bar Court Case No. 92-0-11716 (consolidated with Case Nos.
26
             93-0-11825, 94-0-13951, 94-012055, and 94-015901) ordered that Defendant be
27           suspended from the practice of law for one year. In Case No. 92-0-11716, as
             consolidated, Defendant admitted to willful violations of Rules of Professional
28           Conduct concerning client trust accounts and conflicts of interest.

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 1                                     GENERAL ALLEGATIONS
2    8.     The following general allegations form the background for the Plaintiffs' claims for relief
3           against Defendant.
4    9.     Plaintiffs are family relatives of Defendant, are Orthodox Jews, and are the settlors and
 5          beneficiaries of the Mermelstein Charitable Remainder Unitrust Dated July 27, 2009, (the
6           " Mermelstein Trust").
7    10.    Defendant, on behalf of The Klein Charitable Remainder Uni trust dated 2-20-1996 (the
 8          "Klein Trust") solicited Plaintiffs to invest in at least seven (7) life insurance policies: ( 1)
 9          Garza; (2) Times Square; (3) Ganz; (4) Spitzer; (5) Kohn; (6) Friedman; & (7)
10          Zimmerman.
11                                                  GARZA
12   11.    On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
13          2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
14          Venture (the "Garza Memo"). The purpose of the Garza Memo, was to purchase a
15          $1,000,000.00 life insurance Policy ("Garza Policy"); American General on the life of
16          Emanuel Garza ("Garza"). In furtherance of the Garza Memo, Plaintiffs paid Klein
17          $100,000.00 towards the purchase of the Garza Policy. Defendant instructed Plaintiffs to
18          make said payments to Defendant's IOLTA - Attorney Client Trust Account. Per the
19          Garza Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
20          ($400,000.00 plus return of premiums paid; plus $100,000.00).
21   12.    On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
22          Agreement for Joint Venture (Garza), changing the recipient of the $500,000.00 from the
23          Mermelstein Trust to Robert & Esther Mermelstein.
24   13.    Plaintiffs are informed and believe that Defendant sold 50% to the Garza Policy, to the
25          Longevity Fund of NY and partially to the Longevity Fund of Michigan without their
26          consent.
27    14.   Plaintiffs are informed and believe that Garza apparently died in 2Q18, and on or about 7-
28

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 1         2-2018, Defendant collected the Garza Proceeds, on the Garza Policy. Defendant
 2         concealed this information from Plaintiffs, misappropriated & kept the Garza Proceeds
 3         for himself, and failed to pay Plaintiffs the $500,00.00 per the Garza Memo.
 4                                         TIMES SQUARE
 5   15.   On 7-16-2012, Defendant issued Plaintiffs a Non-Recourse Promissory Note, in the
 6         amount of $333,333.00, due and payable by 7-16-2013, by Defendant on behalf of the
 7         Times Square Media Inc., containing a "Heter !ska" document (an approved way of
 8         restructuring a loan or debt so that it becomes an investment instead of a loan, per
 9         Halacha - Jewish law).
10   16.   Plaintiffs are informed and believe that Defendant had no intention of paying the Times
11         Square Non-Recourse Promissory Note, as Plaintiffs made no payments whatseoever.
12                                               GANZ

13   17.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
14         2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
15         Venture with plaintiffs (the "Ganz Memo"). The purpose of the Ganz Memo, was to
16         purchase a $1,000,000.00 life insurance Policy ("Ganz Policy"); American General on
17         the life of Emanuel Ganz ("Ganz"). In furtherance of the Ganz Memo, Plaintiffs paid
18         Klein $100,000.00 towards the purchase of the Ganz Policy. Defendant instructed
19         Plaintiffs to make said payments to Defendant's IOLTA - Attorney Client Trust Account.
20         Per the Ganz Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
21         ($400,000.00 plus return of premiums paid; plus $100,000.00).
22   18.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
23         Agreement for Joint Venture (Ganz), changing the recipient of the $500,000.00 from the
24         Mermelstein Trust to Robert & Esther Mermelstein.
25   19.   Plaintiffs are informed and believe that Defendant apparently sold 50% to the Ganz
26         Policy, to the Longevity Fund of NY and partially to the Longevity Fund of Michigan,
27         without Plaintiffs consent.
28

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 1   20.   Plaintiffs are informed and believe that Ganz apparently died in 2018, and on or about 7-
 2         2-2018, Defendant collected the Ganz Proceeds, on the Ganz Policy. Defendant
 3         concealed this information from Plaintiffs, misappropriated & kept the Ganz Proceeds for
 4         himself, and failed to pay Plaintiffs the $500,00.00 per the Ganz Memo.
 5                                             SPITZER
 6   21.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 7         2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
 8         Venture with Plaintiffs (the "Spitzer Memo"). The purpose of the Spitzer Memo, was to
 9         make premium payments of a $5,000,000.00 life insurance Policy Number: US
10         0023546L ("Spitzer Policy"); American General on the life of Malvine Spitzer
11         ("Spitzer"). In furtherance of the Spitzer Memo, Plaintiffs paid Defendant $250,000.00
12         towards the purchase of the Spitzer Policy. Defendant instructed Plaintiffs to make said
13         payments to Defendant's IOLTA- Attorney Client Trust Account. Per the Spitzer Memo,
14         Defendant promised to pay the Mermelstein Trust $2,250,000.00 ($2,000,000 plus
15         $250,000 and all premiums paid of the proceeds).
16   22.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
17         Agreement for Joint Venture (Spitzer), changing the recipient of the $2,250,000.00 from
18         the Mermelstein Trust to Robert & Esther Mermelstein.
19   23.   Plaintiffs are informed and believe that Defendant apparently sold portions of the Spitzer
20         Policy, without their consent - but Plaintiffs do not know to whom. Defendant concealed
21         this information from Plaintiffs.
22                                               KOHN
23   24.   On 3-10-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
24         2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
25         Venture with Plaintiffs (the "Kohn Memo"). The purpose of the Kohn Memo, was to
26         make premium payments of a $3,000,000.00 life insurance Policy ("Kohn Policy");
27         American General on the life of Eugene Kohn ("Kohn"). In furtherance of the Kohn
28

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 1          Memo, Plaintiffs paid Defendant $200,000.00 towards the purchase of the Kohn Policy.
2           Defendant instructed Plaintiffs to make said payments to Defendant's IOLTA - Attorney
3           Client Trust Account. Per the Kohn Memo, Defendant promised to pay the Mermelstein
4           Trust $1,200,000.00 ($200,000 and $1,000,000 and all premiums paid of the proceeds).
5    25 .   On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for
6           Joint Venture (Kohn), changing the recipient of the $1,200,000.00 from the Mermelstein
 7          Trust to Robert & Esther Mermelstein.
 8   26.    Plaintiffs are informed and believe that Defendant paid premiums of the Kohn Policy up
 9          to 2011. Thereafter, Defendant apparently sold portions or the entirety of the Kohn
10          Policy - without Plaintiffs' consent- to Life Capital Group, LLC ("LCG"), where Shlomo
                                                                               I
11          Yehuda Rechnitz ("Rechnitz") was to resume paying the Kohn Policy premiums from
12          2011 onwards. Defendant concealed this information from Plaintiffs.
13   27.    According to information recently received by Plaintiffs an unsigned Amended and
14          Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
15          and Rechnitz agreed that upon the death of Kohn, Defendant and Rechnitz would be
16          reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
17          Defendant and Rechnitz would split the profits 50/50 of the Kohn Policy, and that
18          Plaintiffs would receive their $1,200,000.00.
19                                            FRIEDMAN
20   28 .   On 3-1-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
21          2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
22          Venture with Plaintiffs (the "Friedman Memo"). The purpose of the Friedman Memo,
23          was to purchase a $1,500,000.00 life insurance Policy ("Friedman Policy"); American
24          General on the life of Goldie Friedman ("Friedman"). In furtherance of the Friedman
25          Memo, Plaintiffs paid Klein $250,000.00 towards .the purchase of the Friedman Policy.
26          Defendant instructed Plaintiffs to make said payments to Defendant's IOLTA-Attomey
27          Client Trust Account. Per the Friedman Memo, Defendant promised to pay the
28

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 1          Mermelstein Trust $1,000,000.00 ($250,000.00 and $750,000.00 and all premiums paid
 2          of the proceeds).
 3    29.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 4          Agreement for Joint Venture (Friedman), changing the recipient of the $1,000,000.00
 5          from the Mermelstein Trust to Robert & Esther Mermelstein.
 6    30.   Plaintiffs are informed and believe that Defendant apparently sold portions of the
 7          Friedman Policy, to the Longevity Fund of NY and partially to the Longevity Fund of
 8          Michigan, without Plaintiffs consent.
 9    31.   Plaintiffs are informed and believe that Friedman apparently died in 2020, and Defendant
10          collected the Friedman Proceeds, on the Friedman Policy. Defendant concealed this
11          information from Plaintiffs, misappropriated & kept the Friedman Proceeds for himself,
12          and failed to pay Plaintiffs the $1,000,000.00 per the Friedman Memo.
13                                           ZIMMERMAN
14    32.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
15          2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
16          Venture with Plaintiffs (the "Zimmerman Memo"). The purpose of the Zimmerman
17          Memo, was to purchase a $9,000,000.00 life insurance Policy ("Zimmerman Policy");
18          American General Policy# US 0023738L on the life of Rozy Pearl Zimmerman
19          ("Zimmerman"). In furtherance of the Zimmerman Memo, Plaintiffs paid Defendant
20          $150,000.00 towards the purchase of the Zimmerman Policy. Defendant instructed
21          Plaintiffs to make said payments to Defendant's IOLTA - Attorney Client Trust Account.
22          Per the Zimmerman Memo, Defendant promised to pay the Mermelstein Trust
23          $2,400,000.00 ($2,250,000.00 plus $150,000.00).
24    33.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
25          Agreement for Joint Venture (Zimmerman), changing the recipient of the $2,400,000.00
26          from the Mermelstein Trust to Robert & Esther Mermelstein.
 27   34.   Plaintiffs are informed and believe that Defendant paid premiums of the Zimmerman
 28

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 1         Policy up to 2011. Thereafter, Defendant apparently sold portions or the entirety of the
 2         Zimmerman Policy to Life Capital Group, LLC ("LCG") - without Plaintiffs' consent - ,
 3         where Shlomo Yehuda Rechnitz ("Rechnitz") was to resume paying the Zimmerman
 4         Policy premiums from 2011 onwards. Defendant concealed this information from
                l
 5         Plaintiffs.
 6   35.   Defendant, as Trustee of the Rozy Pearl Zimmerman Irrevocable Life Insurance Trust
 7         (the "Zimmerman Trust") issued three Non-Recourse Promissory Notes (the
 8         "Zimmerman Notes") to Plaintiffs secured by the Zimmerman Policy in the amount of
 9         $2,357,679.50:
10         a.       Non-Recourse Promissory Notes# 1, principal sum of $1,412,679.53, dated June
11                  15, 2011 - due June 15, 2020 (the "$1,412,679.53 Zimmerman Note");
12         b.       Non-Recourse Promissory Notes # 2, principal sum of $570,000.00, dated
13                  December 7, 2009 - due December 7, 2019 (the:,"$570,000.00 Zimmerman
14                  Note");
15         c.       Non-Recourse Promissory Notes# 2, principal sum of $375,000.00, dated
16                  January 14, 2010 - due January 14, 2020 (the "$375,000.00 Zimmerman Note").
17         d.       Interest on the three Non-Recourse Zimmerman Notes until 4-30-2023 comes to
18                  $2,939,936.84. Therefore the total amount of the claim is: $7,697,616.34
19                  ($2,400,000.00 (Zimmerman Policy)+ $2,357,679.50 (3 Zimmerman Notes)+
20                  2,939,936.84 (interest)= $7,697,616.34.
21   36.   According to information recently received by Plaintiffs, an unsigned Amended and
22         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
23         and Recbnitz agreed that upon the death of Zimmerman, Defendant and Rechnitz would
24         be reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
25         Defendant and Rechnitz would split the profits 50/50 of the Zimmerman Policy, and that
26         Plaintiffs would receive their $2,400,000.00. Defendant concealed this information from
27         Plaintiffs.
28

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 1    PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT'S IOLTA ACCOUNT
 2   37.   During this entire time, Defendant repeatedly assured Plaintiffs that their investments in
 3         the 7 policies were secure ·and accruing interest. Defendant mailed Plaintiffs periodic
 4         monthly checks of $5,000.00 issued from Defendant's IOLTA - Attorney Client Trust
 5         Account.
 6                     PLAINTIFFS' DISCOVERY OF DEFENDANT'S FRAUD
 7   38.   On or about 1-21-2021, Plaintiffs discovered the above-referenced frauds and
 8         concealment.
 9   39.   On or about 6-22-2022, Defendant wrote Plaintiffs assuring them that their investments
10         were "secure" when in reality, Defendant sold them off to third parties without Plaintiffs'
11         consent:
12         I received you e mail and I disagree. I paid in on the Zmerman policy over
           $1,000,000. The interest for the last 10 years is over $2,300,000 . I also own
13         25%of the profits. You are well secured. You can call me if you have any
           questions. [Emphasis Added]
14
     40.   On or about 7-18-2022, Defendant wrote Plaintiffs admitting that he used Plaintiffs'
15
           monies from the Friedman Garza and Gans to pay for his legal fees in his lawsuit with
16
           Rechnitz.
17
           I got your email. I want to make it very clear we are family and I don't want to
18         fight. I think I can make a deal with Rechnitz because I have the best lawyers in
           LA. If not we will go to court. I have big leverage on Rechnitz due to the Menlo
19         case. I am not assigning the Zimmerman case to you. I am using the money from
           the Friedman Garza and Gans cases for attorney fees in the Rechnitz case. On
20         Zimmerman Rechnitz and I paid $4,000,000 in premiums but it is return of
           premium. We also gave Mrs Zimmerman $200,000. I am sure they will sue to get
21         more. It is a big policy and all big policies have big fights. [Emphasis Added]
22                               PLAINTIFFS' PROOF OF CLAIMS
23   41.   Plaintiffs timely filed seven (7) Proofs of Claim against Defendant totaling $13,480,949,
24         primarily based on Defendant misappropriating insurance policies and the proceeds, as
25         follows:
26         a.      Claim # 19-1 (Garza) $500,000.00;
27         b.      Claim# 20-1 (Times Square) $333,333.00;
28

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 1          c.     Claim# 21-1 (Ganz) $500,000.00;
2           d.     Claim # 22-1 (Spitzer) $2,250,000.00;
3           e.     Claim# 23-1 (Kohn) $1,200,000.00;
4           f.     Claim# 24-1 (Friedman) $1,000,000.00; &
 5          g.     Claim# 25-2 (Zimmerman) $7,697,616.34.
 6                  TOTAL:          $13,480.949
 7                                    FIRST CLAIM FOR RELIEF
                            (Nondischargeability of Debt - 11 USC§ 523(a)(2)(A))
 8
     42.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 9
            in this Complaint as though fully set forth herein.
10
     43.    At all relevant times, Defendant acted as Plaintiffs' fiduciary - investment adviser.
11
            Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
12
     44.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
13
            loyalty and candor. Defendant further owed a duty to use Plaintiffs' funds for legitimate
14
            business purposes and to refrain from using their funds and other property for his own
15
            personal non-business purposes.
16
     45 .   Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
17
            referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
18
            additional policies into Defendant's IOLTA client trust account. Defendant then stole
19
            more than $13,480,949 of Plaintiffs' money in a complicated life insurance scam,
20
            constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
21
             elder abuse.
22
     46.    Defendant's misappropriation of Plaintiffs' funds and other property was unauthorized,
23
            without their consent and fraudulent. Defendant acted with the intent to permanently
24
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
25
     47 .    As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiffs'
26
             funds and other property and Defendant's false pretenses, false representations, and
27
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
28

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 1          than $13,480,949.
2    48.    Defendant's debt to Plaintiffs is nondischargeable under 11 USC § 523(a)(2) because it
3           was incurred as a result of false pretenses, false representations, and actual fraud.
4    49.    The damages arising from Defendant's willful and malicious false pretenses, false
5           representation and actual fraud to Plaintiffs constitutes a debt against Defendant that is
6           nondischargeable pursuant to 11 USC§ 523(a)(2)(A).
7                                  SECOND CLAIM FOR RELIEF
                           (Nondischargeability of Debt -11 USC§ 523(a)(4))
 8
     50.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 9
            in this Complaint as though fully set forth herein.
10
     51.    At all relevant times, Defendant acted as Plaintiffs' fiduciary - investment adviser.
11
            Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
12
     52.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
13
            loyalty and candor. Defendant further owed a duty to use Plaintiffs' funds for legitimate
14
            business purposes and to refrain from using their funds and other property for his own
15
            personal non-business purposes.
16
     53.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
17
            referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
18
            additional policies into Defendant's IOLTA client trust account. Defendant then stole
19
            more than $13,480,949 of Plaintiffs' money in a complicated life insurance scam,
20
            constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
21
            elder abuse.
22
     54.    Defendant's misappropriation of Plaintiffs' funds and other property was unauthorized,
23
            without their consent and fraudulent. Defendant acted with the intent to permanently
24
            deprive Plaintiffs of the possession, use and benefit of their funds and other property.
25
     55 .   As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiffs'
26
            funds and other property and Defendant's false pretenses, false representations, and
27
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
28

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 1          than $13,480,949.
2    56.    The damages to Plaintiffs arising from Defendant's fraud, defalcation, embezzlement and
3           larceny while acting in a fiduciary capacity constitutes a debt against Defendant that is
4           non-dischargeable pursuant to 11 USC§ 523(a)(4).
5                                   THIRD CLAIM FOR RELIEF
                           (Nondischargeability of Debt - 11 USC § 523(a)(6))
6
     57.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
7
            in this Complaint as though fully set forth herein.
 8
     58.    At all relevant times, Defendant acted as Plaintiffs' fiduciary - investment adviser.
 9
            Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
10
     59.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
11
            loyalty and candor. Defendant further owed a duty to use Plaintiffs' funds for legitimate
12
            business purposes and to refrain from using their funds and other property for his own
13
            personal non-business purposes.
14
     60.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
15
            referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
16
            additional policies into Defendant's IOLTA client trust account. Defendant then stole
17
            more than $13,480,949 of Plaintiffs' money in a complicated life insurance scam,
18
            constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
19
            elder abuse.
20
     61.    Defendant's misappropriation of Plaintiffs' funds and other property was unauthorized,
21
            without their consent and fraudulent. Defendant acted with the intent to permanently
22
            deprive Plaintiffs of the possession, use and benefit of their funds and other property.
23
     62.    As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiffs'
24
            funds and other property and Defendant's false pretenses, false representations, and
25
            actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
26
            than $13,480,949.
27
     63 .   The damages to Plaintiffs arising from Defendant's willful and malicious injury to
28

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 1          Plaintiffs constitutes a debt against Defendant that is non-dischargeable pursuant to 11
2           USC§ 523(a)(6).
 3                                  FOURTH CAUSE OF ACTION
                        (Objection to Debtor's Discharge 11 USC§ 727(a)(2)(A))
 4
     64.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 5
            in this Complaint as though fully set forth herein.
 6
     65.    Plaintiffs are informed and believe that within one year before the Petition, Defendant
 7
            transferred, removed, and/or concealed, or permitted to be transferred, removed, and/or
 8
            concealed, Defendant's property.
 9
     66.    As of the dates of the transfers, removals, and/or concealments of Defendant's property,
10
            Defendant had one or more unsecured creditors .
11
     67.    The transfers, removals, and/or concealments of Defendant's property prevented the
12
            distribution of Defendant's property to Defendant's unsecured creditors.
13
     68.    Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant's
14
            creditors, including, without limitation, Plaintiffs, transferred, removed, and/or
15
            concealed, or permitted to be transferred, removed, and/or concealed, Defendant's
16
            property.
17
     69 .   By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
18
            concealment of Defendant's property with the intent to hinder, delay, and/or defraud at
19
            least one of Defendant's creditors, Defendant violated 11 USC § 727(a)(2)(A).
20
     70.    Defendant failed to list valuable property on his schedule of assets and failed in his
21
            statement of affairs to disclose property transfers.
22
     71.    Defendant has a reckless indifference to the truth.
23
                                      FIFTH CAUSE OF ACTION
24                      (Objection to Debtor's Discharge 11 USC § 727(a)(2)(B))
25   72.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
26          in this Complaint as though fully set forth herein.
27   73.    Plaintiffs are informed and believe that After the Petition, Defendant transferred,
28

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 1         removed, concealed, and/or permitted to be transferred, removed, and/or concealed,
2          property of the Bankruptcy estate.
3    74.   As of the dates of the transfers, removals, and/or concealments of the property of the
4          estate, Defendant had one or more unsecured creditors.
5    75.   The transfers, removals, and/or concealments of the property of the estate prevented the
6          distribution of this property to Defendant's unsecured creditors.
7    76.   Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant's
 8         creditors, transferred, removed, and/or concealed, or permitted to be transferred,
 9         removed, and/or concealed, property of the estate.
10   77.   By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
11         concealment of estate property, with the intent to hinder, delay, and/or defraud at least
12         one of Defendant's creditors, Defendant violated 11 USC§ 727(a)(2)(B).
13   78.   Defendant failed to list valuable property on his schedule of assets and failed in his
14         statement of affairs to disclose property transfers.
15   79.   Defendant has a reckless indifference to the truth.
16                                  SIXTH CAUSE OF ACTION
                        (Objection to Debtor's Discharge 11 USC § 727(a)(3)
17
     80.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
18
           in this Complaint as though fully set forth herein.
19
     81.   Plaintiffs are informed and believe that Defendant has not maintained adequate books
20
           and records from which Debtor's financial condition can be ascertained. Debtor has
21
           consistently not maintained adequate books and records. His failure to keep adequate
22
           books and records is not justified considering the circumstances articulated in this
23
           Complaint.
24
     82.   Defendant has concealed, destroyed, falsified, and/or failed to keep or preserve
25
           information from which Defendant's financial condition and/or business transactions
26
           might be ascertained.
27
     83.   Defendant has not been cooperative with the Office of the United States Trustee
28

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1          ("OUST") or with his creditors. Defendant has intentionally withheld records, books,
2          documents, and/or other papers relating to Defendant's property and/or financial affairs.
3    84.   Considering the foregoing, Defendant's discharge must be denied under 11 USC§
4          727(a)(3).
5                                SEVENTH CAUSE OF ACTION
                        (Objection to Debtor's Discharge 11 USC § 727(a)(4)
6
     85.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
7
           in this Complaint as though fully set forth herein.
8
     86.   Plaintiffs are informed and believe that Defendant has not made simple isolated errors or
 9
           omissions in his Bankruptcy filings. Defendant's filings, such as his schedules and
10
           statement of affairs, do not reflect inadvertence or incompetence; rather, they exhibit
11
           fraudulent intent.
12
     87.   Defendant has a pattern of misleading conduct.
13
     88.   Defendant has a reckless indifference to the truth.
14
     89.   Defendant has failed to list assets in his schedules.
15
     90.   Defendant has falsely testified in the 341 Meeting. 2
16

17
      2
            At the 3-13-2023 341 (a) Meeting, Defendant at circa 11: 15 testified in response to
18          omissions to be brought to the attention of the United States Trustee ("UST"), that
            there were only "three minor errors" which he thought that his attorney corrected.
19
            Defendant testified that there were "no" errors related to any assets that he owns. At
20          circa 12:52, Defendant testified that he identified all assets on his schedules.
            Defendant at circa 1: 18:30-1 :09:21 testified that in the year before the Bankruptcy,
21          he received no commissions from his third-party life insurance deals. At circa
            1:20: 18, Defendant testified that he has not ever collected money on his third-party
22          life insurance deals. At circa 1:22: 18, Defendant testified that he has never received
23          a payoff on his third-party life insurance deals. At circa 1:23 :21, Defendant testified
            that four people have died and that he has received no money. Defendant at circa
24           1:39:00 testified, in response to whether he had transactions with Shlomo Rechnitz
            in the last five or six months relating to the thirdparty life insurance policies, "nope."
25          Defendant testified that he does not remember paying the premiums for these
            policies out of his attorney client trust account at any time. Defendant at circa
26
             1:40:03 testified that he does not remember depositing his own funds into his
27           attorney-client trust account so that these insurance premiums could be paid. In
             response to the question of whether Defendant traveled out of the country anywhere
28           recently, other than Israel, Defendant at circa 2:23:00 testified, "nope." In response

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1    91.   Defendant has knowingly and fraudulently made false oaths and/or accounts in the
2          Banlauptcy Case.
3    92.   Defendant has failed to provide records which are necessary for the OUST and his
4          creditors to properly understand Defendant's financial condition and/or recent business
5          transactions.
6    93.   Considering the foregoing, Defendant's discharge must be denied under 11 USC§
7          727(a)(4).
 8                                   EIGHTH CAUSE OF ACTION
                           (Objection to Debtor's Discharge 11 USC § 727(a)(5)
 9
     94.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
10
           in this Complaint as though fully set forth herein.
11
     95.   Defendant has failed to explain satisfactorily his deficiency and/or loss of assets to meet
12
           Debtor's liabilities. No determination has yet been made of an entitlement to a discharge
13
           in this Bankruptcy Case.
14
     96.   Considering the foregoing, Defendant's discharge must be denied under 11 USC§
15
           727(a)(5).
16
                                         PRAYER FOR RELIEF
17
           WHEREFORE, Plaintiffs request judgment on the Complaint as follows :
18
     1.    On the First Claim for Relief, Plaintiffs seek an order determining that Defendant is
19
           indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant's debt is
20
           excepted from discharge pursuant to 11 USC § 523(a)(2)(A);
21
     2.    On the Second Claim for Relief, Plaintiffs seek an order determining that Defendant is
22
           indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant's debt is
23
           excepted from discharge pursuant to 11 USC§ 523(a)(4);
24
     3.    On the Third Claim for Relief, Plaintiffs seek an order determining that Defendant is
25

26
             to the question of whether Defendant has bank accounts in Israel, Defendant at circa
27           2:26:48 testified, "nope." Defendant at circa 2:59:15 testified that he has not
             transferred any assets within the last year to a third party. Defendant at circa 2:59:33
28           testified that he has not given any gifts more than $12,000.00 to his family.

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 1         indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant's debt is
 2         excepted from discharge pursuant to 11 USC§ 523(a)(6);
 3   4.    On the Fourth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 4         pursuant to 11 USC § 727(a)(2)(A);
 5   5.    On the Fifth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 6         pursuant to 11 USC § 727(a)(2)(B);
 7   6.    On the Sixth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 8         pursuant to 11 USC § 727(a)(3);
 9   7.    On the Seventh Claim for Relief, Plaintiffs seek an order denying Defendant his
10         discharge pursuant to 11 USC§ 727(a)(4);
11   8.    On the Eighth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
12         pursuant to 11 USC § 727(a)(5);
13   9.    For costs of suit incurred herein; and
14   10.   For such other and further relief as the Court may deem appropriate.
15
     DATED:       May 12, 2023                      LAW OFFICE OF BARUCH C. COHEN
16                                                  A Professional Law Corporation
17                                                  By     ISi Baruch C. Cohen
                                                    Baruch C. Cohen, Esq.
18                                                  Attorney For Creditors Robert & Esther
                                                    Mermelstein
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 B1040 (FORM 1040) (12/15)

         ADVERSARY PROCEEDING COVER SHEET                                                    ADVERSARY PROCEEDING NUMBER
                                                                                             (Court Use Only)
                 (Instructions on Reverse)

PLAINTIFFS                                                                     DEFENDANTS
 ROBERT & ESTHER MERMELSTEIN                                                     LESLIE KLEIN

ATTORNEYS (Firm Name, Address, and Telephone No.)                              ATTORNEYS (If Known)
Baruch C. Cohen, Esq. (SBN 159455)      (323) 937-4501
LAW OFFICE OF BARUCH C. COHEN, A Professional Law Corporation
4929 Wilshire Boulevard, Suite 940, Los Angeles CA 90010

PARTY (Check One Box Only)                                                     PARTY (Check One Box Only)
□ Debtor    o U.S. Trustee/Bankruptcy Admin                                    ~ Debtor             o U.S. Trustee/Bankruptcy Admin
00 Creditor □ Other                                                            o Creditor           o Other
□ Trustee                                                                      o Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

COMPLAINT FOR NONDISCHARGEABILTIY OF DEBT PURSUANT TO 11 USC§ 523(aX2XA), 11 USC§ 523(aX4), & 11 USC§ 523(aX6); & FOR
DENIALOFDISCHARGEPURSUANTTO 11 USC§ 727(aX2XA); 11 USC§ 727(aX2)(B); 11 USC§ 727(aX3); 11 USC§ 727(aX4); 11 USC§ 727(aX5)



                                                                      NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1)- Recovery of Money/Property                                   FRBP 7001(6)- Dischargeability (continued)
D I I-Recovery of money/property - §542 turnover of property                   D  61-Dischargeability- §523(a)(5), domestic support
D 12-Recovery of money/property- §547 preference                               !XI 68-Dischargeability - §523(a)(6), willful and malicious injury
D 13-Recovery of money/property - §548 fraudulent transfer                     D 63-Dischargeability - §523(a)(8), student loan
D 14-Recovery of money/property - other                                        D 64-Dischargeability - §523(a)(l 5), divorce or separation obligation
                                                                                      (other than domestic support)
    FRBP 7001(2)- Validity, Priority or Extent of Lien                          D 65-Dischargeability - other
D   21-Validity, priority or extent of lien or other interest in property
                                                                               FRBP 7001(7)- Injunctive Relief
    FRBP 7001(3)- Approval of Sale of Property                                  D 71-Injunctive relief- imposition of stay
D   3 I-Approval of sale of property of estate and of a co-owner - §363(h)      D 72-lnjunctive relief- other

    FRBP 7001(4) - Objection/Revocation of Discharge                           FRBP 7001(8) Subordination of Claim or Interest
[Zg 41-Objection / revocation of discharge - §727(c),(d),(e)                    D SJ-Subordination of claim or interest

    FRBP 7001(5)- Revocation of Confirmation                                    FRBP 7001(9) Declaratory Judgment
D 51-Revocation of confim1ation                                                 D  91-Declaratory judgment

    FRBP 7001 (6) - Dischargeability                                            FRBP 7001(10) Determination of Removed Action
D 66-Dischargeability - §523(a)(l ),(14),(14A) priority tax claims              D  OJ-Determination of removed claim or cause
IBJ 62-Dischargeability - §523(a)(2), false pretenses, false representation,
         actual fraud                                                           Other
~ 67-Dischargeability- §523(a)(4), fraud as fiduciary, embezzlement, larceny    0 SS-SIPA Case-15 U.S.C. §§78aaa et.seq.
                        (continued next column)                                 D 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)

□ Check if this case involves a substantive issue of state law                  o Check if this is asserted to be a class action under FRCP 23
o Check if a jury trial is demanded in complaint                                Demand $ 13,480,949
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

                    BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR          LESLIE KLEIN                                BANKRUPTCY CASE NO. 2 :23 _bk- l
                                                                                                               099 0-SK
DISTRICT IN WHICH CASE IS PENDING                                   DIVISION OFFICE                   NAME OF JUDGE
Central District of California                                          Los Angeles                           Klein
                                    RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                           DEFENDANT                                         ADVERSARY
                                                                                                      PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                              DNISION OFFICE                    NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                 PRINT NAME OF ATTORNEY (OR PLAINTIFF)
       5/12/2023                                                       Baruch C. Cohen, Esq.



                                                       INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court's Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Fonn 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the infonnation contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiffs attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount be~ng demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the film must sign. lfthe plaintiff is prose, that is, not represented by an
 attorney, the plaintiff must sign.
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 1   Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
 2           A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
 3   Los Angeles, California 90010
     Tel: (323) 937-4501 Fax: (888) 316-6107
 4   email: baruchcohen@baruchcohenesq.com

 5   Attorney For Plaintiffs Robert & Esther Mermelstein
 6                              UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 7                                  LOS ANGELES ANA DIVISION
 8
 9    In re                                             Case No. 2:23-bk-10990-SK

10    LESLIE KLEIN,                                     Hon. Sandra Klein

11            Debtor and Debtor in Possession,          Chapter 11

12
13    ROBERT & ESTHER MERMELSTEIN,                      COMPLAINT FOR
                                                        NONDISCHARGEABILITY
14                        Plaintiffs                    OF DEBT PURSUANT TO 11 USC §
                                                        523(a)(2)(A), 11 USC§ 523(a)(4), & 11
15    vs.                                               USC § 523(a)(6); & FOR DENIAL OF
                                                        DISCHARGE PURSUANT TO 11 USC
16    LESLIE KLEIN                                      § 727(a)(2)(A); 11 USC § 727(a)(2)(B);
                                                        11 USC § 727(a)(3); 11 USC § 727(a)(4);
17                       Defendant                      11 USC § 727(a}(5)

18
19
              TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
20
     JUDGE, THE DEBTOR AND HIS COUNSEL, Al\T)) ALL OTHER INTERESTED
21
     PARTIES:
22
              Plaintiffs-Creditors, Robert & Esther Mermelstein ("Plaintiffs"), complain for
23
     nondischargeability of debt & for denial of discharge against Defendant-Debtor, Leslie Klein
24
     ("Defendant"), and alleges respectfully as follows:
25
                                   CORE/NON-CORE DESIGNATION
26
     1.       In accordance with Local Bankruptcy Rule 7008-1, Plaintiffs allege that this adversary
27
              proceeding constitutes a core proceeding under 28 USC§ 157(b)(2). Plaintiffs
28
              acknowledge that the Court has the power to enter final orders and judgments in this
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 1         matter. Plaintiffs also consent to the Court's entry of final orders and judgments in this
2          matter under FRBP Rule 7008 ..
3                             JURISDICTION, VENUE & STANDING
4    2.    This adversary proceeding arises under In re Klein, 2:23-bk-l 0990-SK, a Chapter 11 case
5          commenced in the United States Bankruptcy Court for the Central District of California
6          ("Bankruptcy Case"). The Court has jurisdiction under 11 USC §§ 523 and 727, and 28
7          USC§§ 157 and 1334.
 8   3.    The venue is proper in this Court pursuant to 28 USC § 1409.
9    4.    Plaintiffs have standing to bring this action because Plaintiffs are creditors in the
10         Bankruptcy Case under 11 USC§ 101(10).
11                                              PARTIES
12   5.    The following is a description of the relevant parties involved in the facts forming the
13         basis of this Complaint.
14   6.    Plaintiffs are individuals, senior citizens residing in Brooklyn, NY.
15   7.    Defendant is an individual, whose principal residence is in Los Angeles County,
16         California and who regularly conducted business from Los Angeles County, California.
17         Defendant was a certified public accountant, formerly licensed by the State of California,
18         and a former, and an attorney licensed by the State of California.' Defendant is the debtor
19         in the above-captioned Chapter 11 bankruptcy case.
20   Ill
21

22           On September 10, 1992, the Supreme Court of the State of California, in State Bar
23           Court Case No. 86-0-14258, ordered that Defendant be suspended from the practice
             of law for 18 months and further ordered that he take and pass the California
24           Professional Responsibility Examination ("CPRE"). Defendant failed the November
             1993 and January 1994 CPREs. In Case No. 86-0-14258, Defendant admitted to
25           intentional misrepresentations. On August 3, 1995, the Supreme Court of the State
             of California, in State Bar Court Case No. 92-0-11716 (consolidated with Case Nos.
26
             93-0-11825, 94-0-13951, 94-012055, and 94-015901) ordered that Defendant be
27           suspended from the practice of law for one year. In Case No. 92-0-11716, as
             consolidated, Defendant admitted to willful violations of Rules of Professional
28           Conduct concerning client trust accounts and conflicts of interest.

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 1                                     GENERAL ALLEGATIONS
2    8.     The following general allegations form the background for the Plaintiffs' claims for relief
3           against Defendant.
4    9.     Plaintiffs are family relatives of Defendant, are Orthodox Jews, and are the settlors and
5           beneficiaries of the Mermelstein Charitable Remainder Unitrust Dated July 27, 2009, (the
 6          " Mermelstein Trust").
 7   10.    Defendant, on behalf of The Klein Charitable Remainder Unitrust dated 2-20-1996 (the
 8          "Klein Trust") solicited Plaintiffs to invest in at least seven (7) life insurance policies: (1)
 9          Garza; (2) Times Square; (3) Ganz; (4) Spitzer; (5) Kohn; (6) Friedman; & (7)
10          Zimmerman.
11                                                 GARZA
12   11.    On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
13          2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
14          Venture (the "Garza Memo"). The purpose of the Garza Memo, was to purchase a
15          $1,000,000.00 life insurance Policy ("Garza Policy"); American General on the life of
16          Emanuel Garza ("Garza"). In furtherance of the Garza Memo, Plaintiffs paid Klein
17          $100,000.00 towards the purchase of the Garza Policy. Defendant instructed Plaintiffs to
18          make said payments to Defendant's IOL TA - Attorney Client Trust Account. Per the
19          Garza Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
20          ($400,000.00 plus return of premiums paid; plus $100,000.00).
21   12.    On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
22          Agreement for Joint Venture (Garza), changing the recipient of the $500,000.00 from the
23          Mermelstein Trust to Robert & Esther Mermelstein.
24   13.    Plaintiffs are informed and believe that Defendant sold 50% to the Garza Policy, to the
25          Longevity Fund of NY and partially to the Longevity Fund of Michigan without their
26          consent.
27    14.   Plaintiffs are informed and believe that Garza apparently died in 2018, and on or about 7-
28

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 1         2-2018, Defendant collected the Garza Proceeds, on the Garza Policy. Defendant
2          concealed this information from Plaintiffs, misappropriated & kept the Garza Proceeds
3          for himself, and failed to pay Plaintiffs the $500,00.00 per the Garza Memo.
4                                          TIMES SQUARE

5    15.   On 7-16-2012, Defendant issued Plaintiffs a Non-Recourse Promissory Note, in the
6          amount of $333,333.00, due and payable by 7-16-2013, by Defendant on behalf of the
7          Times Square Media Inc., containing a "Heter Iska" document (an approved way of
 8         restructuring a loan or debt so that it becomes an investment instead of a loan, per
 9         Halacha - Jewish law).
10   16.   Plaintiffs are informed and believe that Defendant had no intention of paying the Times
11         Square Non-Recourse Promissory Note, as Plaintiffs made no payments whatseoever.
12                                               GANZ

13   17.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
14         2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
15         Venture with plaintiffs (the "Ganz Memo"). The purpose of the Ganz Memo, was to
16         purchase a $1,000,000.00 life insurance Policy ("Ganz Policy"); American General on
17         the life of Emanuel Ganz ("Ganz"). In furtherance of the Ganz Memo, Plaintiffs paid
18         Klein $100,000.00 towards the purchase of the Ganz Policy. Defendant instructed
19         Plaintiffs to make said payments to Defendant's IOLTA - Attorney Client Trust Account.
20         Per the Ganz Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
21         ($400,000.00 plus return of premiums paid; plus $100,000.00).
22   18.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
23         Agreement for Joint Venture (Ganz), changing the recipient of the $500,000.00 from the
24         Mermelstein Trust to Robert & Esther Mermelstein.
25   19.   Plaintiffs are informed and believe that Defendant apparently sold 50% to the Ganz
26         Policy, to the Longevity Fund of NY and partially to the Longevity Fund of Michigan,
27         without Plaintiff's consent.
28

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 1    20.    Plaintiffs are informed and believe that Ganz apparently died in 2018, and on or about 7-
 2           2-2018, Defendant collected the Ganz Proceeds, on the Ganz Policy. Defendant
 3           concealed this information from Plaintiffs, misappropriated & kept the Ganz Proceeds for
 4           himself, and failed to pay Plaintiffs the $500,00.00 per the Ganz Memo.
 5                                               SPITZER
 6    21.    On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 7           2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
 8           Venture with Plaintiffs (the "Spitzer Memo"). The purpose of the Spitzer Memo, was to
 9           make premium payments of a $5,000,000.00 life insurance Policy Number: US
10           0023546L ("Spitzer Policy"); American General on the life of Malvine Spitzer
11           ("Spitzer"). In furtherance of the Spitzer Memo, Plaintiffs paid Defendant $250,000.00
12           towards the purchase of the Spitzer Policy. Defendant instructed Plaintiffs to make said
13           payments to Defendant's IOLTA - Attorney Client Trust Account. Per the Spitzer Memo,
14           Defendant promised to pay the Mermelstein Trust $2,250,000.00 ($2,000,000 plus
15           $250,000 and all premiums paid of the proceeds).
16    22.    On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
17           Agreement for Joint Venture (Spitzer), changing the recipient of the $2,250,000.00 from
18           the Mermelstein Trust to Robert & Esther Mermelstein.
19    23 .   Plaintiffs are informed and believe that Defendant apparently sold portions of the Spitzer
20           Policy, without their consent - but Plaintiffs do not know to whom. Defendant concealed
21           this information from Plaintiffs.
22                                                 KOHN
23    24.    On 3-10-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
24           2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
25           Venture with Plaintiffs (the "Kohn Memo"). The purpose of the Kohn Memo, was to
26           make premium payments of a $3,000,000.00 life insurance Policy ("Kohn Policy");
27           American General on the life of Eugene Kohn ("Kohn"). In furtherance of the Kohn
 28

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 1         Memo, Plaintiffs paid Defendant $200,000.00 towards the purchase of the Kohn Policy.
 2         Defendant instructed Plaintiffs to make said payments to Defendant's IOLTA - Attorney
 3         Client Trust Account. Per the Kohn Memo, Defendant promised to pay the Mermelstein
 4         Trust $1,200,000.00 ($200,000 and $1,000,000 and all premiums paid of the proceeds).
 5   25.   On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for
 6         Joint Venture (Kohn), changing the recipient of the $1,200,000.00 from the Mermelstein
 7         Trust to Robert & Esther Mermelstein.
 8   26.   Plaintiffs are informed and believe that Defendant paid premiums of the Kohn Policy up
 9         to 2011. Thereafter, Defendant apparently sold portions or the entirety of the Kohn
10         Policy - without Plaintiffs' consent - to Life Capital Group, LLC ("LCG"), where Shlomo
11         Y ehuda Rechnitz ("Rechnitz") was to resume paying the Kohn Policy premiums from
12         2011 onwards. Defendant concealed this information from Plaintiffs.
13   27.   According to information recently received by Plaintiffs an unsigned Amended and
14         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
15         and Rechnitz agreed that upon the death of Kohn, Defendant and Rechnitz would be
16         reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
17         Defendant and Rechnitz would split the profits 50/50 of the Kohn Policy, and that
18         Plaintiffs would receive their $1,200,000.00.
19                                           FRIEDMAN
20   28.   On 3-1-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
21         2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
22         Venture with Plaintiffs (the "Friedman Memo"). The purpose of the Friedman Memo,
23         was to purchase a $1,500,000.00 life insurance Policy ("Friedman Policy"); American
24         General on the life of Goldie Friedman ("Friedman"). In furtherance of the Friedman
25         Memo, Plaintiffs paid Klein $250,000.00 towards the purchase of the Friedman Policy.
26         Defendant instructed Plaintiffs to make said payments to Defendant's IOLTA - Attorney
27         Client Trust Account. Per the Friedman Memo, Defendant promised to pay the
28

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 1         Mermelstein Trust $1,000,000.00 ($250,000.00 and $750,000.00 and all premiums paid
 2         of the proceeds).
 3   29.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 4         Agreement for Joint Venture (Friedman), changing the recipient of the $1,000,000.00
 5         from the Mermelstein Trust to Robert & Esther Mermelstein.
 6   30.   Plaintiffs are informed and believe that Defendant apparently sold portions of the
 7         Friedman Policy, to the Longevity Fund of NY and partially to the Longevity Fund of
 8         Michigan, without Plaintiffs consent.
 9   31.   Plaintiffs are informed and believe that Friedman apparently died in 2020, and Defendant
10         collected the Friedman Proceeds, on the Friedman Policy. Defendant concealed this
11         information from Plaintiffs, misappropriated & kept the Friedman Proceeds for himself,
12         and failed to pay Plaintiffs the $1,000,000.00 per the Friedman Memo.
13                                          ZIMMERMAN
14   32.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
15         2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
16         Venture with Plaintiffs (the "Zimmerman Memo"). The purpose of the Zimmerman
17         Memo, was to purchase a $9,000,000.00 life insurance Policy ("Zimmerman Policy");
18         American General Policy# US 0023738L on the life ofRozy Pearl Zimmerman
19         ("Zimmerman"). In furtherance of the Zimmerman Memo, Plaintiffs paid Defendant
20         $150,000.00 towards the purchase of the Zimmerman Policy. Defendant instructed
21         Plaintiffs to make said payments to Defendant's IOLTA - Attorney Client Trust Account.
22         Per the Zimmerman Memo, Defendant promised to pay the Mermelstein Trust
23         $2,400,000.00 ($2,250,000.00 plus $150,000.00).
24   33.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
25         Agreement for Joint Venture (Zimmerman), changing the recipient of the $2,400,000.00
26         from the Mermelstein Trust to Robert & Esther Mermelstein.
27   34.   Plaintiffs are informed and believe that Defendant paid premiums of the Zimmerman
28

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 I         Policy up to 2011. Thereafter, Defendant apparently sold portions or the entirety of the
2          Zimmerman Policy to Life Capital Group, LLC ("LCG") - without Plaintiffs' consent - ,
3          where Shlomo Y ehuda Rechnitz ("Rechnitz") was to resume paying the Zimmerman
4          Policy premiums from 2011 onwards. Defendant concealed this information from
5          Plaintiffs.
6    35.   Defendant, as Trustee of the Rozy Pearl Zimmerman Irrevocable Life Insurance Trust
7          (the "ZimmermanTrust") issued three Non-Recourse Promissory Notes (the
 8         "Zimmerman Notes") to Plaintiffs secured by the Zimmerman Policy in the amount of
9          $2,357,679.50:
10         a.      Non-Recourse Promissory Notes# l, principal sum of$1,412,679.53, dated June
11                 15, 2011 - due June 15, 2020 (the "$1,412,679.53 Zimmerman Note");
12         b.      Non-Recourse Promissory Notes # 2, principal sum of $570,000.00, dated
13                 December 7, 2009 - due December 7, 2019 (the: "$570,000.00 Zimmerman
14                 Note");
15         c.      Non-Recourse Promissory Notes# 2, principal sum of $375,000.00, dated
16                 January 14, 2010 - due January 14, 2020 (the "$375,000.00 Zimmerman Note").
17         d.      Interest on the three Non-Recourse Zimmerman Notes until 4-30-2023 comes to
18                 $2,939,936.84. Therefore the total amount of the claim is: $7,697,616.34
19                 ($2,400,000.00 (Zimmerman Policy)+ $2,357,679.50 (3 Zimmerman Notes) +
20                 2,939,936.84 (interest)= $7,697,616.34.
21   36.   According to information recently received by Plaintiffs, an unsigned Amended and
22         Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
23         and Rechnitz agreed that upon the death of Zimmerman, Defendant and Rechnitz would
24         be reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
25         Defendant and Rechnitz would split the profits 50/50 of the Zimmerman Policy, and that
26         Plaintiffs would receive their $2,400,000.00. Defendant concealed this information from
27         Plaintiffs.
28

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 1    PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT'S IOLTA ACCOUNT
 2   37.   During this entire time, Defendant repeatedly assured Plaintiffs that their investments in
 3         the 7 policies were secure and accruing interest. Defendant mailed Plaintiffs periodic
 4         monthly checks of $5,000.00 issued from Defendant's IOLTA - Attorney Client Trust
 5         Account.
 6                     PLAINTIFFS' DISCOVERY OF DEFENDANT'S FRAUD
 7   38.   On or about 1-21-2021 , Plaintiffs discovered the above-referenced frauds and
 8         concealment.
 9   39.   On or about 6-22-2022, Defendant wrote Plaintiffs assuring them that their investments
10         were "secure" when in reality, Defendant sold them off to third parties without Plaintiffs'
11         consent:
12         I received you e mail and I disagree. I paid in on the Zmerman policy over
           $1,000,000. The interest for the last 10 years is over $2,300,000. I also own
13         25%ofthe profits. You are well secured. You can call me if you have any
           questions. [Emphasis Added]
14
     40.   On or about 7-18-2022, Defendant wrote Plaintiffs admitting that he used Plaintiffs'
15
           monies from the Friedman Garza and Gans to pay for his legal fees in his lawsuit with
16
           Rechnitz.
17
           I got your email. I want to make it very clear we are family and I don't want to
18         fight. I think I can make a deal with Rechnitz because I have the best lawyers in
           LA. If not we will go to court. I have big leverage on Rechnitz due to the Menlo
19         case. I am not assigning the Zimmerman case to you. I am using the money from
           the Friedman Garza and Gans cases for attorney fees in the Rechnitz case. On
20         Zimmerman Rechnitz and I paid $4,000,000 in premiums but it is return of
           premium. We also gave Mrs Zimmerman $200,000. I am sure they will sue to get
21         more. It is a big policy and all big policies have big fights. [Emphasis Added]
22                                PLAINTIFFS' PROOF OF CLAIMS
23   41.   Plaintiffs timely filed seven (7) Proofs of Claim against Defendant totaling $13,480,949,
24         primarily based on Defendant misappropriating insurance policies and the proceeds, as
25         follows:
26         a.      Claim# 19-1 (Garza) $500,000.00;
27         b.         Claim# 20-1 (Times Square) $333,333.00;
28

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 1         c.     Claim# 21-1 (Ganz) $500,000.00;
2          d.     Claim# 22-1 (Spitzer) $2,250,000.00;
3          e.     Claim# 23-1 (Kohn) $1,200,000.00;
4          f.      Claim# 24-1 (Friedman) $1,000,000.00; &
 5         g.      Claim# 25-2 (Zimmerman) $7,697,616.34.
 6                 TOTAL:           $13,480.949
 7                                   FIRST CLAIM FOR RELIEF
                           (Nondischargeability of Debt - 11 USC§ 523(a)(2)(A))
 8
     42.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 9
           in this Complaint as though fully set forth herein.
10
     43.   At all relevant times, Defendant acted as Plaintiffs' fiduciary - investment adviser.
11
           Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
12
     44.   Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
13
           loyalty and candor. Defendant further owed a duty to use Plaintiffs' funds for legitimate
14
           business purposes and to refrain from using their funds and other property for his own
15
           personal non-business purposes.
16
     45.   Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
17
           referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
18
           additional policies into Defendant's IOLTA client trust account. Defendant then stole
19
           more than $13,480,949 of Plaintiffs' money in a complicated life insurance scam,
20
           constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
21
            elder abuse.
22
     46.    Defendant's misappropriation of Plaintiffs' funds and other property was unauthorized,
23
            without their consent and fraudulent. Defendant acted with the intent to permanently
24
            deprive Plaintiffs of the possession, use and benefit of their funds and other property.
25
     47.    As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiffs'
26
            funds and other property and Defendant's false pretenses, false representations, and
27
            actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
28

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1          than $13,480,949 .
2    48.   Defendant's debt to Plaintiffs is nondischargeable under 11 USC§ 523(a)(2) because it
3          was incurred as a result of false pretenses, false representations, and actual fraud.
4    49.   The damages arising from Defendant's willful and malicious false pretenses, false
5          representation and actual fraud to Plaintiffs constitutes a debt against Defendant that is
6          nondischargeable pursuant to 11 USC § 523(a)(2)(A).
7                                 SECOND CLAIM FOR RELIEF
                          (Nondischargeability of Debt-11 USC§ 523(a)(4))
8
     50.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
9
           in this Complaint as though fully set forth herein.
10
     51.   At all relevant times, Defendant acted as Plaintiffs' fiduciary - investment adviser.
11
           Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
12
     52.   Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
13
           loyalty and candor. Defendant further owed a duty to use Plaintiffs' funds for legitimate
14
           business purposes and to refrain from using their funds and other property for his own
15
           personal non-business purposes.
16
     53.   Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
17
           referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
18
           additional policies into Defendant's IOLTA client trust account. Defendant then stole
19
           more than $13,480,949 of Plaintiffs' money in a complicated life insurance scam,
20
           constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
21
           elder abuse.
22
     54.   Defendant's misappropriation of Plaintiffs' funds and other property was unauthorized,
23
           without their consent and fraudulent. Defendant acted with the intent to permanently
24
           deprive Plaintiffs of the possession, use and benefit of their funds and other property.
25
     55.   As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiffs'
26
            funds and other property and Defendant's false pretenses, false representations, and
27
            actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
28

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 1           than $13,480,949.
 2    56.    The damages to Plaintiffs arising from Defendant's fraud, defalcation, embezzlement and
 3           larceny while acting in a fiduciary capacity constitutes a debt against Defendant that is
 4           non-dischargeable pursuant to 11 USC§ 523(a)(4).
 5                                   THIRD CLAIM FOR RELIEF
                            (Nondischargeability of Debt -11 USC§ 523(a)(6))
 6
      57 .   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 7
             in this Complaint as though fully set forth herein.
 8
      58.    At all relevant times, Defendant acted as Plaintiffs' fiduciary - investment adviser.
 9
             Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
10
      59.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
11
             loyalty and candor. Defendant further owed a duty to use Plaintiffs' funds for legitimate
12
             business purposes and to refrain from using their funds and other property for his own
13
             personal non-business purposes.
14
      60.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
15
             referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
16
             additional policies into Defendant's IOLTA client trust account. Defendant then stole
17
             more than $13,480,949 of Plaintiffs' money in a complicated life insurance scam,
18
             constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
19
             elder abuse.
20
      61.    Defendant's misappropriation of Plaintiffs' funds and other property was unauthorized,
21
             without their consent and fraudulent. Defendant acted with the intent to permanently
22
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
23
      62.    As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiffs'
24
             funds and other property and Defendant's false pretenses, false representations, and
25
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
26
             than $13,480,949.
 27
      63.    The damages to Plaintiffs arising from Defendant's willful and malicious injury to
 28

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Case
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 1         Plaintiffs constitutes a debt against Defendant that is non-dischargeable pursuant to 11
 2         USC§ 523(a)(6).
 3                                 FOURTH CAUSE OF ACTION
                       (Objection to Debtor's Discharge 11 USC§ 727(a)(2)(A))
 4
     64.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 5
           in this Complaint as though fully set forth herein.
 6
     65.   Plaintiffs are informed and believe that within one year before the Petition, Defendant
 7
           transferred, removed, and/or concealed, or permitted to be transferred, removed, and/or
 8
           concealed, Defendant's property.
 9
     66.   As of the dates of the transfers, removals, and/or concealments of Defendant's property,
10
           Defendant had one or more unsecured creditors.
11                                !



     67.   The transfers, removals, and/or concealments of Defendant's property prevented the
12
           distribution of Defendant's property to Defendant's unsecured creditors.
13
     68.   Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant's
14
           creditors, including, without limitation, Plaintiffs, transferred, removed, and/or
15
           concealed, or permitted to be transferred, removed, and/or concealed, Defendant's
16
           property.
17
     69.   By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
18
           concealment of Defendant's property with the intent to hinder, delay, and/or defraud at
19
           least one of Defendant's creditors, Defendant violated 11 USC § 727(a)(2)(A).
20
     70.   Defendant failed to list valuable property on his schedule of assets and failed in his
21
           statement of affairs to disclose property transfers.
22
     71.   Defendant has a reckless indifference to the truth.
23
                                     FIFTH CAUSE OF ACTION
24                     (Objection to Debtor's Discharge 11 USC § 727(a)(2)(B))
25   72.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
26         in this Complaint as though fully set forth herein.
27   73.   Plaintiffs are informed and believe that After the Petition, Defendant transferred,
28

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 1         removed, concealed, and/or permitted to be transferred, removed, and/or concealed,
2          property of the Bankruptcy estate.
3    74.   As of the dates of the transfers, removals, and/or concealments of the property of the
4          estate, Defendant had one or more unsecured creditors.
5    75.   The transfers, removals, and/or concealments of the property of the estate prevented the
6          distribution of this property to Defendant's unsecured creditors.
7    76.   Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant's
 8         creditors, transferred, removed, and/or concealed, or permitted to be transferred,
 9         removed, and/or concealed, property of the estate.
10   77.   By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
11         concealment of estate property, with the intent to hinder, delay, and/or defraud at least
12         one of Defendant's creditors, Defendant violated 11 USC§ 727(a)(2)(B).
13   78.   Defendant failed to list valuable property on his schedule of assets and failed in his
14         statement of affairs to disclose property transfers.
15   79.   Defendant has a reckless indifference to the truth.
16                                  SIXTH CAUSE OF ACTION
                        (Objection to Debtor's Discharge 11 USC§ 727(a)(3)
17
     80.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
18
           in this Complaint as though fully set forth herein.
19
     81.   Plaintiffs are informed and believe that Defendant has not maintained adequate books
20
           and records from which Debtor's financial condition can be ascertained. Debtor has
21
           consistently not maintained adequate books and records. His failure to keep adequate
22
           books and records is not justified considering the circumstances articulated in this
23
           Complaint.
24
     82.   Defendant has concealed, destroyed, falsified, and/or failed to keep or preserve
25
           information from which Defendant's financial condition and/or business transactions
26
           might be ascertained.
27
     83.   Defendant has not been cooperative with the Office of the United States Trustee
28

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 1         ("OUST") or with his creditors. Defendant has intentionally withheld records, books,
 2         documents, and/or other papers relating to Defendant's property and/or financial affairs.
 3   84.   Considering the foregoing, Defendant's discharge must be denied under 11 USC§
 4         727(a)(3).
 5                                SEVENTH CAUSE OF ACTION
                        (Objection to Debtor's Discharge 11 USC§ 727(a)(4)
 6
     85.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 7
           in this Complaint as though fully set forth herein.
 8
     86.   Plaintiffs are informed and believe that Defendant has not made simple isolated errors or
 9
           omissions in his Bankruptcy filings. Defendant's filings, such as his schedules and
10
           statement of affairs, do riot reflect inadvertence or incompetence; rather, they exhibit
11
           fraudulent intent.
12
     87.   Defendant has a pattern of misleading conduct.
13
     88.   Defendant has a reckless indifference to the truth.
14
     89.   Defendant has failed to list assets in his schedules.
15
     90.   Defendant has falsely testified in the 341 Meeting. 2
16

17
      2
            At the 3-13-2023 341 (a) Meeting, Defendant at circa 11: 15 testified in response to
18          omissions to be brought to the attention of the United States Trustee ("UST"), that
            there were only "three minor errors" which he thought that his attorney corrected.
19
            Defendant testified that there were "no" errors related to any assets that he owns. At
20          circa 12:52, Defendant testified that he identified all assets on his sc~edules.
            Defendant at circa 1: 18:30-1 :09:21 testified that in the year before the Bankruptcy,
21          he received no commissions from his third-party life insurance deals. At circa
            1:20: 18, Defendant testified that he has not ever collected money on his third-party
22          life insurance deals. At circa 1:22: 18, Defendant testified that he has never received
23          a payoff on his third-party life insurance deals. At circa 1:23 :21, Defendant testified
            that four people have died and that he has received no money. Defendant at circa
24           1:39:00 testified, in response to whether he had transactions with Shlomo Rechnitz
            in the last five or six months relating to the thirdparty life insurance policies, "nope."
25          Defendant testified that he does not remember paying the premiums for these
            policies out of his attorney client trust account at any time. Defendant at circa
26
             1:40:03 testified that he does not remember depositing his own funds into his
27          attorney-client trust account so that these insurance premiums could be paid. In
            response to the question of whether Defendant traveled out of the country anywhere
28           recently, other than Israel, Defendant at circa 2:23:00 testified, "nope." In response

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 1   91.    Defendant has knowingly and fraudulently made false oaths and/or accounts in the
2           Bankruptcy Case.
 3   92.    Defendant has failed to provide records which are necessary for the OUST and his
 4          creditors to properly understand Defendant's financial condition and/or recent business
 5          transactions.
 6   93 .   Considering the foregoing, Defendant's discharge must be denied under 11 USC §
 7          727(a)(4).
 8                                    EIGHTH CAUSE OF ACTION
                            (Objection to Debtor's Discharge 11 USC § 727(a)(5)
 9
     94.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
10
            in this Complaint as though fully set forth herein.
11
     95.    Defendant has failed to explain satisfactorily his deficiency and/or loss of assets to meet
12
            Debtor's liabilities. No determination has yet been made of an entitlement to a discharge
13
            in this Bankruptcy Case.
14
     96.    Considering the foregoing, Defendant's discharge must be denied under 11 USC§
15
            727(a)(5).
16
                                          PRAYER FOR RELIEF
17
            WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
18
     1.     On the First Claim for Relief, Plaintiffs seek an order determining that Defendant is
19
            indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant's debt is
20
            excepted from discharge pursuant to 11 USC § 523(a)(2)(A);
21
     2.     On the Second Claim for Relief, Plaintiffs seek an order determining that Defendant is
22
            indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant's debt is
23
            excepted from discharge pursuant to 11 USC§ 523(a)(4);
24
     3.     On the Third Claim for Relief, Plaintiffs seek an order determining that Defendant is
25

26
              to the question of whether Defendant has bank accounts in Israel, Defendant at circa
27            2:26:48 testified, "nope." Defendant at circa 2:59:15 testified that he has not
              transferred any assets within the last year to a third party. Defendant at circa 2:59:33
28            testified that he has not given any gifts more than $12,000.00 to his family.

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 1         indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant's debt is
 2         excepted from discharge pursuant to 11 USC § 523(a)(6);
 3   4.    On the Fourth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 4         pursuant to 11 USC § 727(a)(2)(A);
 5   5.    On the Fifth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 6         pursuant to 11 USC § 727(a)(2)(B);
 7   6.    On the Sixth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 8         pursuant to 11 USC § 727(a)(3);
 9   7.    On the Seventh Claim for Relief, Plaintiffs seek an order denying Defendant his
10         discharge pursuant to 11 USC§ 727(a)(4);
11   8.    On the Eighth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
12         pursuant to 11 USC § 727(a)(5);
13   9.    For costs of suit incurred herein; and
14   10.   For such other and further relief as the Court may deem appropriate.
15
     DATED:       May 12, 2023                      LAW OFFICE OF BARUCH C. COHEN
16                                                  A Professional Law Corporation
17                                                  By     /S/ Baruch C. Cohen
                                                    Baruch C. Cohen, Esq.
18                                                  Attorney For Creditors Robert & Esther
                                                    Mermelstein
19

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 B1040 (FORM 1040) (12/15)

        ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                             (Court Use Only)
                (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
 ROBERT & ESTHER MERMELSTEIN                                                     LESLIE KLEIN

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (IfK.nown)
Baruch C. Cohen, Esq. (SBN 159455)      (323) 937-4501
LAW OFFICE OF BARUCH C. COHEN, A Professional Law Corporation
4929 Wilshire Boulevard, Suite 940, Los Angeles CA 90010

PARTY (Check One Box Only)                        PARTY (Check One Box Only)
o Debtor    o U.S . Trustee/Bankruptcy Admin       M Debtor      o U.S . Trustee/Bankruptcy Admin
N Creditor  □ Other                                o Creditor    □ Other
o Trustee                                          o Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

COMPLAlNf FORNONDISCHARGEABILITY OF DEBT PURSUANT TO 11 USC§ 523(aX2XA), 11 USC§ 523(aX4), & 11 USC§ S23(aX6); & FOR
DENIAL OF DISCHARGE PURSUANT TO 11 USC§ 727(aX2XA); 11 USC§ 727(aX2)(B); l 1 USC§ 727(aX3); 11 USC§ 727(aX4); 11 USC§ 727(aXS)



                                                                      NATURE OF SUIT

        (Number up to five(S) boxes starting with lead cause of action as l, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1)-Rccovery of Money/Property                                     FRBP 7001(6)- Dischargeability (continued)
0 I I-Recovery of money/property- §542 turnover of property                     0 61-Dischargeability- §523(a)(5), domestic support
0 12-Recovery of money/property- §547 preference                                IX! 68-Dischargeability - §523(a)(6), willful and malicious injury
0 13-Recovery of money/property- §548 fraudulent transfer                       D 63-Dischargeability - §523(a)(8), student loan
0 14-Recovery of money/property - other                                         0 64-Dischargeability - §523(a)(l 5), divorce or separation obligation
                                                                                       (other than domestic support)
    FRBP 7001(2)- Validity, Priority or Extent of Lien                          0 65-Dischargeability - other
0   21-Validity, priority or extent of lien or other interest in property
                                                                                FRBP 7001(7)- Injunctive Relief
    FRBP 7001(3)- Approval of Sale of Property                                  0 71-lnjunctive relief - imposition of stay
0   3 I-Approval of sale of property of estate and of a co-owner - §363(h)      D 72-lnjunctive relief - other
    FRBP 7001(4) - Objection/Revocation of Discharge                            FRBP 7001(8) Subordination of Claim or Interest
11l 4!-Objection / revocation of discharge- §727(c),(d),(e)                     D  81 -Subordination of claim or interest

    FRBP 7001(5)- Revocation of Confirmation                                    FRBP 7001(9) Declaratory Judgment
D 51-Revocation of confinnation                                                 D  91-Declaratory judgment

    FRBP 7001(6) - Dischargeability                                             FRBP 7001(10) Determination of Removed Action
D 66-Dischargeability - §523(a)(i),(14),(14A) priority tax claims               0  0 I-Determination of removed claim or cause
00 62-Dischargeability - §523(a)(2), false pretenses, false representation,
         actual fraud                                                           Other
~ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny   0 SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.
                        (continued next column)                                  0 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)

o Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23

□ Check if a jury trial is demanded in complaint                                Demand $ 13 ,480,949
Other Relief Sought
       Case
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 B1040 (FORM 1040) (12/15)

                     BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR           LESLIE KLEIN                                 BANKRUPTCY CASE NO. 2 :23 _bk- l 099 0-SK

DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
Central District of California                                            Los Angeles                           Klein
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                             DEFENDANT                                         ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
       5/12/2023                                                        Baruch C. Cohen, Esq.



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form l 040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court's Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

  Party . Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is prose, that is, not represented by an
  attorney, the plaintiff must sign.
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            EXHIBIT I B
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    1   Baruch C. Cohen, Esq. (SBN 159455)
        LAW OFFICE OF BARUCH C. COHEN
   2            A Professional Law Corporation
        4929 Wilshire Boulevard, Suite 940
   3    Los Angeles, California 90010
        Tel: (323) 937-4501 Fax: (888) 316-6107
   4    email: baruchcohen@baruchcohenesg.com

    5   Attorney For PlaintiffDavid Berger
    6                              UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
    7                                  LOS ANGELES ANA DIVISION
    8
    9    Inre                                         Case No. 2:23-bk-10990-SK

   l0    LESLIE KLEIN,                                Hon. Sandra Klein

   11          Debtor and Debtor in Possession,       Chapter 11

   12
   13    DAVID BERGER,                                 COMPLAINT FOR NONDISCHARGEABILITY
                                                       OF DEBT PURSUANT TO 11 use§
   14                      Plaintiff                   523(a)(l)(A), 11 USC§ 523(a)(4), & 11 USC§
                                                       523(a)(6); & FOR DENIAL OF DISCHARGE
   15    vs.                                           PURSUANT TO 11 use § 727(a)(2)(A); 11 USC
                                                       § 727(a)(l)(B); 11 USC § 727(a)(3); 11 USC §
   16    LESLIE KLEIN                                  727(a)(4); 11 USC § 727(a)(5)

   17                     Defendant

   18

   19
                 TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
   20
        JUDGE, THE DEBTOR AND HIS COUNSEL, AND ALL OTHER INTERESTED
   21
        PARTIES:
   22
                 Plaintiff-Creditor, David Berger ("Plaintiff"), complain for nondischargeability of debt &
   23
        for denial of discharge against Defendant-Debtor, Leslie Klein ("Defendant"), and allege
   24
        respectfully as follows:
   25
                                       CORE/NON-CORE DESIGNATION
   26
         1.      In accordance with Local Bankruptcy Rule 7008-1, Plaintiff alleges that this adversary
   27
                 proceeding constitutes a core proceeding under 28 USC§ 157(b)(2). Plaintiff
   28
                 acknowledges that the Court has the power to enter final orders and judgments in this
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   1                 matter. Plaintiff also consents to the Court1s entry of final orders and judgments in this
   2                 matter under FRBP Rule 7008.
   3                                     JURISDICTION, VENUE & STANDING
   4    2.           This adversary proceeding arises under In re Klein, 2:23-bk-l 0990-SK, a Chapter 11 case
   5                 commenced in the United States Bankruptcy Court for the Central District of California
   6                 ("Bankruptcy Case"). The Court has jurisdiction under 11 USC §§ 523 and 727, and 28
   7                 USC§§ 157 and 1334.
   8    3.           The venue is proper in this Court pursuant to 28 USC § 1409.
   9    4.           Plaintiff have standing to bring this action because Plaintiff is a(n omitted) creditor in the
   10                Bankruptcy Case under 11 USC§ 101(10).
   11                                                       PARTIES
   12   5.           The following is a description of the relevant parties involved in the facts forming the
   13                basis of this Complaint.
   14   6.           Plaintiff is an individual, residing in Los Angeles County.
   15   7.           Defendant is an individual, whose principal residence is in Los Angeles County,
   16                California and who regularly conducted business from Los Angeles County, California.
   17                Defendant was a certified public accountant, formerly licensed by the State of California,
   18                 and a former, and an attorney licensed by the State of California. 1 Defendant is the debtor
   19                 in the above-captioned Chapter 11 bankruptcy case.
   20                                             GENERAL ALLEGATIONS
   21    8.           The following general allegations form the background for the Plaintiff's claims for relief
   22
   23         1
                  On September 10, 1992, the Supreme Court of the State of California, in State Bar Court Case No.
   24             86-0-14258, ordered that Defendant be suspended from the practice of law for 18 months and
                  further ordered that he take and pass the California Professional Responsibility Examination
   25             ("CPRE"). Defendant failed the November 1993 and January 1994 CPREs. In Case No.
                  86-0-14258, Defendant admitted to intentional misrepresentations. On August 3, 1995, the
   26             Supreme Court of the State of California, in State Bar Court Case No. 92-0-11716 (consolidated
                  with Case Nos. 93-0-11825, 94-0-13951, 94-012055, and 94-015901) ordered that Defendant
   27             be suspended from the practice oflaw for one year. In Case No. 92-0-11716, as consolidated,
                  Defendant admitted to willful violations of Rules of Professional Conduct concerning client trust
   28             accounts and conflicts of interest.

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   1           against Defendant.
   2    9.     Defendant was the Plaintiffs friend and neighbor for more than 55 years.
   3    10.    Plaintiff did not receive timely notice of this bankruptcy proceeding as the Debtor
   4           omitted listing Plaintiff on his Schedule F - general unsecured creditors.
   5    11.    On 2-17-2009, Leslie Klein ("Klein") on behalf of Leslie Klien & Associates, entered
   6           into a Memorandum ofAgreement for Joint Venture with Plaintiff (the "Gardner
   7           Memo").
   8    12.    On 2-17-2009, Klein on behalf of BK Life Settlements, LLC ("BK Life") entered into a
   9           Life Insurance Policy Purchase Agreement ("Gardner LIPPA") with Andrew and Yvette
   10          Gardner ("Gardner") for the purchase of two (2) $5,000,000.00 life insurance Policies
   11          #1625579 & #1621379 totaling $10,000,000.00 ("Gardner Policies") on the lives of
   12          Gardner. Klein designated Leslie Klien & Associates and Plaintiff as the sole
   13          beneficiaries of the Garner Policies. Klein had Plaintiff sign the Gardner LIPPA on
   14          behalf of the buyer BK Life.
   15   13.    In furtherance of the Gardner Memo. Plaintiffpaid'Klein's IOLTA account with his law
   16          finn, Leslie Klien & Associates, $400,000.00 towards the purchase of the two Gardner
   17          Policies.
   18    14.   Per the Gardner Memo. Klein promised to pay Plaintiff $5,000,000.00 upon the last
   19          Gardner to die.
   20    15.   On or about 11-16-2015, Klein wrote to Plaintiff:
   21          Dear David: You are right. We have been friends for the last fifty years and I
               would not do anything that would adversely affect your interest in the Gardner
   22          policy.
   23    16.    Thereafter, Klein apparently sold portions or the entirety of the Gardner Policy to GMR
   24           Life Settlements LLC ("GMR Life") without Plaintifrs consent. Klein concealed this
   25           information from Plaintiff.
   26    17.    Thereafter, on or about May of 2011, Klein apparently sold portions or the entirety of the
   27           Gardner Policy and to Life Capital Group, LLC ("!&§"), without Plaintiffs consent.
   28

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   1           Klein concealed this information from Plaintiff.
   2    18.    According to information recently received by Plaintiff, Klein and Shlomo Yehuda
   3           Rechnitz of LCG, agreed that upon the death of Gardner, Klein and Rechnitz would be
   4           reimbursed the premiums that they paid, plus interest on the premiums. Thereafter, Klein
   5           and Rechnitz would split the profits 50/50 of the Gardner Policy, and that Plaintiff would
   6           receive his $5,000,000.00.
   7    19.    The Gardner's apparently died in 2021 - 2022, and Klein collected the Gardner Proceeds,
   8           on the Gardner Policy. Klein concealed this information from Plaintiff, misappropriated
   9           & kept the Gardner Proceeds for himself, and failed to pay Plaintiff the $5,000,000.00
  10           per the Gardner Memo.
   11   20.    Pursuant to by Bankruptcy Rule 300l(c)(2)(A), interest of 10% on the $5,000,000.00,
   12          since 2-17-2009 (1565 days at $1,369.8630 interest per day) comes to $2,143,835.62,
   13          bringing the total amount due at $7.143.835.62.
   14   21.    During this entire time, Defendant repeatedly assured Plaintiff that premiums of the
   15          Gardner Policy were being timely made, and that his investment in the Gardner Policy
   16          was secure and accruing interest.
   17                       PLAINTIFF'S DISCOVERY OF DEFENDANT'S FRAUD
   18   22.    On or about 7-29-2022, Plaintiff discovered the above-referenced frauds and
   19          concealment.
   20                                   FIRST CLAIM FOR RELIEF
                              (Nondischargeability of Debt - 11 USC § 523(a)(2)(A))
   21
        23.    Plaintiff realleges and incorporates by reference all of the prior and subsequent
   22
                allegations in this Complaint as though fully set forth herein.
   23
        24.     At all relevant times, Defendant acted as Plaintiff' fiduciary - investment adviser.
   24
                Plaintiff entrusted Defendant implicitly with his investment in the Gardner insurance
   25
                policies.
   26
         25.    Defendant owed Plaintiff fiduciary duties at all relevant times, including the duty of
   27
                loyalty and candor. Defendant further owed a duty to use Plaintiff' funds for legitimate
   28

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   1           business purposes and to refrain from using their funds and other property for his own
   2           personal non-business purposes.
   3    26.    Defendant embezzled and stole from Plaintiff. Defendant misrepresented the above-
   4           referenced information to Plaintiff for the purpose of convincing Plaintiff to invest in the
   5           Gardner Policy into Defendant's IOLTA client trust account. Defendant then stole more
   6           than $400,000.00 of Plaintiff' money in a complicated life insurance scam, constituting
   7           intentional fraudulent, fraudulent concealment, and breach of fiduciary duty.
   8    27.    Defendant's misappropriation of Plaintiff's funds and other property was unauthorized,
   9           without his consent and fraudulent. Defendant acted with the intent to permanently
   10          deprive Plaintiff of the possession, use and benefit of their funds and other property.
   11   28.    As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiff'
   12          funds and other property and Defendant's false pretenses, false representations, and
   13          actual fraud set forth herein, Plaintiff have suffered damages in the amount of not less
   14          than $7,143,835.62.
   15   29.    Defendant's debt to Plaintiff is nondischargeable under 11 USC § S23(a)(2) because it
   16          was incurred as a result of false pretenses, false representations, and actual fraud.
   17   30.    The damages arising from Defendant's willful and malicious false pretenses, false
   18          representation and actual fraud to Plaintiff constitutes a debt against Defendant that is
   19          nondischargeable pursuant to 11 USC § 523(a)(2)(A).
   20                                 SECOND CLAIM FOR RELIEF
                              (Nondischargeability of Debt -11 USC§ S23(a)(4))
   21
        31.    Plaintiff realleges and incorporates by reference all of the prior and subsequent
   22
               allegations in this Complaint as though fully set forth herein.
   23
         32.    At all relevant times, Defendant acted as Plaintiff' fiduciary - investment adviser.
   24
                Plaintiff entrusted Defendant implicitly with his investments in the Gardner insurance
   25
                policies.
   26
         33.    Defendant owed Plaintiff fiduciary duties at all relevant times, including the duty of
   27
                loyalty and candor. Defendant further owed a duty to use Plaintiff' funds for legitimate
   28

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   l           business purposes and to refrain from using their funds and other property for his own
   2           personal non-business purposes.
   3    34.    Defendant embezzled and stole from Plaintiff. Defendant misrepresented the above-
   4           referenced information to Plaintiff for the purpose of convincing Plaintiff to invest in the
   5           Gardner Policy into Defendant's IOLTA client trust account. Defendant then stole more
   6           than $400,000.00 of Plaintiff' money in a complicated life insurance scam, constituting
   7           intentional fraudulent, fraudulent concealment, breach of fiduciary duty and elder abuse.
   8    35.    Defendant's misappropriation of Plaintiff funds and other property was unauthorized,
   9           without his consent and fraudulent. Defendant acted with the intent to permanently
   10          deprive Plaintiff of the possession, use and benefit of his funds and other property.
   11   36.    As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiff'
   12          funds and other property and Defendant's false pretenses, false representations, and
   13          actual fraud set forth herein, Plaintiff have suffered damages in the amount of not less
   14          than $7,143,835.62.
   15   37.    The damages to Plaintiff arising from Defendant's fraud, defalcation, embezzlement and
   16          larceny while acting in a fiduciary capacity constitutes a debt against Defendant that is
   17          non-dischargeable pursuant to 11 USC§ 523(a)(4).
   18                                 mIRD CLAIM FOR RELIEF
                              (Nondischargeabllity ofDebt-11 USC§ 523(a)(6))
   19
        38.    Plaintiff realleges and incorporates by reference all of the prior and subsequent
   20
                allegations in this Complaint as though fully set forth herein.
   21
        39.     At all relevant times, Defendant acted as Plaintiff fiduciary - investment adviser.
   22
                Plaintiff entrusted Defendant implicitly with their investments in the insurance policies.
   23
         40.    Defendant owed Plaintiff fiduciary duties at all relevant times, including the duty of
   24
                loyalty and candor. Defendant further owed a duty to u,se Plaintiff' funds for legitimate
   25
                business purposes and to refrain from using his funds and other property for his own
   26
                personal non-business purposes.
   27
         41.    Defendant embezzled and stole from Plaintiff. Defendant misrepresented the above-
   28

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   1          referenced information to Plaintiff for the purpose of convincing Plaintiff to invest in
   2          Gardner policies into Defendant's IOLTA client trust account. Defendant then stole more
   3          than $400,000.00 of Plaintiff' money in a complicated life insurance scam, constituting
   4          intentional fraudulent, fraudulent concealment, breach of fiduciary duty and elder abuse.
   5    42.   Defendant's misappropriation of Plaintiff funds and other property was unauthorized,
   6          without his consent and fraudulent. Defendant acted with the intent to permanently
   7          deprive Plaintiff of the possession, use and benefit of their funds and other property.
   8    43.   As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiff
   9          funds and other property and Defendant's false pretenses, false representations, and
   10         actual fraud set forth herein, Plaintiff have suffered damages in the amount of not less
   11         than $7,143,835.62.
   12   44.   The damages to Plaintiff arising from Defendant's willful and malicious injury to
   13         Plaintiff constitutes a debt against Defendant that is non-discbargeable pursuant to 11
   14         USC § 523(a)(6).
   15                                FOURTH CAUSE OF ACTION
                         (Objection to Debtor's Discharge 11 USC § 727(a)(2)(A))
   16
        45.   Plaintiff realleges and incorporates by reference all of the prior and subsequent
   17
              allegations in this Complaint as though fully set forth herein.
   18
        46.   Plaintiff is informed and believes that within one year before the Petition, Defendant
   19
              transferred, removed, and/or concealed, or permitted to be transferred, removed, and/or
   20
              concealed, Defendant's property.
   21
        47.   As of the dates of the transfers, removals, and/or concealments of Defendant's property,
   22
               Defendant had one or more unsecured creditors.
   23
        48.    The transfers, removals, and/or concealments of Defendant's property prevented the
   24
               distribution of Defendant's property to Defendant's unsecured creditors.
   25
        49.    Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant's
   26
               creditors, including, without limitation, Plaintiff, transferred, removed, and/or concealed,
   27
               or permitted to be transferred, removed, and/or concealed, Defendant's property.
   28

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   1    50.    By transferring, removing;concealing, and/or permitting the transfer, removal, and/or
   2           concealment of Defendant's property with the intent to hinder, delay, and/or defraud at
   3           least one of Defendant's creditors, Defendant violated 11 USC§ 727(a)(2)(A).
   4    51.    Defendant failed to list valuable property on his schedule of assets and failed in his
   5           statement of affairs to disclose property transfers.
   6    52.    Defendant has a reckless indifference to the truth.
   7                                    FIFTH CAUSE OF ACTION
                          (Objection to Debtor's Discharge 11 USC § 727(a)(2)(B))
   8
        53.    Plainti ff realleges and incorporates by reference all of the prior and subsequent
   9
               allegations in this Complaint as though fully set forth herein.
   IO
        54.    Plaintiff is informed and believes that After the Petition, Defendant transferred, removed,
   11
               concealed, and/or permitted to be transferred, removed, and/or concealed, property of the
   12
               Bankruptcy estate.
   13
        55.    As of the dates of the transfers, removals, and/or concealments of the property of the
   14
               estate, Defendant had one or more unsecured creditors.
   15
        56.    The transfers, removals, and/or concealments of the property of the estate prevented the
   16
               distribution of this property to Defendant's unsecured creditors.
   17
        57.    Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant's
   18
               creditors, transferred, removed, and/or concealed, or permitted to be transferred,
   19
               removed, and/or concealed, property of the estate.
   20
        58.    By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
   21
               concealment of estate property, with the intent to hinder, delay, and/or defraud at least
   22
                one of Defendant's creditors, Defendant violated 11 USC § 727(a)(2)(B).
   23
         59.    Defendant failed to list valuable property on his schedule of assets and failed in his
   24
                statement of affairs to disclose property transfers.
   25
         60.    Defendant has a reckless indifference to the truth.
   26
         Ill
   27
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   28

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   I                                    SIXTH CAUSE OF ACTION
                            (Objection to Debtor's Discharge 11 USC§ 727(a)(3)
   2
        61.    Plaintiff realleges and incorporates by reference all of the prior and subsequent
   3
               allegations in this Complaint as though fully set forth herein.
   4
        62.    Plaintiff is informed and believes that Defendant has not maintained adequate books and
   5
               records from which Debtor's financial condition can be ascertained. Debtor has
   6
               consistently not maintained adequate books and records. His failure to keep adequate
   7
               books and records is not justified considering the circumstances articulated in this
   8
               Complaint.
   9
        63.    Defendant has concealed, destroyed, falsified. and/or failed to keep or preserve
   10
               information from which Defendant's financial condition and/or business transactions
   11
               might be ascertained.
   12
        64.    Defendant has not been cooperative with the Office of the United States Trustee
   13
               ("OUST") or with his creditors. Defendant has intentionally withheld records, books,
   14
               documents, and/or other papers relating to Defendant's property and/or financial affairs.
   15
        65.    Considering the foregoing, Defendant's discharge must be denied under 11 USC§
   16
               727(a)(3).
   17
                                      SEVENTH CAUSE OF ACTION
   18                        (Objection to Debtor's Discharge 11 USC§ 727(a)(4)
   19   66.    Plaintiff realleges and incorporates by reference all of the prior and subsequent allegations
   20          in this Complaint as though fulJy set forth herein.
   21   67.    Plaintiff is informed and believes that Defendant has not made simple isolated errors or
   22           omissions in his Bankruptcy filings. Defendant's filings, such as his schedules and
   23           statement of affairs, do not reflect inadvertence or incompetence; rather, they exhibit
   24           fraudulent intent.
   25    68.    Defendant has a pattern of misleading conduct.
   26    69.    Defendant has a reckless indifference to the truth.
   27    70.    Defendant has failed to list assets in his schedules.
   28

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   1    71.      Defendant has falsely testified in the 341 Meeting. 2
   2    72.       Defendant has knowingly and fraudulently made false oaths and/or accounts in the
   3              Bankruptcy Case.
   4    73.       Defendant has failed to provide records which are necessary for the OUST and his
   5              creditors to properly understand Defendant's financial condition and/or recent business
   6              transactions.
   7    74.       Considering the foregoing, Defendant's discharge must be denied under 11 USC§
   8              727(a)(4).
   9                                        EIGHTH CAUSE OF ACTION
                                  (Objection to Debtor's Discharge 11 USC § 727(a)(5)
   10
        75.       Plaintiff realleges and incorporates by reference all of the prior and subsequent allegations
   11
                  in this Complaint as though fully set forth herein.
   12
        76.       Defendant has failed to explain satisfactorily his deficiency and/or loss of assets to meet
   13
                  Debtor's liabilities. No determination has yet been made of an entitlement to a discharge
   14
                  in this Bankruptcy Case.
   15
        77.       Considering the foregoing, Defendant's discharge must be denied under 11 USC§ 727(a)(5.
   16

   17
          2
   18         At the 3-13-2023 341(a) Meeting, Defendant at circa 11 :15 testified in response to omissions to
              be brought to the attention of the United States Trustee ("UST''), that there were only "three minor
   19         errors" which he thought that his attorney corrected. Defendant testified that there were "no" errors
              related to any assets that he owns. At circa 12:52, Defendant testified that he identified all assets
   20         on his schedules. Defendant at circa 1: 18:30- l :09:21 testified that in the year before the
              Bankruptcy, he received no commissions from his third-party life insurance deals. At circa 1: 20: 18,
   21         Defendant testified that he has not ever collected money on his third-party life insurance deals. At
              circa 1:22: 18, Defendant testified that he has never received a payoff on his third-party life
   22         insurance deals. At circa 1:23 :21, Defendant testified that four people have died and that he has
              received no money. Defendant at circa 1:39 :00 testified, in response to whether he had transactions
   23
              with Shlomo Rechnitz in the last five or six months relating to the thirdparty life insurance policies,
   24         "nope." Defendant testified that he does not remember paying the premiums for these policies out
              of his attorney client trust accowit at any time. Defendant at circa 1:40:03 testified that he does not
   25         remember depositing his own funds into bis attorney-client trust account so that these insurance
              premiums could be paid. In response to the question of whether Defendant traveled out of the
   26         country anywhere recently, other than Israel, Defendant at circa 2:23:00 testified, "nope." In
               response to the question of whether Defendant has bank accounts in Israel, Defendant at circa
   27         2:26:48 testified, "nope." Defendant at circa 2:59: 15 testified that he has not transferred any assets
               within the last year to a third party. Defendant at circa 2:59:33 testified that he has not given any
   28          gifts more than $12,000.00 to his family.

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   1                                        PRAYER FOR RELIEF
   2           WHEREFORE, Plaintiff request judgment on the Complaint as follows:
   3    1.     On the First Claim for Relief, Plaintiff seek an order determining that Defendant is
   4           indebted to Plaintiff in an amount not less than $7,143,835.62 and that Defendant's debt is
   5           excepted from discharge pursuant to 11 USC § 523(a)(2)(A);
   6    2.     On the Second Claim for Relief, Plaintiff seek an order determining that Defendant is
   7           indebted to Plaintiff in an amount not less than $7,143,835.62 and that Defendant's debt is
   8           excepted from discharge pursuant to 11 USC§ 523(a)(4);
   9    3.     On the Third Claim for Relief, Plaintiff seek an order determining that Defendant is
   10          indebted to Plaintiff in an amount not less than $7,143,835.62 and that Defendant's debt is
   11          excepted from discharge pursuant to 11 USC§ 523(a)(6);
   12   4.     On the Fourth Claim for Relief, Plaintiff seek an order denying Defendant his discharge
   13          pursuant to 11 USC § 727(a)(2)(A);
   14   5.     On the Fifth Claim for Relief, Plaintiff seek an order denying Defendant his discharge
   15          pursuant to 11 USC § 727(a)(2)(B);
   16   6.     On the Sixth Claim for Relief, Plaintiff seek an order denying Defendant his discharge
   17          pursuant to 11 USC § 727(a)(3);
   18   7.     On the Seventh Claim for Relief, Plaintiff seek an order denying Defendant his discharge
   19          pursuant to 11 use § 727(a)(4);
   20   8.     On the Eighth Claim for Relief, Plaintiff seek an order denying Defendant his discharge
   21          pursuant to 11 USC § 727(a)(5);
   22   9.      For costs of suit incurred herein; and
   23    10.   For such other and further relief as the Court may deem appropriate.
   24
         DATED:        June 9, 2023                      LAW OFFICE OF BARUCH C. COHEN
   25                                                    A Professional Law Corporation
   26                                                    By     ISi Baruch C. Cohen
                                                         Baruch C. Cohen, Esq.
   27                                                    Attorney For Creditor David Berger
   28

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 81040 (FORM 1040) (12/15)

        ADVERS~YPROCEEDING COVER SHEET                                                                         ADVERSARY PROCEEDING NUMBER
               (Instructions on Reverse) -. -.                                   • -.
                                                                                                               (Court Use Only)
                                                                                        ' ,., ·,:;-,--,-·-·'
PLAINTIFFS                                                                                DEFENDANTS
            DAVID BERGER                                                                               LESLIE KLEIN

ATTORNEYS (Firm Name, Address, and Telephone No.)                                         ATTORNEYS (If Known)
Baruch C. Cohen, Esq, (SBN IS94SS)      (323) 937-4501
LAW OFFICE OF BARUCH C. COHEN, A Professional Law Corporation
4929 Wilshire Boulevard, Suite 940, Los Angeles CA 900 I0

PARTY (Check One Box Only)                        PARTY (Check One Box Only)
o Debtor      □ U.S. Trustee/Bankruptcy Admin      iX Debtor     □ U.S. Trustee/Bankruptcy Admin
llil Creditor □ Other                              □ Creditor    □ Other
o Trustee                                          □ Trustee

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATlITES INVOLVED)
 COMPLAINT FOR NONDISCHARGEABILTIY OF DEBT PURSUANT TO 11 USC§ 523(aX2XA), 11 USC § 523(aX4), & 11 USC
 § 523(aX6); & FOR DENIAL OF DISCHARGE PURSUANT TO 11 USC§ 727(a)(2)(A); 11 USC§ 727(a){2XB); 11 USC§ 727(a)(3);
 11 USC § 727(aX4); 11 USC § 727(a)(5)




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    FRBP 7001(1) - Recovery of Money/Property                                              FRBP 7001(6)- Dlschargeablllty (continued)
0 I I-Recovery of money/property - §542 turnover of property                               D  61-Dischargcability - §S23(a)(S}, domestic support
0 12-Recovery of money/property• §547 prefercnci::                                         !XI68-Dischargeability • §523(a)(6}, willl'Ul and malicious injury
0 13-Recovery of money/property - §548. fraudulent transfer                                0 63-Dischargeability - §523(a)(8), s111dent loan
0 14-Rccovcry of money/property- other                                                     0 64-Dischargcability - §S23(a)(l S), divorce or separation obligation
                                                                                                       (other than domestic support)
    FRBP 7001(1)- Validity, Priority or EJ:tent or Lien                                     0 65-Dischargeability - other
0   21-Validity, priority or extent oflien or other interest in property
                                                                                            FRBP 7001(7)- Injunctive Relief
    FRBP 7001 (3) - Approval of Sale of Property                                            0  71-lnjunclive relief-impositi011 of stay
0 31-Approval of sole of property of estate and of a co-owner - §363(h)                     0  72-lnjunclive relief - other

    FRBP 7001(4)-0bjectlon/Revocation of Dlscbarge                                          FRBP 7001 (8) Subordination of Claim or Interest
129 4!-0bjection / revocation of discharge• §727(c),(d),(c)                                 0  81-Subordination of claim or intemt

    FRBP 7001(5)-Revocatlon of Confirmation                                                 FRBP 700] (9) Declaratory Judgment
0 SI-Revocation ofconfinnation                                                              0  91-Declaratory judgment

    FRBP 7001(6)- Dlschargeability                                                          FRBP 7001(10) Determination of Removed Action
0 66-Dischargeability • §S23(a)(i),(14),(l4A) priority tax claims                            D 01-Delennination of removed claim or cause
IXJ 62-Dischargeability • §S23(a)(2), false pretenses, false representation,
         actual fraud                                                                       Other
l!I 67-Dischnrgeability - §523(a)(4}, fraud as fiduciary, embezzlement, larceny              □ SS-SIPACasc- IS U.S .C. §§78aaaet.seq,
                        (continued next column)                                              D 02-0lher (e.g. other actions that would have been brought in state court
                                                                                                          if unrelated to bankruptcy case)
o Check if this case involves a substantive issue of state law                               □ Check if this is asserted to be a class action under FRCP 23

o Check if a jury trial is demanded in complaint                                             Demand $7,143,835.62
 Other Relief Sought
 Case 2:23-ap-01169-SK   Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
                         Main Document     Page 75 of 473
    Case 2:23-ap-01169-SK Doc 1 Filed 06/09/23 Entered 06/09/23 10:53:05 Desc
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 B1040 (FORM 1040) (12/1S)

                    .BANI<R,UPTCY CASE :tN WIDCJI THiS ADVE~ARY PltQCEEDING ARIS~
NAME OF DEBTOR                                                        BANKRUPTCY CASE NO.
                      LESLIE KLEIN                                                                     2:23-bk-10990-SK
DISTRICT IN WHICH CASE IS PENDING                                     DMSION OFFICE                     NAME OF JUDGE
Central District of California                                           Los Angeles                         Klein
                                     RELATED AD\'E.RSARY I_IROCEEI>ING QF .ANY)
PLAINTIFF                                            DEFENDANT                                          ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
       6/9/2023                                                         Baruch C. Cohen, Esq.



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form I 040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court's Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.
Case 2:23-ap-01169-SK   Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44   Desc
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          EXHIBIT II A
         Case 2:23-ap-01169-SK Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44                                                        Desc
         Case 2:23-ap~01153-SK Main
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                                                 Page 77 of 473 01/10/24 15:15:26                                                     Desc
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Attorney or Party Name, Address, Telephone & FAX                           FOR COURT USE ONLY
Numbers, State Bar Number & Email Address
Baruch C. Cohen, Esq. (159455)
Law Office of Baruch C. Cohen, APLC
4929 Wilshire Boulevard, Suite 940
Los Angeles, CA 90010
Office (323) 937-4501 I Cell (323) 353-9535
Facsimile: (888) 316-6107
Email: bcc@baruchcohenesq.com




□ ,Plaintiff(s) appearing without attorney
[gJ Attorney for Plaintiff(s)

                                      UNITED STATES BANKRUPTCY COURT
                        CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re:
LESLIE KLEIN                                                                CASE NUMBER: 2:23-bk-10990-SK
                                                                            ADVERSARY NUMBER: 2:23-ap-01153-SK
                                                                            CHAPTER: 11
                                                          Debtor(s).
                                                                                                                                    - - - -- -
ROBERT & ESTHER MERMELSTEIN
                                                                                   PLAINTIFF'S MOTION FOR DEFAULT
                                                                                     JUDGMENT UNDER LBR 7055-1

                                                          Plaintiff(s),     DATE: 2/14/2024
                                 vs.                                        TIME: 9:00 am

LESLIE KLEIN                                                                COURTROOM: 1575
                                                                            ADDRESS: 255 E. Temple Street, Los Angeles



                                                      Defendant( s ).


TO THE DEFENDANT, DEFENDANT'S ATTORNEY AND OTHER INTERESTED PARTIES:

1.   Name of Defendant(s) against whom default judgment is sought (specify name): _L_E_S_L_IE
                                                                                            _ K_L_E_IN_ __ _ __ _


2.   Plaintiff filed the complaint in the above-captioned proceeding on (specify date): 05/12/2023
3.   The Summons and Complaint were served on Defendant by                            D personal service              [&I mail service
     on the following date (specify date): 05/17/2023
4.   A true and correct copy of the completed return of summons form is attached.

                 "Bankruptcy Code" and "11 U.S. C. " refer to the United States Bankruptcy Code, Title 11 of the United States Code.
     "FRBP" refers to the Federal Rules of Bankruptcy Procedure. "LBR" and "LBRs " refer to the Local Bankruptcy Rule(s) of this court.

              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2017                                                             Page 1                           F 7055-1.2.DEFAULT.JMT.MOTION
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5.   The time for filing an answer or other response expired on (specify date): 07/12/2023
          Defendant was later ordered to respond to the Complaint by 11-18-2023
6.   No answer or other response has been filed or served by Defendant.
7.   The default of Defendant:
     a.   0   Has not yet been entered, but is requested
     b.   [8] Was entered on (specify date): 11/28/2023

8.   A Status Conference:
     a.   [8] Is scheduled for (specify date, time, and place): _ _ _ __ __ _ __ _ _ _ __ __
               12/20/2023 at 09:00 AM 255 E. Temple St. Courtroom 1575 Los Angeles

     b.   0   Was held on (specify date, time, and place): _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ __



9.   As proof that Plaintiff is entitled to the relief requested in the complaint, Plaintiff:
     a.   [8] Relies on the complaint and attached documents.
     b.   [8] Attaches the following documents to establish a prima facie case:

          (1) [8] Declaration of (specify) : _R_O_B_E_R_T_ M_E_R_M_E_L_S_T_E_IN_ __ __ __ _ _ _ _ __

          (2) 0 Declaration of (specify) : _ _ _ _ _ __ _ _ __ _ __ _ __ _ _ _ __

          (3) 0 Other (specify): _ __ _ _ __ _ _ __ _ __ _ _ __ _ _ _ _ __

10. As further support for entry of a default judgment, Plaintiff submits a memorandum of points and authorities (optional).

11. DECLARATION OF NON-MILITARY STATUS (Servicemembers Civil Relief Act, 50 U.S.C. chapter 50 (§§ 3901-
    4043)). The undersigned party or counsel declares under penalty of perjury, with respect to each Defendant against
    whom a default judgment is sought by this motion:

     a.   [g] Defendant is not currently in military service. The facts that support this statement are as follows (see the
              court's website for information about how to verify non-military status):




     b.   O Defendant is currently in military service. The facts that support this statement are as follows (if this box is
               checked, the plaintiff must attach a supplement to this motion addressing the requirements in 50 U.S.C.
               § 3931 (b)(2) to appoint an attorney for the Defendant before entering a judgment):




     c. D      I am unable to determine whether or not Defendant is in military service. The facts that support this statement
               are as follows (if this box is checked, the plaintiff must attach a supplement to this motion addressing the
               bond requirement in 50 U.S.C. § 3931(b)(3)):




              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

 December 2017                                                         Page 2                               F 7055-1.2.DEFAULT.JMT.MOTION
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12. Defaulting party is not an infant or incompetent party.


Plaintiff requests that this court enter a default judgment in favor of Plaintiff. A copy of the lodged proposed default
judgment is attached.


Date: 1/10/2024                                                     Respectfully submitted,

                                                                     Law Office of Baruch C. Cohen, APLC
                                                                    Printed name of law firm




                                                                         ~
                                                                     Signf f l

                                                                     Baruch C. Cohen, Esq.
                                                                     Name of Attorney for Plaintiff or Plaintiff




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

 December 2017                                                       Page 3                               F 7055-1.2.DEFAULT.JMT.MOTION
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      Baruch C. Cohen, Esq. (SBN 159455)
 1    LAW OFFICE OF BARUCH C. COHEN
              A Professional Law Corporation
 2    4929 Wilshire Boulevard, Suite 940
      Lbs Angeles, California 90010
 3    Tel: (323) 937-4501 Fax: (888) 316-6107
      email: baruchcohen@baruchcohenesg.com
 4
      Attorney For Plaintiffs Robert & Esther Mermelstein
 5
                                UNITED STATES BANKRUPTCY COURT
 6                               CENTRAL DISTRICT OF CALIFORNIA
                                    LOS ANGELES ANA DIVISION
 7

 8
       In re                                      Case No. 2:23-bk-10990-SK
 9
       LESLIE KLEIN,                              Hon. Sandra Klein
10
             Debtor and Debtor in Possession,     Adv. Proc. No.: 2:23-ap-01153-SK
11
                                                  Chapter 11
12
       ROBERT & ESTHER MERMELSTEIN,               PROOF OF SERVICE OF:
13
                        Plaintiffs                • COMPLAINT FOR
14                                                  NONDISCHARGEABILITY OF DEBT
       vs.                                          PURSUANT TO 11 USC§ 523(a)(2)(A), 11
15                                                  USC § 523(a)(4), & 11 USC § 523(a)(6); & FOR
       LESLIE KLEIN                                 DENIAL OF DISCHARGE PURSUANT TO 11
16                                                  USC § 727(a)(2)(A); 11 USC § 727(a)(2)(B); 11
                        Defendant                   USC§ 727(a)(3); 11 USC§ 727(a)(4); 11 USC§
17                                                  727(a)(5)

18                                                 • ANOTHER SUMMONS ISSUED ON LESLIE
                                                     KLEIN; &
19
                                                   • EARLY MEETING OF COUNSEL, JOINT
20                                                   STATUS REPORT AND STATUS
                                                     CONFERENCE INSTRUCTIONS
21

22

23
24    DATED:          May 16, 2023                LAW OFFICE OF BARUCH C. COHEN
                                                       A Professional Law Corporation
25
                                                  Isl Baruch C. Cohen
 26                                               Baruch C. Cohen, Esq.
                                                  Attorney For Creditors Robert & Esther Mermelstein
 27

 28
          Case 2:23-ap-01169-SK                     Doc 69          Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Baruch C Cohen
4929 Wilshire Blvd Ste 940
Los Angeles, CA 90010

323-937-4501




Plaintiff or Attorney for Plaintiff

                                      UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
In re:

                                                                              CASE NO.: 2:23-bk-10990-SK

                                                                              CHAPTER: 11
 Leslie Klein


                                                                              ADVERSARY NUMBER: 2:23-ap-01153-SK
                                                               Debtorlsl .

Robert & Esther Mermelstein

                                                                                          ANOTHER
                                                               Plaintiff(s}
                               Versus
                                                                                 SUMMONS AND NOTICE OF STATUS
                                                                                   CONFERENCE IN ADVERSARY
Leslie Klein                                                                        PROCEEDING [LBR 7004-1]

                                                           Defendant(sl




TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a written response is
06/12/2023, If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                August 9, 2023
             Time:                09:00 AM
             Hearing Judge:       Sandra R. Klein
             Location:            255 E Temple St., Crtrm 1575, Los Angeles, CA 90012



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

 December 2016                                                 Page 1                        F 7004-1.SUMMONS.ADV.PROC
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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court-approved joint status report form is available on the court's website (LBR form F
7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016-1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference . The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Alias Summons and Notice of Status Conference in Adversary Proceeding: May 12, 2023




                                                                                        By: - -"=s/...."--'T..._h=a=is~D=--.M=a"'"y__
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            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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 1   Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
 2           A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
 3   Los Angeles, California 90010
     Tel: (323) 937-4501 Fax: (888) 316-6107
 4   email: baruchcohen@baruchcohenesq.com

 5   Attorney For Plaintiffs Robert & Esther Mermelstein
 6                             UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
 7                                 LOS ANGELES ANA DIVISION
 8

 9    In re                                             Case No. 2:23-bk-10990-SK

10    LESLIE KLEIN,                                     Hon. Sandra Klein

11            Debtor and Debtor in Possession,           Chapter 11

12
13    ROBERT & ESTHER MERMELSTEIN,                       COMPLAINT FOR
                                                         NONDISCHARGEABILITY
14                        Plaintiffs                     OF DEBT PURSUANT TO 11 USC §
                                                         523(a)(2)(A), 11 USC§ 523(a)(4), & 11
15    vs.                                                USC § 523(a)(6); & FOR DENIAL OF
                                                         DISCHARGE PURSUANT TO 11 USC
16    LESLIE KLEIN                                       § 727(a)(2)(A); 11 USC § 727(a)(2)(B);
                                                         11 USC§ 727(a)(3); 11 USC§ 727(a)(4);
17                       Defendant                       11 USC § 727(a)(5)

18

19
              TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
20
     JUDGE, THE DEBTOR AND HIS COUNSEL, AND ALL OTHER INTERESTED
21
     PARTIES:
22
              Plaintiffs-Creditors, Robert & Esther Mermelstein ("Plaintiffs"), complain for
23
     nondischargeability of debt & for denial of discharge against Defendant-Debtor, Leslie Klein
24
     ("Defendant"), and alleges respectfully as follows:
25
                                   CORE/NON-CORE DESIGNATION
26
      1.      In accordance with Local Bankruptcy Rule 7008-1, Plaintiffs allege that this adversary
27
              proceeding constitutes a core proceeding under 28 USC§ 157(b)(2). Plaintiffs
28
              acknowledge that the Court has the power to enter final orders and judgments in this
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 1          matter. Plaintiffs also consent to the Court's entry of final orders and judgments in this
 2          matter under FRBP Rule 7008 ..
 3                             JURISDICTION, VENUE & STANDING
 4    2.    This adversary proceeding arises under In re Klein, 2:23-bk-10990-SK, a Chapter 11 case
 5          commenced in the United States Bankruptcy Court for the Central District of California
 6          ("Bankruptcy Case"). The Court has jurisdiction under 11 USC §§ 523 and 727, and 28
 7          USC§§ 157 and 1334.
 8    3.    The venue is proper in this Court pursuant to 28 USC § 1409.
 9    4.    Plaintiffs have standing to bring this action because Plaintiffs are creditors in the
10          Bankruptcy Case under 11 USC§ 101(10).
11                                               PARTIES
12    5.    The following is a description of the relevant parties involved in the facts forming the
13          basis of this Complaint.
14    6.    Plaintiffs are individuals, senior citizens residing in Brooklyn, NY.
15    7.    Defendant is an individual, whose principal residence is in Los Angeles County,
16          California and who regularly conducted business from Los Angeles County, California.
17          Defendant was a certified public accountant, formerly licensed by the State of California,
18          and a former, and an attorney licensed by the State of California.' Defendant is the debtor
19          in the above-captioned Chapter 11 bankruptcy case.
20    Ill
21

22            On September 10, 1992, the Supreme Court of the State of California, in State Bar
23            Court Case No. 86-0-14258, ordered that Defendant be suspended from the practice
              of law for 18 months and further ordered that he take and pass the California
24            Professional Responsibility Examination ("CPRE"). Defendant failed the November
              1993 and January 1994 CPREs. In Case No. 86-0-14258, Defendant admitted to
25            intentional misrepresentations. On August 3, 1995, the Supreme Court of the State
              of California, in State Bar Court Case No. 92-0-11716 (consolidated with Case Nos.
 26
              93-0-11825, 94-0-13951, 94-012055, and 94-015901) ordered that Defendant be
 27           suspended from the practice of law for one year. In Case No. 92-0-11716, as
              consolidated, Defendant admitted to willful violations of Rules of Professional
 28           Conduct concerning client trust accounts and conflicts of interest.

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 1                                     GENERAL ALLEGATIONS
 2    8.     The following general allegations form the background for the Plaintiffs' claims for relief
 3           against Defendant.
 4    9.     Plaintiffs are family relatives of Defendant, are Orthodox Jews, and are the settlors and
 5           beneficiaries of the Mermelstein Charitable Remainder Unitrust Dated July 27, 2009, (the
 6           " Mermelstein Trust").
 7    10.    Defendant, on behalf of The Klein Charitable Remainder Uni trust dated 2-20-1996 (the
 8           "Klein Trust") solicited Plaintiffs to invest in at least seven (7) life insurance policies: (1)
 9           Garza; (2) Times Square; (3) Ganz; (4) Spitzer; (5) Kohn; (6) Friedman; & (7)
10           Zimmerman.
11                                                  GARZA
12    11.    On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
13           2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
14           Venture (the "Garza Memo"). The purpose of the Garza Memo, was to purchase a
15           $1,000,000.00 life insurance Policy ("Garza Policy"); American General on the life of
16           Emanuel Garza ("Garza"). In furtherance of the Garza Memo, Plaintiffs paid Klein
17           $100,000.00 towards the purchase of the Garza Policy. Defendant instructed Plaintiffs to
18           make said payments to Defendant's IOLTA - Attorney Client Trust Account. Per the
19           Garza Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
20           ($400,000.00 plus return of premiums paid; plus $100,000.00).
21     12.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
22           Agreement for Joint Venture (Garza), changing the recipient of the $500,000.00 from the
23           Mermelstein Trust to Robert & Esther Mermelstein.
24     13.   Plaintiffs are informed and believe that Defendant sold 50% to the Garza Policy, to the
 25          Longevity Fund of NY and partially to the Longevity Fund of Michigan without their
 26           consent.
 27    14.    Plaintiffs are informed and believe that Garza apparently died in 2018, and on or about 7-
 28

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            2-2018, Defendant collected the Garza Proceeds, on the Garza Policy. Defendant
 2          concealed this information from Plaintiffs, misappropriated & kept the Garza Proceeds
 3          for himself, and failed to pay Plaintiffs the $500,00.00 per the Garza Memo.
 4                                          TIMES SQUARE

 5    15.   On 7-16-2012, Defendant issued Plaintiffs a Non-Recourse Promissory Note, in the
 6          amount of $333,333.00, due and payable by 7-16-2013, by Defendant on behalf of the
 7          Times Square Media Inc., containing a "Heter !ska" document (an approved way of
 8          restructuring a loan or debt so that it becomes an investment instead of a loan, per
 9          Halacha - Jewish law).
10    16.   Plaintiffs are informed and believe that Defendant had no intention of paying the Times
11          Square Non-Recourse Promissory Note, as Plaintiffs made no payments whatseoever.
12                                                GANZ

13    17.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
14          2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
15          Venture with plaintiffs (the "Ganz Memo"). The purpose of the Ganz Memo, was to
16          purchase a $1,000,000.00 life insurance Policy ("Ganz Policy"); American General on
17          the life of Emanuel Ganz ("Ganz"). In furtherance of the Ganz Memo, Plaintiffs paid
18          Klein $100,000.00 towards the purchase of the Ganz Policy. Defendant instructed
19          Plaintiffs to make said payments to Defendant's IOLTA - Attorney Client Trust Account.
20          Per the Ganz Memo, Defendant promised to pay the Mermelstein Trust $500,000.00
21          ($400,000.00 plus return of premiums paid; plus $100,000.00).
22    18.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
23          Agreement for Joint Venture (Ganz), changing the recipient of the $500,000.00 from the
24          Mermelstein Trust to Robert & Esther Mermelstein.
25    19.   Plaintiffs are informed and believe that Defendant apparently sold 50% to the Ganz
26          Policy, to the Longevity Fund of NY and partially to the Longevity Fund of Michigan,
27          without Plaintiffs consent.
 28

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 1    20.   Plaintiffs are informed and believe that Ganz apparently died in 2018, and on or about 7-
 2          2-2018, Defendant collected the Ganz Proceeds, on the Ganz Policy. Defendant
 3          concealed this information from Plaintiffs, misappropriated & kept the Ganz Proceeds for
 4          himself, and failed to pay Plaintiffs the $500,00.00 per the Ganz Memo.
 5                                              SPITZER
 6    21.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
 7          2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
 8          Venture with Plaintiffs (the "Spitzer Memo"). The purpose of the Spitzer Memo, was to
 9          make premium payments of a $5,000,000.00 life insurance Policy Number: US
10          0023546L ("Spitzer Policy"); American General on the life of Malvine Spitzer
11          ("Spitzer"). In furtherance of the Spitzer Memo, Plaintiffs paid Defendant $250,000.00
12          towards the purchase of the Spitzer Policy. Defendant instructed Plaintiffs to make said
13          payments to Defendant's IOL TA - Attorney Client Trust Account. Per the Spitzer Memo,
14          Defendant promised to pay the Mermelstein Trust $2,250,000.00 ($2,000,000 plus
15          $250,000 and all premiums paid of the proceeds).
16    22.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
17          Agreement for Joint Venture (Spitzer), changing the recipient of the $2,250,000.00 from
18          the Mermelstein Trust to Robert & Esther Mermelstein.
19    23.   Plaintiffs are informed and believe that Defendant apparently sold portions of the Spitzer
20          Policy, without their consent - but Plaintiffs do not know to whom. Defendant concealed
21          this information from Plaintiffs.
22                                                KOHN
23    24.   On 3-10-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
24          2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
25          Venture with Plaintiffs (the "Kohn Memo"). The purpose of the Kohn Memo, was to
 26         make premium payments of a $3,000,000.00 life insurance Policy ("Kohn Policy");
 27          American General on the life of Eugene Kohn ("Kohn"). In furtherance of the Kohn
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 1          Memo, Plaintiffs paid Defendant $200,000.00 towards the purchase of the Kohn Policy.
 2          Defendant instructed Plaintiffs to make said payments to Defendant's IOLTA - Attorney
 3          Client Trust Account. Per the Kohn Memo, Defendant promised to pay the Mermelstein
 4          Trust $1,200,000.00 ($200,000 and $1,000,000 and all premiums paid of the proceeds).
 5    25.   On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for
 6          Joint Venture (Kohn), changing the recipient of the $1,200,000.00 from the Mermelstein
 7          Trust to Robert & Esther Mermelstein.
 8    26.   Plaintiffs are informed and believe that Defendant paid premiums of the Kohn Policy up
 9          to 2011. Thereafter, Defendant apparently sold portions or the entirety of the Kohn
10          Policy - without Plaintiffs' consent - to Life Capital Group, LLC ("LCG"), where Shlomo
11          Yehuda Rechnitz ("Rechnitz") was to resume paying the Kohn Policy premiums from
12          2011 onwards. Defendant concealed this information from Plaintiffs.
13    27.   According to information recently received by Plaintiffs an unsigned Amended and
14          Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
15          and Rechnitz agreed that upon the death of Kohn, Defendant and Rechnitz would be
16          reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
17          Defendant and Rechnitz would split the profits 50/50 of the Kohn Policy, and that
18          Plaintiffs would receive their $1,200,000.00.
19                                            FRIEDMAN
20    28.   On 3-1-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
21          2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
22          Venture with Plaintiffs (the "Friedman Memo"). The purpose of the Friedman Memo,
23          was to purchase a $1,500,000.00 life insurance Policy ("Friedman Policy"); American
24          General on the life of Goldie Friedman ("Friedman"). In furtherance of the Friedman
25          Memo, Plaintiffs paid Klein $250,000.00 towards the purchase of the Friedman Policy.
26          Defendant instructed Plaintiffs to make said payments to Defendant's IOLTA- Attorney
 27         Client Trust Account. Per the Friedman Memo, Defendant promised to pay the
 28

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 1          Mermelstein Trust $1,000,000.00 ($250,000.00 and $750,000.00 and all premiums paid
 2          of the proceeds).
 3    29.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 4          Agreement for Joint Venture (Friedman), changing the recipient of the $1,000,000.00
 5          from the Mermelstein Trust to Robert & Esther Mermelstein.
 6    30.   Plaintiffs are informed and believe that Defendant apparently sold portions of the
 7          Friedman Policy, to the Longevity Fund of NY and partially to the Longevity Fund of
 8          Michigan, without Plaintiffs consent.
 9    31.   Plaintiffs are informed and believe that Friedman apparently died in 2020, and Defendant
10          collected the Friedman Proceeds, on the Friedman Policy. Defendant concealed this ·
11          information from Plaintiffs, misappropriated & kept the Friedman Proceeds for himself,
12          and failed to pay Plaintiffs the $1,000,000.00 per the Friedman Memo.
13                                           ZIMMERMAN
14    32.   On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
15          2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint
16          Venture with Plaintiffs (the "Zimmerman Memo"). The purpose of the Zimmerman
17          Memo, was to purchase a $9,000,000.00 life insurance Policy ("Zimmerman Policy");
18          American General Policy# US 0023738L on the life ofRozy Pearl Zimmerman
19          ("Zimmerman"). In furtherance of the Zimmerman Memo, Plaintiffs paid Defendant
20          $150,000.00 towards the purchase of the Zimmerman Policy. Defendant instructed
21          Plaintiffs to make said payments to Defendant's IOLTA - Attorney Client Trust Account.
22          Per the Zimmerman Memo, Defendant promised to pay the Mermelstein Trust
23          $2,400,000.00 ($2,250,000.00 plus $150,000.00).
24    33.   On 4-30-2021, Defendant executed a First Amendment to the Memorandum of
 25         Agreement for Joint Venture (Zimmerman), changing the recipient of the $2,400,000.00
 26         from the Mermelstein Trust to Robert & Esther Mermelstein.
 27   34.   Plaintiffs are informed and believe that Defendant paid premiums of the Zimmerman
 28

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 1          Policy up to 2011. Thereafter, Defendant apparently sold portions or the entirety of the
 2          Zimmerman Policy to Life Capital Group, LLC ("LCG") - without Plaintiffs' consent - ,
 3          where Shlomo Y ehuda Rechnitz ("Rechnitz") was to resume paying the Zimmerman
 4          Policy premiums from 2011 onwards. Defendant concealed this information from
 5          Plaintiffs.
 6    35.   Defendant, as Trustee of the Rozy Pearl Zimmerman Irrevocable Life Insurance Trust
 7          (the "Zimmerman Trust") issued three Non-Recourse Promissory Notes (the
 8          "Zimmerman Notes") to Plaintiffs secured by the Zimmerman Policy in the amount of
 9          $2,357,679.50:
10          a.      Non-Recourse Promissory Notes# 1, principal sum of $1,412,679.53, dated June
11                   15, 2011 - due June 15, 2020 (the "$1,412,679.53 Zimmerman Note");
12          b.      Non-Recourse Promissory Notes # 2, principal sum of $570,000.00, dated
13                  December 7, 2009 - due December 7, 2019 (the: "$570,000.00 Zimmerman
14                  Note");
15          c.       Non-Recourse Promissory Notes# 2, principal sum of $375,000.00, dated
16                   January 14, 2010 - due January 14, 2020 (the "$375,000.00 Zimmerman Note").
17          d.       Interest on the three Non-Recourse Zimmerman Notes until 4-30-2023 comes to
18                   $2,939,936.84. Therefore the total amount of the claim is: $7,697,616.34
19                   ($2,400,000.00 (Zimmerman Policy)+ $2,357,679.50 (3 Zimmerman Notes)+
20                   2,939,936.84 (interest)= $7,697,616.34.
21    36.   According to information recently received by Plaintiffs, an unsigned Amended and
22          Restated Limited Liability Company Agreement of Life Capital Group, LLC, Defendant
23           and Rechnitz agreed that upon the death of Zimmerman, Defendant and Rechnitz would
24          be reimbursed the premiums that they paid, plus interest on the premiums. Thereafter,
25           Defendant and Rechnitz would split the profits 50/50 of the Zimmerman Policy, and that
 26          Plaintiffs would receive their $2,400,000.00. Defendant concealed this information from
 27          Plaintiffs.
 28

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 1    PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT'S IOLTA ACCOUNT
 2   37.   During this entire time, Defendant repeatedly assured Plaintiffs that their investments in
 3         the 7 policies were secure and accruing interest. Defendant mailed Plaintiffs periodic
 4         monthly checks of$5,000.00 issued from Defendant's IOLTA- Attorney Client Trust
 5         Account.
 6                     PLAINTIFFS' DISCOVERY OF DEFENDANT'S FRAUD
 7   38.   On or about 1-21-2021, Plaintiffs discovered the above-referenced frauds and
 8         concealment.
 9   39.   On or about 6-22-2022, Defendant wrote Plaintiffs assuring them that their investments
10         were "secure" when in reality, Defendant sold them off to third parties without Plaintiffs'
11         consent:
12         I received you e mail and I disagree. I paid in on the Zmerman policy over
           $1,000,000. The interest for the last 10 years is over $2,300,000. I also own
13         25%ofthe profits. You are well secured. You can call me if you have any
           questions. [Emphasis Added]
14
     40.   On or about 7-18-2022, Defendant wrote Plaintiffs admitting that he used Plaintiffs'
15
           monies from the Friedman Garza and Gans to pay for his legal fees in his lawsuit with
16
           Rechnitz.
17
           I got your email. I want to make it very clear we are family and I don't want to
18         fight. I think I can make a deal with Rechnitz because I have the best lawyers in
           LA. If not we will go to court. I have big leverage on Rechnitz due to the Menlo
19         case. I am not assigning the Zimmerman case to you. I am using the money from
           the Friedman Garza and Gans cases for attorney fees in the Rechnitz case. On
20         Zimmerman Rechnitz and I paid $4,000,000 in premiums but it is return of
           premium. We also gave Mrs Zimmerman $200,000. I am sure they will sue to get
21         more. It is a big policy and all big policies have big fights. [Emphasis Added]
22                                PLAINTIFFS' PROOF OF CLAIMS
23   41.   Plaintiffs timely filed seven (7) Proofs of Claim against Defendant totaling $13,480,949,
24         primarily based on Defendant misappropriating insurance policies and the proceeds, as
25         follows:
26          a.        Claim # 19-1 (Garza) $500,000.00;
27          b.        Claim# 20-1 (Times Square) $333,333.00;
28

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 1          c.      Claim# 21-1 (Ganz) $500,000.00;
 2          d.      Claim # 22-1 (Spitzer) $2,250,000.00;
 3          e.      Claim# 23-1 (Kohn) $1,200,000.00;
 4          f.      Claim# 24-1 (Friedman) $1,000,000.00; &
 5          g.      Claim# 25-2 (Zimmerman) $7,697,616.34.
 6                  TOTAL:           $13,480,949
 7                                    FIRST CLAIM FOR RELIEF
                            (Nondischargeability of Debt - 11 USC § 523(a)(2)(A))
 8
      42.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 9
            in this Complaint as though fully set forth herein.
10
      43.   At all relevant times, Defendant acted as Plaintiffs' fiduciary - investment adviser.
11
             Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
12                                             I

      44.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
13
             loyalty and candor. Defendant further owed a duty to use Plaintiffs' funds for legitimate
14
             business purposes and to refrain from using their funds and other property for his own
15
             personal non-business purposes.
16
      45.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
17
             referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
18
             additional policies into Defendant's IOLTA client trust account. Defendant then stole
19
             more than $13,480,949 of Plaintiffs' money in a complicated life insurance scam,
20
             constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
21
             elder abuse.
22
      46.    Defendant's misappropriation of Plaintiffs' funds and other property was unauthorized,
23
             without their consent and fraudulent. Defendant acted with the intent to permanently
 24
             deprive Plaintiffs of the possession, use and benefit of their funds and other property.
 25
      47.    As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiffs'
 26
             funds and other property and Defendant's false pretenses, false representations, and
 27
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
 28

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 1          than $13,480,949.
 2   48.    Defendant's debt to Plaintiffs is nondischargeable under 11 USC § 523(a)(2) because it
 3          was incurred as a result of false pretenses, false representations, and actual fraud.
 4   49.    The damages arising from Defendant's willful and malicious false pretenses, false
 5          representation and actual fraud to Plaintiffs constitutes a debt against Defendant that is
 6          nondischargeable pursuant to 11 USC § 523(a)(2)(A).
 7                                 SECOND CLAIM FOR RELIEF
                           (Nondischargeability of Debt -11 USC§ 523(a)(4))
 8
     50.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 9
            in this Complaint as though fully set forth herein.
10
     51.    At all relevant times, Defendant acted as Plaintiffs' fiduciary - investment adviser.
11
            Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
12
     52.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
13
            loyalty and candor. Defendant further owed a duty to use Plaintiffs' funds for legitimate
14
            business purposes and to refrain from using their funds and other property for his own
15
            personal non-business purposes.
16
     53 .   Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
17
            referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
18
            additional policies into Defendant's IOLTA client trust account. Defendant then stole
19
            more than $13,480,949 of Plaintiffs' money in a complicated life insurance scam,
20
            constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
21
            elder abuse.
22
     54.    Defendant's misappropriation of Plaintiffs' funds and other property was unauthorized,
23
            without their consent and fraudulent. Defendant acted with the intent to permanently
24
            deprive Plaintiffs of the possession, use and benefit of their funds and other property.
25
      55.    As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiffs'
26
             funds and other property and Defendant's false pretenses, false representations, and
27
             actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
28

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 1          than $13,480,949.
 2   56.    The damages to Plaintiffs arising from Defendant's fraud, defalcation, embezzlement and
 3          larceny while acting in a fiduciary capacity constitutes a debt against Defendant that is
 4          non-dischargeable pursuant to 11 USC§ 523(a)(4).
 5                                  THIRD CLAIM FOR RELIEF
                           (Nondischargeability of Debt - 11 USC§ 523(a)(6))
 6
     57 .   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 7
            in this Complaint as though fully set forth herein.
 8
     58.    At all relevant times, Defendant acted as Plaintiffs' fiduciary - investment adviser.
 9
            Plaintiffs entrusted Defendant implicitly with their investments in the insurance policies.
10
     59.    Defendant owed Plaintiffs fiduciary duties at all relevant times, including the duty of
11
            loyalty and candor. Defendant further owed a duty to use Plaintiffs' funds for legitimate
12
            business purposes and to refrain from using their funds and other property for his own
13
            personal non-business purposes.
14
     60.    Defendant embezzled and stole from Plaintiffs. Defendant misrepresented the above-
15
            referenced information to Plaintiffs for the purpose of convincing Plaintiffs to invest in
16
            additional policies into Defendant's IOLTA client trust account. Defendant then stole
17
            more than $13,480,949 of Plaintiffs' money in a complicated life insurance scam,
18
            constituting intentional fraudulent, fraudulent concealment, breach of fiduciary duty and
19
            elder abuse.
20
     61.    Defendant's misappropriation of Plaintiffs' funds and other property was unauthorized,
21
            without their consent and fraudulent. Defendant acted with the intent to permanently
22
            deprive Plaintiffs of the possession, use and benefit of their funds and other property.
23
     62.    As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiffs'
24
            funds and other property and Defendant's false pretenses, false representations, and
25
            actual fraud set forth herein, Plaintiffs have suffered damages in the amount of not less
26
            than $13,480,949.
27
     63.    The damages to Plaintiffs arising from Defendant's willful and malicious injury to
28

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 1          Plaintiffs constitutes a debt against Defendant that is non-dischargeable pursuant to 11
 2          USC§ 523(a)(6).
 3                                  FOURTH CAUSE OF ACTION
                        (Objection to Debtor's Discharge 11 USC§ 727(a)(2)(A))
 4
      64.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 5
            in this Complaint as though fully set forth herein.
 6
      65.   Plaintiffs are informed and believe that within one year before the Petition, Defendant
 7
            transferred, removed, and/or concealed, or permitted to be transferred, removed, and/or
 8
            concealed, Defendant' s property.
 9
      66.   As of the dates of the transfers, removals, and/or concealments of Defendant's property,
10
            Defendant had one or more unsecured creditors.
11
      67.   The transfers, removals, and/or concealments of Defendant's property prevented the
12
            distribution of Defendant's property to Defendant's unsecured creditors.
13
      68.   Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant's
14
            creditors, including, without limitation, Plaintiffs, transferred, removed, and/or
15
            concealed, or permitted to be transferred, removed, and/or concealed, Defendant's
16
            property.
17
      69.   By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
18
            concealment of Defendant's property with the intent to hinder, delay, and/or defraud at
19
            least one of Defendant's creditors, Defendant violated 11 USC § 727(a)(2)(A).
20
      70.   Defendant failed to list valuable property on his schedule of assets and failed in his
21
            statement of affairs to disclose property transfers.
22
      71.   Defendant has a reckless indifference to the truth.
23
                                      FIFTH CAUSE OF ACTION
24                      (Objection to Debtor's Discharge 11 USC§ 727(a)(2)(B))
25    72.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
26           in this Complaint as though fully set forth herein.
 27   73.    Plaintiffs are informed and believe that After the Petition, Defendant transferred,
 28

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 1           removed, concealed, and/or permitted to be transferred, removed, and/or concealed,
 2           property of the Bankruptcy estate.
 3    74.    As of the dates of the transfers, removals, and/or concealments of the property of the
 4           estate, Defendant had one or more unsecured creditors.
 5    75.    The transfers, removals, and/or concealments of the property of the estate prevented the
 6           distribution of this property to Defendant's unsecured creditors.
 7    76.    Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant's
 8           creditors, transferred, removed, and/or concealed, or permitted to be transferred,
 9           removed, and/or concealed, property of the estate.
10    77.    By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
11           concealment of estate property, with the intent to hinder, delay, and/or defraud at least
12           one of Defendant's creditors, Defendant violated 11 USC§ 727(a)(2)(B).
13    78.    Defendant failed to list valuable property on his schedule of assets and failed in his
14           statement of affairs to disclose property transfers.
15    79.    Defendant has a reckless indifference to the truth.
16                                    SIXTH CAUSE OF ACTION
                          (Objection to Debtor's Discharge 11 USC § 727(a)(3)
17
      80.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
18
             in this Complaint as though fully set forth herein.
19
      81.    Plaintiffs are informed and believe that Defendant has not maintained adequate books
20
             and records from which Debtor's financial condition can be ascertained. Debtor has
21
             consistently not maintained adequate books and records. His failure to keep adequate
22
             books and records is not justified considering the circumstances articulated in this
23
             Complaint.
24
      82.    Defendant has concealed, destroyed, falsified, and/or failed to keep or preserve
 25
             information from which Defendant's financial condition and/or business transactions
 26
             might be ascertained.
 27
       83.    Defendant has not been cooperative with the Office of the United States Trustee
 28

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 1         ("OUST") or with his creditors. Defendant has intentionally withheld records, books,
 2         documents, and/or other papers relating to Defendant's property and/or financial affairs.
 3   84.   Considering the foregoing, Defendant's discharge must be denied under 11 USC§
 4         727(a)(3).
 5                               SEVENTH CAUSE OF ACTION
                        (Objection to Debtor's Discharge 11 USC§ 727(a)(4)
 6
     85.   Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
 7
           in this Complaint as though fully set forth herein.
 8
     86.   Plaintiffs are informed and believe that Defendant has not made simple isolated errors or
 9
           omissions in his Bankruptcy filings. Defendant's filings, such as his schedules and
10
           statement of affairs, do not reflect inadvertence or incompetence; rather, they exhibit
11
           fraudulent intent.
12
     87.   Defendant has a pattern of misleading conduct.
13
     88.   Defendant has a reckless indifference to the truth.
14
     89.   Defendant has failed to list assets in his schedules.
15
     90.   Defendant has falsely testified in the 341 Meeting. 2
16

17
      2
            At the 3-13-2023 341 (a) Meeting, Defendant at circa 11: 15 testified in response to
18          omissions to be brought to the attention of the United States Trustee ("UST"), that
            there were only "three minor errors" which he thought that his attorney corrected.
19
            Defendant testified that there were "no" errors related to any assets that he owns. At
20          circa 12:52, Defendant testified that he identified all assets on his schedules.
            Defendant at circa 1:18:30-1:09:21 testified that in the year before the Bankruptcy,
21          he received no commissions from his third-party life insurance deals. At circa
            1:20: 18, Defendant testified that he has not ever collected money on his third-party
22          life insurance deals. At circa 1:22: 18, Defendant testified that he has never received
23          a payoff on his third-party life insurance deals. At circa 1:23 :21, Defendant testified
            that four people have died and that he has received no money. Defendant at circa
24           1:39:00 testified, in response to whether he had transactions with Shlomo Rechnitz
            in the last five or six months relating to the thirdparty life insurance policies, "nope."
25          Defendant testified that he does not remember paying the premiums for these
            policies out of his attorney client trust account at any time. Defendant at circa
26
             1:40:03 testified that he does not remember depositing his own funds into his
27          attorney-client trust account so that these insurance premiums could be paid. In
            response to the question of whether Defendant traveled out of the country anywhere
28           recently, other than Israel, Defendant at circa 2:23 :00 testified, "nope." In response

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 1    91.    Defendant has knowingly and fraudulently made false oaths and/or accounts in the
 2           Bankruptcy Case.
 3    92.    Defendant has failed to provide records which are necessary for the OUST and his
 4           creditors to properly understand Defendant's financial condition and/or recent business
 5           transactions.
 6    93 .   Considering the foregoing, Defendant's discharge must be denied under 11 USC§
 7           727(a)(4).
 8                                     EIGHTH CAUSE OF ACTION
                             (Objection to Debtor's Discharge 11 USC § 727(a)(5)
 9
      94.    Plaintiffs reallege and incorporate by reference all of the prior and subsequent allegations
10
             in this Complaint as though fully set forth herein.
11
      95.    Defendant has failed to explain satisfactorily his deficiency and/or loss of assets to meet
12
             Debtor's liabilities. No determination has yet been made of an entitlement to a discharge
13
             in this Bankruptcy Case.
14
      96.    Considering the foregoing, Defendant's discharge must be denied under 11 USC§
15
             727(a)(5).
16
                                           PRAYER FOR RELIEF
17
             WHEREFORE, Plaintiffs request judgment on the Complaint as follows:
18
      1.     On the First Claim for Relief, Plaintiffs seek an order determining that Defendant is
19
             indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant's debt is
20
             excepted from discharge pursuant to 11 USC§ 523(a)(2)(A);
21
      2.     On the Second Claim for Relief, Plaintiffs seek an order determining that Defendant is
22
             indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant's debt is
23
             excepted from discharge pursuant to 11 USC§ 523(a)(4);
24
      3.     On the Third Claim for Relief, Plaintiffs seek an order determining that Defendant is
25

26
               to the question of whether Defendant has bank accounts in Israel, Defendant at circa
27             2:26:48 testified, "nope." Defendant at circa 2:59:15 testified that he has not
               transferred any assets within the last year to a third party. Defendant at circa 2:59:33
 28            testified that he has not given any gifts more than $12,000.00 to his family.

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 1          indebted to Plaintiffs in an amount not less than $13,480,949 and that Defendant's debt is
 2          excepted from discharge pursuant to 11 USC§ 523(a)(6);
 3    4.    On the Fourth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 4          pursuant to 11 USC § 727(a)(2)(A);
 5    5.    On the Fifth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 6          pursuant to 11 USC § 727(a)(2)(B);
 7    6.    On the Sixth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
 8          pursuant to 11 USC § 727(a)(3);
 9    7.    On the Seventh Claim for Relief, Plaintiffs seek an order denying Defendant his
10          discharge pursuant to 11 USC§ 727(a)(4);
11    8.    On the Eighth Claim for Relief, Plaintiffs seek an order denying Defendant his discharge
12          pursuant to 11 USC § 727(a)(5);
13    9.    For costs of suit incurred herein; and
14    10.   For such other and further relief as the Court may deem appropriate.
15
      DATED:        May 12, 2023                     LAW OFFICE OF BARUCH C. COHEN
16                                                   A Professional Law Corporation
17                                                   By     ISi Baruch C. Cohen
                                                     Baruch C. Cohen, Esq.
18                                                   Attorney For Creditors Robert & Esther
                                                     Mermelstein
19

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              EARLY MEETING OF COUNSEL, JOINT STATUS REPORT AND
                      STATUS CONFERENCE INSTRUCTIONS

    1.     A copy of these instructions must be attached to the copy of the complaint served
    upon each party, and the proof of service of the summons and complaint must indicate
    that such copy was served therewith.

    2.      If the adversary proceeding involves money or property exceeding $10,000, or if
    plaintiff believes trial time will exceed 4 hours, plaintiff must serve, with the summons
    and complaint, a notice that compliance with Local Bankruptcy Rule 7026-1 and Federal
    Bankruptcy Procedure Rule 7026 is required. Plaintiff must also file a proof of service of
    the notice together with the proof of service of the summons and the complaint.

    3.   If Local Bankruptcy Rule 7026-1 is applicable, counsel for the parties MUST
    TIMELY MEET TO DISCUSS SETTLEMENT AND TO EXCHANGE DOCUMENTS ,
    OTHER EVIDENCE , AND LISTS OF WITNESSES , AND PRELIMINARY DISCOVERY
    SCHEDULES AS PROVIDED IN SAID RULE. FEDERAL RULE OF CIVIL
    PROCEDURE 26(0 DOES NOT APPLY TO THIS PROCEEDING.

    4.     Unless all defendants have defaulted, the parties fil.Y.fil file a Joint Status Report
    pursuant to Local Bankruptcy Rule 7016-1 (a)(2) at least 14 court days before the date
    of the status conference using Local Form No. F 7016-1.1. This form may be found on
    the Court's website, www each 11scrn1rts gov, by clicking on "Forms/Rules/General
    Orders," then "Local Bankruptcy Rules & Forms." and scrolling down to F 7016-1 .1. If
    Local Bankruptcy Rule 7026-1 is applicable, the parties shall ioch1de in the .Joint Status.
    Report a statement that they have met to discuss settlement and have exchanged
    documents, other evidence. lists of witnesses and preliminary discovery schedules.

    5.      If no response to the complaint is timely filed, plaintiff may request entry of
    default by the clerk or by the court pursuant to Local Bankruptcy Rule 7055-1 (a).
    Plaintiff may also request entry of a default judgment by filing and serving an
    appropriate motion pursuant to Local Bankruptcy Rule 7055-1 (b ). These motions may
    be brought pursuant to Local Bankruptcy Rule 9013-1.

    6.     If the parties dispute whether the adversary proceeding is "core" or "non-core,"
    they must file points and authorities in support of their positions. See 28 U.S.C. § 157.
    Any party that contends the proceeding is "non-core" must file and serve its points and
    authorities at least 14 days before the status conference. Any response must be filed
    and served at least 7 days before the status conference.

     7.    Unless a party objects in writing in the first Joint Status Report or the court orders
     otherwise, direct testimony at trial will be presented by declaration.

     8.     Failure to comply with these instructions may subject the responsible party to
     sanctions.
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    9.      At the initial status conference a date may be set for further status conference, a
    pre-trial conference and/or for trial.

    10.   Failure of counsel for any party to appear at a status conference or pre-trial
    conference may be considered an abandonment and the adversary proceeding may be
    dismissed or judgment entered against the defaulting party, without furtherhearing.

                                                     Sandra R. Klein
                                                     United States Bankruptcy Judge
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                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is

                                       4929 Wilshire Boulevard , Suite 940, Los Angeles, California 90010

A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:

COMPLAINT FOR NONDISCHARGEABILITY OF DEBT PURSUANT TO 11 use § 523(a)(2)(A), 11 USC § 523(a)(4 ), & 11 use§
523(a)(6); & FOR DENIAL OF DISCHARGE PURSUANT TO 11 USC § 727(a)(2)(A); 11 USC § 727(a)(2)(B); 11 USC§ 727(a)(3); 11
USC§ 727(a)(4); 11 USC§ 727(a)(5) & EARLY MEETING OF COUNSEL, JOINT STATUS REPORT AND STATUS CONFERENCE
INSTRUCTIONS

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING tNEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
   (date)  5/16/2023                , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:
    Baruch C Cohen        bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq .com
    US Trustee (LA)       ustpregion16.la.ecf@usdoj.gov


                                                                          0    Service information continued on attached page
   2. SERVED BY UNITED STATES MAIL: On (date) _ _ __ _,__ _ __ , I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.



                                                                          Ci Service information continued on attached page

   3. SERVED BY PERSONAL DELIVERY OVERNIGHT MAIL FACSIMILE TRANSMISSION OR EMAIL state method for each
     erson or ent1 serve : ursuant to F. . 1v. . and or control 1ng            , on ate 5/16/2023                     , I served the
   following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
   service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
   delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed .

    VIA PERSONAL DELIVERY:
       Honorable Sandra R. Klein, 255 E. Temple Street, Suite 1582, Los Angeles, CA 90012

    VIA EMAIL:
       Michael Jay Berger           michael.berger@bankruptcypower.com, yathida.nipha@bankruptcypower.com;
                                    michael .berger@ecf.inforuptcy.com

                                                                           0 Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




    5/16/2023                                   Baruch C. Cohen, Esq.                                 Isl Baruch C. Cohen
   Date                                Printed Name                                                      Signature




                 This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

 December 2016                                                                                  F 7004-1.SUMMONS.ADV.PROC
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 1                             DECLARATION OF ROBERT MERMELSTEIN

 2              I, ROBERT MERMELSTEIN, declare and state as follows:

 3    1.        The facts stated below are true and correct to the best of my personal knowledge and if called

 4              upon to testify to them, I could and would competently do so.

 5    2.        This Declaration is in support of the PLAINTIFF'S MOTION FOR DEFAULT

 6              JUDGMENT UNDER LBR 7055-1 filed by me, Robert Memelstein.

 7                                         PROCEDURAL HISTORY

 8    3.        On 5-12-2023, I filed this instant Complaint for Determination of Nondischargeability of

 9              Debts and to Deny Discharge pursuant to 11 USC§ 523(a)(2)(A), 11 USC§ 523(a)(4), & 11

10              USC§ 523(a)(6); & for Denial of Discharge Pursuant to 11 USC§ 727(a)(2)(A); 11 USC§

11              727(a)(2)(B); 11 USC§ 727(a)(3); 11 USC§ 727(a)(4); 11 USC§ 727(a)(5)( 11 Complaint")

12              against Defendant Leslie Klein ("Defendant"). (Dkt. No. 1) Adv.# 2:23-ap-01153-SK.

13    4.        On 11-8-2023, the Court dismissed without prejudice causes of action for Denial of Discharge

14               Pursuant to 11 USC§ 727(a)(2)(A); 11 USC§ 727(a)(2)(B); 11 USC§ 727(a)(3); 11 USC§

15               727(a)(4); 11 USC§ 727(a)(5) (Dkt No 36).

16    5.         On 11-28-2023, this Court entered a default against Klein for Determination of

17               Nondischargeability of Debts and to Deny Discharge pursuant to 11 USC§ 523(a)(2)(A), 11

18               USC§ 523(a)(4), & 11 USC§ 523(a)(6) (Dkt No 41).

19                           BACKGROUND FACTS SUPPORTING JUDGMENT

20                                                     GARZA

21    6.         On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated

22               2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint Venture

23               (the "Garza Memo"). The purpose of the Garza Memo, was to purchase a $1,000,000.00 life

 24              insurance Policy ("Garza Policy"); American General on the life of Emanuel Garza ("Garza").

 25              In furtherance of the Garza Memo, Plaintiffs paid Klein $100,000.00 towards the purchase of

 26              the Garza Policy. Defendant instructed Plaintiffs to make said payments to Defendant's

 27              IOLTA - Attorney Client Trust Account. Per the Garza Memo, Defendant promised to pay the

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 1                Mermelstein Trust $500,000.00 ($400,000.00 plus return of premmms paid; plus
 2                $100,000.00).
 3   7.           On 4-30-2021, Defendant executed a First Amendment to the Memorandum ofAgreement for
 4                Joint Venture (Garza), changing the recipient of the $500,000.00 from the Mermelstein Trust
 5                to Robert & Esther Mermelstein.
 6   8.           Plaintiffs are informed and believe that Defendant sold 50% to the Garza Policy, to the
 7                Longevity Fund of NY and partially to the Longevity Fund of Michigan without their consent.
 8   9.           Plaintiffs are informed and believe that Garza apparently died in 2018, and on or about 7-2-
 9                2018, Defendant collected the Garza Proceeds, on the Garza Policy. Defendant concealed this
10                information from Plaintiffs, misappropriated & kept the Garza Proceeds for himself, and failed
11                to pay Plaintiffs the $500,000.00 per the Garza Memo.
12                                                 TIMES SQUARE
13   10.          On 7-16-2012, Defendant issued Plaintiffs a Non-Recourse Promissory Note, in the amount
14                of$333,333.00, due and payable by 7-16-2013, by Defendant on behalf of the Times Square
15                Media Inc., containing a "Heter /ska" document (an approved way ofrestructuring a loan or
16                debt so that it becomes an investment instead of a loan, per Halacha - Jewish law).
17   11.          Plaintiffs are informed and believe that Defendant had no intention of paying the Times
18                Square Non-Recourse Promissory Note, as Plaintiffs made no payments whatseoever.
19                                                       GANZ
20   12.          On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated
21                2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint Venture
22                with plaintiffs (the "Ganz Memo"). The purpose of the Ganz Memo, was to purchase a
23                $1,000,000.00 life insurance Policy ("Ganz Policy"); American General on the life of Emanuel
24                Ganz ("Ganz"). In furtherance of the Ganz Memo, Plaintiffs paid Klein $100,000.00 towards
25                the purchase of the Ganz Policy. Defendant instructed Plaintiffs to make said payments to
26                Defendant's IOLTA - Attorney Client Trust Account. Per the Ganz Memo, Defendant
27                promised to pay the Mermelstein Trust $500,000.00 ($400,000.00 plus return of premiums
28                paid; plus $100,000.00).

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 1    13.       On 4-30-2021, Defendant executed a First Amendment to the Memorandum of Agreement for

 2              Joint Venture (Ganz), changing the recipient of the $500,000.00 from the Mermelstein Trust

 3             to Robert & Esther Mermelstein.

 4    14.       Plaintiffs are informed and believe that Defendant apparently sold 50% to the Ganz Policy,

 5              to the Longevity Fund of NY and partially to the Longevity Fund of Michigan, without

 6              Plaintiffs consent.

 7    15.       Plaintiffs are informed and believe that Ganz apparently died in 2018, and on or about 7-2-

 8              2018, Defendant collected the Ganz Proceeds, on the Ganz Policy. Defendant concealed this

 9              information from Plaintiffs, misappropriated & kept the Ganz Proceeds for himself, and failed

10              to pay Plaintiffs the $500,00.00 per the Ganz Memo.

11                                                   SPITZER

12    16.       On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated

13              2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint Venture

14              with Plaintiffs (the "Spitzer Memo"). The purpose of the Spitzer Memo, was to make

15              premium payments of a $5,000,000.00 life insurance Policy Number: US 0023546L ("Spitzer

16              Policy"); American General on the life of Malvine Spitzer ("Spitzer"). In furtherance of the

17               Spitzer Memo, Plaintiffs paid Defendant $250,000.00 towards the purchase of the Spitzer

18               Policy. Defendant instructed Plaintiffs to make said payments to Defendant's IOLTA -

19               Attorney Client Trust Account. Per the Spitzer Memo, Defendant promised to pay the

20               Mermelstein Trust $2,250,000.00 ($2,000,000.00 plus $250,000.00 and all premiums paid of

21               the proceeds).

22    17.        On 4-30-2021, Defendant executed a First Amendment to the Memorandum of Agreement for

23               Joint Venture (Spitzer), changing the recipient of the $2,250,000.00 from the Mermelstein

24               Trust to Robert & Esther Mermelstein.

25     18.       Plaintiffs are informed and believe that Defendant apparently sold portions of the Spitzer

 26              Policy, without their consent - but Plaintiffs do not know to whom. Defendant concealed this

 27              information from Plaintiffs.

 28   Ill

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 1                                                       KOHN

 2    19.         On 3-10-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated

 3                2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint Venture

 4                with Plaintiffs (the "Kohn Memo"). The purpose of the Kohn Memo, was to make premium

 5                payments of a $3,000,000.00 life insurance Policy ("Kohn Policy"); American General on the

 6                 life of Eugene Kohn ("Kohn"). In furtherance of the Kohn Memo, Plaintiffs paid Defendant

 7                 $200,000.00 towards the purchase of the Kohn Policy. Defendant instructed Plaintiffs to make

 8                 said payments to Defendant's IOLTA - Attorney Client Trust Account. Per the Kohn Memo,

 9                 Defendant promised to pay the Mermelstein Trust $1,200,000.00 ($200,000.00 and

10                 $1,000,000.00 and all premiums paid of the proceeds).

11    20.          On 4-30-2021, Klein executed a First Amendment to the Memorandum ofAgreement for Joint

12                 Venture (Kohn), changing the recipient of the $1,200,000.00 from the Mermelstein Trust to

13                 Robert & Esther Mermelstein.

14    21.          Plaintiffs are informed and believe that Defendant paid premiums of the Kohn Policy up to

15                 2011. Thereafter, Defendant apparently sold portions or the entirety of the Kohn Policy -

16                 without Plaintiffs' consent - to Life Capital Group, LLC ("LCG"), where Shlomo Y ehuda

17                 Rechnitz ("Rechnitz") was to resume paying the Kohn Policy premiums from 2011 onwards.

18                 Defendant concealed this information from Plaintiffs.

 19   22.          According to information recently received by Plaintiffs an unsigned Amended and Restated

20                  Limited Liability Company Agreement of Life Capital Group, LLC, Defendant and Rechnitz

 21                 agreed that upon the death of Kohn, Defendant and Rechnitz would be reimbursed the

 22                 premiums that they paid, plus interest on the premiums. Thereafter, Defendant and Rechnitz

 23                 would split the profits 50/50 of the Kohn Policy, and that Plaintiffs would receive their

 24                 $1,200,000.00.

 25                                                    FRIEDMAN

 26   23.           On 3-1-2010, Defendant on behalf of The Klein Charitable Remainder Unitrust dated

 27                 2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint Venture

 28                 with Plaintiffs (the "Friedman Memo"). The purpose of the Friedman Memo, was to purchase

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 1              a $1,500,000.00 life insurance Policy ("Friedman Policy"); American General on the life of

 2              Goldie Friedman ("Friedman"). In furtherance of the Friedman Memo, Plaintiffs paid Klein

 3              $250,000.00 towards the purchase of the Friedman Policy. Defendant instructed Plaintiffs to

 4              make said payments to Defendant's IOLTA -Attorney Client Trust Account. Per the Friedman

 5              Memo, Defendant promised to pay the Mermelstein Trust $1,000,000.00 ($250,000.00 and

 6              $750,000.00 and all premiums paid of the proceeds).

 7    24.       On 4-30-2021, Defendant executed a First Amendment to the Memorandum of Agreement for

 8              Joint Venture (Friedman), changing the recipient of the $1,000,000.00 from the Mermelstein

 9              Trust to Robert & Esther Mermelstein.

10    25.       Plaintiffs are informed and believe that Defendant apparently sold portions of the Friedman

11              Policy, to the Longevity Fund ofNY and partially to the Longevity Fund ofMichigan, without

12              Plaintiffs consent.

13    26.       Plaintiffs are informed and believe that Friedman apparently died in 2020, and Defendant

14              collected the Friedman Proceeds, on the Friedman Policy. Defendant concealed this

15              information from Plaintiffs, misappropriated & kept the Friedman Proceeds for himself, and

16               failed to pay Plaintiffs the $1,000,000.00 per the Friedman Memo.

17                                                ZIMMERMAN

 18   27.        On 8-3-2009, Defendant on behalf of The Klein Charitable Remainder Unitrust dated

 19              2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint Venture

20               with Plaintiffs (the "Zimmerman Memo"). The purpose of the Zimmerman Memo, was to

21               purchase a $9,000,000.00 life insurance Policy ("Zimmerman Policy"); American General

 22              Policy #US 0023738L on the life ofRozy Pearl Zimmerman ("Zimmerman"). In furtherance

 23              of the Zimmerman Memo, Plaintiffs paid Defendant $150,000.00 towards the purchase of the

 24              Zimmerman Policy. Defendant instructed Plaintiffs to make said payments to Defendant's

 25              IOLTA - Attorney Client Trust Account. Per the Zimmerman Memo, Defendant promised to

 26              pay the Mermelstein Trust $2,250,000.00.

 27   28.        On 4-30-2021, Defendant executed a First Amendment to the Memorandum of Agreement for

 28              Joint Venture (Zimmerman), changing the recipient of the $2,250,000.00 from the

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 1              Mermelstein Trust to Robert & Esther Mermelstein.

 2   29.        Plaintiffs are informed and believe that Defendant paid premiums of the Zimmerman Policy

 3              up to 2011. Thereafter, Defendant apparently sold portions or the entirety of the Zimmerman

 4              Policy to Life Capital Group, LLC ("LCG") - without Plaintiffs' consent - where Shlomo

 5              Y ehuda Rechnitz ("Rechnitz") was to resume paying the Zimmerman Policy premiums from

 6              2011 onwards. Defendant concealed this information from Plaintiffs.

 7   30.        Defendant, as Trustee of the Rozy Pearl Zimmerman Irrevocable Life Insurance Trust (the

 8              "Zimmerman Trust") issued three Non-Recourse Promissory Notes (the "Zimmerman Notes")

 9              to Plaintiffs secured by the Zimmerman Policy in the amount of $2,357,679.50:

10              a.      Non-Recourse Promissory Notes# 1, principal sum of$1,412,679.53, dated June 15,

11                      2011 - due June 15, 2020 (the "$1,412,679.53 Zimmerman Note");

12              b.      Non-Recourse Promissory Notes# 2, principal sum of $570,000.00, dated December

13                      7, 2009 - due December 7, 2019 (the: "$570,000.00 Zimmerman Note");

14               c.     Non-Recourse Promissory Notes# 3, principal sum of$375,000.00, dated January 14,

15                      2010 - due January 14, 2020 (the "$375,000.00 Zimmerman Note").

16   31.         According to information recently received by Plaintiffs, an unsigned Amended and Restated

17               Limited Liability Company Agreement of Life Capital Group, LLC, Defendant and Rechnitz

18               agreed that upon the death of Zimmerman, Defendant and Rechnitz would be reimbursed the

19               premiums that they paid, plus interest on the premiums. Thereafter, Defendant and Rechnitz

20               would split the profits 50/50 of the Zimmerman Policy, and that Plaintiffs would receive their

21               $2,250,000.00. Defendant concealed this information from Plaintiffs.

22      PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT'S IOLTA ACCOUNT

23   32.         The purpose of the Zimmerman Notes was to pay premiums on the 6 insurance policies

24               (Garza, Ganz, Spitzer, Kohn, Friedman, and Zimmeran). Defendant claimed he would use the

25               interest to pay the premiums.

26   33.         During this entire time, Defendant repeatedly assured Plaintiffs that their investments in the

27               6 policies were secure and accruing interest. Defendant mailed Plaintiffs periodic monthly

28               checks of $5,000.00 issued from Defendant's IOLTA - Attorney Client Trust Account.

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 1                         PLAINTIFFS' DISCOVERY OF DEFENDANT'S FRAUD

 2    34.        On or about 1-21-2021, Plaintiffs discovered the above-referenced frauds and concealment.

 3    35.        On or about 6-22-2022, Defendant wrote Plaintiffs assuring them that their investments were

 4               "secure" when in reality, Defendant sold them off to third parties without Plaintiffs' consent:

 5               I received you email and I disagree. I paid in on the Zmerman policy over $1,000,000.
                 The interest for the last 10 years is over $2,300,000 . I also own 25% of the profits.
 6               You are well secured. You can call me if you have any questions. [Emphasis Added]
 7
      36.        On or about 7-18-2022, Defendant wrote Plaintiffs admitting that he used Plaintiffs' monies
 8
                 from the Friedman Garza and Gans to pay for his legal fees in his lawsuit with Rechnitz.
 9
                 I got your email. I want to make it very clear we are family and I don't want to fight.
10               I think I can make a deal with Rechnitz because I have the best lawyers in LA. If not
                 we will go to court. I have big leverage on Rechnitz due to the Menlo case. I am not
11               assigning the Zimmerman case to you. I am using the money from the Friedman
                 Garza and Gans cases for attorney fees in the Rechnitz case. On Zimmerman
12
                 Rechnitz and I paid $4,000,000 in premiums but it is return of premium. We also gave
13               Mrs Zimmerman $200,000. I am sure they will sue to get more. It is a big policy and
                 all big policies have big fights. [Emphasis Added]
14
                                          PLAINTIFFS' PROOF OF CLAIMS
15
      37.         Plaintiffs have filed seven (7) Amended Proofs of Claim against Defendant totaling
16
                  $20,997,706.72, primarily based on Defendant misappropriating insurance policies and the
17
                  proceeds, as follows:
18
                  a.     Claim# 19-1 (Garza)                    $1,178,219.17
19
                  b.     Claim # 20-1 (Times Square)            $   362,556.71
20
                  C.     Claim # 21-1 (Ganz)                    $1,178,219.17
21
                  d.     Claim # 22-1 (Spitzer)                 $ 2,928,219.17
22
                  e.     Claim # 23-1 (Kohn)                    $2,496,438.34
23
                  f.     Claim # 24-1 (Friedman)                $2,296,438.34
24
                  g.     Claim # 25-2 (Zimmerman)               $10,557,615.81
25
                                                  TOTAL:        $20,997,706.72
26
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 27
      Ill
 28

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 1                                    DEFAULT INTEREST CALCULATION

 2    38.       Pursuant to Bankruptcy Rule 3001(c)(2)(A), interest on the claims has been calculated as

 3              follows:

 4              a.     Garza:

 5                     Pre-petition interest of 10% on the $500,000.00 from 8-3-2009 until the petition date

 6                     of 2-22-2023 equals $678,219.17 (4951 days at $136.99 interest/day). The total

 7                     amount due as of the filing date was $1,178,219.17.

 8                     Post-petition interest from 2-23-2023 through 1-4-2024 (320 days at $136.99

 9                     interest/day) comes to $43,835.62.

10                     As of 1-9-2024, the total amount due on the Garza claim is $1.222,054. 79.

11              b.         Times Square:

12                         Pre-petition interest of 10% on the $333,333.00 from 4-8-2022 until the petition date

13                         of 2-22-2023 equals $29,223.71 (320 days at $91.32 interest/day). The total amount

14                         due as of the filing date was $362,556.71.

15                         Post-petition interest from 2-23-2023 through 1-9-2024 (320 days at $91.32

16                         interest/day) comes to $29,223.71.

 17                        As of 1-9-2024, the total amount due on the Time Square claim is $391,780.42.

 18              c.        Ganz:

 19                        Pre-petition interest of 10% on the $500,000.00 from 8-3-2009 until the petition date

20                         of 2-22-2023 equals $678,219.17 (4951 days at $136.99 interest/day). The total

 21                        amount due as of the filing date was $1,178,219.17.

 22                        Post-petition interest from 2-23-2023 through 1-9-2024 (320 days at $136.99

 23                        interest/day) comes to $43,835.62.

 24                        As of 1-9-2024, the total amount due on the Ganz claim is $1,222,054.79.

 25              d.        Spitzer:

 26                        Pre-petition interest of 10% on the $500,000.00 from 8-3-2009 until the petition date

 27                        of 2-22-2023 equals $678,219.17 (4951 days at $136.99 interest/day). The total

 28                        amount due as of the filing date was $2,928,219.17.

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 1                   Post-petition interest from 2-23-2023 through 1-9-2024 (320 days at $136.99

 2                   interest/day) comes to $43,835.62.

 3                   As of 1-9-2024, the total amount due on the Spitzer claim is $2,972,054.79.

 4             e.    Kohn:

 5                   Pre-petition interest of 10% on the $1,000,000.00 from 3-10-2010 until the petition

 6                   date of 2-22-2023 equals $1 ,296,438.34 (4732 days at $273.97 interest/day). The total

 7                   amount due as of the filing date was $2,496,438.34.

 8                   Post-petition interest from 2-23-2023 through 1-9-2024 (320 days at $273.97

 9                   interest/day) comes to $87,671.23.

10                   As of 1-9-2024, the total amount due on the Kohn claim is $2,584,109.58.

11             f.    Friedman:

12                   Pre-petition interest of 10% on the $1,000,000.00 from 3-10-2010 until the petition

13                   date of 2-22-2023 equals $1,296,438.34 (4732 days at $$273.97 interest/day). The

14                   total amount due as of the filing date was $2,296,438.34.

15                   Post-petition interest from 2-23-2023 through 1-9-2024 (320 days at $273.97

16                   interest/day) comes to $87,671.23.

17                   As of 1-9-2024, the total amount due on the Friedman claim is $2,384,109.58.

18              g.   Zimmerman:

 19                  1.      Pre-petition interest of 10% on the Zimmerman Memo from 8-3-2009 until the

20                           petition date of 2-22-2023 equals $3,051,986.52 (4951 days at $616.44

21                           interest/day). The total amount due as of the filing date was $5,301,986.52.

22                           Post-petition interest from 2-23-2023 through 1-9-2024 (320 days at $616.44

 23                          interest/day) comes to $197,260.29.

 24                          As of 1-9-2024, the total amount due on the Zimmerman Memo is

 25                   $5,499,246.81.

 26                          Pre-petition interest of 10% on the $1,412,679.53 Zimmerman Note from

 27                          6-15-2011 until the petition date of 2-22-2023 equals $1,652,641.59 (4270

 28                          days at $387 .04 interest/day). The total amount due as of the filing date was

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 1                              $3,065,321.12.

 2                              Post-petition interest from 2-23-2023 through 1-9-2024 (320 days at $387.04

 3                              interest/day) comes to $123,851.36.

 4                              As of 1-9-2024, the total amount due on the $1 ,412,679.53 Zimmerman

 5                              Note is $3,189,172.48.

 6                       111.    Pre-petition interest of 10% on the $570,000.00 Zimmerman Note from

 7                               12-7-2009 until the petition date of 2-22-2023 comes to $753,493.23 (4825

 8                               days at $156.16 interest/day). The total amount due as of the filing date was

 9                               $1,323,493.23.

10                               Post-petition interest from 2-23-2023 through 1-9-2024 (320 days at $156.16

11                               interest/day) comes to $49,972.61.

12                               As of 1-9-2024, the total amount due on the $570,000.00 Zimmerman Note

13                               is $1 ,373,465.84.

14                       1v.     Pre-petition interest of 10% on the on the $375,000.00 Zimmerman Note from

15                               1-14-2010 until the petition date of 2-22-2023 comes to $491,814.94 (4787

16                               days at $102.74 interest/day). The total amount due as of the filing date was

17                               $866,814.94.

18                               Post-petition interest from 2-23-2023 through 1-9-2024 (320 days at $102.74

19                               interest/day) comes to $32,876.70.

20                               As of 1-9-2024, the total amount due on the $375,000.00 Zimmerman Note

21                               is $899,691.65.

22                        The total amount due on the Zimmerman claim is $10,961,576.77.

23    39.         The combined the total default amount due for all claims is $21,737,740.70.

24                I declare under penalty of perjury under the laws of the United States, State of California that

25    the foregoing is true and correct.

 26               Executed January 10, 2024, at Los Angeles, CA

 27                                                              By /s/ Robert Mermelstein
                                                                 ROBERT MERMELSTEIN
 28

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       Debtor 1              LESLIE KLEIN

      Debtor 2
       (Spouse, if filing)

                                                Central District of California
       United States Bankruptcy Court for the: _ __      _

       Case number           2:23-bk-10990-SK



     Official Form 410
     Proof of Claim                                                                                                                                                        04/22

     Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
     make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
     Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
     documents that support the claim, such as promissory notes. purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
     mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
     explain in an attachment.
     A person who files a fraudulent claim could be fined up to $500 ,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571 .

     Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                      Identify the Claim

I:1. Who is the current
I        creditor?
                                       ROBERT & ESTHER MERMELSTEIN
                                       Name of the current creditor (the person or entity to be paid for this claim)
li                                     Other names the creditor used with the debtor

l2. ··;:;~~-;hi~ ~laim been
         acquired from
                                       !if No
         someone else?                 D Yes.      From whom?
                                                                   - ------------------------- --------
     3. Where should notices           Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
        and payments to the                                                                                        different)
        creditor be sent?
                                        BARUCH C. COHEN, ESQ.
         Federal Rule of               Name                                                                        Name
         Bankruptcy Procedure
         (FRBP) 2002(g)                 4929 WILSHIRE BOULEVARD, SUITE 940
                                       Number           Street                                                         Number          Street

                                        LOS ANGELES                        CA              90010
                                       City                               State                   ZIP Code             City                          State                    ZIP Code

                                       Contact phone 3 2 3-93?-45 0 1                                                  Contact phone

                                       Contact email    baruchcohen@baruchcohenesq.com                                 Contact email




                                        Uniform claim identifier for electronic payments in chapter 13 (if you use one):




     4. Does this claim amend          0 No
        one already filed?             @ Yes. Claim number on court claims registry (if known) _!g__                                            Filed on     05/02/2023
                                                                                                                                                             MM   / DD   I YYYY



     5. Do you know if anyone          !if No
        else has filed a proof          D Yes. Who made the earlier filing?
        of claim for this claim?




         Official Forrn 410                                                        Proof of Claim                                                                    page 1
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               Give Information About the Claim as of the Date the Case Was Flied

6     Do you have any number         D No
I     you use to identify the        ~ Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:       G   A       R
                                                                                                                                                ----
                                                                                                                                                          Z
      debtor?



7     How much is the claim?                        1~
                                       $_ _ _ _ _ ___ •1_7_8~•~2_1_9_._1_7 . Does this amount include interest or other charges?
                                                                                0 No
                                                                                lia' Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                          charges required by Bankruptcy Rule 3001 (c)(2)(A).


B. What Is the basis of the          Examples: Goods sold, money loaned, lease, services performed , personal injury or wrongful death, or credit card.
   claim?
                                     Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).
                                     Limit disclosing information that is entitled to privacy, such as health care information.


                                     KLEIN MISAPPROPRIATED INSURANCE POLICY PROCEEDS


9     Is all or part of the claim    5Zi No
      secured?                       0 Yes. The claim is secured by a lien on property.
                                               Nature of property:
                                               0 Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                                 Attachment (Official Form 410-A) with this Proof of Claim.
                                               0 Motor vehicle
                                               0 Other. Describe:


                                                Basis for perfection:
                                               Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                               example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                               been filed or recorded .)



                                                Value of property:                            $_ _ _ _ _ _ __
                                                Amount of the claim that is secured:         $_ __ _ __ _ _

                                                Amount of the claim that is unsecured : $_ __ __ _ __ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7 .)



                                                Amount necessary to cure any default as of the date of the petition:              $_ _ _ _ __ _ __



                                                Annual Interest Rate (when case was filed) _ _ _%
                                                0 Fixed
                                                0 Variable


    10 Is this claim based on a       0 No
       lease?
                                      0 Yes. Amount necessary to cure any default as of the date of the petition.                 $
                                                                                                                                  - - --- - ---
    11. Is this claim subject to a
        right of setoff?
                                      0 Yes. Identify the property: _ _ _ _ _ _ _ _ _ _ _ _ __ __ _ _ __ __ _ _ __ _ _ __




     Official Form 410                                                    Proof of Claim                                                         page 2
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12. Is all or part of the claim    ~ No
    entitled to priority under
    11 U.S.C. § 507{a)?           0 Yes. Check one:                                                                                                Amount entitled to priority

   A claim may be partly                  0 Domestic support obligations (including alimony and child support) under
                                              11 U.S.C. § 507(a)(1 )(A) or (a)(1 )(B).                                                             $ _ __ __ _ __ _
   priority and partly
   nonpriority. For example,
   in some categories, the                0 Up to $3 ,350• of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7) .                                          $ _ _ _ _ _ _ __
   entitled to priority.
                                          0 Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor's business ends, whichever is earlier.                    $ _ _ _ _ _ _ _ __
                                              11 U.S.C. § 507(a)(4 ).
                                          0 Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                  $_ _ _ _ __ __ _

                                          D Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                      $_ __ __ _ __

                                          0 other. Specify subsection of 11 U.S.C. § 507(a)L) that applies .                                       $_ _ __ _ __ _

                                          • Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.




             Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                D       I am the creditor.
 FRBP 9011(b).                    Iii' I am the creditor's attorney or authorized agent.
 If you file this claim           D       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  D       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

 to establish local rules
 specifying what a signature
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 is.
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
                                  I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                  Executed on date          01/10/2024
                                                            MM I DD     /   YYYY




                                      /s/ Baruch C. Cohen, Esq.
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                     Baruch C. Cohen
                                                           First name                           Middle name                            Last name

                                  Title                    ATTORNEY FOR DAVID BERGER

                                  Company                  LAW OFFICE OF BARUCH C. COHEN, APLC
                                                           Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                  4929 WILSHIRE BOULEVARD, SUITE 940
                                                           Number            Street

                                                           LOS ANGELES                                                  CA               90010
                                                           City                                                         State          ZIP Code

                                   Contact phone           323-937-4501                                                 Email baruchcohen@baruchcohenesg.com




  Official Form 410                                                            Proof of Claim                                                                page 3
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   1                              DECLARATION OF ROBERT MERMELSTEIN

  2               I, ROBERT MERMELSTEIN, declare and state as follows:

  3    1.         The facts stated below are true and correct to the best of my personal knowledge and if called

   4              upon to testify to them, I could and would competently do so.

   5   2.         This Declaration is in support of the AMENDED PROOF OF CLAIM filed by Robert &

   6              Esther Mermelstein.

   7   3.         My wife Esther and I are the settlors and beneficiaries of the Mermelstein Charitable

   8              Remainder Unitrust Dated July 27, 2009, (the" Mermelstein Trust").

   9   4.         On 8-3-2009, Leslie Klein ("Klein") on behalf of The Klein Charitable Remainder Unitrust

  10              dated 2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint

  11              Venture (the "Garza Memo"). 1

  12   5.         The purpose of the Garza Memo, was to purchase a $1,000,000.00 Life Insurance Policy

  13              ("Garza Policy"); American General on the life of Emanuel Garza ("Garza").

  14   6.         In furtherance of the Garza Memo, I paid Klein $100,000.00 towards the purchase of the

  15              Garza Policy.

  16   7.         Per the Garza Memo, Klein promised to pay the Mermelstein Trust $500,000.00 ($400,000.00

  17              plus return of premiums paid; plus $100,000.00).

  18   8.          On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for Joint

  19               Venture (Garza), changing the recipient of the $500,000.00 from the Mermelstein Trust to

  20               Robert & Esther Mermelstein.2

  21   9.          Klein apparently sold 50% to the Garza Policy, to the Longevity Fund of NY and partially to

  22               the Longevity Fund of Michigan.

  23   10.         Garza apparently died in 2018, and on or about 7-2-2018, Klein collected the Garza Proceeds,

  24

  25               1
               A true and correct copy of the Garza Memo is attached hereto as Exhibit "l" and is
  26   incorporated herein by this reference.

  27               2
                A true and correct copy of the First Amendment to the Garza Memo, is attached hereto as
        Exhibit "2" and is incorporated herein by this reference.
  28

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  1                on the Garza Policy. Klein concealed this information from me, misappropriated & kept the
  2                Garza Proceeds for himself, and failed to pay me the $500,00.00 per the Garza Memo.
  3                                           INTEREST CALCULATION
  4   1I.          Pursuant to Bankruptcy Rule 3001(c)(2)(A), interest of 10% on the $500,000.00 from
  5                8-3-2009 until the petition date of 2-22-2023 comes to $678,219.17 (4951 days at $136.99
  6                interest/day). The total amount due as of the filing date was $1,178,219.17.
  7

  8                I declare under penalty of perjury under the laws of the United States, States of California and
  9   of New York that the foregoing is true and correct.

 10                Executed January 10, 2024, at Brooklyn, New York

 11                                                               By  /s/ Robert Mermelstein
                                                                  ROBERT MERMELSTEIN
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 Garza


Principle       Default Date      Per diem       # of Days        10% Int             TotalPOC
$500,000.00        8/3/2009         $136.99           4951       $678,219.17         $1,178,219.17
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                            MEMORANDUM OF AGREEMENT FOR .JOINT VJl!:NTURE

             Joint Venturer:        THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                                    DATED July 27~ 2009


             Joint Venturer:        The Klein Charitable Remainder Unitrust .Dated 2-20-1996


                                             ARTICLE 1. INTRODUCTION
             Section 1. t
                    The purpose of this document is to confirm our mutual understanding and agreement
             concerning the purchase of a life insurance Policy; American General Policy Number: US
             0016752L on the Jife of MARJORIE GARZA.

                   We have reached an agreement on the essential elements of the joint venture. This
             document memorializes our agreement.

                   This document constitutes a :fully binding and enforceable joint vunture agreement
             between us, on the terms and conditions set forth herejn.


                                    ARTICLE II. PURPOSE OF \lOlNT VENTURE

             Section 2.1
                    The purpose of the joint venture shall be to maiutain said above d1:scribed polfoy.

                                    ARTICLE Ill. DUTIES AND OBLIGATIONS

             Section 3.1
                     Duties of the Parties: Each of us has agreed that we wm make all t:he premium payments
             necessary to keep the life insurance policy in force. In the event one of the joint venturers fail to
             make said payment, the other joint venturers shall have the option to make the payment for him
             and charge either 13% interest or receive the pro-rated share of the defauhing parties' share of
             the profits.


                                      ARTICLE IV. CAPITAL CONTRIBUTIONS


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         Section 4.1
                 Cm,ital Contributions: Each. ofus ha.-; contributed the necessary ,:apital contribution.

                                  ARTICLE V. MANAGEMENT STRUCTURE

         Section 5.J
                Management QI Committee: The joint venture shall be managed by Leslie Klein.
         Trustee.

                                           ARTICLE VJ. ASSIGNMENT

         Section 6.1
                 Each party shall have the right to assign his interest.

                       ARTICLE VII. DISTRffiUTIONS OF EARNINGS AND PROFITS
         Section 7.1
                Distribution of Profits: Distribution shall be as follows:


         THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST "DATED July 27t 2009
         shall receive $400,000 plus return of premiums paid; plus $100,000 paid
         The balance shall go tone Klein Charitable Remainder Unitrust Ds1ted 2~20-1996


                                          ARTICLE VID. TERM
         Section 8.1
                Term and Termination: This Agreement shall expire upon the death of MARJORIE
         GARZA.


                                        ARTICLE IX. CONFIDENTIALITY
          Section 9.1
                  Definitions: For the purpose of this Agreement, "Proprietary Info::mation" shall include
          all information designated by any joint venturer, either orally or in writing~ as confidential or
          proprietary: or that reasonably would be considered proprietary or confidential to the busjness
          contemplated by this Agreement.




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                                             X. TRANSFERS
    Section 10.1
            Any transfer or assignment of any party's interest in the joint venture or its profits shall be
    subject to the rights and obligations under this Agreement except with the express written
    consent of the other parties.

                                           XI. ARBITRATION
    Section 11 . 1
                    The assignment of specific duties and authority to the resi;•ective parties is made
    under this Agreement with the intent to avoid major differences among the parties in the conduct
    of the joint venture. The parties intend that the terms oft'his Agreement ~;hall control the parties'
    authority and decisions with respect to operations of the joint venture. As to matters not
    specifically controlled by the tenns of this Agreement however, the partie:s agree to submit the
    determination thereof to arbjtration and shall be governed by California law.



                         XII. INSOLVENCY OR BANKRUPTCY OF PAllTY
    Section 12.l
                    I(, during the term of this Agreement, a party to this Agreement should become
    insolvent or bankrupt, the remaining parties shall have the option to mutually agree to continue
    the joint venture, excluding the insolvent or bankrupt party, on payment t•:> such party (or to such
    person or persons as a court of competent jurisdiction shall direct), such party's contribution to
    the capital assets of the venture less accrued expenses and the further pay:nent of any accrued
    profits attributable to such contribution. If the remaining parties do not trtutually agree to
    continue the joint venture: it shall be dissolved and wound up in accordance with the provisions
    effective under this Agreement ·on its temtlnation.


                                  XIII. EFFECTLVE DATE AND TERM
    Section 13.1
           Effective Date: The effective date of this Agreement shall be August 3~ 2009

                         SIGNATVRES APPEAR ON THE FOLLOWING PAGE




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     THE MERMELSTEIN CHARITABLE R E ~ U S T DATED July 27, 2009

     DATED:    ~/,,,                 By·             __     ff
                                           LESLIE KLEIN - Trustee




     DATED:~-''- - - THE KLEIN CHARITABLE REMAINDER
                               UNITRUST dated 2-20-1996


                               By:    ~ l~
                                     KENNETH KLEIN, Trustee
                                              Joint Venturc:r




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                                            FIRST AMENDMENT
                                                          Ill
                   MEMORANDUM OF AGREEMENT FOR JOINT VENTURE



  Joint Venturer:           THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                            DATED July 27, 2009


  Joint Venturer:           The Klein Charitable Remainder Unitrust Dated 2-20-1996

  life insurance Policy: American General Policy Number: US 0016752L on the life of
                  MARJORIE GARZA.

          I, LESLIE KLEIN, state as follows:

          That I transfer the interest of THE MERMELSTEIN CHARITABLE
  REMAINDER UNITRUST DATED July 27, 2009 to ROBERT MERMELSTEIN AND
  ESTI MERMELSTEIN

  Dated: __-..,~/,Ga,..f,r!J,...
               b'                        .)'-~ I ____
                          Ir...,.....::."....



                                              LESLIE KLEIN
                                                                      tL
                                                                        Trustee of
                                              The Mermelstein Charitable Remainder Unitrust
                                              Dated July 2'7, 2009




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      Debtor 1                           LESLIE KLEIN

      Debtor 2
      (Spouse, if filing)

                                              Central District of California
      United States Bankruptcy Court for the: _ _ __

      Case number                          2:23-bk-10990-SK


    Official Form 410
    Proof of Claim                                                                                                                                                                                                                                                                                              04/22

    Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
    make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
    Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
    documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts , judgments,
    mortgages , and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
    explain in an attachment.
    A person who file s a fraudulent claim could be fined up to $500 ,000, imprisoned for up to 5 years, or both. 18 U.S .C. §§ 152, 157, and 3571 .

    Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


u .... ,,.._. " --   ~,.t'f
Ll;,,,,10Aun                    Identify the Claim
ic _=.1. ·-~ -

1. Who is the current
   creditor?
                                                                                       ROBERT & ESTHER MERMELSTEIN
                                                                                       Name of the current creditor (the person or entity to be paid for this claim)

                                                                                       Other names the creditor used with the debtor
                        --··· ·- - ---------··-·----·-·- ----- - ·-- -··•"'••·······-··-···-··-····"··•• ·····--·······--·-···· •·•·•-                                                          ·····--····· .. ·------·-·-·-······- ··-···-----·--····-·······--------- ·-·-·-· -                ----··              --·-----·-··---·---
2.           Has this claim been
             acquired from
                                                                                       Gl No
             someone else?                                                             D Yes. From whom?
    ___ ,,____ __                                                                        --- ····-·                - ~.        -· · · - • - - - ·--•· •• - ·                            .   --- -               ---··-~-----··-- ·-·-   · - -- ------- --- -· -- -- --· -- ·- ······ ---

 3. Where should notices                                                                Where should notices to the creditor be sent?                                                                            Where should payments to the creditor be sent? (if
    and payments to the                                                                                                                                                                                            different)
    creditor be sent?
                                                                                         BARUCH C. COHEN, ESQ.
          Federal Rule of                                                               Name                                                                                                                       Name
          Bankruptcy Procedure
          (FRBP) 2002(9)                                                                 4929 WILSHIRE BOULEVARD, SUITE 940
                                                                                        Number                                 Street                                                                              Number                              Street
                                                                                         LOS ANGELES                                                           CA            90010
                                                                                        City                                                                   State              ZIP Code                          City                                                                  State                     ZIP Code

                                                                                        Contact phone 323-937-4501                                                                                                  Contact phone

                                                                                         Contact email                          baruchcohen@baruchcohenesq.com                                                      Contact email



                                                                                         Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                                                                         - - ---------------- - - - ---
I

i4. Does this claim amend                                                                0 No
    one already filed?                                                                   ~Yes. Claim number on court claims registry (if known)~                                                                                                                                     Filed on     05/02/2023
II                                                                                                                                                                                                                                                                                                MM   I DD   I YYYY



    5. Do you know if anyone                                                             Gl No
       else has filed a proof                                                            D Yes. Who made the earlier filing?
       of claim for this claim?




          Official Form 410                                                                                                                                            Proof of Claim                                                                                                                      page 1
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              Give Information About the Claim as of the Date the Case Was Filed

6     Do you have any number        D No
      you use to identify the       l;;a Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor: T              M       E
      debtor?



7     How much is the claim?          $           362,556.71 . Does this amount include interest or other charges?
                                          ---------~-    -- □ No
                                                                               Ga' Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                         charges required by Bankruptcy Rule 3001{c){2)(A).


8     What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card .
      claim?
                                    Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                    Limit disclosing information that is entitled to privacy, such as health care information.


                                    KLEIN MISAPPROPRIATED INSURANCE POLICY PROCEEDS


9     Is all or part of the claim   liti No
      secured?                      D Yes. The claim is secured by a lien on property.
                                               Nature of property:
                                               D Real estate. if the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                                Attachment (Official Form 410-A) with this Proof of Claim.
                                               D Motor vehicle
                                               D Other. Describe:

                                               Basis for perfection:
                                               Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                               example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                               been filed or recorded.)



                                               ~~~~~~                                       $_ _ _ _ _ _ __
                                               Amount of the claim that is secured:         $_ _ __ _ _ __

                                               Amount of the claim that is unsecured: $_ _ _ __ _ __ (The sum of the secured and unsecured
                                                                                                     amounts should match the amount in line 7.)



                                               Amount necessary to cure any default as of the date of the petition:              $_ _ _ __ __ __



                                               Annual Interest Rate (when case was filed) _ _ _%
                                               D Fixed
                                               D Variable

    10 Is this claim based on a      0 No
       lease?
1                                    D Yes. Amount necessary to cure any default as of the date of the petition.                 $_ _ __ _ _ _ __
I
    11 Is this claim subject to a    i;ZI No
       right of setoff?
                                     D Yes . Identify the property: - - - - -- - -- - - - -- - -- - - - -- - -- - - -- -




     Official Form 410                                                    Proof of Claim                                                         page2
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12. ls all or part of the claim    Ill No
    entitled to priority under
    11 U.S.C. § 507(a)?            0 Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly               0 Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1 )(A) or (a)(1 )(8) .                                                           $_ _ _ _ _ _ __
   nonpriority. For example,
   in some categories, the                0 Up to $3,350* of deposits toward purchase, lease , or rental of property or services for
   law limits the amount                      personal , family, or household use. 11 U.S.C. § 507(a)(7).                                         $_ _ __ _ __ _
   entitled to priority.
                                          D Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor's business ends, whichever is earlier.                   $._ _ __ _ __ __
                                              11 U.S.C. § 507(a)(4).
                                          0 Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $_ _ _ __ _ __ _

                                          0 Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $_ _ __ _ __ _

                                          D Other. Specify subsection of 11 U.S.C. § 507(a)Ll that applies .                                      $_ _ __ _ __ _

                                          * Amounts are subject to adjustment on 4101125 and every 3 years after that for cases begun on or after the date of adjustment.



             Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                0       I am the creditor.
 FRBP 9011(b).                    ii I am the creditor's attorney or authorized agent.
 If you file this claim           D       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004 .
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  0       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                              I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
                                  I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                  Executed on date          01/10/2024
                                                            MM/ 00     I   YYYY




                                      Isl Baruch C. Cohen, Esq.
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                     Baruch C. Cohen
                                                          First name                           Middle name                            Last name

                                  Title                   ATTORNEY FOR DAVID BERGER

                                  Company                  LAW OFFICE OF BARUCH C. COHEN, APLC
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                 4929 WILSHIRE BOULEVARD, SUITE 940
                                                           Number           Street

                                                           LOS ANGELES                                                 CA               90010
                                                           City                                                        State          ZIP Code

                                  Contact phone            323-937-4501                                                Email baruchcohen@baruchcohenesg.com




  Offici al Form 410                                                          Proof of Claim                                                                page3
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  1                              DECLARATION OF ROBERT MERMELSTEIN

  2               I, ROBERT MERMELSTEIN, declare and state as follows:

  3    1.         The facts stated below are true and correct to the best of my personal knowledge and if called

  4               upon to testify to them, I could and would competently do so.

  5    2.         This Declaration is in support of the AMENDED PROOF OF CLAIM filed by Robert &

  6               Esther Mermelstein.

  7    3.         A true and correct copy of the 7-16-2012 Non-Recourse Promissory Note, in the amount of

  8               $333,333.00, due and payable by 7-16-2013, by Leslie Klein ("Klein") on behalf of the Times

  9               Square Media Inc., containing a "Heter/ska" document (an approved way ofrestructuring a

 10               loan or debt so that it becomes an investment instead of a loan, per Halacha - Jewish law).

 11                                          INTEREST CALCULATION

 12    4.         Pursuant to Bankruptcy Rule 3001(c)(2)(A), interest of 10% on the $333,333.00 from

 13               4-8-2022 until the petition date of 2-22-2023 comes to $29,223.71 (320 days at $91.32

 14               interest/day). The total amount due as of the filing date was $362,556.71.

 15

 16               I declare under penalty of perjury under the laws of the United States, States of California and

 17    of New York that the foregoing is true and correct.

  18               Executed January 10, 2024, at Brooklyn, New York

  19                                                             By  /s/ Robert Mermelstein
                                                                 ROBERT MERMELSTEIN
 20

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 Times


 Principle       Default Date      Per diem       # of Days         10% Int             TotalPOC
$333,333.00         4/8/2022           $91.32            320        $29,223.71           $362,556.71
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                                       NON-~ECOURSE PROMISSORY NOTE

            Printip,a) Sum:         $33.3t333~00                            ,July 16, 201;:
            Due Date:               July 16, 2013 ·                         State of California

            FOR VALUE .RECEIVED, the undersigned, LESLIE KLEl:"l as Tn1st,~e of THE TIMES
            SQUARE MEDIA INC. with offices at 14245 Ventur.a Boulevard~ Sherm.an Oaks. CAlifomia
            (the 11 Borrower"), hereby promises to pay to ESTI and R08ERT MERl\1ELSTEJN or his
            .register(:r;i assigns (the ,;Holder''), the prirtcipal sttm of$333,333.00, phis interest of 12% and all
            costs. fees and expenses {including wit~OUl limitation n;asonable ~ttorney~• fees ~nc,i            '
            disburscmenl~) that the Holder incw s hi order 10 c<>llcct any amount due u'nder this Note, to
            negotiate ot document a workout or restructuring, or to preserve its ri.ghts or rca1i:zc upon any
            security for the payme11t of this No1e now or hereafter granted ("Expenses").

            Securit)1 Agteemenli C4>llateratAssignmcnh. This Note is a. secured. n,;:m-recourse promissory
            note~ secured·by the policies of life i1,.1s1,u;anc~ on the Iiye(s) -of the ind.i vidual(~} abQve •named.
            Pur5uantto and i.t1 accordance with this agreement thi.s.Note is s~ur~d by the borrowenmd {he
            bon·ower ha~ granted to the lender a. co!ltinuing :fi.rst priority secudty interest in llie policies and
            the proc~eds thereof purs1.:Ja.ntto this agreement.

            "Pol.icy':' means any of, and •ipoJicics" mean~ all of~ the life insurance policies listed on the
            attached Schedule '1A~.                                                    •

            Additional Ad"ances. ln th~ event that Holder makes any payment of additional ptemiurns.
            adjustmi~nts to premiums or other required ~ay1m~nts <'In or under any Policr or Policies on
            Borrowu1s behalf. the amount of any S\lch advnnce;s automatically shall b,~ deemed to be, and
            shall be. added to the outstanding pnncipaJ balance of this Note as of the date of such advance
            and s11all eam interest from suchdate.

            lntcrc:st Rate. The ou.t,standing prinl,.':lpal balance of this Note shall earn interest, calculated on
            the basi~ of a 360-day year comprised of twelve 30-day nmnt1,s. from the 3atc hereof until the
            dale all am<:1Urits due hereunder are paid in full. at the rate of 12 % percenl per annum,

            Payment. The entire principal balance heteof, together with ait interest accrued thereon, shalJ
            be due and payable on J'1ly 16, 2013, or at siich time, if earlier, as tbe}folder has accelerated the
            mi3turity of the Note after the occurrence a11d during the continuation ofan Event of Default
            under this Note or any of the other Loan Agrcctnents. Payment shall be r.nde in immediately
             availabk UnitedSta1cs fimds at such address as the Holder may specify in writing.

             Prep~YJnent. The Bom,)wet, upon not.less than three ousiness days prior ·written notice, 1nay
             prep~y the outstanding principal amqu11t .ofthis Note. in whole or it1 part, together with accrued
             and unpuid interest on the prin.cipal amount so prep~id. without pre.mium. penalty or fee.

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        Events of l)dllult.
        I.ach of the fol 1owing events also sL:.11.l constitut~ an "Event of l)efa1Jlt'1:

                (i)     Borrower fails to pay any additional premiums or aclju~tmrn:its to premiums or
                        other teguirecLpayments on any Policy 1)T Policies to \vhich this Note relates to !he
                        Issuer therec,fwhen d1.1e. notwithstanding paym~'.ntof such amounts by Holder;
                        and


                (ii)     Borrower fails tc, repay any rnonies advanced to it by Holder in connection with
                         any Policy or Policie~ to which thi!> Note relates by the Maturity Date:.

        Following an Event of Default.

                          Upon the happening of ru, Event of Default, tht' Holder, at hs option and in its
                ~:ole discretion. may accelerate the due d.ate of this Note by notic¢ to the Bofrower to such
                effect~ ·effective immedi a.tel,\ a11d the:reu.pon the entire unpaid principal balati~e ou or
                tinder this Note, together with al 1h1tetest accrued a,nd ur:l'paid herejn and all Expenses~
                ~:hall be immediately due and pay;ible,                                                    ••


        Waiv~n. The Borrower hereby W!3,ives. to the fullest extent per:rnitted by I.aw, presentment.
        demand, protest and notices, including, i.vithout Hm.itati9ri. notices of no1f~erfottna11ce, notices of
        protest. notices of npnpayrnent, notices of dishonor. notices .of the delivery or acc~ptance of this
        Nl)te, and notices c)fthe existence. creation or incttrrence of new or additbl'ial obligations of the
        Borrowt,'T to the Holder, and all other defenses which otherwise might be available. Borrower
        acknowledges that lhe Holder has been indi.1ccd to enter into this Note by, among other things.
        the provisions ofthi:s Section. No delay or faih.1re by the J-lolder to exerci~.e any right or r¢rncdy
        shall ap,:rate as a waiver thereof, and no si-ngle or pa1t1al exercise by the Holder of any right or
        remedy ~hall precl Ltde any other or farther exercise thereof.

         Non-RecQUrsc. Notwithstanding anything to the co11trary in thi~ Note, th~~ Borrower's liability
         to the I !older under this Note shall be limited exclusive 1y .to the extent of the Jendcrs·se().urity
         interests in the Polity or Policies. the proceeds thereof. lf any proceedings shall l,e brought to
         enforce the provisions otthis Note. the Holder shall have recourse hereunder againsnhe
         B<.m:owcr orilv to the extent of the Borrower's interest in the Po1icy or Pol icies. The Holder's
         $Ole rec<mrse'shat1 he to exercfae its rights under this Note, and the Loa1t Agreei:nepts as to the
         Policy or Policies. the ptQceedi- thereof. Neither the Borrower Mr an)' Qf its tn1stees, fiduciaries
         or b~neficiaties shall be personally Fable or otherwise have a1iy obHgatior1 hereunder.

         Retentfon 9f Policies. Borrowet expressly acknowledges and agrees that the satisfaction of its
         obl1gati<ins under thi~ N<,1te sba.l111ot discharge. excuse; 1mpair or termina1:¢ Holdert~ or its
         desfanet:'s rights in Md to the rolatc(J Policy or Policies under the Loan Agreements or any Olher


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              agreement contemplated thereby.

              Assignment; Regi~tration. Thi~ Nnte ma~ not be assigned by the Borrower \il.ithoutthe prior
              written consent Clfthe Holder. The Hol.c.ler p,~y assign <Jr other\.",ise tra.risforthis Koie. This Note
              i's a registered Note. Cpon surrender of this Nt,te for transfer, d!tly endorsed. or accompanied by a
              written instrument of transfer duly executed. by the Holder or the Holdcr'8 attorney duly
              authorized. in writing; a new Note for a like principal amount will be isstt~d to the tTansferee.
              Prior to such su1Tend~r, the Borrower shall treat the pe,~son to whom such Note is issued as the
              owner thereof for the purpose or receiving payment and for al I other pi1tposes, and the Borrower
              will npt be affected by any notice to the contrary.

              Miscelhaneous. All rights and remedies of the Holder uncl~ applicable law and this Note or
              amendn:1ent of any provision ()fthisNote are curnulati\ie and not exclusive. If a court deems any
              provision ofthjs No1e invalid. the remainder of the Note shall remain in effact.

              N9tl~~- Any notice or demand hereu11der shall .be duly given if deliv~~i. .or mailed to the
              Borrower at its address on page one. Such notice or demand sha.ll be ttfective. if delivered~ ~pon
              personal deHv~.ry or~ if T'!1ailed.~ four bu~in~ss days after deposit itran 6fficilll dep9$ito:ry
              maintained by the United States Post Office fotthe collection ofrnail or cne business day after
              ddivcry to a n~tionally recognized C()Urict service for overnight delivery. Notice by e-mail is rioI
              valid notice 'Linder this Note.

              Governing Law; Jurisdiction. THIS NOTE HAS BEEN DELIVERED TO AND ACCEPTED
              BY HOLDER TN. AND WILL BE DEEMED ro BE MADE ;\ND TO BE PERtORMED
              WHOLLY WITHIN. THE STATE OF CALIFORNIA, AND SHALL BE GOVERNED .A.ND
              CONSTRUED IN ACCORPA.~CE WITH THE LAWS OF SUCH STArE, EXCLUDTNG ITS
              CONFLICT OF LAWS RULES. BORROWER IRRE"1/0CABL Y CONSENTS TO THE SOLE
              AND EXCT ,USNE .HJRISDJCTTON OF THE STATE AND FEDERAL COURTS LOCATED
              JN THE COUNTY, CITY AND ST,\ TE OF CALIFORNIA IN cot~~ECTION WITH ANY
              ACTION OR PR,OCEEDINGS ARISING OUT OF OR RELATING TO THIS NOTE, AND
              HEREBY WAIVES THE RIGHT TO MOVE TO CHA~GE VENUE OR ASSBRT
              JNCONVENTENT FORUM. IN ANY SUCH ACTT()N. BORRO:WER $HALL AND HEREBY
              IRJl'E.\lOCAF.lLY DOES \VAJVE ANYRlGHT TOATRtAT. BY JliRY. Jn any actio11 or •••
              proceeding 011 or under this Note, the Borrower waives S(!TVic;e of any summons; i;:omplaint or
              other pr1lcess, and agrees that service thereof shall be deemed made when first received~ by
              person~.! service, or after having been mailed hy certified or registered mail. return receipt
              requ~sted, and mailed to·thcJastknown address 9f the Borrower, The Borrower waives (i) any
              right to assertany counterclaim or setoffor any defense based upon a statute oflitnitatio~s- upon
              a claim fJf laches Oi any other legal theory; and (ii) its rigl1t to attack a final _judgment that is




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    obtained as a direct or indirect resµi1 of any action on or under this Note.

    THE TIMES SQUARE MEDIA lNC.



            Hy:
                             CCSLIE KLEIN
                                 Name                            Title


    STATE OF CALIFORNIA                            )
                                                   )       ss
    COUNTY OF LOS ANGELES                          )


                    On .July 16, 2012. befor~ me. KENNETH KLEIN a Notary Public in and
    for said County an<f State, personolly appeared LESLIE KLEIN. \\.ho provcdto me on
    the basis of sa.tisfactory evidence: to he the person whoso name is subscribed to the within
    instrumentand acknqwledgecl to me that he executed the same inhh authorized capacity.
    and that by his signature on the instrurnent the person, or the emfty upon behalf ohvhich
    the person acte4, executed the instrnmcnt.

    I certil) µnder PF.NALTY OF PERJURY under the laws of the State of California that
    th c foregoing paragraph is true a11d correct.

     WI.TNJ~SS m·        •           "cial ~e

     Signatu
     NOTA .              .       AND
                                                            ISEALI




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                                             Heter Iskoh

          1. the undersigned, LESLIE KLElN as Tn1stee of THE TIMES SQljARE .MEDIA
    l~C. h1~reby acknowledg1:: the receipt of $333,333.00 from ESTI an[l ROBERT
    MERMELS,TEi~ with which to do business for a term of one (1) ye~r from the date
    recorded below ("te.nn"), and I obligate myself to purchase with the aforemeptforted sum
    such m<;rchandise or goods 9f any kind as may seem likely to pr9fit thereJro1n.

    This money shall take precedence Over roy own money. As r¢gat'd$ .di the profitthat
    HashertJ may grant me 1n connection with this merchandise. halfthet'eof shal1 belong to
    me, and the othefhaJfto E~ffland R.OBERT MERMELSTEIN.                              ••

    Both pa.rties shall also equa.tly share the loss~s~ G-d forbid. At the e;~piration of the ten:11.
    I obligate myself to return promptly to ESTI arid ROBERJ MERMF:LSTEIN the
    principle and one-ha1f of the profit. My word shall not be accepted as true unless it is
    substantiated by two trustworthy Witnesses. and as regard5the profi::s. I shall only be
    trusted bv takin~ an oath.
             ~       ~




    Tt is mo:reover agreed that ifI de:-me to give J2o/o of the principle, in lieu of his share of
    the profit! he relinquisl1es his rights of verification by oath, and the balance of the profit
    if any, shall belong to me aloncf even if his share of the profits far c!<ceeded the
    aforementioned rate.

     All the stipulatfons relating to the credibility of my statements shall remain in effect after
     the expirition of the ten11 as long as 1do not return the aforementioned principle amount.
     I acknowl~dge that I receivcct consideration of one dollar for my labor,

     Though loan papers have been dr.a,vn on this tra11saction which indicate interest
     payments, this·document clarifies that in fact it is for return on inve~:tment or payrnent to
u
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       release from an oath regarding verification of profit. It ha:: been written in the Conn of a
       loan to (!Xpedite its ¢xecution.




       Dated: July 16. 2012


                                    THE TIMES SQU~DIA INC.

                     By:           ~-.TN_ _ _ __ __                       _




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  Debtor 1              LESLIE KLEIN

  Debtor 2
  (Spouse, if filing)

                                            Central District of California
  United States Bankruptcy Court for the:

  Case number           2:23-bk-10990-SK




 Official Form 410
 Proof of Claim                                                                                                                                                       04122
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices. itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500 ,000, imprisoned for up to 5 years , or both . 18 U .S.C. §§ 152, 157, and 3571 .

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                 Identify the Claim

1. Who is the current
   creditor?
                                   ROBERT & ESTHER MERMELSTEIN
                                   Name of the current creditor {the person or entity to be paid for this claim)

                                   Other na mes the creditor used with the debtor

2. Has this claim been
   acquired from
                                   Ga° No
                                   0 Yes. From whom?
   someone else?                                               ----------------------------------
j3. Where should notices           Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
    and payments to the                                                                                        different)
    creditor be sent?
                                    BARUCH C. COHEN, ESQ.
    Federal Rule of                Name                                                                        Name
    Bankruptcy Procedure
    (FRBP) 2002(9)                 4929 WILSHIRE BOULEVARD, SUITE 940
                                   Number           Street                                                     Number              Street

                                    LOS ANGELES                        CA               90010
                                   City                               State                   ZIP Code         City                              State                    ZIP Code

                                   Contact phone 323- 9 3?-4S0 1                                                   Contact phone

                                   Contact email baruchcohen@baruchcohenesq.com                                    Contact email




                                    Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend           0 No
   one already filed?              ~ Yes. Claim number on court claims registry (if known) 31__                                             Filed on     05/02/2023
                                                                                                                                                         MM   I DD   I YYYY


5. Do you know if anyone           !if No
   else has filed a proof          D Yes. Who made the earlier filing?
   of claim for this claim?




    Official Form 410                                                          Proof of Claim                                                                    page 1
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               Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number            0 No
   you use to identify the           ~ Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:      G    A      N        Z
   debtor?



7. How much is the claim?                         1~
                                       $_ __ _ ____ •1_7_8_,~2_1_9_._1_7. Does this amount include interest or other charges?
                                                                                0 No
                                                                                Ga' Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                          charges required by Bankruptcy Rule 3001 (c)(2)(A).


8     What is the basis of the       Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
      claim?
                                     Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).
                                     Limit disclosing information that is entitled to privacy, such as health care information.


                                     KLEIN MISAPPROPRIATED INSURANCE POLICY PROCEEDS


9     Is all or part of the claim    liZi No
      secured?                       D Yes. The claim is secured by a lien on property.
                                               Nature of property:
                                               D Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                                 Attachment (Official Form 410-A) with this Proof of Claim.
                                               D Motor vehicle
                                               D Other. Describe:

                                               Basis for perfection:
                                               Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                               example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                               been filed or recorded.)



                                                Value of property:                           $_ _ _ _ __ __
                                                Amount of the claim that is secured:         $_ _ _ __ __ _

                                                Amount of the claim that is unsecured: $_ _ __ _ __ _ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                                Amount necessary to cure any default as of the date of the petition:              $_ _ _ _ __ _ __



                                                Annual Interest Rate (when case was filed) _ _ _%
                                                D Fixed
                                                D Variable

 10. Is this claim based on a
     lease?
                                      D Yes. Amount necessary to cure any default as of the date of the petition.                 $_ _ _ __ _ __ _


    11. Is this claim subject to a    -zl No
        right of setoff?
                                      D Yes. Identify the property: _ _ _ _ __ _ _ __ _ __ _ _ __ _ _ _ __ _ _ _ _ __ _ _




     Official Form 410                                                     Proof of Claim                                                        page 2
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12. Is all or part of the claim    '2j No
    entitled to priority under
    11 U.5.C. § 507(a)?            0 Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                 0 Domestic support obligations (including alimony and child support) under
   priority and partly                       11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                               $_ __ _ __ __
   nonpriority. For example,
   in some categories, the               D Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                     personal, family , or household use. 11 U.S.C. § 507(a)(7).                                          $_ _ __ _ _ __ _
   entitled to priority.
                                         D Wages, salaries, or commissions (up to $15, 150*) earned within 180 days before the
                                             bankruptcy petition is filed or the debtor's business ends, whichever is earlier.                    $_ __ _ _ __ __
                                             11 U.S.C. § 507(a)(4).
                                         0 Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                  $_ _ _ _ _ _ _ __

                                         0 Contributions to an employee benefit plan . 11 U.S.C. § 507(a)(5).                                     $_ __ _ _ _ __

                                         0 Other. Specify subsection of 11 U.S.C. § 507(a)L) that applies.                                        $ _ _ __ _ _ __

                                         • Amounts are subject to adjustment on 4/01 /25 and every 3 years after that for cases begun on or after the date of adjustment.




             Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                D      I am the creditor.
 FRBP 9011(b).                    lif I am the creditor's attorney or authorized agent.
 If you file this claim           0      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004 .
 electronically, FRBP             0      I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules
 specifying what a signature
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 is.
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
                                  I declare under penalty of perjury that the foregoing is true and correct.
 18 U.5.C. §§ 152, 157, and
 3571.
                                  Executed on date         01/10/2024
                                                           MM I DD     /   YYYY




                                      /s/ Baruch C. Cohen, Esq.
                                         Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                    Baruch C. Cohen
                                                          First name                           Middle name                            Last name

                                  TiUe                    ATTORNEY FOR DAVID BERGER

                                  Company                 LAW OFFICE OF BARUCH C. COHEN, APLC
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                 4929 WILSHIRE BOULEVARD, SUITE 940
                                                          Number            Street

                                                          LOS ANGELES                                                  CA               90010
                                                          City                                                         State          ZIP Code

                                  Contact phone           323-937-4501                                                 Email baruchcohen@baruchcohenesq.com




  Official Form 410                                                           Proof of Claim                                                                page 3
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  1                             DECLARATION OF ROBERT MERMELSTEIN

  2              I, ROBERT MERMELSTEIN, declare and state as follows:

  3    1.        The facts stated below are true and correct to the best of my personal knowledge and if called

  4              upon to testify to them, I could and would competently do so.

  5    2.        This Declaration is in support of the AMENDED PROOF OF CLAIM filed by Robert &

  6              Esther Mermelstein.

  7    3.        My wife Esther and I are the settlors and beneficiaries of the Mermelstein Charitable

  8              Remainder Unitrust Dated July 27, 2009, (the" Mermelstein Trust").

  9    4.        On 8-3-2009, Leslie Klein ("Klein") on behalf of The Klein Charitable Remainder Unitrust

 10              dated 2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint

 11              Venture (the "Ganz Memo"). 1

 12    5.        The purpose of the Ganz Memo, was to purchase a $1,000,000.00 Life Insurance Policy

 13               ("Ganz Policy"); American General on the life of Emanuel Ganz ("Ganz").

  14   6.         In furtherance of the Ganz Memo, I paid Klein $100,000.00 towards the purchase of the Ganz

  15              Policy.

  16   7.         Per the Ganz Memo, Klein promised to pay the Mermelstein Trust $500,000.00 ($400,000.00

  17              plus return of premiums paid; plus $100,000.00).

  18   8.         On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for

  19              Joint Venture (Ganz), changing the recipient of the $500,000.00 from the Mermelstein Trust

  20              to Robert & Esther Mermelstein.2

  21   9.         Klein apparently sold 50% to the Ganz Policy, to the Longevity Fund of NY and partially to

  22              the Longevity Fund of Michigan.

  23   10.        Ganz apparently died in 2018, and on or about 7-2-2018, Klein collected the Ganz Proceeds,

  24

  25              1
               A true and correct copy of the Ganz Memo is attached hereto as Exhibit "I" and is
  26   incorporated herein by this reference.

  27              2
                A true and correct copy of the First Amendment to the Ganz Memo, is attached hereto as
        Exhibit "2" and is incorporated herein by this reference.
  28

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  1               on the Ganz Policy. Klein concealed this information from me, misappropriated & kept the
  2               Ganz Proceeds for himself, and failed to pay me the $500,00.00 per the Ganz Memo.
  3                                          INTEREST CALCULATION
  4   11.         Pursuant to Bankruptcy Rule 3001(c)(2)(A), interest of 10% on the $500,000.00 from
  5               8-3-2009 until the petition date of 2-22-2023 comes to $678,219.17 (4951 days at $136.99
  6               interest/day). The total amount due as of the filing date was $1,178,219.17.
  7

  8               I declare under penalty of perjury under the laws of the United States, States of California and
  9   of New York that the foregoing is true and correct.

 10               Executed January 10, 2024, at Brooklyn, New York

 11                                                              By  Isl Robert Mermelstein
                                                                 ROBERT MERMELSTEIN
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 Ganz


Principle       Default Date     Per diem       # of Days       10% Int            Total POC
$500,000.00        8/3/2009        $136.99           4951      $678,219.17         $1,178,219.17
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                                      EXHIBIT "1"
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                    MEMORANDUM OF AGRE.EMENT FOR,JOINT Vl~NTURE

    Joint Venturer:         THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                            DATED July 27, 2009


    Joint Venturer:         The Klein Charitable Remainder Unitrust I>ated 2-20-1996


                                     ARTICLE T. INTRODUCTION

    Section 1.1
           The purpose of this document is to confinn our mutual understanding and agreement
    concerning the purchase of a life insurance Policy; American General on the life of EMANUEL
    GANZ.                     •

          We have reached an agreement on the essential elements of the jo:int venture. This
    document memorializes our agreement.

          This document constitutes a fully binding and enforceable joint VE!Jl.tu,e agreement
    between us, on the tenns and conditions set forth herein.


                            ARTICI_.,E II. PURPOSE OF JOINT VENTURE

     Section 2.t
            The purpose of the joint venture shall be to maintain said above dt:scribed policy.

                            ARTICLE m. DUTIES AND OBLIGATIONS

     Section 3.1
            Duties of the Parties: Each ofus has agreed that we will make all the premium payments
     necessary to keep the life insurance policy in force. In the event one oftb:: joint venturers fail to
     make said payment. the other joint venturers shall have the option to mak,, the payment for him
     and charge either 13% interest or receive the pro-rated share of the defaulting partie.,r,' shate of
     the profits.


                              ARTICLE IV. CAPITAL CONTRIBUTIONS

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     Section 4.1
            Capital Contributio,m: Each of us has contributed the necessary <:apital contribution.

                             ARTICLE V. MANAGEMENT STRUCTURE

     Section 5.1
            Mana,gement by Committee: The joint venture shall be managed by Leslie Klein.
     Trustee.

                                      ARTICLE VI. ASSIGNMENT

     Section 6.1
            Each party shall have the right to assign his interest.

                 ARTICLE VII. DISTRIBUTIONS OF EARNINGS AND PROFITS
     Section 7.1
            Distribution,of Profits: Disn:ibution shall be as follows:


     THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST :DATED July 27, 2009
     shall receive $400,000 plus return ofpreminms paid; plus $100,000 paid
     The balance shall go to The Klein Charitable Remainder Unitrust D11ted 2-20-1996


                                          ARTICLE YID. TERM
     Section 8.1
          Term and Termination: This Agreement shall expire upon the dea·th of EMANUEL
     GANZ.


                                  ARTICLE IX. CONFIDENTIALITY
     Section 9.1
             Definitions: For the purpose of this Agreement, "Proprietaty Info::mation" shall include
     all information designated by any joint venturer, either orally or in writing. as confidential or
     proprietary, or that reasonably would be considered proprietary or confidt:ntial to the business
     contemplated by this Agreement.




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                                             X. TRANSFERS
     Section 10. l
             Any transfer or assignment of any party's interest in the joint venture or its profits shall be
     su~ject to the rights and obligations under this Agreement except with the express written
     consent of the other parties.

                                            XI. ARBITRATION
     Section 11.1
                     The assignment of specific duties and authority to the respective parties is made
     under this Agreement with the jntent to avoid major differences among the parties in the conduct
     of the joint venture. The parties intend that the tenns of this Agreement !-hall control the parties'
     authority and decisions with respect to operations of the joint venture. As to matters not
     specifically controlled by the terms of this Agreement however, the partie:s agree to submit the
     detennination thereof to arbitration and shall be governed by California law.



                          XII. INSOLVENCY OR BANKRUPTCY OF PARTY
     Section 12. l
                     If, during the term of this Agreement, a party to this Agreement should become
     insolvent or bankrupt, the remaining parties shall have the option to mutually agree to continue
     the joint venture. excluding the insolvent or bankrupt party, on payment t,, such party (or to such
     person or persons as a court of competent jurisdiction shall direct), such :party's contribution to
     the capital assets of the venture less accrued expenses and the further payincnt of any accrued
     profits attributable to such contribution. If the remaining patties do not rr..urually agree to •
     continue the joint venture. it shall be dissolved and wound up in accordance with the provisions
     effective under this Agreement on its termination.


                                XID. EFFECTIVE DATE AND TERM
     Section 13.l
            Effective Date: TI1e effective date of this Agreement shall be August 3, 2009

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                                              THE MERMELSTEIN Cl!fARITABLE
                                              REMAINDER UNITRUS'f DATED ,July 27,
                                              2009

            DATED:       V/.3 /o   ct
                                              By~          KLEffi   }1;
                                                           Joint Venturt:rs




                           ~ -t_,"- -- THE KLEIN CHARITABLE REMAINDER
            DATED: _<t_._l____
                                        UNITRUST dated 2-20-1996


                                        By:     ~                     A~      ·
                                              KENNETH KLEIN, Trustee
                                                       Joint Venturer




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                                        FIRST AMENDMENT
                                                IQ
                 MEMORANDUM OF AGREEMENT FOR JOINT VENTURE




 Joint Venturer:         THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                         DATED July 27, 2009 ••                   ••


 Joint Venturer:         The Klein Charitable Remainder Unitrust D~ted 2--20-1996

  Life insurance Policy: American General on the life of EMANUEL GANZ.

           I, LESLIE KLEIN, state as follows:

       That I ~nsfer the interest of THE MERMELSTEIN CIIARITABLE
  REMAINDERUNITRUST DATED July 27, 2009 to ROBERT MERMELSTEIN AND
  ESTI MERMEL$TEIN

  Dated:        '(
                 I
                  Ji:. ( \..- ""'   1




                                                                   Trustee of
                                         The Mermelstein Charitable R.emainder Unitrust
                                         Dr~ed July 27, 2009




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        Debtor 1              LESLIE KLEIN

        Debtor 2
        (Spouse, if filing)

                                                  Central District of California
        United States Bankruptcy Court for the:

        Case number           2:23-bk-10990-SK




 Official Form 410
 Proof of Claim                                                                                                                                                             04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 1B U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date Is on the notice of bankruptcy (Form 309) that you received.



                       Identify the Claim

1. Who is the current
   creditor?
                                         ROBERT & ESTHER MERMELSTEIN
                                         Name of the current creditor (the person or entity to be paid for this claim)

                                         Other names the creditor used with the debtor

12. Has this claim been                  (il No
'   acquired from
    someone else?                        0 Yes. From whom? - ---------- ----------- --- - - --- ----

3. Where should notices                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   and payments to the                                                                                                   different)
   creditor be sent?
                                          BARUCH C. COHEN, ESQ.
          Federal Rule of                Name                                                                            Name
          Bankruptcy Procedure
          (FRBP) 2002(g)                  4929 WILSHIRE BOULEVARD, SUITE 940
                                         Number           Street                                                         Number          Street

                                          LOS ANGELES                          CA                    90010
                                         City                                 State                        ZIP Code      City                          State                    ZIP Code

                                          Contact phone 32 3- 9 3?-4 50 1                                                Contact phone

                                          Contact email baruchcohen@baruchcohenesq.com                                   Contact email




                                          Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend                  0 No
   one already filed?                     G! Yes. Claim number on court claims registry (if known)~                                               Filed on     05/02/2023
                                                                                                                                                               MM   / DD   I YYYY



 5. Do you know if anyone                 (il No
    else has filed a proof                0 Yes. Who made the earlier filing?
    of claim for this claim?




          Official Form 41 O                                                           Proof of Claim                                                                  page 1
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               Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number           0 No
      you use to identify the       ~ Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:        S    p              T
      debtor?



      How much is the claim?          $_ _ __ __ _2
                                                  _,~9_2_8~,_2_1_9_._1_7 Does this amount include interest or other charges?
                                                                                0 No
                                                                                Ga Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                         charges required by Bankruptcy Rule 3001(c)(2)(A).


8     What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
      claim?
                                    Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                    Limit disclosing information that is entitled to privacy, such as health care information .


                                    KLEIN MISAPPROPRIATED INSURANCE POLICY PROCEEDS


9
1
      Is all or part of the claim   llj No
      secured?                      D Yes. The claim is secured by a lien on property.
                                              Nature of property:
                                              0 Real estate. If the claim is secured by the debtor's principal residence , file a Mortgage Proof of Claim
                                                                Attachment (Official Form 410-A) with this Proof of Claim.
                                              0 Motor vehicle
                                              0 Other. Describe:


                                               Basis for perfection:
                                               Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                               example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                               been filed or recorded.)



                                               Value of property:                            $_ _ _ _ __ __
                                               Amount of the claim that is secured:          $_ _ __ _ __ _

                                               Amount of the claim that is unsecured: $_ __ _ __ _ _ (The sum of the secured and unsecured
                                                                                                     amounts should match the amount in line 7.)



                                               Amount necessary to cure any default as of the date of the petition:               $_ _ _ _ __ _ __



                                               Annual Interest Rate (when case was filed) _ _ _%
                                               0 Fixed
                                               0 Variable


    10 Is this claim based on a      0 No
       lease?
                                     0 Yes. Amount necessary to cure any default as of the date of the petition.                  $
                                                                                                                                  ---------
    11 Is this claim subject to a    0 No
       right of setoff?
                                     0 Yes. Identify the property: _ _ _ _ __ _ _ _ __ _ __ __ _ __ _ _ _ __ __ __




     Official Form 410                                                    Proof of Claim                                                         page 2
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12. Is all or part of the claim    liZl No
    entitled to priority under
    11 U.S.C. § 507(a)?            D Yes. Check one:                                                                                                Amount entitled to priority

   A claim may be partly              D Domestic support obligations (including alimony and child support) under
                                              11 U.S.C . § 507(a)(1 )(A) or (a}(1 )(B}.                                                            $_ _ _ _ _ _ __
   priority and partly
   nonpriority. For example,
   in some categories, the            D Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a}(7}.                                           $_ _ _ _ _ _ __
   entitled to priority.
                                          D Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor's business ends, whichever is earlier.                    $_ __ __ __ __
                                              11 U.S.C. § 507(a)(4 ).
                                          D Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8}.                                  $_ __ __ _ __ _

                                          0 Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                      $_ _ __ __ _ _

                                          D Other. Specify subsection of 11 U.S.C. § 507(a)L) that applies.                                        $_ _ _ _ _ _ __

                                          • Amounts are subject to adjustment on 4/01 /25 and every 3 years after that for cases begun on or after the date of adjustment.




             Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                D       I am the creditor.
 FRBP 9011(b).                    Iii I am the creditor"s attorney or authorized agent.
 If you file this claim           D       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004 .
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  D       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

 to establish local rules
 specifying what a signature
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 is.
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
                                  I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                  Executed on date          01/10/2024
                                                            MM I 00     I   YYYY




                                      Isl Baruch C. Cohen, Esq.
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                     Baruch C. Cohen
                                                           First name                           Middle name                            Last name

                                  Title                    ATTORNEY FOR DAVID BERGER

                                  Company                  LAW OFFICE OF BARUCH C. COHEN, APLC
                                                           Identify the corporate servicer as the company if the authorized agent is a servicer.



                                   Address                 4929 WILSHIRE BOULEVARD, SUITE 940
                                                           Number            Street

                                                           LOS ANGELES                                                  CA               90010
                                                           City                                                         State          ZIP Code

                                   Contact phone           323-937-4501                                                 Email baruchcohen@baruchcohenesq.com




  Official Form 410                                                            Proof of Claim                                                                 page 3
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  1                              DECLARATION OF ROBERT MERMELSTEIN

  2              I, ROBERT MERMELSTEIN, declare and state as follows:

  3    1.         The facts stated below are true and correct to the best of my personal knowledge and if called

  4              upon to testify to them, I could and would competently do so.

  5    2.         This Declaration is in support of the AMENDED PROOF OF CLAIM filed by Robert &

  6               Esther Mermelstein.

  7    3.         My wife Esther and I are the settlors and beneficiaries of the Mermelstein Charitable

  8               Remainder Unitrust Dated July 27, 2009, (the" Mermelstein Trust").

  9    4.         On 8-3-2009, Leslie Klein ("Klein") on behalf of The Klein Charitable Remainder Unitrust

 10               dated 2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint

 11               Venture (the "Spitzer Memo"). 1

 12    5.         The purpose of the Spitzer Memo, was to purchase a $5,000,000.00 Life Insurance Policy

 13               Number: US 0023546L ("Spitzer Policy"); American General on the life of Malvine Spitzer

 14               ("Spitzer").

 15    6.         In furtherance of the Spitzer Memo, I paid Klein $250,000.00 towards the purchase of the

  16              Spitzer Policy.

  17   7.         Per the Spitzer Memo, Klein promised to pay the Mermelstein Trust $2,250,000.00

  18              ($2,000,000 plus $250,000 and all premiums paid of the proceeds).

  19   8.          On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for

  20               Joint Venture (Spitzer), changing the recipient of the $2,250,000.00 from the Mermelstein

  21               Trust to Robert & Esther Mermelstein.2

  22   9.          Klein apparently sold portions of the Spitzer Policy, but I do not know to whom. Klein

  23               concealed this information from me.

  24

  25               1
               A true and correct copy of the Spitzer Memo is attached hereto as Exhibit "1" and is
  26   incorporated herein by this reference.
  27               2
                A true and correct copy of the First Amendment to the Spitzer Memo, is attached hereto as
        Exhibit "2" and is incorporated herein by this reference.
  28

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  1   10.        Spitzer is still alive. Because of Klein deceptions concealments, I am filing this Proof of Claim
  2              against his estate - in the event of Spitzer's death, as to my entitlement.
  3                                         INTEREST CALCULATION
  4   11.        Pursuant to Bankruptcy Rule 3001(c)(2)(A), interest of 10% on the $500,000.00 from
  5              8-3-2009 until the petition date of 2-22-2023 comes to $678,219.17 (4951 days at $136.99
  6              interest/day). The total amount due as of the filing date was $2,928,219.17.
  7

  8

  9              I declare under penalty of perjury under the laws of the United States, States of California and
 10   of New York that the foregoing is true and correct.

 11              Executed January 10, 2024, at Brooklyn, New York

 12                                                             By  /s/ Robert Mermelstein
                                                                ROBERT MERMELSTEIN
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  Spitzer


  Principle       Default Date       Per diem        # of Days         10% Int              Total POC
$2,250,000.00         8/3/2009          $136.99            4951       $678,219.17          $2,928,219.17
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                      MEMORANDUM OF AGREEMENT FOR JOINT VENTURE

    Joint Venturer:        THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                           DATED.July 27, 2009


    Joint Venturer:        The Klein Charitable Remainder Unitrost Dated l-20-1996


                                    ARTICLE I. INTRODUCTION

    Section 1.1
           The purpose of this document is to confirm our mutual understanding and agreement
    concerning the purchase of a life insurance Policy; American General Policy Number: US
    0023546L. on the life of MALVINE SPITZER.

          We have reached an agreement on the essential elements of the jo·int venture. This
    document memorializes our agreement.

          This document constitut~s a fully binding and enforceable joint venture agreement
    between us, on the terms and conditions set forth herein.


                           ARTICLE II. PURPOSE OF JOINT VENTURE

    Section 2.1
           The purpose of the joint venture shall be to maintain said above d<:scribed policy.

                           ARTICLE Ill. DUTIES AND OBLIGATIONS

    Section 3. 1
            Duties of the Parties: Each ofus has agreed that we will make all the premium payments
    necessary to keep the life insurance policy in force. In the event one of the joint venturers fail to
    make said payment. the other joint venturers shall have the option to mak,~ the payment for him
    and charge either 13% interest or receive the pro-rated share of the defa.u.king parties' share of
    the profits.


                             ARTICLE IV. CAPITAL CONTRIBUTIONS


                                                 Page J of 5
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           Section 4.1
                  Capital Contn"'butions: Each of us has contributed the necessary c:apital contribution.

                                   ARTICLE V. MANAGEMENT STRUCTURJ~
           Section 5.1
                  Management by' Committee: The joint venture shall be managed by LesUe Klein.
          Trustee.

                                            ARTICLE VI. ASSIGNMENT

           Section 6.1
                  Each party shall have the right to assign his interest.

                       ARTICLE VII. DISTRIBUTIONS OF EARNINGS AND PROFITS
           Section 7.1
                  Distribution of P,rofits: 'Distribution shall be as follows:


           THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST ll>ATED July 27, 2009
           shall receive $2,000,000 plus return of premiums paid; plus $250,000 paid
           The balance shall go to The Klein Charitable Remajnder Unitrust Ds,ted 2-20-1996


                                                ARTICLE VIIl. TERM
           Section 8.1
                   Term and Tennination: This Agreement shall expire upon the dea·:h of MALVINE
           SPITZER.


                                        ARTICLE lX. CONFIDENTIALITY
           Section 9.1
                   Definitions: For the purpose of this Agreement, "Propriet.ary Information" sha11 include
           all information designated by any joint venturer, either orally or in writini,, as confidential or
           proprietary, or that reasonably would be considered proprietary or confidential to the business
           contemplated by this Agreement.




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                                                    X. TRANSFERS
           Section 10.1
                   Any transfer or assignment of any party's interest jn the joint ven1ure or its profits shall be
           subject to the rights and obligatlons under this Agreement except with the express written
           consent of the other parties.

                                                  XL ARBITRATION
           Section 11.1
                           The assignment of specific duties and authority to the respective parties is made
           under this Agreement with the intent to avoid major differences among the parties in the conduct
           of the joint venture. The parties intend that the terms of this Agreement uhall control the parties'
           authority and decisions with respect to operations of the joint venture. A~ to mattets not
           speciflcall.y controlled by the terms of this Agreement however, the partit:s agree to submit the
           detennination thereof to arbitration and shall be governed by California 1:3.w.



                                XU. INSOLVENCY OR BANKRUPTCY OF PAJll:}:
           Section 12. l
                           If, during the tenn of this Agreement, a party to this Agreement should become
           insolvent or bankrupt:- the remaining parties shall have the option to mutually agree to continue
           the joint venture, excluding the tnso)vent or bankrupt party, on payment t :> such party (or to such
           person or persons as a court of ~mpetent jurisdiction shall direct), such party's contribution to
           the capital asset., of the venture less accrued expenses and the further payment of any accrued
           profits attributable to such contribution. lfthe remaining parties do not mutually agree to
           continue the joint venture, it shall be dissolved and wound up in accordar:.ce with the provisions
           effective under this Agreement on its termination.




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                              XIII, EFFECTIVE DATE AND TERM
    Section 13 .1
           Effective Date: The effective date of this Agreement shall be Au.~ust 3, 2009

                      SIGNATURES APPEAR ON THE FOLLOWING PAGE




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         THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST DATED July 27, 1009

         DATED:     'l'b{v1                         By:~
                                                     ESLIE KLEIN - Trustee
                                                                           0'



         DATED: ~    ~/-:..,,......;.c;_ __   THE KLEIN CHARITABLE REMAINDER
                                              UN.ITRUST dated 2-20-1996


                                              By:   ~                       fl~
                                                    KENNETH KLEIN, Trus1:ee
                                                                  Joint Veoturc.~r




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                                        FIRJT AMENDMENT
                                                     m
                MEMORANDUM OF AGREEMENT FOR JOINT VENTURE




  Joint Venturer:        THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                         DATED July 27; 2009


  Joint Venturer:        The Klein Charitable Remainder Unitrust Dated 2-20-1996

  Life insurance Policy: American General Policy Number: US 0023546L. on the life of
         MALVINE SPITZER.

         I. LESLIE KLEIN, state as folJ~ws:

       That I transfer the interest of THE MERMELSTEIN CHARITABLE
  REMAINDER UNITRUST DATED July 27, 2009 to ROBERT MERMELSTEIN AND
  ESTI MERMELSTEIN

  Dated: _     1 ....P-~-'"--{'~l;y 'L,.-f_ _ __
              ....




                                          LESLIE KLEIN
                                                                    Trustee of
                                          The Mermelstein Charitable Remainder Unitrust
                                          Dated July 27, 2009




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  Debtor 1              LESLIE KLEIN

  Deb\or2
  (Spouse, if filing)

  United States Bankruptcy Court for the: Central District of Californi_
                                                                       a_ _

  Case number           2:23-bk-10990-SK



Official Form 410
Proof of Claim                                                                                                                                                       04/22

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571 .

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                 Identify the Claim

1. Who is the current
   creditor?
                                  ROBERT & ESTHER MERMELSTEIN
                                  Name of the current creditor (the person or entity to be paid for this claim)

                                  Other names the creditor used with the debtor

2 . Has this claim been
    acquired from
                                  Ga' No
    someone else?                 0 Yes. From whom? - -- -- -- - -- -- - -- -- -- - - -- - - - - - -- -- - -

3. Where should notices           Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
    and payments to the                                                                                       different)
    creditor be sent?
                                   BARUCH C. COHEN, ESQ.
    Federal Rule of               Name                                                                            Name
    Bankruptcy Procedure
    (FRBP) 2002(9)                 4929 WILSHIRE BOULEVARD, SUITE 940
                                  Number           Street                                                         Number          Street
                                   LOS ANGELES                        CA               90010
                                  City                               State                   ZIP Code             City                          State                    ZIP Code

                                   Contact phone 3 2 3- 937 -4501                                                 Contact phone

                                   contact email baruchcohen@baruchcohenesq.com                                   Contact email



                                   Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4 . Does this claim amend          0 No
     one already filed?            5if' Yes. Claim number on court claims registry (if known)~                                             Filed on     05/02/2023
                                                                                                                                                        MM   I DD   I YYYY


5. Do you know if anyone           Gl No
   else has filed a proof          0 Yes. Who made the earlier filing?
   of claim for this claim?




    Official Form 410                                                         Proof of Claim                                                                    page 1
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               Give Information About the Claim as of the Date the Case Was Flied

6     Do you have any number         0 No
      you use to identify the        V:I Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:    K     0      H        N
      debtor?



7     How much is the claim?           $_ __ __ _ _2_,,_4_9_6__,,-4_
                                                                  '- 3_8_.-'-
                                                                          3---'
                                                                              4. Does this amount include interest or other charges?
                                                                                0 No
                                                                                Ga' Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                          charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the          Examples: Goods sold , money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                     Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).
                                     Limit disclosing information that is entitled to privacy, such as health care information.


                                     KLEIN MISAPPROPRIATED INSURANCE POLICY PROCEEDS


9     Is all or part of the claim    6Zi No
      secured?                       0 Yes . The claim is secured by a lien on properly.
                                               Nature of property:
                                               0   Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                                Attachment (Official Form 410-A) with this Proof of Claim.
                                               0   Motor vehicle
                                               0   Other. Describe:



                                                Basis for perfection:
                                                Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                                example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                                been filed or recorded.)



                                                Value of property:                            $_ _ _ __ _ __
                                                Amount of the claim that is secured:         $_ __ __ _ __

                                                Amount of the claim that Is unsecured: $_ __ _ _ _ _ _ (The sum of the secured and unsecured
                                                                                                       amounts should match the amount in line 7.)



                                                Amount necessary to cure any default as of the date of the petition:              $_ _ _ _ _ _ _ __



                                                Annual Interest Rate (when case was filed) _ _ _%
                                                0 Fixed
                                                0 Variable


    10. Is this claim based on a      0 No
        lease?
                                      0 Yes. Amount necessary to cure any default as of the date of the petition .                $_ _ _ _ _ _ _ __


    11. Is this claim subject to a    .zl No
        right of setoff?
                                      0 Yes . Identify the property: _ __ __ __ _ __ __ __ __ _ _ _ _ _ _ _ _ _ _ __




     Official Form 410                                                     Proof of Claim                                                         page 2
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12 Is all or part of the claim   liZJ No
   entitled to priority under
   11 U.S.C. § 507(a}?           D Yes. Check one:                                                                                                Amount entitled to priority

   A claim may be partly                 D Domestic support obligations (including alimony and child support) under
                                             11 U.S.C. § 507(a)(1 )(A) or (a)(1 )(B).                                                             $_ _ _ _ _ _ __
   priority and partly
   nonpriority. For example,
   in some categories, the               D Up to $3,350• of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                     personal, family, or household use. 11 U.S.C. § 507(a)(7).                                           $_ __ _ _ __ _
   entitled to priority.
                                         D Wages, salaries, or commissions (up to $15, 150*) earned within 180 days before the
                                             bankruptcy petition is filed or the debtor's business ends, whichever is earlier.                    $_ __ _ _ __ __
                                             11 U.S.C. § 507(a)(4).
                                         D Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(B).                                  $_ __ _ _ _ __ _

                                         D Contributions to an employee benefit plan. 11 U.S .C. § 507(a)(5).                                     $_ _ _ _ _ _ __

                                         0 Other. Specify subsection of 11 U.S.C. § 507(a)L) that applies .                                       $_ _ __ _ _ _ _

                                         • Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.




            Sign Below

 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it.               D       I am the creditor.
 FRBP 9011(b).                IXf"       I am the creditor's attorney or authorized agent.
 If you file this claim       D          I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                              D          I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

 to establish local rules
 specifying what a signature
                                 I understand that an authorized signature on this Proof of Claim serves as .an acknowledgment that when calculating the
 is.
                                 amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be       I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,           and correct.
 imprisoned for up to 5
 years, or both.
                                 I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                 Executed on date          01/10/2024
                                                           MM/ DD      /   YYYY




                                     Isl Baruch C. Cohen, Es
                                         Signature

                                 Print the name of the person who is completing and signing this claim:


                                 Name                     Baruch C. Cohen
                                                         First name                            Middle name                            Last name

                                 Title                    ATTORNEY FOR DAVID BERGER

                                 Company                  LAW OFFICE OF BARUCH C. COHEN, APLC
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                 Address                  4929 WILSHIRE BOULEVARD, SUITE 940
                                                          Number            Street

                                                          LOS ANGELES                                                  CA               90010
                                                          City                                                         State          ZIP Code

                                 Contact phone            323-937-4501                                                 Email baruchcohen@baruchcohenesq.com




  Official Form 410                                                           Proof of Claim                                                                page 3
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  1                              DECLARATION OF ROBERT MERMELSTEIN

  2               I, ROBERT MERMELSTEIN, declare and state as follows:

  3    1.         The facts stated below are true and correct to the best of my personal knowledge and if called

  4               upon to testify to them, I could and would competently do so.

  5    2.         This Declaration is in support of the AMENDED PROOF OF CLAIM filed by Robert &

  6               Esther Mermelstein.

  7    3.         My wife Esther and I are the settlers and beneficiaries of the Mermelstein Charitable

   8              Remainder Unitrust Dated July 27, 2009, (the" Mermelstein Trust").

  9    4.         On 3-10-2010, Leslie Klein ("Klein") on behalf of The Klein Charitable Remainder Unitrust

  10              dated 2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint

  11              Venture (the "Kohn Memo"). 1

  12   5.         The purpose of the Kohn Memo, was to purchase a $3,000,000.00 Life Insurance Policy

  13              ("Kohn Policy''); American General on the life of Eugene Kohn ("Kohn").

  14   6.         In furtherance of the Kohn Memo, I paid Klein $200,000.00 towards the purchase of the Kohn

  15              Policy.

  16   7.         Per the Kohn Memo, Klein promised to pay the Mermelstein Trust $1,200,000.00 ($200,000

  17              and $1,000,000 and all premiums paid of the proceeds).

  18   8.          On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for

  19               Joint Venture (Kohn), changing the recipient of the $1,200,000.00 from the Mermelstein Trust

  20               to Robert & Esther Merrnelstein.2

  21   9.          Klein paid premiums of the Kohn Policy up to 2011. Thereafter, Klein apparently sold

  22               portions or the entirety of the Kohn Policy to Life Capital Group, LLC ("LCG"), where

  23               Shlomo Yehuda Rechnitz ("Rechnitz") was to resume paying the Kohn Policy premiums from

  24

  25               1
               A true and correct copy of the Kohn Memo is attached hereto as Exhibit "1" and is
  26   incorporated herein by this reference.

  27               2
                A true and correct copy of the First Amendment to the Kohn Memo, is attached hereto as
        Exhibit "2" and is incorporated herein by this reference.
  28

        1/10-11 :28am
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  1               2011 onwards. Klein concealed this information from me.
  2   10.         According to information recently received by me, an unsigned Amended and Restated
  3               Limited Liability Company Agreement of Life Capital Group, LLC, 3 Klein and Rechnitz
  4               agreed that upon the death of Kohn, Klein and Rechnitz would be reimbursed the premiums
  5               that they paid, plus interest on the premiums. Thereafter, Klein and Rechnitz would split the
  6               profits 50/50 of the Kohn Policy, and that I would receive my $1,200,000.00.
  7   11.         As far as I know, Kohn is still alive. Because of Klein's deceptions and concealments, I am
  8               filing this Proof of Claim against his estate - in the event of Kahn's death, as to my
  9               entitlement.
 10                                          INTEREST CALCULATION
 11   12.         Pursuant to Bankruptcy Rule 3001(c)(2)(A), interest of 10% on the $1,000,000.00 from
 12               3-10-2010until the petition date of2-22-2023 comes to $1,296,438.34 (4732 days at $$273.97
 13               interest/day). The total amount due as of the filing date was $2,496,438.34.
 14

 15               I declare under penalty of perjury under the laws of the United States, States of California and
 16   ofNew York that the foregoing is true and correct.

 17               Executed January 10, 2024, at Brooklyn, New York

 18                                                              By  /S/ Robert Mermelstein
                                                                 ROBERT MERMELSTEIN
 19

 20

 21

 22

 23

 24

 25

 26
                  3
              A true and correct copy of the Amended and Restated Limited Liability Company Agreement
 27   of Life Capital Group, LLC is attached hereto as Exhibit "3" and is incorporated herein by this
      reference.
 28

      1/ 10-11 :28am
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  Kohn

  Principle      Default Date      Per diem      # of Days         10% Int            Total POC
$1,200,000.00      3/10/2010         $273.97           4732    $1,296,438.34         $2,496,438.34
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                        MEMORANDUM OF AGREEMENT FOR JOINT VENTURE


      Joint Venturer:       THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                            DATED July 27, 2009


      Joint Venturer:       The Klein Charitable Remainder Unitrust Dated 2-20-1996


                                     ARTICLE I. INTRODUCTION

      Section 1.1
             The purpose of this document is to confirm our mutual understanding and agreement
      concerning the purchase of a life insurance Policy; American General on the life of EUGENE
      KOHN.

            We have reached an agreement on the essential elements of the joint venture. This
      document memorializes our agreement.

            This document constitutes a fully binding and enforceable joint venture agreement
      between us, on the terms and conditions set forth herein.


                            ARTICLE II. PURPOSE OF JOINT VENTURE

      Section 2.1
             The purpose of the joint venture shall be to maintain said above described policy.

                             ARTICLE III. DUTIES AND OBLIGATIONS

  Section 3.1
          Duties of the Parties: Each ofus has agreed that we will make all the premium payments
  necessary to keep the life insurance policy in force. In the event one of the joint venturers fail to
  make said payment. the other joint venturers shall have the option to make the payment for him
• and charge either !3% interest or receive the pro-rated share of the defaulting parties• share of
  the profits.


                              ARTICLE IV. CAPITAL CONTRIBUTIONS

                                                 Page I of 4
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  Section 4.1
         Capital ContribcJtions: Each ofus has contributed the necessary capital contribution.

                           ARTICLEV. MANAGEMENTSTRUCTURE

   Section 5.1
          Management by Committee: The joint venture shall be managed by Leslie Klein.
   Trustee.

                                    ARTICLE VI. ASSIGNMENT

   Section 6.1
          Each party shall have the right to assign his interest.

               ARTICLE VII. DISTRIBUTIONS OF EARNINGS AND PROFITS
   Section 7.1
          Distribution of Profits: Distribution shall be as follows:


   THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST DATED July 27, 2009
   shall receive $200,000 and $1,000,000 and all premiums paid of the proceeds.

   The balance shall go to The Klein Charitable Remainder Unitrust Dated 2-20-1996


                                        ARTICLE VIII. TERM
   Section 8.1
          Tenn and Termination: This Agrt:ement shall expire upon the death of EUGENE KOHN



                                 ARTICLE IX. CONFIDENTIALITY
   Section 9.1
           Definitions: For the purpose of this Agreement. "Proprietary Information.. shall include
   all information designated by any joint venturer. either orally or in writing. as confidential or
   proprietary, or that reasonably would be considered proprietary or confidential to the business
   contemplated by this Agreement.




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                                           X. TRANSFERS
  Section I 0.1
          Any transfer or assignment of any party's interest in the joint venture or its profits shall be
  subject to the rights and obligations under this Agreement except with the express written
  consent of the other parties.

                                         XI. ARBITRATION
  Section 11.1
                  The assignment of specific duties and authority to the respective parties is made
  under this Agreement with the intent to avoid major differences among the parties in the conduct
  of the joint venture. The parties intend that the terms of this Agreement shall control the parties'
  authority and decisions with respect to operations of the joint venture. As to matters not
  specifically controlled by the tenns of this Agreement however. the parties agree to submit the
  determination thereof to arbitration and shall be governed by California law.



                       XII. INSOLVENCY OR BANKRUPTCY OF PARTY
  Section 12.1
                   If. during the term of this Agreement, a party to this Agreement should become
  insolvent or bankrupt, the remaining parties shall have the option to mutually agree to continue
  the joint venture. excluding the insolvent or bankrupt party. on payment to such party (or to such
  person or persons as a court of competent jurisdiction shall direct), such party's contribution to
  the capital assets of the venture less accrued expenses and the further payment of any accrued
  profits attributable to such contribution. If the remaining parties do not mutually agree to
  continue the joint venture, it shall be dissolved and wound up in accordance with the provisions
  effective under this Agreement on its termination.


                            XIII. EFFECTIVE DATE AND TERM
  Section 13. 1
         Effective Date: The effective date of this Agreement shall be March 1. 2010

                       SIGNATURES APPEAR ON THE FOLLOWING PAGE




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                                                 THE MERMELSTEIN CHARITABLE REMAINDER
                                                 UNJTRUST DA~ly 27, 2"' ,,

  DATED: __.,"-1/..L.,_ -+l-)::D___.._L-IJ
                      \../.              _   _         By: zL.          ff._A.
                                                          9:ESLIE KLEIN - Trustee

                                                                     Joint Venturers




  DATED:          :./1 J \.At ·                  THE KLEIN CHARITABLE REMAINDER
                                                 UNITRUST dated 2-20-1996


                                                 By:
                                                       KENNETH KLEIN, Trustee
                                                                Joint Venturer




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                                    FIRST AMENDMENT
                                               I.Q
                MEMORANDUM OF AGREEMENT FOR JOINT VENTURE




 Joint Venturer:         THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                         DATED July 27, 2009


 Joint Venturer:         The Klein Charitable Remainder Unitrust Dated 2-20..1996

  Life insurance Policy: American General on the life of EUGENE KOHN


          I, LESLIE KLEIN, state as follows:

      That I transfer the interest of THE MERMELSTEIN CHARITABLE
 REMAINDER UNITRUST DATED July 27, 2009 to ROBERT MERMELSTEIN AND
 ESTI MERMELSTEIN

 Dated:        '-f   {s v/\.AYI'.


                                     LESLIE KLEIN
                                                               Trustee of
                                     The Mermelstein Charitable Remainder Unitrust
                                     Dated July 27, 2009




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    Debtor 1              LESLIE KLEIN

    Debtor2
    (SpouS6, if filing)

                                            Central District of California
    United States Bankruptcy Court for the: _ _ __

    Case number           2:23-bk-10990-SK


Official Form 410
Proof of Claim                                                                                                                                                          04122

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense . Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim , such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



fd!F               Identify the Claim

1     Who is the current
      creditor?
                                    ROBERT & ESTHER MERMELSTEIN
                                    Name of the current creditor (the person or entity to be paid for this claim)

                                    Other names the creditor used with the debtor

2     Has this claim been
      acquired from
                                    Gl No
      someone else?                 D Yes. From whom? -------------------------- ----- ---

3. Where should notices             Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                          different)
   creditor be sent?
                                     BARUCH C. COHEN , ESQ.
      Federal Rule of               Name                                                                            Name
      Bankruptcy Procedure
      (FRBP) 2002(9)                 4929 WILSHIRE BOULEVARD, SUITE 940
                                    Number           Street                                                         Number          Street

                                     LOS ANGELES                        CA               90010
                                     City                              State                   ZIP Code             City                          State                    ZIP Code

                                     Contact phone 3 23- 9 3?-450 1                                                 Contact phone

                                     Contact email   baruchcohen@baruchcohenesq.com                                 Contact email




                                     Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend             0 No
   one already filed?                ~ Yes. Claim number on court claims registry (if known)~                                                Filed on     05/02/2023
                                                                                                                                                          MM   / DD   I YYYY


5. Do you know if anyone             Gl No
   else has filed a proof            D Yes. Who made the earlier filing?
   of claim for this claim?




      Official Form 410                                                         Proof of Claim                                                                    page 1
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            Give Information About the Claim as of the Date the Case Was Flied

6. Do you have any number         O No
   you use to identify the        l;}J Yes . Last 4 digits of the debtor's account or any number you use to identify the debtor:    F    R              E
   debtor?



7. How much is the claim?           $_ _ __ __ _2
                                                ~12_9_6~•~4_3_8_._3_4. Does this amount include interest or other charges?
                                                                              0 No
                                                                              Ga Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                       charges required by Bankruptcy Rule 30O1(c)(2)(A).


13. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                  Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c}.
                                  Limit disclosing information that is entitled to privacy, such as health care information .

                                  KLEIN MISAPPROPRIATED INSURANCE POLICY PROCEEDS


9. Is all or part of the claim    liZi No
   secured?                       0 Yes. The claim is secured by a lien on property.
                                            Nature of property:
                                             0 Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                              Attachment (Official Form 410-A) with this Proof of Claim.
                                             0 Motor vehicle
                                             0 Other. Describe:


                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                             been filed or recorded.}



                                             Value of property:                            $._ __ _ __ __
                                             Amount of the claim that is secured:          $_ _ __ _ __ _

                                             Amount of the claim that is unsecured: $_ _ __ _ __ _ (The sum of the secured and unsecured
                                                                                                   amounts should match the amount in line 7.)



                                             Amount necessary to cure any default as of the date of the petition:               $_ __ _ _ _ _ __



                                             Annual Interest Rate (when case was filed} _ _ _%
                                             0 Fixed
                                             0 Variable


 10. Is this claim based on a
     lease?
                                   0 Yes . Amount necessary to cure any default as of the date of the petition.                 $
                                                                                                                                ---------
 11. Is this claim subject to a    ~ No
     right of setoff?
                                   0 Yes . Identify the property: _ _ __ _ __ _ _ _ __ __ _ __ _ __ _ _ _ __ __ _ __




  Official Form 410                                                     Proof of Claim                                                         page 2
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12. Is all or part of the claim   -Z! No
    entitled to priority under
     11 U.S.C. § 507(a)?          D Yes. Check one:                                                                                                Amount entitled to priority

   A cla im may be partly             D Domestic support obligations (including alimony and child support) under
                                              11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                               $ _ _ __ __ _ __
   priority and partly
   nonpriority. For example,
   in some categories, the                D Up to $3,350• of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                           $ _ _ _ __ _ _ _
   entitled to priority.
                                          D Wages, salaries, or commissions (up to $15, 150•) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor's business ends, whichever is earlier.                    $ _ _ __ __ _ _ _
                                              11 U.S.C. § 507(a)(4).
                                          D Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                  $_ __ __ __ __

                                          D Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                      $_ __ __ _ __

                                          D Other. Specify subsection of 11 U.S.C. § 507(a)L) that applies.                                        $_ __ _ _ _ __

                                          * Amounts are subject to adjustment on 4/01125 and every 3 years after that for cases begun on or after the dale of adjustment.



             Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                D       I am the creditor.
 FRBP 9011(b).                    il1' I am the creditor's attorney or authorized agent.
 If you file this claim           D       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP             D       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules
 specifying what a signature
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 is.
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
                                  I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152,157, and
 3571.
                                  Executed on date          01/10/2024
                                                            MM/ DD     /   YYYY




                                      /s/ Baruch C. Cohen, Esq.
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                     Baruch C. Cohen
                                                          First name                           Middle name                            Last name

                                  Title                    ATTORNEY FOR DAVID BERGER

                                  Company                  LAW OFFICE OF BARUCH C. COHEN, APLC
                                                          Identify the corporate servicer as the company if the authoriz.ed agent is a servicer.



                                  Address                  4929 WILSHIRE BOULEVARD, SUITE 940
                                                           Number            Street

                                                           LOS ANGELES                                                  CA               90010
                                                           City                                                         State          ZIP Code

                                   Contact phone           323-937-4501                                                 Email baruchcohen@baruchcohenesq.com




  Official Form 410                                                           Proof of Claim                                                                 page 3
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  1                              DECLARATION OF ROBERT MERMELSTEIN

  2               I, ROBERT MERMELSTEIN, declare and state as follows:

  3    1.         The facts stated below are true and correct to the best of my personal knowledge and if called

  4               upon to testify to them, I could and would competently do so.

  5    2.         This Declaration is in support of the AMENDED PROOF OF CLAIM filed by Robert &

  6               Esther Mermelstein.

  7    3.         My wife Esther and I are the settlors and beneficiaries of the Mermelstein Charitable

  8               Remainder Unitrust Dated July 27, 2009, (the" Mermelstein Trust").

  9    4.         On 3-1-2010, Leslie Klein ("Klein") on behalf of The Klein Charitable Remainder Unitrust

 10               dated 2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint

 11               Venture (the "Friedman Memo"). 1

 12    5.         The purpose of the Friedman Memo, was to purchase a $1,500,000.00 Life Insurance Policy

 13               ("Friedman Policy"); American General on the life of Goldie Friedman ("Friedman").

 14    6.         In furtherance of the Friedman Memo, I paid Klein $250,000.00 towards the purchase of the

 15               Friedman Policy.

 16    7.         Per the Friedman Memo, Klein promised to pay the Mermelstein Trust $1,000,000.00

  17               ($250,000.00 and $750,000.00 and all premiums paid of the proceeds).

  18   8.          On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for

 19                Joint Venture (Friedman), changing the recipient of the $1,000,000.00 from the Mermelstein

 20                Trust to Robert & Esther Mermelstein. 2

 21    9.          Klein apparently sold portions of the Friedman Policy, to the Longevity Fund of NY and

  22               partially to the Longevity Fund of Michigan.

  23   10.         Friedman apparently died in 2020, and Klein collected the Friedman Proceeds, on the

  24

  25               1
               A true and correct copy of the Friedman Memo is attached hereto as Exhibit "1" and is
  26   incorporated herein by this reference.

  27               2
               A true and correct copy of the First Amendment to the Friedman Memo, is attached hereto
       as Exhibit "2" and is incorporated herein by this reference.
  28

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  1               Friedman Policy. Klein concealed this information from me, misappropriated & kept the

  2               Friedman Proceeds for himself, and failed to pay me the $1,000,000.00 per the Friedman
  3               Memo.

  4                                          INTEREST CALCULATION
  5   11.         Pursuant to Bankruptcy Rule 3001 (c)(2)(A), interest of 10% on the $1,000,000.00 from
  6               3-10-2010until the petition date of2-22-2023 comes to $1,296,438.34 (4732 days at$$273.97
  7               interest/day). The total amount due as of the filing date was $2,296,438.34.
  8

  9               I declare under penalty of perjury under the laws of the United States, States of California and
 10   of New York that the foregoing is true and correct.

 11               Executed January 10, 2024, at Brooklyn, New York

 12                                                              By  /S/ Robert Mermelstein
                                                                 ROBERT MERMELSTEIN
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       Friedman

  Principle     Default Date   Petition Date    Per diem     # of Days     @10% Int            Total POC

$1,000,000.00   3/10/2010       3/10/2010        $273.97       4732       $1,296,438.34       $2,296,438.34
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                    MEMORANDUM OF AGREEMENT FOR JOINT VENTURE

      Joint Venturer:       THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                            DATED July 27, 2009


      Joint Venturer:       The Klein Charitable Remainder Unitrust Dated 2-20-1996


                                      ARTICLEI. INTRODUCTION

      Section I.I
             The purpose of this document is to confirm our mutual understanding and agreement
      concerning the purchase of a life insurance Policy; American General on the life of GOJ.DIE
      FRIEDMAN.

            We have reached an agreement on the essential elements of the joint venture. This
      document memorializes our agreement.

            This document constitutes a fully binding and enforceable joint venture agreement
      between us, on the terms and conditions set forth herein.


                             ARTICLE U. PURPOSE OF JOINT VENTURE

      Section 2.1
             The purpose of the joint venture shall be to maintain said above described policy.

                             ARTICLE III. DUTIES AND OBLIGATIONS

      Section 3.1
              Duties of the Parties: Each ofus has agreed that we will make all the premium payments
      necessary to keep the life insurance policy in force. In the event one of the joint venturers fail to
      make said payment, the other joint·venture~ shall have the option to make the payment for him
      and charge either 13% interest or receive the pro-rated share of the defaulting parties' share of
      the profits.


                               ARTICLE IV. CAPITAL CONTRIBUTIONS

                                                   Page 1 of 4
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  Section 4.1
         Capital Contributions: Each of us has contributed the necessary capital contribution.

                          ARTICLEV.MANAGEMENTSTRUCTURE

  Section 5.1
         Management by Committee: The joint venture shall be managed by Leslie Klein.
  Trustee.

                                   ARTICLE VI. ASSIGNMENT

  Section 6.1
         Each party shall have the right to assign his interest.
                                            '
                 ARTICLE VII. DISTRIBUTIONS OF EARNINGS AND PROFITS
   Section 7.1
          Distribution of Profits: Distribution shall be as follows:

  THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST DATED July 27, 2009
  shaft receive $250,000.00 and $750,000.00 and all premiums paid of the proceeds.

   The balance shall go to The Klein Charitable Remainder Unitrust Dated 2-20-1996


                                    ARTICLE VIII. TERM
   Section 8.1
          Tenn and Tennination: This Agreement shall expire upon the death of GOLDIE
   FRIEDMAN.


                                ARTICLE IX. CONFIDENTIALITY
   Section 9.1
          Definitions: For the purpose of this Agreement, "Proprietary Information" shall include
   all information designated by any joint venturer, either orally or in writing, as confidential or
   proprietary, or that reasonably would be considered proprietary or confidential to the bu~iness
   contemplated by this Agreement.




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                                            X. TRANSFERS
   Section 10.1
           Any transfer or assignment of any party's interest in the joint venture or its profits shall be
   subject to the rights and obligations under this Agreement except with the express written
   consent of the other parties.

                                          XI.· ARBITRATION
   Section 11.1
                   The assignment of specific duties and authority to the respective parties is made
   under this Agreement with the intent to avoid major differences among the parties in the conduct
   of the joint venture. The parties intend that the terms of this Agreement shall control the parties'
   authority and decisions ~itli respect to operations of the joint venture. As to matters not
   specifically controlled by the tenns of this Agreement however, the parties agree to submit the
   determination thereof to arbitration and shall be governed by California law.
                                            I   •




                        XII. INSOLVENCY OR BANKRUPTCY OF PARTY
   Section 12.1
                    If, during the term of this Agreement, a party to this Agreement should become
   insolvent or bankrupt, the remaining parties shall have the option to mutually agree to continue
   the joint venture, excluding the insolvent or bankrupt party, on payment to such party (or to such
   person or persons as a court of competent jurisdiction shall direct), such party's contribution to
   the capital assets of the venture less accrued expenses and the further payment of any accrued
   profits attributable to such contribution. If the remaining parties do not mutually agree to
   continue the joint venture, it shall be dissolved and wound up in accordance with the provisions
   effective under this Agreement on its tennination.


                                XIll. EFFECTIVE DATE AND TERM
   Section 13.1
          Effective Date: The effective date of this Agreement shall be March 1, 2010

                       SIGNATURES APP~ ON THE FOLLOWING PAGE




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                                           THE MERMELSTEIN CHARITABLE
                                           REMAINDER UNITRUST DATED July 27,


   DATED:    J./4 0   \.A IV
                                           :,g                   ft
                                               LESLIE KLEIN - Trustee

                                                        Joint Venturers




   DATED:    ¥ 1vf V IC.>            THE KLEIN CHARlTABLE REMAINDER
                                     UNITRUST dated 2-20-1996


                                     By:    ,~ ~
                                            KENNETH KLEIN, Trustee
                                                     Joint Venturer




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                             EB.ST AMENDMENT
                                    I.Q
                 MEMORANDUM OF AGREEMENT FOR J OINT VENTURE




  Joint Venturer:       THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                        DATED July 27, 2009


  Joint Venturer:       The Klein Charitable Remainder Unitrust Dated 2-20~1996

  Life insurance Policy: American General on the life of GOLDIE FRIEDMAN.

           I, LESLIE KLEIN~ state as follows:

       That I transfer the interest of THE MERMELSTEIN CHARITABLE
  REMAINDER UNITRUST DATED Juiy 27, 2009 to ROBERT MERMELSTEIN AND
  ESTI MERMELSTEIN

  Dated:




                                      LESLIE KLEIN
                                                                Trustee of
                                      The Mermelstein Charitable Remainder Unitrust
                                      Dated July 27, 2009




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-s Fill in thisinformation to' identify the case: ' -- ,,~/<:~:'' ,, •: · • ·•
1\-"',~.,.....,.~_tr1,·~., .... ~... ·.::-.. 71.1.•j ➔ollf•, .... • ,)"f' -~. w:~ •      ,                . :'
  Debtor 1          LESLIE KLEIN

  Debtor 2
  (Spouse, if filing)

  United States Bankruptcy Court for the: Central District of Cal_
                                                                 ifo
                                                                   _r_n_ia_ __

  Case number           2:23-bk-10990-SK



Official Form 410
Proof of Claim                                                                                                                                                                 04/22

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571 .

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                 Identify the Claim

1. Who is the current
    creditor?
                                         ROBERT & ESTHER MERMELSTEIN
                                         Name of the current creditor (the person or entity to be paid for this claim)

                                         Other names the creditor used with the debtor

2. Has this claim been
                                         Gl No
   acquired from
                                         D Yes . From whom?
   someone else?                                                         - ------------------ - - --- - - - --- ----
3. Where should notices                  Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                               different)
   creditor be sent?
                                          BARUCH C. COHEN, ESQ.
     Federal Rule of                     Name                                                                        Name
     Bankruptcy Procedure
     (FRBP) 2002(g}                       4929 WILSHIRE BOULEVARD, SUITE 940
                                          Number            Street                                                   Number              Street
                                          LOS ANGELES                            CA            90010
                                          City                                   State              ZIP Code         City                              State                     ZIP Code

                                          Contact phone 323- 937 - 45 0 1                                            Contact phone

                                          Contact email baruchcohen@baruchcohenesq.com                                   Contact email



                                          Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend                  □ No
   one already filed?
                                          lit' Yes. Claim number on court claims registry (if known}~                                             Filed on     05/03/2023
                                                                                                                                                             7QIM   / l.JD   I l YT l



5. Do you know if anyone                  Gl No
     else has filed a proof               D Yes. Who made the earlier filing?
     of claim for this claim?




    Official Form 410                                                                    Proof of Claim                                                                 page 1
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              Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number           O No
   you use to identify the          ~ Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:      Z             M        M
   debtor?                                                                                                                                       ----




7. How much is the claim?              $                   10,557,615.81 Does this amount include interest or other charges?
                                                                                0 No
                                                                                lii!f Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                         charges required by Bankruptcy Rule 3001(c)(2)(A).


8     What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
      claim?
                                    Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                    Limit disclosing information that is entitled to privacy, such as health care information.


                                    KLEIN MISAPPROPRIATED INSURANCE POLICY PROCEEDS


9. Is all or part of the claim      liZ'.i No
   secured?                         0 Yes. The claim is secured by a lien on property.
                                                Nature of property:
                                                D Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                                 Attachment (Official Form 410-A) with this Proof of Claim.
                                                0 Motor vehicle
                                                0 Other. Describe:


                                                Basis for perfection:
                                                Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                                example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                                been filed or recorded.)



                                                Value of property:                           $_ _ _ __ _ __
                                                Amount of the claim that is secured:        $_ _ __ __ __

                                                Amount of the claim that is unsecured: $_ __ _ __ __ (The sum of the secured and unsecured
                                                                                                     amounts should match the amount in line 7.)



                                                Amount necessary to cure any default as of the date of the petition:             $_ _ _ _ __ __ _



                                                Annual Interest Rate (when case was filed) _ _ _ %
                                                D Fixed
                                                D Variable


    10. Is this claim based on a     ~ No
        lease?
                                     0 Yes. Amount necessary to cure any default as of the date of the petition.                 $_ __ _ _ _ _ __



1
    11 Is this claim subject to a    ~ No
       right of setoff?
                                     0 Yes. Identify the property: _ _ __ _ _ _ __ _ _ __ _ _ __ _ __ _ _ _ _ __ __




     Official Form 410                                                    Proof of Claim                                                          page 2
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12. Is all or part of the claim   Ill No
    entitled to priority under
    11 U.S.C. § 507(a)?           D Yes. Check one:                                                                                                    Amount entitled to priority

   A claim may be partly            D Domestic support obligations (including alimony and child support) under
                                                11 U.S.C. § 507(a)(1 )(A) or {a)(1 )(B).                                                              $_ __ _ _ __ _
   priority and partly
   nonpriority. For example,
   in some categories, the            D Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                        personal, family, or household use. 11 U.S.C. § 507{a)(7).                                            $_ _ _ __ _ _ _
   entitled to priority
                                          D Wages, salaries, or commissions (up to $15, 150*) earned within 180 days before the
                                                 bankruptcy petition is filed or the debtor's business ends, whichever is earlier.                    $_ _ _ _ _ _ _ __
                                                 11 U.S.C. § 507(a)(4 ).
                                          D Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                     $_ _ _ _ _ _ __ _

                                          D Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                         $_ __ _ _ _ __

                                          D Other. Specify subsection of 11 U.S.C. § 507(a)L) that applies.                                           $_ _ _ __ _ _ _

                                          •    Amounts are subject to adjustment on 4/01 /25 and every 3 years after that for cases begun on or after the date of adjustment.




             Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                0       I am the creditor.
 FRBP 9011(b).                    !if I am the creditor's attorney or authorized agent.
 If you file this claim           0       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  0       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 is.
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
                                  I declare under penalty of pe~ury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                  Executed on date            01/10/2024
                                                              MM/ DD      /   YYYY




                                      /s/ Baruch C. Cohen, Esq.
                                              Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                       Baruch C. Cohen
                                                             First name                           Middle name                            Last name

                                  Title                      ATTORNEY FOR DAVID BERGER

                                  Company                    LAW OFFICE OF BARUCH C. COHEN, APLC
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                    4929 WILSHIRE BOULEVARD, SUITE 940
                                                             Number             Street

                                                              LOS ANGELES                                                 CA               90010
                                                             City                                                         State          ZIP Code

                                   Contact phone             323-937-4501                                                 Email baruchcohen@baruchcohenesg.com




  Official Form 41 O                                                             Proof of Claim                                                                 page 3
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  1                              DECLARATION OF ROBERT MERMELSTEIN

  2               I, ROBERT MERMELSTEIN, declare and state as follows:

  3    1.         The facts stated below are true and correct to the best of my personal knowledge and if called

  4               upon to testify to them, I could and would competently do so.

  5    2.         This Declaration is in support of the AMENDED PROOF OF CLAIM filed by Robert &

  6               Esther Mermelstein.

  7    3.         My wife Esther and I are the settlors and beneficiaries of the Mermelstein Charitable

  8               Remainder Unitrust Dated July 27, 2009, (the" Mermelstein Trust").

  9    4.         On 8-3-2009, Leslie Klein ("Klein") on behalf of The Klein Charitable Remainder Unitrust

 10               dated 2-20-1996 (the "Klein Trust") entered into a Memorandum of Agreement for Joint

 11               Venture (the "Zimmerman Memo"). 1

 12    5.         The purpose of the Zimmerman Memo, was to purchase a $9,000,000.00 Life Insurance Policy

 13               ("Zimmerman Policy"); American General Policy# US 0023738L on the life of Rozy Pearl

 14               Zimmerman ("Zimmerman").

  15   6.         In furtherance of the Zimmerman Memo, I paid Klein $150,000.00 towards the purchase of

  16              the Zimmerman Policy.

  17   7.          Per the Zimmerman Memo, Klein promised to pay the Mermelstein Trust $2,250,000.00.

  18   8.          On 4-30-2021, Klein executed a First Amendment to the Memorandum of Agreement for Joint

  19               Venture (Zimmerman), changing the recipient of the $2,250,000.00 from the Mermelstein

  20               Trust to Robert & Esther Mermelstein.2

  21   9.          Klein paid premiums of the Zimmerman Policy up to 2011. Thereafter, Klein apparently sold

  22               portions or the entirety of the Zimmerman Policy to Life Capital Group, LLC ("LCG"), where

  23               Shlomo Y ehuda Rechnitz ("Rechnitz") was to resume paying the Zimmerman Policy

  24

  25               1
                A true and correct copy of the Zimmerman Memo is attached hereto as Exhibit "1" and is
  26    incorporated herein by this reference.

  27               2
                A true and correct copy of the First Amendment to the Zimmerman Memo, is attached hereto
        as Exhibit "2" and is incorporated herein by this reference.
  28

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   1               premiums from 2011 onwards. Klein concealed this information from me.

  2    10.         Klein, as Trustee of the Rozy Pearl Zimmerman Irrevocable Life Insurance Trust (the

  3                "Zimmerman Trust") issued three Non-Recourse Promissory Notes (the "Zimmerman Notes")

  4                to me and my wife, secured by the Zimmerman Policy3 in the amount of $2,357,679.50:

   5               a.      Non-Recourse Promissory Notes# 1, principal sum of$1,412,679.53, dated June 15,
                           2011 - due June 15, 2020 (the "$1.412,679.53 Zimmerman Note");
   6
                   b.      Non-Recourse Promissory Notes# 2, principal sum of $570,000.00, dated December
   7                       7, 2009 - due December 7, 2019 (the: "$570,000.00 Zimmerman Note");
   8               c.      Non-Recourse Promissory Notes# 2, principal sum of$375,000.00, dated January 14,
                           2010 - due January 14, 2020 (the "$375 ,000.00 Zimmerman Note").
   9
       11.         According to information recently received by me, an unsigned Amended and Restated
  10
                   Limited Liability Company Agreement of Life Capital Group, LLC, 4 Klein and Rechnitz
  11
                   agreed that upon the death of Zimmerman, Klein and Rechnitz would be reimbursed the
  12
                   premiums that they paid, plus interest on the premiums. Thereafter, Klein and Rechnitz would
  13
                   split the profits 50/50 of the Zimmerman Policy, and that I would receive my $2,250,000.00.
  14
       12.         It is my understanding that Zimmerman is still alive. Because of Klein's deceptions and
  15
                   concealment, I am filing this Proof of Claim against his estate - in the event of Zimmerman's
  16
                    death, as to my entitlement.
  17
                                              INTEREST CALCULATION
  18
       13.          Pursuant to Bankruptcy Rule 3001 (c)(2)(A), interest of 10% on the Zimmerman Memo from
  19
                    8-3-2009 until the petition date of 2-22-2023 equals $3,051,986.52 (4951 days at $616.44
  20
                    interest/day). The total amount due as of the filing date was $5,301,986.52.
  21
       14.          Pursuantto Bankruptcy Rule 3001 (c)(2)(A), interest ofl 0% on the $1,412,679.53 Zimmerman
  22

  23
  24                3
                True and correct copies of the 3 the Zimmerman Notes are attached hereto as Exhibit "3" and
  25   is incorporated herein by this reference.
                    4
  26           A true and correct copy of the Amended and Restated Limited Liability Company Agreement
       of Life Capital Group, LLC is attached hereto as Exhibit "4" and is incorporated herein by this
  27   reference.
  28

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  1              Note from 6-15-2011 until the petition date of2-22-2023 equals $1,652,641.59 (4270 days at

  2              $387.04 interest/day). The total amount due as of the filing date was $3,065,321.12.
  3   15.        Pursuant to Bankruptcy Rule 3001(c)(2)(A), interest of 10% on the $570,000.00 Zimmerman
  4              Note from 12-7-2009 until the petition date of2-22-2023 comes to $753,493.23 (4825 days
  5              at $156.16 interest/day). The total amount due as of the filing date was $1,323,493.23.
  6   16.        Pursuant to Bankruptcy Rule 3001 (c)(2)(A), interest of 10% on the $375,000.00 Zimmerman
  7              Note from 1-14-2010 until the petition date of 2-22-2023 comes to $491,814.94 (4787 days
  8              at $102.74 interest/day). The total amount due as of the filing date was $866,814.94.
  9   17.        The total pre-petition amount owed is $10,557,615.81.
 10

 11              I declare under penalty of perjury under the laws of the United States, States of California and
 12   of New York that the foregoing is true and correct.

 13              Executed January 10, 2024, at Brooklyn, New York

 14                                                             By /s/ Robert Mermelstein
                                                                ROBERT MERMELSTEIN
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  Zimmerman

  Principle      Default Date      Per diem       # of Days        10% Int            Total POC
$2,250,000.00       8/3/2009         $616.44           4951    $3,051,986.52         $5,301,986.52
$1,412,679.53      6/15/2011         $387.04           4270    $1,652,641.59         $3,065,321.12
 $570,000.00       12/7/2009         $156.16           4825     $753,493.23          $1,323,493.23
  $375,000.00      1/14/2010         $102.74           4787     $491,814.94            $866,814.94
                                                                                   $10,557,615.81
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                          MEMORANDUM OF AGREEMENT FOR ,JOINT Vl!!NTURE


          Joint Venturer:        THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                                 DATED July 27, 2009

          Joint.Venturer~         The Klein Charitable Remainder Unitrust l>ated 2-20-1996


                                           ARTICLEI. INTRODUCTION

           Section 1.1
                  The purpose of this document is to confirm our mutual understanding and agreement
           concerning the purchase of a life insurance Policy; American General Policy Number: US
           0023738L. on the life ofROZY PEARL ZIMMERMAN.

                 We have reached an agreement on the essential elements of the joint venture. This
           document memorializes our agreement.

                 This document constitutes a fully binding and enforceable joint VE:nture agreement
           between us, on the tenns and conditions set forth herein. ·


                                  ARTICLE II. PURPOSE OF JOINT VENTURE

           Section 2.1
                  The purpose of the joint venture shall be to maintain said above dc:scribcd policy.

                                  ARTICLE Ill. DUTIES AND OBLIGATIONS

           Section 3.1
                  Duties of the Parties: Each of us has agreed that we will make all t.he premium payments
           necessary to keep the life insurance policy in force. In the event one of the joint venturers fail to
           make said payment, the other joint venturers shall have the option to make the payment for him
           and charge either 13% interest or receive the pro-rated share of the defaulting parties' share of
           the profits.


                                    ARTICLE IV. CAPITAL CONTRIBUTIONS


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       Section 4.1
              Capital Contributions: Each of us has contributed the necessary capital contribution.

                                               ARTI.CLE V. MANAGEMENT STRUCTURE

       Section 5.1
                   Management by Committee: The joint ·venture sba11 be managed by Lesli.e Klein.
       Trustee.

                                                               ARTICLE VT. ASSIGNMENT

       Section 6.1
              Each party shall have the 1ight to assign his interest.

                            ARTICLE VII. DISTRIBUTIONS OF EARNINGS A.ND PROFITS
       Section 7.1
                    Dis_tribution of Profits: Distribution shall be as follows:




       THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST lDATED July 27,2009
                                  ■                                    1/4 1it[",
       . . . . - • • ,. • • • • • • • • • • • • • • • - . . . . . . . . . . . . . .    . . . . . . . . . . . . . " .. • • ... • • • • • •   •   • • • •   • • •   •   •   • • • .. • •          &).liJ


                                                                                                                                                                                         -{ PJ'I_   II-
       THE KL.EIN CHARITABLE REMAINDER UNITRUST dated 2-20-1996 ..... 3/4



                                                                      ARTICLE VIII. TERM
       Section 8.1
              Term and Termination: This Agreement shall expire upon the death ofROZY PEARL
       ZIMMERl\1.AN

                                                          ARTICLE IX. CONFIDENTIALITY
       Section 9.1
               Definitions: For the purpose of this Agreement, "Proprietary Tnfo1rnation" shall include
       all information designated by any joint venturer~ either orally or in writing, ac; confidential or
       proprietary, or that rea.$onably would be considered proprietary or confidelltial. to the business
       contemplated by this Agreement.




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                                                       Xe TRANSFERS
              Section l 0.1
                      Any transfer or assignment of any party's interest in the jojut venture or its profits shall be
              subject to the rights and obligations under this Agreement except with the express written
              consent of the other parties.

                                                     XI. ARBITRATION
              Section 11. l
                              The assignment of specific duties and authority to the res:pectivc parties is made
              under this Agreement with the intent to avoid major differences among the parties jn the conduct
              of the joint venture. The parties intend that the tenns of this Agreement fihall control the parties'
              authority and decisions with respect to operations of the joint venture. A~ to matters not
              specifically controlled by the terms of this Agreement however, the partfos agree to submit the
              detemJination thereof to arbitration and shall be governed by California law.



                                   XII. INSOLVENCY OR BANKRUPTCY OF PAlllX
              Section 12.1
                              lf, during the term of this Agreement, a party to this Agreement should become
              insolvent or bankrupt, the remaining parties shall have the option to mutually agree to continue
              the joint venture, excluding the insolvent or bankrupt party, on payment t·:> such party (or to such
              person or persons a'i a court of competent jurisdiction shall direct), such party's contribution to
              the capital assets of the venture less accrued expenses and the further payment of any accrued
              profits attributable to such contribution. If the remaining parties do not mutually agree to
              continue the joint venture, it shall be dissolved and wound up in accordar.ce with the provisions
              effective under this Agreement on its termination.




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                                XIII. EFFECTIVE DATE AND TERM
      Section 13 .1
             Effective Date: The effective date of this Agreement shall be Au.~ 3. 2009.



      THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST DATED Juiy 27, 2009


      DATED: __...._i..__/4.._/4"-'
                               .14.._____   By, /               V
                                                  LESLIE KLEIN - Trustee




      DATED: •   C/y., i                    THE KLEIN CHARITABLE REMAINDER
                  '                         UNTTRUST dated 2-20-1996


                                            By:     ~ / t~
                                                  KENNEffl KLEINt Trustee
                                                                Joint Venturer




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                                   FIRST AMENDMENT
                                 TO
               MEMORANDUM OF AGREEMENT FOR JOINT VENTURE




 Joint Venturer:      THE MERMELSTEIN CHARITABLE REMAINDER UNITRUST
                      DATED July 27, 2009


 Joint Venturer:      The Klein Charitable Remainder Unitrust Dated 2-20-1996

  Life insurance Policy: American General Policy Number: US 0023738L. on the life of
                   ROZY PEARL ZIMMERMAN.

        I, LESLIE KLEIN, state as follows:

      That I transfer the interest of THE MERMELSTEIN CHARITABLE
 REMAINDER UNITRUST DATED July 27, 2009 to ROBERT MERMELSTEIN AND
 ESTI MERMELSTEIN

 Dated: _ _d.
           _ 1v
             _(_y4:--..-;;.
                         )d....__ _




                                     LESLIE KLEIN
                                                               Trustee of
                                     The Mermelstein Charitable Remainder Unitrnst
                                     Dated July 27, 2009




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                           NON-RECOURSE PROMISSORY NOTE

 Principal Sum:         $1,412,679.53                                 June 15, 2011
 Due Date:              June 15, 2020                                 State of California

 FOR VALUE RECEIVED, 1he undersigned, LESLIE KLEIN as Trustee of THE ROZY
 PEARL ZIMMERMAN IRREVOCABLE LIFE INSURANCE TRUST with offices at
 14245 Ventura Boulevard, Shennan Oaks, California (the "Borrower"), hereby promises to pay
 to ROBERT and ESTHER MERMELSTEIN or their registered assigns (the "Holder11) , the
 principal sum of Sl,412,679.53, plus interest of 10% and all costs, fees and expenses (including
 without limitation reasonable attorneys' fe'-'S and disbursements) that the Holder incurs in order to
 collect any amowit due under this Note, to negotiate or document a workout or restructuring, or
 to preserve its rights or realize upon any security for the payment of this Note now or hereafter
 granted (11Expenses 11 ).

 Security Agreement; Collateral Assignments. This Note is a secured, non-recourse promissory
 note, secured by the policies of life insurance on the live(s) of the individual(s) above named.
 Pursuant to and in accordance with this agreement this Note is secured by the borrower and the
 borrower has granted to the lender a continuing first priority security interest in the policies and
 the proceeds thereof pursuant to this agreement.

 Additional Advances. In the event that Holder makes any payment of additional premiums,
 adjustments to premiums or other required payments on or under any Policy or Policies on
 Bonower's behalf, the amount of any such advances automatically shall be deemed to be, and
 shall be, added to the outstanding principal balance of this Note as of the date of such advance
 and shall earn interest from such date.

 Interest Rate. The outstanding principal balance of this Note shall earn interest, calculated on
 the basis of a 360-day year comprised of twelve 30-day months, from the date hereof until the
 date all amounts due hereunder are paid in full, at the rate of 10 % percent per annum. Accrued
 interest on the outstanding principal balance of this Note shall be compounded quarterly, on each
 three month anniversary of the date hereof.

  Payment. The entire principal balance hereof, together with an interest accrued thereon, shall
  be due and payable on June 15, 2020, or at such time, if earlier, as the Holder has accelerated the
  maturity of the Note after the occurrence and during the continuation of an Event of Default
  under this Note or any of the other Loan Agreements. Payment shall be made in immediately
  available United States funds at such address as the Holder may specify in writing.

  Prepayment. The Borrower, upon not less than three business days prior written notice, may
  prepay the outstanding principal amount of this Note, in whole or in part, together with accrued



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  and unpaid interest on the principal amount so prepaid, without pre~iwn, penalty or fee.

  Events of Default.
  Each of the following events also shall constitute an "Event of Default":

         (i)     Borrower fails to pay any additional premiums or adjustments to premiums or
                 other required payments on any Policy or Policies to which this Note relates to the
                 Issuer thereof when due, notwithstanding payment of such amounts by Holder;
                 and


         (ii)    Borrower fails to repay any monies advanced to it by Holder in connection with
                 any Policy or Policies to which this Note relates by the Maturity Date.

  Following an Event of Default.

                  Upon the happening of an Event of Default, the Holder, at its option and in its
         sole discretion, may accelerate the due date of this Note by notice to the Borrower to such
         effect, effective immediately, and thereupon the entire unpaid principal balance on or
         under this Note, together with al 1interest acCJUed and unpaid hereon and all Expenses,
         shall be immediately due and payable.


  Waiven. The Borrower hereby waives, to the fullest extent permitted by law, presentment,
  demand, protest and notices, including, without limitation, notices of nonperfonnance, notices of
  protest, notices of nonpayment, notices of dishonor, notices of the delivery or acceptance of this
  Note, and notices of the existence, creation or incurrence of new or additional obligations of the
  Borrower to the Holder, and all other defenses which otherwise might be available. Borrower
  acknowledges that the Holder has been induced to enter into this Note by, among other things,
  the provisions of this Section. No delay or failure by the Holder to exercise any right or remedy
  shall operate as a waiver thereof, and no single or partial exercise by the Holder of any right or
  remedy shall preclude any other or further exercise thereof.

  Non-Recoune. Notwithstanding anything to the contrary in this Note, the Borrower's liability
  to the Holder under this Note shall be limited exclusively to the extent of the lenders'security
  interests in the Policy or Policies, the proceeds thereof. If any proceedings shall be brought to
  enforce the provisions of this Note, the Holder shall have recourse hereunder against the
  Borrower only to the extent of the Borrower's interest in the Policy or Policies. The Holder's
  sole recourse shall be to exercise its rights under this Note, and the Loan Agreements as to the
  Policy or Policies, the proceeds thereof. Neither the Borrower nor any of its trustees, fiduciaries
  or beneficiaries shall be personally liable or otherwise have any obligation hereunder.




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  Retention of Policies. Borrower expressly acknowledges and agrees that the satisfaction of its
  obligations wider this Note shall not discharge, excuse, impair or terminate Holders or its
  designee's rights in and to the related Policy or Policies under the Loan Agreements or any other
  agreement contemplated thereby.

  Assignment; Registration. This Note may not be assigned by the Borrower without the prior
  written consent of the Holder. The Holder may assign or otherwise transfer this Note. This Note
  is a registered Note. Upon surrender of this Note for transfer, duly endorsed, or accompanied by a
  written instrument of transfer duly executed, by the Holder or the Holder's attorney duly
  authorized, in writing, a new Note for a like principal amount will be issued to the transferee.
  Prior to such surrender, the Borrower shall treat the person to whom such Note is issued as the
  owner thereof for the purpose of receiving payment and for all other purposes, and the Borrower
  will not be affected by any notice to the contrary.

  Miscellaneous. All rights and remedies of the Holder under applicable law and this Note or
  amendment of any provision of this Note are cumulative and not exclusive. If a court deems any
  provision of this Note invalid, the remainder of the Note shall remain in effect.

  Notices. Any notice or demand hereunder shall be duly given if delivered or mailed to the
  Borrower at its address on page one. Such notice or demand shall be effective, if delivered, upon
  personal delivery or, if mailed, four business days after deposit in an official depository
  maintained by the United States Post Office for the collection of mail or one business day after
  delivery to a nationally recognized courier service for overnight delivery. Notice by e-mail is not
  valid notice under this Note.

  Governing Law; Jurisdiction. THIS NOTE HAS BEEN DELIVERED TO AND ACCEPTED
  BY HOLDER IN, AND WilL BE DEEMED TO BE MADE AND TO BE PERFORMED
  WHOLLY WITHIN, THE STATE OF CALIFORNIA, AND SHALL BE GOVERNED AND
  CONSTRUED n--1 ACCORDANCE WITH THE LAWS OF SUCH STATE, EXCLUDING ITS
  CONFLICT OF LAWS RULES. BORROWER IRREVOCABLY CONSENTS TO THE SOLE
  AND EXCLUSIVE JURISDICTION OF THE STATE AND FEDERAL COURTS LOCATED
  IN THE COUNTY, CITY AND STATE OF CALIFORNIA IN CONNECTION WITH ANY
  ACTION OR PROCEEDINGS ARISING OUT OF OR RELATING TO nns NOTE, AND
  HEREBY WAIVES THE RIGI-IT TO MOVE TO CHANGE VENUE OR ASSERT
  INCONVENIENT FORUM. IN ANY SUCH ACTION, BORROWER SHALL AND HEREBY
  IRREVOCABLY DOES WAIVE ANY RIGHT TO A TRIAL BY JURY. In any action or
  proceeding on or under this Note, the Borrower waives service of any summons, complaint or
  other process, and agrees that service thereof shall be deemed made when first received, by
  personal service, or after having been mailed by certified or registered mail, return receipt
  requested, and mailed to the last known address of the Borrower. The Borrower waives (i) any
  right to assert any counterclaim or setoff or any defense based upon a statute of limitations, upon
  a claim of }aches or any other legal theory; and (ii) its right to attack a final judgment that is
  obtained as a direct or indirect result of any action on or under this Note.


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 THE ROZY PEARL ZIMMERMAN IRREVOCABLE LIFE INSURANCE TRUST



       By:
                                           Trustee
                       Name                  Title




   ~                lL·
                    (witness)




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                           NON-RECOURSE PROMISSORY NOTE

 Principal Sum:         $570,000.00                           December 7, 2009
 Due Date:              December 7, 2019                      State of California

 FOR VALUE RECEIVED, the undersigned, LESLIE KLEIN as Trustee of THE ROZY
 PEARL ZIMMERMAN IRREVOCABLE LIFE INSURANCE TRUST with offices at
 14245 Ventura Boulevard, Sherman Oaks, California (the "BoJTOwer"), hereby promises to pay
 to ROBERT and ESTHER MERMELSTEIN or their registered assigns (the "Holder"), the
 principal sum ofSS70,000.00, plus interest of10% and all costs, fees and expenses (including
 without limitation reasonable attorneys' fees and disbursements) that the Holder incurs in order to
 collect any amount due under this Note, to negotiate or document a workout or restructuring, or
 to preserve its rights or realize upon any security for the payment of this Note now or hereafter
 granted ("Expenses").

 Security Agreement; Collateral Assignments. This Note is a secured, non-recourse promissory
 note, secured by the policies oflife insurance on the live(s) of the individual(s) above named.
 Pursuant to and in accordance with this agreement this Note is secured by the borrower and the
 borrower has granted to the lender a continuing first priority security interest in the policies and
 the proceeds thereof pursuant to this agreement.

  Additional Advances. In the event that Holder makes any payment of additional premiums,
  adjustments to premiums or other required payments on or under any Policy or Policies on
  Borrower's behalf, the amount of any such advances automatically shall be deemed to be, and
  shall be, added to the outstanding principal balance of this Note as of the date of such advance
  and shall earn interest from such date.

  Interest Rate. The outstanding principal balance of this Note shall earn interest, calculated on
  the ba.'iis of a 360-day year comprised of twelve 30-day months, from the date hereof until the
  date all amounts due hereunder are paid in full, at the rate of 10 % percent per annum.

  Payment. The entire principal balance hereof, together with an interest accrued thereon, shall
  be due and payable on December 7, 2019, or at such time, if earlier, as the Holder has
  accelerated the maturity of the Note after tne occurrence and during the continuation of an Event
  of Default under this Note or any of the other Loan Agreements. Payment shall be made in
  immediately available United States funds at such address as the Holder may specify in writing.


  Prepayment. The Borrower, upon not less than three business days prior written notice, may
  prepay the outstanding principal amount of this Note, in whole or in part, together with accrued
  and unpaid interest on the principal amount so prepaid, without premium, penalty or fee.

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 Events of Default.
 Each of the following events also shall constitute an 11 Event ofDefault11 :

        (i)     Borrower fails to pay any additional premiums or adjustments to premiwns or
                other required payments on any Policy or Policies to which this Note relates to the
                Issuer thereof when due, notwithstanding payment of such amounts by Holder;
                and


        (ii)    Borrower fails to repay any monies advanced to it by Holder in connection with
                any Policy or Policies to which this Note relates by the Maturity Date.

 Following an Event of Default.

                 Upon the happening of an Event of Default, the Holder, at its option and in its
        sole discretion, may accelerate the due date of this Note by notice to the Borrower to such
        effect, effective immediately, and thereupon the entire unpaid principal balance on or
        under this Note, together with al 1interest accrued and unpaid hereon and all Expenses,
        shall be immediately due and payable.

 Waivers. The Borrower hereby waives, to the fullest extent permitted by law, presentment,
 demand, protest and notices, including, without limitation, notices of nonperformance, notices of
 protest, notices of nonpayment, notices of dishonor, notices of the delivery or acceptance of this
 Note, and notices of the existence, creation or incurrence of new or additional obligations of the
 Borrower to the Holder, and all other defenses which otherwise might be available. BoITOwer
 acknowledges that the Holder has been induced to enter into this Note by, among other things,
 the provisions of this Section. No delay or failure by the Holder to exercise any right or remedy
 shall operate as a waiver thereof, and no single or partial exercise by the Holder of any right or
 remedy shall preclude any other or further exercise thereof.

 Non•Recourse. Notwithstanding anything to the contrary in this Note, the Borrower's liability
 to the Holder under this Note shall be limited exclusively to the extent of1he lenders~security
 interests in the Policy or Policies, the proceeds thereof. If any proceedings shall be brought to
 enforce the provisions of this Note, the Holder shall have recourse hereunder against the
 Borrower only to the extent of the Borrower's interest in the Policy or Policies. The Holder's
 sole recourse shall be to exercise its rights under this Note, and the Loan Agreements as to the
 Policy or Policies, the proceeds thereof. Neither the Borrower nor any of its trustees, fiduciaries
 or beneficiaries shall be personally liable or otherwise have any obligation hereunder.

 Retention of Policies. Borrower expressly acknowledges and agrees that the satisfaction of its
 obligations under this Note shall not discharge, excuse, impair or terminate Holder's or its
 designee's rights in and to the related Policy or Policies under the Loan Agreements or any other
 agreement contemplated thereby.


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 Assignment; Registntion. 1bis Note may not be assigned by the Borrower without the prior
 written consent of the Holder. The Holder may assign or otherwise transfer this Note. This Note
 is a registered Note. Upon surrender of this Note for transfer, duly endorsed, or accompanied by a
 written instrument of transfer duly executed, by the Holder or the Holder's attorney duly
 authorized, in writing, a new Note for a like principal amount will be issued to the transferee.
 Prior to such surrender, the Borrower shall treat the person to whom such Note is issued as the
 owner thereof for the purpose of receiving payment and for all other purposes, and the Borrower
 will not be affected by any notice to the contrary.

  Miscellaneous. All rights and remedies of the Holder under applicable law and this Note or
  amendment of any provision of this Note are cumulative and not exclusive. If a court deems any
  provision of this Note invalid, the remainder of the Note shall remain in effect.

  Notices. Any notice or demand hereunder shall be duly given if delivered or mailed to the
  Borrower at its address on page one. Such notice or demand shall be effective, if delivered, upon
  personal delivery or, if mailed, four business days after deposit in an official depository
  maintained by the United States Post Office for the collection of mail or one business day after
  delivery to a nationally recognized courier service for overnight delivery. Notice by e-mail is not
  valid notice under this Note.

  Governing Law; Jurisdiction. THIS NOTE HAS BEEN DELNERED TO AND ACCEPTED
  BY HOLDER IN, AND WILL BE DEEMED TO BE MADE AND TO BE PERFORMED
  WHOLLY WI1HIN, TIIE STATE OF CALIFORNIA, AND SHALL BE GOVERNED AND
  CONSTRUED IN ACCORDANCE WITH THE LAWS OF SUCH STATE, EXCLUDING ITS
  CONFLICT OF LAWS RULES. BORROWER IRREVOCABLY CONSENTS TO THE SOLE
  AND EXCLUSIVE JURISDICTION OF THE STATE AND FEDERAL COURTS LOCATED
  IN THE COUNTY, CITY AND STATE OF CALIFORNIA IN CONNECTION WITH ANY
  ACTION OR PROCEEDINGS ARISING OUT OF OR RELATING TO nns NOTE, AND
  HEREBY WANES THE RIGHT TO MOVE TO CHANGE VENUE OR ASSERT
  INCONVENIENT FORUM. IN ANY SUCH ACTION, BORROWER SHALL AND HEREBY
  IRREVOCABLY DOES WAIVE ANY RIGHT TO A TRIAL BY JURY. In any action or
  proceeding on or under this Note, the Borrower waives service of any summons, complaint or
  other process, and agrees that service thereof shall be deemed made when first received, by
  perso~al service, or after having been mailed by certified or registered mail, return receipt
  requested, and mailed to the last known address of the Borrower. The Borrower waives (i) any




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  right to assert any counterclaim or setoff or any defense based upon a statute of limitations, upon
  a claim oflaches or any other legal theory; and (ii) its right to attack a final judgment that is
  obtained as a direct or indirect result of any action on or under this Note.

  THE ROZY PEARL ZIMMERMAN IRREVOCABLE LIFE INSURANCE TRUST
                                             I




         By:
                        LESLIE KLEIN
                                                      XL  Trustee
                            Name                            Title



                      (witness)




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                            NON-RECOURSE PROMISSORY NOTE

  Principal Sum:        $375,000                               January 14, 2010
  Due Date:             January 14, 2020                       State of California

  FOR VALUE RECEIVED, the undersigned, LESLIE KLEIN as Trustee of THE ROZY
  PEARL ZIMMERMAN IRREVOCABLE LIFE INSURANCE TRUST with offices at
  14245 Ventura Boulevard, Sherman Oaks, California (the "Borrower"), hereby promises to pay
  to ROBERT and ESTHER MERMELSTEIN or their registered assigns (the 11Holder11), the
  principal sum ofS37S,000, plus interest of 10% and all costs, fees and expenses (including
  without limitation reasonable attorneys' fees and disbursements) that the Holder incurs in order to
  collect any amount due under this Note, to negotiate or document a workout or restructuring, or
  to preserve its rights or realize upon any security for the payment of this Note now or hereafter
  grantc-.d ("Expenses").

  Security Agreement; Collateral Assignments. This Note is a secured, non-recourse promissory
  note, secured by the policies of life insurance on the live(s) of the individual(s) above named.
  Pursuant to and in accordance with this agreement this Note is secured by the borrower and the
  borrower has granted to the lender a continuing first priority security interest in the policies and
  the proceeds thereof pursuant to this agreement.

  Additional Advances. In the event that Holder makes any payment of additional premiums,
  adjustments to premiums or other required payments on or under any Policy or Policies on
  Borrower's behalf, the amount of any such advances automatically shall be deemed to be, and
  shall be, added to the outstanding principal balance of this Note as of the date of such advance
  and shall earn interest from such date.


  Interest Rate. The outstanding principal balance of this Note shall earn interest, calculated on
  the basis of a 360-day year comprised of twelve 30-day months, from the date hereof until the
  date all amounts due hereunder are paid in full, at the rate of 10 % percent per annum.

  Paym~nt. The entire principal balance hereof, together with an interest accrued thereo~ shall
  be due and payable on January 14, 2020 or at such time, if earlier, as the Holder has accelerated
  the maturity of the Note after the occurrence and during the continuation of an Event of Default
  under this Note or any of the other Loan Agreements. Payment shall be made in immediately
  available United States funds at such address as the Holder may specify in writing.


  Prepayment. The Borrower, upon not less than three business days prior written notice, may
  prepay the outstanding principal amount of this Note, in whole or in part, together with accrued

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       and wipaid interest on the principal amount so prepaid, without premium, penalty or fee.

       Eventl of Default.
       Each of the following events also shall constitute an "Event of Default":

              (i)     Borrower fails to pay any additional premiums or adjustments to premiums or
                      other required payments on any Policy or Policies to which this Note relates to the
                      Issuer thereof when due, notwithstanding payment of such amounts by Holder;
                      and


              (ii)    Borrower fails to repay any monies advanced to it by Holder in connection with
                      any Policy or Policies to which this Note relates by the Maturity Date.

       Following an Event of Default.

                       Upon the happening ofan Event of Default, the Holder, at its option and in its
              sole discretion, may accelerate the due date of this Note by notice to the Borrower to such
              effect, effective immediately, and thereupon the entire unpaid principal balance on or
              under this Note, together with all interest accrued and unpaid hereon and all Expenses,
              shall be immediately due and payable.


       Waivers, The Borrower hereby waives, to the fullest extent pennitted by law, presentment,
       demand, protest and notices, including, without limitation, notices of nonperformance, notices of
       protest, notices of nonpayment, notices of dishonor, notices of the delivery or acceptance of this
       Note, and notices of the existence, creation or incurrence of new or additional obligations of the
       Borrower to the Holder, and all other defenses which otherwise might be available. Borrower
       acknowledges that the Holder has been induced to enter into this Note by, among other things,
       the provisions of this Section. No delay or failure by the Holder to exercise any right or remedy
       shall operate as a waiver thereof, and no single or partial exercise by the Holder of any right or
       remedy shall preclude any other or further exercise thereof.

       Non-Recoune. Notwithstanding anything to the contrary in this Note, the Borrower's liability
       to the Holder under this Note shall be limited exclusively to the extent of the lenders'security
       interests in the Policy or Policies, the proceeds thereof. If any proceedings shall be brought to
       enforce the provisions of this Note, the Holder shall have recourse hereunder against the
       Borrower only to the extent of the Borrower's interest in the Policy or Policies. The Holder's
       sole recourse shall be to exercise its rights under this Note, and the Loan Agreements as to the
       Policy or Policies, the proceeds thereof. Neither the Borrower nor any of its trustees, fiduciaries
       or beneficiaries shall be personally liable or otherwise have any obligation hereunder.

        Retention of Policies. Borrower expressly acknowledges and agrees that the satisfaction of its

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 obligations under this Note shall not discharge, excuse, impair or tenninate Holder's or its
 designee's rights in and to the related Policy or Policies under the Loan Agreements or any other
 agreement contemplated thereby.

  Assignment; Registration. This Note ma:,· not be assigned by the Borrower without the prior
  written consent of the Holder. The Holder may assign or otherwise transfer this Note. This Note
  is a registered Note. Upon surrender of this Note for transfer, duly endorsed, or accompanied by a
  written instrument of transfer duly executed, by the Holder or the Holder's attorney duly
  authorized, in writing, a new Note for a like principal amount will be issued to the transferee.
  Prior to such surrender, the Borrower shall treat the person to whom such Note is issued as the
  owner thereof for the purpose of receiving payment and for all other purposes, and the Borrower
  will not be affected by any notice to the contrary.

  Miscellaneous. All rights and remedies of the Holder under applicable law and this Note or
  amendment of any provision of this Note are cumulative and not exclusive. If a court deems any
  provision of this Note invalid, the remainder of the Note shall remain in effect.

  Notices. Any notice or demand hereunder shall be duly given if delivered or mailed to the
  Borrower at its address on page one. Such notice or demand shall be effective, if delivered, upon
  personal delivery or, if mailed, four business days after deposit in an official depository
  maintained by the United States Post Office for the collection of mail or one business day after
  delivery to a nationally recognized courier service for overnight delivery. Notice by e-mail is not
  valid notice under this Note.

  Governing Law; Jurisdiction. TI-11S NOTE HAS BEEN DELNERED TO AND ACCEPTED
  BY HOLDER IN, AND WILL BE DEEMED TO BE MADE AND TO BE PERFORMED
  WHOLLYWITHIN,THESTATEOFCALWORNIA,ANDSHALLBEGOVERNEDAND
  CONSTRUED IN ACCORDANCE WITH THE LAWS OF SUCH STATE, EXCLUDING ITS
  CONFLICT OF LAWS RULES. BORROWER IRREVOCABLY CONSENTS TO THE SOLE
  AND EXCLUSIVE JURISDICTION OF THE STATE AND FEDERAL COURTS LOCATED
  IN THE COUNTY, CITY AND STATE OF CALIFORNIA IN CONNECTION WITH ANY
  ACTION OR PROCEEDINGS ARISING OUT OF OR RELATING TO THIS NOTE, AND
  HEREBY WAIVES THE RIGHT TO MOVE TO CHANGE VENUE OR ASSERT
  INCONVENIENT FORUM. IN ANY SUCH ACTION, BORROWER SHALL AND HEREBY
  IRREVOCABLY DOES WAIVE ANY RIGHT TO A TRIAL BY JURY. In any action or
  proceeding on or under this Note, the Borrower waives service of any summons, complaint or
  other process, and agrees that service thereof shall be deemed made when first received, by
  perso!lBI service, or after having been mailed by certified or registered mail, return receipt
  requested, and mailed to the last known address of the Borrower. The Borrower waives (i) any




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  right to assert any counterclaim or setoff or any defense based upon a statute of limitations, upon
  a claim of laches or any other legal theory; and (ii) its right to attack a final judgment that is
  obtained as a direct or indirect result of any action on or under this Note.

  THE ROZY PEARL ZIMMERMAN IRREVOCABLE LIFE INSURANCE TRUST



         By:
                         LESLIE KLEIN                     Trustee
                             Name                            Title


   ~U;._                  (witness)
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              Notes

12/7/2009     $570,000.00           at 10%
12/7/2019     $57,000 per Year      2009                 $      3,904.11 25 Days
              $156.16 per Day       2010-2022            $    741,000.00 13x57,000
                                    2023-up to 4/30/23   $     18,739.20 120 Days
                                                         $    763,643.31

1/14/2010     $375,000.00           at 10%
1/14/2020     $37,500 per year      2010                 $     36,164.48 352 Days
              $102.74 per Day       2011-2022            $    450,000.00 12x37,500
                                    2023-up to 4/30/23   $     12,328.80 120 Days
                                                         $    498,493.28

6/15/2011      $       1,412,679.53 at 10%
6/15/2020     $141,267.95 per year 2011                  $      77,408.00 200 days
              $387 .04 per day      2012-2022            $   1,553,947.45 11x141,267.95
                                    2023-up to 4/30/23   $      46,444.80 120 Days
                                                         $   1,677,800.25




Total Interest up to 4/30/23                             $     763,643.31
                                                         $     498,493.28
                                                         $   1,677,800.25
                                                         $   2,939,936.84
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     AMENDED AND RESTATED LIMITED LIABILITY COMPANY AGREEMENT

                                          OF

                         LIFE CAPITAL GROUP, LLC

                      A California Limited Liability Company




                          Dated as of [   cl   I\   ), 2011




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                 AMENDED AND RESTATED LIMITED LIABILITY COMPANY
 AGREEMENT of LIFE CAPITAL GROUP, LLC (this "Agreement"), a California limited
 liability company (the "Company"), dated as of [                 ], 2011, among Shlomo Rechnitz,
 an individual residing in the State of California ("Rechnitz"), Leslie Klein, an individual
 residing in the State of California ("Klein"), and the Persons that become Members from time to
 time after the date hereof in accordance with the tenns hereof.

                                      WITNESS ETH:

            WHEREAS, Rechnitz and Klein entered into that certain Limited Liability
 Company Agreement of the Company dated as of June 1, 2011 (the "Original Agreement");
 and

               WHEREAS, Rechnitz and Klein wish to amend and restate the Original
 Agreement in its entirety.

                NOW, THEREFORE, in consideration of the mutual covenants set forth herein,
 and for other good and valuable consideration, the receipt and sufficiency of which are hereby
 acknowledged, the Members agree to amend and restate the Original Agreement in its entirety as
 follows:

                                   ARTICLE I
                     FORMATION AND BUSINESS OF THE COMPANY

                 Section 1.1    Formation. The Company was formed on April 8, 2011 by the
 filing of a Certificate of Formation (the "Certificate") with the Secretary of State of California.
 The Members hereby agree to operate the Company as a limited liability company pursuant to
 the provisions of the Act and upon and subject to the terms and conditions set forth in this
 Agreement. Except as expressly provided herein to the contrary, the rights and obligations of the
 Members and the administration and termination of the Company shall be governed by the Act.

              Section 1.2 Name. The name of the Company shall continue to be Life Capital
 Group, LLC, under which name all business and affairs of the Company shall be conducted.

                  Section 1.3   Purpose. The purpose of the Company is to engage in any lawful
 act or activity for which a limited liability company may be organized under the Act.

              Section 1.4     Tenn. The term of the Company shall continue until terminated in
 accordance with the provisions of Article XI of this Agreement or otherwise dissolved and
 wound up pursuant to the Act.

                Section 1.5     Place of Business. The Company shall have its principal place or
 places of business at such place or places as the Manager may, from time to time, select.

                Section 1.6   Registered Office and Agency. The address of the registered
 office of the Company in the State of California is 5697 W. 3rd Street, Suite 200, Los Angeles,
 California 90036. The name and address of the registered agent for service of process on the


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 Company in the State of California is Shlomo Rechnitz, 5697 W. 3rd Street, Suite 200, Los
 Angeles, California 90036.

               Section 1.7 Fiscal Year. The term "Fiscal Year" shall mean, subject to the
 provisions of Section 706 of the Code, each of (a) the period commencing on the date of
 formation of the Company and ending on December 31, 2011, (b) any subsequent 12-month
 period commencing on January 1 and ending on December 31 and (c) the period commencing on
 January 1•and ending on the Dissolution Date.

                                          ARTICLE II
                                          MEMBERS

               Section 2.1   Members. The Company shall consist of the Members executing
 this Agreement and any substitute or additional Members admitted to the Company in
 accordance with the terms hereof. Each initial Member shall be deemed admitted as a Member
 of the Company at such time as such Member has made its Initial Capital Contribution to the
 Company.

               Section 2.2      Company Property; Company Interest. No property of the
 Company shall be deemed to be owned by any Member individually, but all of such property
 shall be owned by, and title thereto shall be vested solely in, the Company.

                                        ARTICLE III
                                 CAP ITAL CONTRIBUTIONS

                Section 3.1     Initial Capital Contribution of Members, Capital Accounts. Each
 Member has contributed to the capital of the Company, as such Member's Initial Capital
 Contribution, the amount of cash, or property with a value, set forth on Schedule A. The
 Company shall maintain a record of: (a) the number of Interests held by each Member and (b)
 the respective Percentage Interest of each Member. The Manager shall update such Schedule A
 from time to time to reflect changes in such information. The Members agree that Klein's Initial
 Capital Contribution associated with each Policy shall equal the sum of the total amount of
 premium payments made on such Policy by Klein and all other costs and expenses incurred by
 Klein in servicing and maintaining such Policy as of the date of the Original Agreement. The
 Members agree that Rechnitz's Initial Capital Contribution associated with the Policies (in the
 order of each Policy that first generates proceeds) shall be deemed to be $3,800,000. The
 Company will establish and maintain a Capital Account for each Member throughout the full
 term of the Company.

                Section 3.2   Additional Capital Contributions. Other than the Initial Capital
 Contributions made by the Members upon admission to the Company in accordance with
 Section 3.1 and Article VIII, the Members shall not be required to make any additional
 contributions to the Company; except that Rechnitz shall be obligated to contribute to the
 Company all premium payments and all other costs and expenses incurred by the Company in
 servicing and maintaining the Policies which are not Non~Payment Policies after the date of this
 Agreement and each Non-Payment Policy Member shall be obligated to contribute to the
 Company all premium payments and all other costs and expenses incurred by the Company in


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 servicing and maintaining the applicable Non-Payment Policy after the date such Non-Payment
 Policy Member was admitted to the Company as a Member.

                  Section 3.3    Withdrawal and Return of Capital Contributions.

                (a)     No Member shall be entitled to demand a return of such Member's Capital
 Contribution (including any earnings thereon) or to withdraw any portion of such Member's
 Capital Account except as expressly provided in this Agreement. Except as expressly provided
 herein, no Member shall have the right to demand a distribution of property other than cash for
 its Interest. Each Member hereby waives any right such Member may otherwise have to cause
 any asset of the Company to be partitioned or to file a complaint or institute any proceeding at
 law or in equity seeking the partition of any such asset. Except as otherwise provided herein, no
 Member shall have priority over any other Member, either as to a return of such Member's
 Capital Contribution or as to Net Income, Net Losses, any other item of Company income, gain,
 loss or deduction, or Company distributions.

                (b)    No Member shall be personally liable for the return of the Capital
 Contributions of any other Member or any portion thereof, it being expressly understood that any
 such return shall be made solely from available Company assets, if any.     •

                Section 3.4   Interest. Interest, if any, earned on funds contributed or held by
 the Company shall inure to the benefit of the Company. The Members shall not be entitled to
 receive interest or any other payments from the Company with respect to their Capital
 Contributions or Capital Accounts, except as otherwise provided for herein.

                 Section 3.5    Negative Capital Accounts. Except as may be required by the
 provisions of the Act or in respect of any negative balance resulting from a withdrawal of capital
 or distribution in contravention of this Agreement, at no time shall any Member with a negative
 Capital Account balance have any obligation to the Company or the other Members to restore
 such negative balance, and such negative balance shall not be treated as an asset of the Company.

                                          ARTICLE IV
                                DISTRIBUTIONS AND ALLOCATIONS

                  Section 4.1    Allocation of Net Income and Net Losses.

                  (a)     Net Income with respect to a Policy for any Fiscal Year shall be allocated
 (i) first, to Rechnitz to the extent of Rechnitz's Priority Return with respect to such Policy; (ii)
 second, to Rechnitz, in an amount equal to the product of (X) fifty percent (50%) and (Y) the
 remaining Net Income for such Policy less the amount equal to Klein's Priority Return with
 respect to such Policy; (iii) third, to Rechnitz, until $3,800,000 of Net Income plus accrued
 interest thereon at a rate of twelve percent (12%) per annum has been allocated to Rechnitz in the
 aggregate (without regard to allocations of Net Income under subclauses (i) or (ii)); and (iv)
 thereafter, to Klein any remaining Net Income for such Policy.

               (b)     Net Losses with respect to a Policy for any Fiscal Year shall be allocated
 to Klein and Rechnitz in proportion to their Capital Contributions associated with such Policy.


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               Section 4.2    Cash Available for Distribution. Subject to Article XI, the
 Company shall distribute Available Cash to the Members at such times and in such amounts as
 determined by Rechnitz in accordance with this Agreement.

                Section 4.3    Proceeds of Policies. If at any time the Company receives any
 proceeds from any Policy that is not a Non-Payment Policy (following the death of an Insured or
 otherwise), then any such proceeds shall be distributed as follows:

               (a)     first, to Rechnitz by wire transfer into an account designated by Rechnitz,
 in an amount up to the Rechnitz Amount for such Policy;

                (b)   second, to Rechnitz by wire transfer into an account designated by
 Rechnitz, in an amount equal to the product of (X) fifty percent (50%) and (Y) the remaining
 proceeds for such Policy less the amount equal to Klein's Priority Return with respect to such
 Policy;

               (c)     third, to Rechnitz by wire transfer into an account designated by Rechnitz,
 in an amount equal to $3,800,000 plus accrued interest thereon at a rate of twelve percent (12%)
 per annum;

                 (d)    fourth, (A) first, to each of the Lenders, pro-rata, based on the outstanding
 principal balance owed to such Lender as set forth on Schedule C, until such outstanding
 principal balance is equal to zero, in an aggregate amount up to the Klein Amount for such
 Policy and (B) second, any remaining Klein Amount with respect to such Policy to Klein by wire
 transfer into an account designated by Klein;

                (e)     fifth, any remaining proceeds to Klein by wire transfer into an account
  designated by Klein, provided, however, that if the balance of the Reserve Account is less than
  $2,500,000, then proceeds distributable to Klein under this clause (e) shall be deposited in the
  Reserve Account until such balance is equal to $2,500,000.

                 Section 4.4   Constructive Trust. If any Member receives any proceeds in
  respect of any Policy (following the death of an Insured or otherwise), such Member shall hold
  such proceeds in a constructive trust for the Company and shall within one (1) Business Day
  inform the other Members and the Manager and deposit such proceeds in the Reserve Account.

                 Section 4.5   Sale of Policies. The Company shall be entitled to sell any Policy
  to any Person with the prior written consent of each of the Members. Notwithstanding the
  immediately preceding sentence, upon Klein's written consent, Rechnitz or his designee shall be
  entitled to purchase any Policy that is not a Non-Payment Policy from the Company by
  transferring an amount equal to the Klein Amount for such Policy to the Company, which for
  administrative convenience shall be subsequently distributed to an account designated by Klein.

                  Section 4.6    Lenders. The Members agree that (i) the Company may pay
  amounts pursuant to Section 4.3(d) directly to the Lenders, and in such event, the payments will
  be treated as distributions by the Company to Klein and subsequently transferred by Klein to the
  Lenders, (ii) nothing herein is intended to grant to the Lenders an equity interest in the Company,


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 and (iii) nothing herein is intended to imply that the Company is assuming the obligations owed
 to the Lenders.

                                          ARTICLE V
                                      RESERVE ACCOUNT

              Section 5.1     Establishing a Reserve Account. As soon as practicable the
 Company shall establish the Reserve Account with the Account Bank in the name of Company.

                Section 5.2     Distribution of Reserve Account. Amounts in the Reserve
 Account shall be distributed to certain Members in certain specified amounts under the following
 circumstances: (a) if the amount of Net Income allocated to Klein with respect to a Policy under
 Section 4.1 for a Fiscal Year exceeds the amount of proceeds distributed to Klein with respect to
 such Policy pursuant to Section 4.3; then 40% of such excess shall be distributed to Klein from
 the Reserve Account; (b) if upon a disposition of a Policy or the receipt of proceeds from such
 policy, the Rechnitz Amount with respect to the Policy exceeds the amount of proceeds
 distributed to Rechnitz with respect to such Policy pursuant to Section 4.3, then the amount of
 such excess shall be distributed to Rechnitz from the Reserve Account; and (c) if agreed upon by
 the Members, then the amount agreed upon by the Members shall be distributed to Klein from
 the Reserve Account.

                              ARTICLE VI
      MANAGEMENT; CONDUCT OF MEMBERS; GOVERNANCE OF THE COMPANY

                Section 6.1   Rights and Powers of Manager. The business and affairs of the
 Company shall be managed by the Manager. The Manager shall direct, manage, and control the
 business of the Company to the best of the Manager's ability. Except for situations in which the
 approval of the Members is expressly required by this Agreement or by nonwaivable provisions
 of applicable law, the Manager shall have full and complete authority, power and discretion to
 manage and control the business, affairs and properties of the Company, to make all decisions
 regarding those matters and to perform any and all acts or activities customary or incident to the
 management of the Company's business. Nothing contained in this Agreement shall require any
 person to inquire into the authority of the Manager to execute and deliver any document on
 behalf of the Company or to bind the Company pursuant to such document.

                 Section 6.2 Number. Tenure and Qualifications. The Company shall have one
  Manager, which initially shall be Jonathon Polter ("Polter"), an individual residing at 2000
  Town Center, Suite 1490, Southfield, Michigan 48075. Polter shall remain as the Manager
  unless he resigns from such position, is relieved of his duties by (i) if there are two Members or
  less, a unanimous vote of the Members and (ii) otherwise, an affirmative vote of Members
  holding a majority of the Interests. Subsequent Managers shall be elected by the affirmative vote
  of Members holding a majority of the Interests. Managers need not be residents of the State of
  California.

              Section 6.3    Officers. The Manager may delegate the management of the
  Company's day-to-day business affairs to a Chief Executive Officer and other officers of the
  Company designated by the Manager and approved by an affirmative vote of Members holding a


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 majority of the Interests and, unless otheiwise decided by the Manager, all actions of the
 Company may be taken by the appropriate duly authorized officers.

                Section 6.4   Reliance. The Manager shall be fully protected in relying in good
 faith upon the records of the Company and upon such information, opinions, reports or
 statements presented to the Company by any officers, employees, or committees of the
 Company, or by any other Person as to matters such Manager reasonably believes are within
 such other Person's professional or expert competence and who has been selected with
 reasonable care by or on behalf of the Company, including, without limitation, information,
 opinions, reports or statements as to the value and amount of the assets, liabilities, profits or
 losses of the Company or any other facts pertinent to the existence and amount of assets from
 which distributions to Members might properly be paid.

                  Section 6.5   Indemnification of Manager, Members and Officers.

              (a)    General. The Company shall indemnify any Person (a "Covered
 Person") who was or is a party or is threatened to be made a party to any threatened, pending or
 completed action, suit or proceeding, whether civil, criminal, administrative or investigative
 (including an action by or in the right of the Company) by reason of the fact that he is or was a
 Manager, Member or officer of the Company, or is or was serving at the request of the Company
 as a director, manager or officer of another limited liability company, corporation, partnership,
 joint venture, trust or other enterprise, against expenses (including attorneys' fees), judgments,
 fines and amounts paid in settlement actually and reasonably incurred by him in connection with
 such action, suit or proceeding if he acted in good faith with no willful misconduct or gross
 negligence and in a manner he reasonably believed to be in or not opposed to the best interests of
 the Company, and, with respect to any criminal action or proceeding, had no reasonable cause to
 believe his conduct was unlawful. The termination of any action, suit or proceeding by
 judgment, order, settlement, conviction, or upon a plea of nolo contendere or its equivalent, shall
  not, of itself, create a presumption that the Person did not act in good faith and in a manner
  which he reasonably believed to be in or not opposed to the best interests of the Company, and,
  with respect to any criminal action or proceeding, had reasonable cause to believe that his
  conduct was unlawful.

                 (b)     Indemnification in Certain Cases. To the extent that a Covered Person has
  been successful on the merits or otherwise in defense of any action, suit or proceeding referred to
  in clause (a) of this Section 6.5, or in defense of any claim, issue or matter therein, he shall be
  indemnified against expenses (including attorneys' fees) actually and reasonably incurred by him
  in connection therewith.

                  (c)    Advances for Expenses. Expenses (including attorneys' fees) incurred in
  defending a civil, criminal, administrative or investigative action, suit or proceeding may be paid
  by the Company in advance of the final disposition of such action, suit or proceeding upon
  receipt of an undertaking by or on behalf of the Covered Person to repay such amount if it shall
  be ultimately determined that he is not entitled to be indemnified by the Company as authorized
  in this Section 6.5.




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                (d)     Rights Non-Exclusive. The indemnification and advancement of expenses
 provided by, or granted pursuant to, the other subparagraphs of this Section 6.5 shall not be
 deemed exclusive of any other rights to which those seeking indemnification or advancement of
 expenses may be entitled under any law, agreement or otherwise, both as to action in his official
 capacity and as to action in another capacity while holding such office.

                (e)    Insurance. The Company shall have the power to purchase and maintain
 insurance on behalf of any Person who is or was a Covered Person against any liability asserted
 against him and incurred by him in any such capacity, or arising out of his status as such,
 whether or not the Company would have the power to indemnify him against such liability under
 the provisions ohhis Section 6.5.

                (f)    Survival of Rights. The indemnification and advancement of expenses
 provided by, or granted pursuant to this Section 6.5 shall continue as to a Person who has ceased
 to be an officer, Manager or Member and shall inure to the benefit of the heirs, executors and
 administrators of such Person.

                  Section 6.6   Exculpation. No Member, Manager or officer of the Company
 shall be liable, in damages or otherwise, to the Company or its Members for any act or omission
 performed or omitted by such Member, Manager or officer pursuant to authority granted by this
 Agreement except to the extent such Person fails to meet the standard for indemnification set
 forth in Section 6.5(a).

                Section 6.7    No Duties. Any duties (including fiduciary duties) of a Covered
 Person to the Company or to any other Covered Person that would otherwise apply at law or in
 equity are hereby eliminated to the fullest extent permitted under the Act and any other
 applicable law, provided, that (i) the foregoing shall not eliminate the obligation of each Member
 and the Manager to act in compliance with the express terms of this Agreement and (ii) the
 foregoing shall not be deemed to eliminate the implied covenant of good faith and fair dealing.

                 Section 6.8   Protection of Insured's Private Information. Manager and each
 Member acknowledge that insurance regulations and other applicable Laws are structured to
 provide confidentiality to policy owners and insureds with respect to Consumer Information in
 connection with ownership or sale of their policies, and that the Manager and each Member and
 all of their respective agents and representatives, are obligated to keep Consumer Information
 confidential in accordance with applicable Laws. The Manager and each Member agree to
 comply with all applicable Laws with respect to the confidentiality of Consumer Information;
 provided, that (i) the Manager and each Member may disclose such information to their internal
 or external auditors and attorneys and as required or permitted by Law, and (ii) Klein may take
 all necessary and appropriate actions to transfer ownership of the Policies to the Company.

                  Section 6.9    Delivery of Policy Files.   Klein has previously delivered each
  Policy File as directed by the Manager.

               Section 6.10 Change Forms. On the date of the Original Agreement, Klein
  executed and delivered Change Forms to the Company or at the Company's direction, which
  Change Forms changed the owner and Beneficiary of the Policy to the Company or the


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 Company's designee. In addition, Klein shall execute and deliver any additional in$truments of
 transfer that the Company may reasonably request necessary to evidence the assignment of the
 Policy and any rights therein to the Company or its designee.

                Section 6.11 Further Assurances. From and after the date hereof, each Member
 shall execute and deliver such other documents and instruments, and take such further actions, as
 may be reasonably requested from time to time by another Member to carry out the provisions of
 this Agreement and give effect to the transactions contemplated hereby. Without limiting the
 foregoing, Klein shall cooperate with Rechnitz in causing the Company or its designee to be
 recorded as the owner and beneficiary of each Policy on the books and records of the relevant
 issuing insurance companies.

                 Section 6.12 Indemnification of Rechnitz. Klein shall indemnify and hold
 harmless (which indemnification shall survive any termination of this Agreement and the
 dissolution of the Company) Rechnitz and his Affiliates, and each such Person's respective
 officers, directors, employees, attorneys, agents and representatives (each, an "Indemnified
 Person"), from and against any and all suits, actions, proceedings, claims, damages, losses,
 liabilities and actual expenses incurred (including reasonable attorneys' fees and disbursements
 and other costs of investigation or defense, including those incurred upon any appeal) that may
 be instituted or asserted against or incurred by any such Indemnified Person, and in connection
 with or arising out of (i) any breach of any representation, covenant or other obligation of Klein
 hereunder, (ii) the transactions contemplated hereunder, (iii) any actions or failures to act in
 connection therewith, (iv) any and all reasonable legal costs and actual expenses arising out of or
 incurred in connection with disputes between or among Klein and Rechnitz or (v) any of the
 Policies or any claims of third parties relating thereto (collectively, "Indemnified Liabilities");
 provided, that Klein shall not be liable for any indemnification to an Indemnified Person to the
 extent that any such Indemnified Liability results from that Indemnified Person's gross
 negligence or willful misconduct; provided, further, that the aggregate amount of Klein's liability
 under this Section 6.12 shall be limited to the aggregate of the Rechnitz Amounts for all of the
 Policies.

                                    ARTICLE VII
                  REPRESENTATIONS AND WARRANTIES OF THE MEMBERS

                  Section 7.1   Representations and Warranties of Klein.

                 (a)    Power and Authority. Klein has full power, authority and right to execute
  and deliver this Agreement and has, and will continue to have during the entire term of this
  Agreement, full power and authority to perform his obligations hereunder, and has taken all
  necessary action to authorize the execution and delivery of this Agreement, as well as the
  performance of its obligations hereunder.

                 (b)    Binding Obligation. This Agreement constitutes the legal, valid and
  binding obligations of Klein enforceable against Klein in accordance with its terms, subject to
  applicable bankruptcy, insolvency, reorganization and similar laws affecting creditors' rights and
  remedies generally, and subject, as to enforceability, to general principles of equity, including
  principles of commercial reasonableness, good faith and fair dealing.


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                (c)    Consent of Third Parties. No consent, waiver, approval, order, permit or
 authorization of, or declaration or filing with, or notification to, any Person or Governmental
 Authority is required by Klein in connection with the execution of this Agreement and the
 compliance by Klein with any of the provisions hereof or thereof, the consummation of the
 transactions contemplated hereby or the taking by Klein of any other action contemplated
 hereby.

                  (d)   Policies. With respect to each Policy, to the best of Klein's knowledge:

                  (i)    at the issuance of such Policy, the related Insured or Original Owner
           thereof was not a party to any written or oral agreement or arrangement to cause the
           same or interests therein to be issued, assigned, sold, transferred, or otherwise disposed
           of in violation of applicable law or public policy;

                 (ii)    at the issuance of such Policy, the related Insured or Original Owner
           thereof had the financial capacity to pay the premiums necessary to maintain such
           Policy in force;

                 (iii)    at the issuance of such Policy the related Original Owner had an insurable
           interest in the life of the Insured;

                 (iv)    the material medical or financial information supplied by or on behalf of
           the Insured or Original Owner of such Policy in the application and related materials
           delivered to the applicable issuing insurance company in connection with the issuance
           of such Policy was not false, incomplete or misleading in any material respect;

                 (v)     Klein does not possess or control any material documentation or
           information related to such Policy, or the acquisition or maintenance thereof by Klein,
           that has not been delivered or disclosed in writing to Rechnitz or his agents;

                 (vi)   prior to the date of the Original Agreement, Klein was trustee of the
           applicable Original Owner which held sole legal and beneficial title thereto;

                  (vii) Klein, in his capacity as trustee of the applicable Original Owner, acquired
            sole legal and beneficial title thereto and had the power and authority to enter into and
            consummate the Original Agreement;

                 (viii) Immediately prior to its transfer to the Company under the Original
            Agreement, Klein held sole legal and beneficial title thereto;

                   (ix)  upon the transfer of such Policy, Company or its designee, holds good and
            marketable title to and ownership of such Policy free and clear of any liens, charges,
            rights, encumbrances or other interests;

                  (x)     such Policy was acquired in a manner in compliance, in all material
            respects, with the Laws applicable to the purchase of life insurance policies, as then in
            effect and as then interpreted by the relevant regulators or in case law;


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                  (xi)    except as disclosed to Recbnitz in writing, no previous owner of such
           Policy has waived, amended or terminated any material provision of, or any material
           rights in relation to, such Policy;

                 (xii) except as disclosed on Schedule 7.l (d)(xii), the premiums for such Policy
           have been paid ·such that such Policy will not be in a grace period as of the date of the
           Original Agreement and such Policy has not been cancelled as of the date of the
           Original Agreement;

                  (xiii) Klein has disclosed or delivered to Rechnitz and the Company in writing
           all information received by Klein or any of his agents from the related issuing insurance
           company related to any change in the terms of such Policy, including with respect to an
           intent to increase the cost of insurance for such Policy;

                 (xiv) there is no current or pending written notice that has been issued to Klein
           by the related issuing insurance company of such issuing insurance company's intention
           to cancel, contest, rescind or refuse payment under such Policy;

                 (xv) all the information contained in each of the documents in the related
           Policy File or otherwise delivered by or on behalf of Klein to the Company and
           Rechnitz in connection with such Policy is true, complete and correct in all material
           respects;

                 (xvi) the related Policy File contains the Policy, the original application for such
           Policy, any Policy Illustration and any other documentation in Klein's possession.

                (xvii) there is not any pending or threatened Proceeding challenging the validity,
           ownership or enforceability of such Policy or Klein's ownership rights in such Policy;

                (xviii) such Policy was not issued pursuant to or in connection with an agreement
           whereby the premiums required to be paid on such Policy were paid by any Person
           pursuant to a recourse or non-recourse premium financing program;

                  (xix) Klein has not required any broker to sign an agreement offering Klein or
            any other Person the "right of last offer" in connection with the purchase of such Policy;
            and

                   (xx) such Policy has been issued by the related issuing insurance company and
            is in force and any related contestability period and any suicide exclusion period has
            expired.

                 Section 7 .2   Representations and Warranties of Rechnitz.         Rechnitz hereby
  represents and warrants that:

                  (i)   Authority. Rechnitz has full power, authority and right to execute this
            Agreement and has, and will continue to have during the entire term of this Agreement,
            full power and authority to perform his obligations hereunder, and has taken all


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           necessary action to authorize the execution and delivery of this Agreement, as well as
           the performance of his obligations hereunder.

                  (ii)   Binding Obligation. This Agreement constitutes Rechnitz' s legal, valid
           and binding obligation, enforceable against Rechnitz in accordance with its terms,
           subject to applicable bankruptcy, insolvency, reorganization and similar laws affecting
           creditors' rights and remedies generally, and subject, as to enforceability, to general
           principles of equity, including principles of commercial reasonableness, good faith and
           fair dealing.

                 (iii)  Consent of Third Parties. No consent, waiver, approval, order, permit or
           authorization of, or declaration or filing with, or notification to, any Person or
           Governmental Authority is required by Rechnitz in connection with the execution of
           this Agreement and the compliance by Rechnitz with any of the provisions hereof or
           thereof, the consummation of the transactions contemplated hereby or the taking by
           Rechnitz of any other action contemplated hereby.

                                        ARTICLE VIII
                                   ADMISSION OF MEMBERS

                 Section 8.1   Admission of Members. Subject to Section 8.2. upon the approval
 of the Members by majority vote, one or more Persons may be admitted to the Company as
 Members. The Members by majority vote shall determine the number of Interests and the
 Percentage Interest to be offered to any such Member and the Initial Capital Contribution to be
 made by any such Member. Each such Person shall be admitted as a Member at the time such
 Person (a) executes and delivers a copy of this Agreement to the Manager and (b) if applicable,
 makes its Initial Capital Contribution to the Company. The Manager shall update Schedule A to
 reflect the admission of any such Members.

               Section 8.2    Admission of Non-Payment Policy Members. It is agreed and
 acknowledged by the Members that Rechnitz's sole obligation with respect to the Company is
 making Capital Contributions for the payment of premiums on the Policies and the expenses
 associated with the Policies, in each case after the date of this Agreement. Recbnitz shall
 provide the Company and Klein with six (6) months prior written notice if Rechnitz elects to
 cease paying premiums in respect of any Policy (such Policy, a "Non-Payment Policy"). After
 delivery of such notice, Rechnitz or Klein shall have the right to introduce any Person to the
 Company as a potential Member who agrees in writing to assume Rechnitz's obligations for the
 payment of premiums and other costs and expenses with respect to such Non-Payment Policy,
 which person shall be admitted as a Member upon the approval of the Members by majority vote
 (such a Member, a "Non-Payment Policy Member"). With respect to any Non-Payment Policy,
 any payment of premiums and other costs and expenses shall be contributed to the capital of the
 Company by the applicable Non-Payment Policy Member. If at any time the Company receives
 any proceeds from any Non-Payment Policy (following the death of an Insured or otherwise),
 then any such proceeds shall be distributed as follows:

                (a)    First, to the applicable Non-Payment Policy Member by wire transfer into
  an account designated by such Non-Payment Policy Member, in an amount up to (x) the total


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 amount of Capital Contributions made on such Policy by such Non-Payment Policy Member and
 (y) the Priority Return of such Non-Payment Policy Member on such Policy computed starting
 on the date such Non-Payment Policy Member was admitted as a Member;

               (b)    Second, by wire transfer into an account designated by Rechnitz, in an
 amount equal to the Rechnitz Amount for such Policy;

                (c)   Third, by wire transfer into an account designated by Klein, in an amount
 equal to the Klein Amount for such Policy;

               (d)      Fourth, to the applicable Non-Payment Policy Member by wire transfer
 into an account designated by such Non-Payment Policy Member, in an amount equal to fifty
 percent (50%) of all remaining proceeds from such Policy;

                (e)     Fifth, to Rechnitz and Klein by wire transfers into accounts respectively
 designated by them in proportion to the Capital Contributions made by them with respect to each
 such Non-Payment Member Policy; provided, however that if Klein introduced the related Non-
 Payment Policy Member to the Company, then 25% of the amount distributable under this clause
 (e) to Rechnitz shall be distributed to Klein instead.

 Notwithstanding Section 4.1 hereof, Net Income associated with a Non-Payment Policy shall be
 allocated to each Member to the extent of any Priority Return distributed to such Member with
 respect to the Non-Payment Policy and to the extent of any distributions made to a Member
 pursuant to Section 8.2(d) or Section 8.2(e) above with respect to such Non-Payment Policy .
 Notwithstanding Section 4.1 hereof, Net Losses associated with a Non-Payment Policy shall be
 allocated to each Member in proportion to the Capital Contributions made by such Member with
 respect to such Non-Payment Policy.

                                     ARTICLE IX
                         MAINTENANCE OF BOOKS AND RECORDS;
                          REPORTS TO MEMBERS; TAX RETURNS

                Section 9 .1    Accounting Method and Records. Rechnitz shall determine the
 accounting method to be used by the Company. The Company shall maintain such accounting
 records as shall reflect all Company transactions and as shall be appropriate and adequate for the
 Company's business.

                Section 9 .2     Company Records. The Company shall maintain the following
 records, within or outside the State of California: (a) a copy of the Company's accounting
 records and federal, state, local and foreign income tax or information returns and reports, if any,
 for the five most recent Fiscal Years; and (b) all other records and reports required by the Act or
 otherwise to be maintained by the Company. Each Member, and such Member's duly authorized
 representatives or agents, shall, for any purpose reasonably related to his interest as a Member,
 have reasonable access to such books and records at such office and shall have the right to
 inspect and copy such books and records; provided, however, that if a Member was an officer,
 consultant or employee of the Company received his/her Interest pursuant to a profits interests
 grant agreement ceases to be an employee, consultant or officer of the Company, such Member


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 shall only have the right to receive books and records that he/she has the right to require the
 Company to provide to him/her in accordance with applicable law.

                 Section 9.3     Company Reports. The Company shall cause to be furnished to
 each Member and each other Person who was a Member during the period in question (a) such
 reports and financial statements as may be reasonably required for his financial reporting
 requirements, including, without limitation, copies of all annual, quarterly and monthly financial
 statements, and (b) detailed financial statements and information and documents (including Form
 K-1) necessary or desirable for the preparation or support of such Member's tax returns required
 in any jurisdiction, as soon as practicable after the end of each Fiscal Year.

                  Section 9.4    Designation of Tax Matters Member. Rechnitz is designated the
 "Tax Matters Member" (as defined in Code Section 6231), and is authorized and required to
 represent the Company (at the Company's expense) in connection with all examinations of the
 Company's affairs by tax authorities, including, without limitation, administrative and judicial
 proceedings, and to expend Company funds for professional services and costs associated
 therewith. The Members agree to cooperate with each other and to do or refrain from doing any
 and all things reasonably required to conduct such proceedings.

                Section 9.5   Tax Treatment and Elections. The Company shall be treated as a
 partnership for federal income tax purposes, the Members shall be treated as partners for federal
 income tax purposes, and each of the Members agrees to report consistently with such treatment.
 The Manager shall make all elections necessary to give effect to such treatment.

                                      ARTICLEX
                       TRANSFER OF INTERESTS; SPECIAL PROVISIONS

                  Section 10.1   Transfers and Assignments.

                (a)    No Member shall be permitted to Transfer any Interest to a Person other
 than a Permitted Transferee, except in accordance with the provisions set forth in this Article X.

                  Section 10.2   Permitted Transfers.

                (a)     Each Member shall notify the Manager and .the other Members of any
 proposed Transfer to a Permitted Transferee by such Member, or by any of its Affiliates, in the
 case of an indirect Transfer of an Interest, which notice shall set forth the name and address of
 the Permitted Transferee and the nature of the relationship between such Member and such
 Permitted Transferee, at least ten (10) calendar days prior to the proposed date of such Transfer.
 Each Member shall be responsible for paying all transfer, gains or similar taxes, if any, and all
 reasonable costs and expenses of the Company, including reasonable attorneys' fees, arising out
 of any Transfer by such Member of all or a portion of its Interest (or by any of its Affiliates in
 the case of an indirect Transfer of an Interest) to a Permitted Transferee. As a condition to any
 Transfer of all or any portion of an Interest in the Company to a Permitted Transferee shall
 execute and deliver to the Company a joinder agreement, in form of Exhibit A (a "Joinder
 Agreement"). All of the provisions of this Agreement, including without limitation, the
 provisions of this Article X, shall be applicable to and binding upon each Permitted Transferee.


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                  (b)     The transfer by a Member of all or any portion of its Interest (including,
 without limitation, any transfer to a Permitted Transferee) shall not release such Member from
 any or all of its obligations under this Agreement arising prior to the date of such Transfer.

                 Section 10.3 Substitute Members. A Permitted Transferee of the Interest of a
 Member or a transferee of the Interest of a Member pursuant to Sections 10.4 and 10.5 of this
 Agreement, or any portion thereof, shall become a substitute Member entitled to all the rights,
 and subject to all of the obligations and restrictions, of the transferor Member if, and only if:

                  (a)    the transferor assigns the transferee such right;

               (b)     the transferor or transferee pays to the Company all reasonable costs and
 expenses incurred by the Company in connection with such substitution; and

                  (c)    the transferee executes and delivers a Joinder Agreement.

                  Section 10.4    Right of First Refusal.

                (a)     Except for Transfers pursuant to or contemplated by Section 10.2, if any
 Member (a "Selling Member") receives a bona fide written offer from an independent third
 party (a "Third Party") to purchase any or all of such Selling Member's Interests for cash and
 such Selling Member desires to Transfer any or all of such Interests (the ''Offered Interests")
 pursuant to such offer, prior to any Transfer it shall give written notice of the proposed Transfer
 (the "Notice of Intention") to the Company and the other Members (the "Remaining
 Members") specifying the number of Offered Interests which such Selling Member wishes to
 Transfer, the proposed transferee, the proposed purchase price for the Offered Interests (the
 "Offer Price") and the other material terms and conditions of the proposed Transfer.

                (b)      For a period of thirty (3 0) days after receipt of the Notice of Intention (the
 "Option Period"), each of the Remaining Members shall have the irrevocable option to purchase
 at the Offer Price and on the other terms specified in the Notice of Intention, all of the Offered
 Interests pro rata based on the Percentage Interest of each Remaining Member; provided,
 however, that if any Remaining Member does not purchase any or all of its pro rata portion of
 such Offered Interests, the other Remaining Members shall have the right to purchase such
 portion, pro rata, until all of such Offered Interests are purchased. The option .of a Remaining
 Member pursuant to this Section 10.4(b) (the "Remaining Members Option,,) shall be
 exercisable by delivery of a notice (the "Remaining Members Notice") setting forth the
 maximum number of Offered Interests that such Remaining Member wishes to purchase,
 including any number which would be allocated to such Remaining Member if any other
 Remaining Member does not purchase all or any portion of its pro rata portion, to the Selling
 Member, the Company and the other Remaining Members and shall expire if the Remaining
 Members Notice is not delivered prior to the expiration of the Option Period.

                 (c)    If all notices required to be given pursuant to this Section 10.4 have been
  duly given, and the Remaining Members determine not to exercise their respective options to
  purchase all of the Offered Interests at the Offer Price and on the other terms specified in the
  Notice of Intention or determine, with the consent of the Selling Member, to exercise their
  options to purchase less than all of the Offered Interests, then the Selling Member shall have the

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 right, for a period of ninety (90) days from the earlier of (a) the expiration of the Option Period
 and (b) the date on which such Selling Member receives notice from the Remaining Members
 that they will not exercise the option granted pursuant to this Section 10.4, to accept the bona
 fide offer from the Third Party and enter into an agreement to sell the Offered Interests
 remaining unsold under this Section 10.4 at a price not less than the Offer Price and on the same
 terms as set forth in the Notice of Intention; provided that prior to any such Transfer to a Third
 Party, such Third Party executes and delivers to the Company, for the benefit of the Company
 and all Members, a Jcinder Agreement and thereby becomes a party to this Agreement.

                  (d)    The closing of any purchase and sale of any Interests to a Remaining
  Member pursuant to this Section 10.4 shall take place at the offices of the Company on such
  date, not later than sixty (60) days after the delivery to the Selling Member of the Remaining
  Members Notice. At the closing of such purchase and sale, the Secretary or such other officer of
  the Company shall record such Transfer in the books of the Company against evidence of such
  Transfer, delivery of the Offer Price therefor and an executed Joinder Agreement.

                 (e)     If the Remaining Members Option is not exercised, and the Offered
  Interests are not sold pursuant to Section 10.4(c) within the ninety (90) day period referred to
  therein, such sale may not be carried out without complying again with the tenns of this
  Section 10.4.

                  Section 10.5   Tag-Along Rights and Obligations.

                  (a)      In the event that after complying with the terms of Section 10.4, the
  Selling Member desires to sell (the "Disposition") the Offered Securities to a Third Person (the
  "Acquirer"), the Selling Member's right to accept such offer to purchase the Offered Securities
  shall be conditioned on each Remaining Member being offered the right to sell to the Acquirer
  its pro rata portion of the Offered Securities (based on the Percentage Interest of each Remaining
  Member) in such Disposition in accordance with this Section 10.5. The Selling Member shall
  give notice (the "Disposition Notice") to each Remaining Member at least thirty (30) days prior
  to the consummation of the Disposition specifying the number of Offered Interests which such
  Selling Member wishes to Transfer .in the proposed Disposition, the proposed transferee, the
  proposed purchase price for the Offered Interests and the other material terms and conditions of
  the proposed Disposition.

                  (b)      The election to participate in the Disposition by the Remaining Members
  pursuant to Section 1O.S(a) shall be exercised by notice to the Selling Member given within the
  time period specified in the Disposition Notice, which time period shall not be less than fifteen
  (15) days after such Disposition Notice is given. If any Remaining Member gives notice of its
  election to sell, it shall be obligated to sell the number of Interests specified in such Remaining
  Member's notice upon the terms and subject to the conditions specified in Section 10.5(a) to the
  Acquirer (which shall be the same for the other Remaining Members and the Selling Member),
  conditional upon the closing of the Disposition.

                 (c)    The sale or Transfer of Interests to the Acquirer by the Selling Member
  and by the Remaining Members electing to participate in the Disposition pursuant to this
  Section 10.5 shall occur simultaneously and be on the same terms and at the same price as the


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 Interests sold by the Selling Member; provided that prior to arty such Transfer to an Acquirer,
 such Acquirer shall execute and deliver to the Company, for the benefit of the Company and all
 Members, a Joinder Agreement and thereby become a party to this Agreement.

                (d)    If the Acquirer declines to purchase from such Remaining Members their
 respective proportionate number of Interests calculated in accordance with this Section 10.5, the
 Selling Member will not sell any Interests to the Acquirer.

                  Section 10.6 Miscellaneous Provisions Affecting Transfer.

                  (a)    Upon the Transfer of all or any portion of a Member's Interests as
 permitted or required under this Agreement, including, without limitation, as provided in this
 Article X, (i) the income, loss, gain, deduction and credit attributable to the Interests so
 transferred shall be allocated between the transferor and transferee based upon the number of
 days during the applicable Fiscal Year that the Interests so transferred was held by each of them,
 without regard to the results of Company activities during the period in which each was the
 holder; provided that the Manager shall, at the request and expense of the transferring Member,
 cause an interim closing of the Company's books as of the effective date of Transfer for purposes
 of allocating such items between the transferor and transferee; and (ii) the transferor shall be
 entitled to all cash distributions in respect of the Interests so transferred, to the extent allocable to
 periods preceding the date of Transfer, and the transferee shall be entitled to all cash distributions
 in respect of the Interests so transferred, to the extent allocable to periods on and after the date of
 Transfer based upon the number of days during the applicable Fiscal Year that the Interests so
 transferred were held by each of them, without regard to the results of Company activities during
 the period in which each was the holder.

                 (b)    The Company shall be entitled to treat the record owner of any Interests as
  the absolute owner thereof, and shall incur no liability for distributions of cash or other property
  or allocations of income, gain, loss, deduction or credit made in good faith to such owner until
  such time as a written assignment of such Interests has been received, accepted and recorded on
  the books of the Company.

                                    ARTICLE XI
              DISSOLUTION, LIQUIDATION, TERMINATION AND CONVERSION

                 Section 11.1 Dissolution. etc. The Company shall be dissolved upon the
  occurrence of any of the following events (the date of such occurrence, the "Dissolution Date"):

                  (a)    As approved by the majority vote of the Members; or

                  (b)    As otherwise required by applicable law.

                  Section 11.2    Winding Up.

                (a)     Upon dissolution, an accounting shall be made by the Company's
  independent accountants of the accounts of the Company and of the Company's assets, liabilities
  and operations, from the date of the last previous accounting until the date of dissolution. The


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 Manager shall immediately proceed to wind up the affairs of the Company in accordance with
 this Section 11.2.

                (b)     Notwithstanding anything to the contrary in this Agreement, upon a
 ljquidation within the meaning of Section 1. 704-1 (b)(2)(ii)(g) of the Treasury Regulations, if any
 Member has a deficit Capital Account (after giving effect to all contributions, distributions,
 allocations and other Capital Account adjustments for all taxable years, including the year during
 which such liquidation occurs), such Member shall have no obligation to make any Capital
 Contribution, and the negative balance of such Member's Capital Account shall not be
 considered a debt owed by such Member to the Company or to any other Person for any purpose
 whatsoever.

                 (c)    The Members shall comply with all requirements of applicable law
 pertaining to the winding up of the affairs of the Company and the final distribution of its assets.

                 Section 11.3 Final Distribution. After the application or distribution of the
  proceeds of the liquidation of the Company's assets in one or more installments to the
  satisfaction of the liabilities to creditors of the Company, including to the satisfaction of the
  expenses of the winding-up, liquidation and dissolution of the Company (whether by payment or
  the making of reasonable provision for payment thereof), the remaining proceeds, if any, plus
  any remaining assets of the Company shall be distributed to the Members in accordance with
  Sections 4.3 and 8.2, as applicable.

                  Section 11.4 Time for Liquidation, etc. A reasonable time period shall be
  allowed for the orderly winding up and liquidation of the assets of the Company and the
  discharge of liabilities to creditors so as to enable the Company to seek to minimize potential
  losses upon such liquidation. The provisions of this Agreement shall remain in full force and
  effect during the period of winding up and until the filing of a certificate of cancellation of the
  certificate with the Secretary of State of the State of California.

                 Section 11.5 Termination. Upon completion of the winding up of the Company,
  the Manager (or any duly elected liquidating trustee or other duly designated representative)
  shall execute, acknowledge and cause to be filed a certificate of cancellation of the Certificate
  with the Secretary of State of the State of California. Upon the cancellation of the Certificate,
  this Agreement and the Company shall terminate.

                 Section 11.6 Return of Contribution Nonrecourse to Other Members. Except as
  provided by law or as expressly provided in this Agreement, upon dissolution, each Member
  shall look solely to the assets of the Company for the return of its Capital Contribution. If the
  Company property remaining after the payment or discharge of the debts and liabilities of the
  Company is insufficient to return the cash contribution of one or more Members, such Member
  or Members shall have no recourse against any other Member, except as otherwise provided by
  law.

                                          ARTICLE XII
                                      DISPUTE RESOLUTION



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                Section 12.1 Rabbinical Counsel. If any dispute arises between the Members
 regarding this Agreement or any provision hereof, that dispute shall be resolved through a
 binding arbitration proceeding to be conducted in the State of California in accordance with the
 commercial arbitration rules of the Rabbinical Council of California.

                                          ARTICLE XIII
                                        MISCELLANEOUS

                 Section 13 .1 Entire Agreement. This Agreement, taken together with the other
  documents expressly referred to herein, each as amended or supplemented, constitutes the entire
  agreement among the parties with respect to the subject matter herein or therein and supersedes
  any prior agreement or understanding among the parties hereto.

                 Section 13.2 Other Ventures. The Manager or any Member, and any firm,
  corporation or association with which the Manager or any Member is in any way interested or
  connected, may act as attorney for, deal and contract with, and be employed by the Company,
  and the Manager or any Member may be, in any manner, interested in or connected with any
  corporation, association or business in which the Company is directly or indirectly interested, all
  in the same manner and with the same freedom as though not a Manager or a Member, as the
  case may be, and without accountability for any profit, benefit or compensation received in
  connection with such actions or relationships, none of which shall be void or voidable.

                 Section 13 .3 Amendments. This Agreement may be amended only with the
  written consent of a Majority in Interest; provided that any such amendment that materially
  adversely affects the rights and privileges of any Member (other than any amendment effected in
  connection with the making of a Capital Contribution to the Company by, and/or the issuance of
  additional Interests to, any Member, including, without limitation, any amendment to the rights
  and privileges of the Interests to reflect dilution resulting from such Capital Contributions or
  issuance of additional Interests) must be consented to by each of the Members so affected;
  provided further, that any amendment to this Agreement shall not be effective without the
  consent of Rechnitz.

                 Section 13.4 Choice of Law. This Agreement shall be construed in accordance
  with the laws of the State of California, without regard to the choice of laws rules thereof, and
  the obligations, rights and remedies of the Members hereunder shall be determined in accordance
  with such laws.

                 Section 13 .5 Successors and Assigns; Third Party Beneficiaries.               This
  Agreement shall be binding upon, and, subject to Article X. shall inure to the benefit of, the
  parties and their legal representatives, heirs, administrators, executors, successors and permitted
  assigns. Except as otherwise expressly provided herein, none of the provisions of this
  Agreement shall be for the benefit of or enforceable by any Person not a party hereto.

                 Section 13.6 Interpretation. Wherever from the context it appears appropriate,
  each term stated in either the singular or the plural shall include the singular and the plural, and
  pronouns stated in the masculine, the feminine or neuter gender shall include the masculine, the
  feminine and the neuter.


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                 Section 13.7 Captions. Captions contained in this Agreement are inserted only
 as a matter of convenience and in no way define, limit or extend or otherwise affect the scope or
 intent of this Agreement or any provision hereof.

                Section 13.8 Severability. If any provision of this Agreement, or the application
 of such provision to any Person or circumstance, shall be held invalid, illegal or unenforceable in
 any jurisdiction, the validity, legality and enforceability of the remaining provisions of this
 Agreement, or the application of such provision in jurisdictions or to Persons or circumstances
 other than those to which it is held invalid, illegal or unenforceable, shall not be affected thereby.

                Section 13.9 Counterparts. This Agreement may be executed in several
 counterparts, each of which shall be deemed an original but all of which shall constitute one and
 the same instrument.

                 Section 13.10 Non-Waiver. No provision of this Agreement shall be deemed to
 have been waived unless such waiver is contained in a written notice given to the party claiming
 such waiver has occurred; provided that no such waiver shall be deemed to be a waiver of any
 other or further obligation or liability of the party or parties in whose favor the waiver was given.

                  Section 13.11 Notices.      All notices, requests, demands, claims and other
  communications that are required or may be given under this Agreement shall be in writing and
  shall be deemed to have been duly given when received if personally delivered; when transmitted
  if transmitted by confirmed facsimile with a copy sent by another means specified herein; the
  business day after it is sent, if sent for next day delivery to a domestic address by recognized
  overnight delivery service (e.g., Federal Express); and five business days after the date mailed by
  certified or registered mail, postage prepaid, if sent by certified or registered mail, return receipt
  requested. In each case notice shall be sent to:

                  if to the Company:

                  c/o Shlomo Rechnitz
                          5697 W. 3rd Street, Suite 200, Los Angeles, California 90036.

                  with a copy to:

                  Leslie Klein
                  14245 Ventura Blvd., Sherman Oaks, CA 91423




  and ifto a Member, to the Member's address or facsimile number on the books records of the
  Company, or to such other address with respect to the Company or a Member as the Company or
  such Member, as applicable, notifies the Company and the other Members in writing as provided
  above.


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                                            ARTICLE XIV
                                            DEFINITIONS

                  Section 14.1   Definitions.

                 References in this Agreement to an "Exhibit" are intended to refer, unless
  otherwise specified, to an Exhibit attached to this Agreement, and references in this Agreement
  to an "Article" or a "Section" are intended to refer, unless otherwise specified, to an Article or a
  Section of this Agreement. As used in this Agreement, the following terms shall have the
  respective meanings set forth below:

                  "Account Bank" means PrivateBancorp, Inc.

                  "Act" shall have the meaning specified in the recitals to this Agreement.

                  "Affiliate" means any Person that, directly or indirectly, through one or more
  intermediaries, is Controlled by one or more Members. As used in this definition, "Control"
  means either (a) the ownership, directly or indirectly, of at least fifty percent (50%) of the voting
  stock of a corporation, or in the case of any Person which is not a corporation, the ownership,
  directly or indirectly, of at least fifty percent (50%) of the beneficial ownership interests in such
  Person, or (b) irrespective of stock ownership or other beneficial ownership, the possession,
  directly or indirectly, of the power to direct or cause the direction of the management and
  policies of such Person.

                "Agreement" means this Amended and Restated Limited Liability Company
  Agreement, as the same may be amended hereafter from time to time as provided herein.

                 "Available Cash" means, at the time of determination, cash generated from
  revenues from the Company's operations, after provision has been made for (a) all expenditures
  paid or to be paid by the Company to non-Members and (b) such amounts as the Manager, in his
  sole discretion, shall deem reasonable in order to provide for any anticipated, contingent or
  unforeseen expenditures or liabilities of the Company. Available Cash shall be determined
  without · regard to (i) Capital Contributions and (ii) principal advanced on Company
  indebtedness.

                 "Beneficiary" means, with respect to the Policy, the legal person or persons
  designated as the recipients of the Death Benefit for such Policy.

                  "Capital Account" means, with respect to any Member, the Capital Account
  maintained for such Member by crediting such Member's Capital Contributions, such Member's
  share of Net Income, and the amount of any Company liabilities that are assumed by such
  Member (other than liabilities that are secured by any Company property distributed to such
  Member) and by debiting the amount of cash and the gross fair market value of any Company
  property distributed to such Member pursuant to any provision of this Agreement (net of
  liabilities secured by such distributed property that such Member is considered to assume or take
  subject to under Code Section 752), such Member's share of Net Losses, and the amount of any
  liabilities of such Member that are assumed by the Company (other than liabilities that are
  secured by any property contributed by such Member to the Company).

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                "Capital Contribution" means, with respect to any Member, the amount of
 money and the initial gross fair market value of any property contributed (or deemed
 contributed) from time to time by such Member to the Company (net of any liabilities secured by
 such property or to which such property is otherwise subject). The initial gross fair market value
 of each Policy contributed by Klein shall equal the sum of the total amount of premium
 payments made on such Policy by Klein and all other costs and expenses incurred by Klein in
 servicing and maintaining such Policy as of the date of this Agreement. Any reference in this
 Agreement to the Capital Contribution of a Member shall include the Capital Contribution made
 by any predecessor of a Member. For purposes of this Agreement, a Capital Contribution shall
 include, without limitation, any Initial Capital Contribution.

                  "Certificate" has the meaning set forth in Section 1.1.

                 "Change Forms" means the forms changing the owner and Beneficiary of the
  Policy using such form as is required by each of the relevant issuing insurance companies.

              ''Code" means the Internal Revenue Code of 1986, as amended, and as the same
  may be amended hereafter from time to time.

                  "Company" shall have the meaning specified in the preamble hereto.

                  "Consumer Information" means medical, health, financial and personal
  information about an Insured, an Original Owner, a Beneficiary under a Policy or a person
  designated by an Insured to provide periodic information regarding the medical status of the
  Insured, or any spouse or other individual closely related by blood or law to any such person
  (each, a "Consumer"), including, without, limitation, a Consumer's name, street or mailing
  address, email address, telephone or other contact information, employer, social security or tax
  identification number, date of birth, driver's license number, photograph or documentation of
  identity or residency (whether independently disclosed or contained in any disclosed document
  such as a Policy, life expectancy evaluation, life insurance application or life settlement
  application).

                  "Covered Person" shall have the meaning specified in Section 6.S(a).

                 "Death Benefit" means the cash amount of a Policy to be paid upon the death of
  the applicable Insured under such Policy, which amount will be net of any policy loans made
  under such Policy (and accrued interest thereon).

                  "Disposition" shall have the meaning specified in Section 10.5(a).

                  "Disposition Notice" shall have the meaning specified in Section 10.S(a).

                  "Dissolution Date" shall have the meaning specified in Section 11.1.

                 "Fiscal Period" means, subject to the provisions of Section 706 of the Code,
  (i) any Fiscal Year and (ii) any portion of a Fiscal Year for which the Company is required to
  allocate Net Income, Net Losses or other items of Company income, gain, loss or deduction
  pursuant to Article IV.

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                  "Fiscal Year" shall have the meaning specified in Section 1. 7.

                "Governmental Authority" means any nation or government, any state or other
 political subdivision thereof and any entity exercising executive, legislative, judicial, regulatory
 or administrative functions of or pertaining to government.

                  "Indemnified Liabilities" shall have the meaning specified in Section 6.12.

                  "Indemnified Person" shall have the meaning specified in Section 6.12.

                "Initial Capital Contribution" means, with respect to each Member, such
  Member's Initial Capital Contribution set forth on Schedule A.

                "Insured" means, with respect to a Policy, each person whose life is insured
  under such Policy.

                 "Interest" means, with respect to any Member, (a) such Member's share of the
  profits and losses of the Company and a Member's rights to receive distributions from the
  Company in accordance with the provisions of this Agreement and the Act and (b) such
  Member's other rights and privileges in respect of the Company as herein provided.

                  "Joinder Agreement" shall have the meaning specified in Section I 0.2(a).

                 "Klein Amount" shall mean, with respect to any Policy, (x) the total amount of
  Capital Contributions made by Klein related to such Policy and (y) the Priority Return for Klein
  on such Policy.

                 "Law" means any law, constitution, statute, ordinance, code, rule, regulation,
  decision, order, consent, decree, judgment, ordinance, release, license, permit, stipulation or
  other pronouncement having the effect of law enacted or issued by any Governmental Authority,
  any foreign country, or domestic or foreign state, country, city or other political subdivision,
  which includes binding judicial precedent and principles of common law.

                  "Lender" shall mean each lender identified on Schedule C.

                 "Majority in Interest" means Members that at the time in question together hold
  a Percentage Interest greater than 50% in the aggregate.

                  "Manager" means one or more persons designated as such pursuant to this
  Agreement.

                  "Members" means, collectively, the members signatory to this Agreement, and
  any other Persons admitted to the Company as members after the date hereof in accordance with
  the terms of this Agreement.

                  "Net Income" and "Net Losses" means, for each Fiscal Year or other period, an
  amount equal to the Company's taxable income or loss for such Fiscal Year or other period (for
  this purpose, all items of income, gain, loss or deduction required to be stated separately pursuant


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 to Code Section 703(a)(l) shall be included in taxable income or loss and each item of income,
 gain, expense, deduction and loss shall be allocable to the Members in accordance herewith).

                  "NonMPayment Policy" shall have the meaning as specified in Section 8.2.

                  "Non-Payment Policy Member" shall have the meaning as specified m
  Section 8.2.

                  "Notice of Intention" shall have the meaning as specified in Section 10.4(a).

                  "Offer Price" shall have the meaning as specified in Section 10.4(a).

                  "Offered Interests" shall have the meaning specified in Section 10.4(a).

                  "Option Period" shall have the meaning as specified in Section 10.4(b)

                 "Original Owner" means, with respect to a Policy, the Person to which the
  Policy was initially issued and who was listed as owner on the initial declarations page of such
  Policy or the policy application, as applicable.

                   "Percentage Interest'' means, with respect to any Member as of any date of
  determination, a fraction (expressed as a percentage) having as its numerator the aggregate
  number of Interests held by such Member at such time, and having as its denominator the
  aggregate number of Interests held by all Members at such time. Each Member's Percentage
  Interest as of the date hereof, and as adjusted from time to time, is set forth on Schedule A.

                  "Permitted Transferee" means (a) with respect to any Member who is an
  individual, such member's siblings, parents, spouse (former spouse, if any), and children, and
  trusts solely for the benefit of any of the foregoing, and (b) with respect to any Member that is an
  entity, an Affiliate of such Member.

                  "Person" means any individual or any corporation, partnership, limited liability
  company, limited liability partnership, joint venture, estate, trust, unincorporated association,
  business trust, tenancy-in-common or other legal entity.

              "Policy" means each of the life insurance policies contributed to the capital of the
  Company by Klein, as specified in Schedule B hereto.

                 "Policy File" means, with respect to a Policy, the file relating to such Policy
  which file shall include, without limitation, the Policy, the original application for such Policy,
  any Policy Illustration and any other documentation in Klein's possession.

                  "Policy Illustration" means, with respect to a Policy, a policy illustration from
  the related issuing insurance company.

                  "Polter" shall have the meaning set forth in Section 6.2.




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                 "Priority Return" of a Member with respect to any Policy shall mean an annual
 rate of return of 12% on the total amount of Capital Contributions made by a Member with
 respect to such Policy from the date such Capital Contribution were made but computed no
 earlier than from the date of this Agreement.

               ''Rechnitz Amount" shall mean, with respect to any Policy, (x) the total amount
 of Capital Contributions made by Rechnitz related to such Policy and (y) the Priority Return for
 Rechnitz on such Policy.

                  "Remaining Members" shall have the meaning specified in Section 10.4(a).

                "Remaining Members           Notice" shall    have the     meaning   specified m
  Section 10.4(b).

                "Remaining Members           Option" shall    have the     meaning   specified in
  Section 10.4(b).

                  "Reserve Account" means account number [__J established at Account Bank.

                  "Selling Member" shall have the meaning specified in Section 10.4(a).

                  "Third Party" shall have the meaning as specified in Section 10.4(a).

                 "Transfer" means, as a noun, any voluntary or involuntary, and direct or indirect,
  assignment, transfer, pledge, syndication, sale, hypothecation, contribution, encumbrance or
  other disposition or purported disposition, and, as a verb, voluntarily or involuntarily, and
  directly or indirectly, to assign, transfer, pledge, syndicate, sell, hypothecate, contribute,
  encumber or otherwise dispose of.

                  "Tax Matters Member" shall have the meaning specified in Section 9.4.

                 "Treasury Regulations" means the Income Tax Regulations promulgated under
  the Code, as the same may be amended hereafter from time to time.

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             IN WITNESS WHEREOF, the undersigned have executed this Limited Liability
 Company Agreement as of the date first set forth above.


                                       SHLOMO RECHNITZ




                                       LESLIE KLEIN




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                                  SCHEDULE A


          Member       Initial Capital              Interests   Initial Percentage
                       Contributions                                  Interest
  Rechnitz                  $3,800,000                 I                      50%
 !Klein                      $           1             1                      50%




                                         Sch. A-1
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                                  SCHEDULEB

                                    POLICIES
                                  [See attached]




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                           SCHEDULE 7.l(D)(XII)

                            POLICIES IN GRACE




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                                            EXHIBIT A

                                    JOINDER AGREEMENT
 Life Capital Group, LLC
 c/o Shlomo Rechnitz
 5697 W. 3rd Street
 Suite 200
 Los Angeles, California 90036

  Leslie Klein
  14245 Ventura Blvd.
  Sherman Oaks, California 91423


  Ladies and Gentlemen:

                               (the "Transferee"), the transferee of (              ] Interests and a
 capital account of$(                ] (the "Transferred Interests") of Life Capital Group, LLC, a
 California limited liability company (the "Company"), from .___ _ _ _ __ _, , hereby
 joins in and agrees to be fully bound, as if an original party thereto, by the Amended and
 Restated Limited Liability Company Agreement, dated as of _, 2011 (as amended,
 supplemented or otherwise modified from time to time, the "Limited Liability Company
 Agreement"), among the Company and the Members named therein, including, without
 limitation, the restrictions on transfer set forth therein, and shall be entitled to all of the rights
  and benefits thereof applicable to the undersigned as a Member. Capitalized terms used but not
  defined herein have the meaning ascribed to them in the Limited Liability Company Agreement.

  In connection with the Transferee's joinder to the Limited Liability Company Agreement, the
  Transferee represents and warrants to the Company as follows:

  1.      The Transferee has full power, authority and right to execute and deliver this Joinder
          Agreement and the Limited Liability Company Agreement and has, and will continue to
          have during the entire term of the Limited Liability Company Agreement, full power and
          authority to perform its obligations hereunder and thereunder, and has taken all necessary
          action to authorize the execution and delivery of this Joinder Agreement and the Limited
          Liability Company Agreement, as well as the performance of its obligations hereunder
          and thereunder.

  2.      This Joinder Agreement and the Limited Liability Company Agreement constitute the
          legal, valid and binding obligations of the Transferee enforceable against the Transferee
          in accordance with their respective terms, subject to applicable bankruptcy, insolvency,
          reorganization and similar laws affecting creditors' rights and remedies generally, and
          subject, as to enforceability, to general principles of equity, including principles of
          commercial reasonableness, good faith and fair dealing.




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 3.      No consent, waiver, approval, order, permit or authorization of, or declaration or filing
         with, or notification to, any Person or Governmental Authority is required by the
         Transferee in connection with the execution of this Joinder Agreement and the Limited
         Liability Company Agreement and the compliance by the Transferee with any of the
         provisions hereof or thereof, the consummation of the transactions contemplated hereby
         or thereby or the taking by the Transferee of any other action contemplated hereby or
         thereby.

 4.       The Transferee is a Permitted Transferee.

  5.      It has not relied on, and the Company has not made, any representations or warranties to
          the Transferee.

                                     [Signature Page Follows]




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                                     SCHEDULEC


                                      LENDERS
                                           Outstanding
                                           Principal
                       Lender              Balance
                       Sol Majer           $.Q43,000

                       Leah Katzsl         $100,000

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                                                      IV




                       Yisroel Rechnitz    $350,000                        2 7 (
                       Chaim Manella       $600,000

                       Ben Katzsl          $245,000

                       Shlomo Rechnitz      $500,000

                       Hirshy Krich         $240,000



                        TOTAL               $~8




                                        Sch. C-1
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                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                            4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: MOTION FOR DEFAULT JUDGMENT will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 1/10/2024,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Baruch C Cohen (PL)                bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
Michael I. Gottfried (IP)          mgottfried@elkinskalt.com, cavila@elkinskalt.com, lwageman@elkinskalt.com,
                                   docketing@elkinskalt.com
Nikko Salvatore Stevens (IP)       nikko@cym.law, mandi@cym .law
United States Trustee (LA)         ustpregion16.la.ecf@usdoj.gov
Clarisse Young (IP)                youngshumaker@smcounsel.com, levern@smcounsel.com


                                                                       D Service information continued on attached page
2. SERVED BY UNITED STATES MAIL: On 1/10/2024, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Leslie Klein, 322 N. June Street, Los Angeles, CA 90001

                                                                       D Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served ): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 1/10/2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be com pleted no later than 24 hours after the document is filed.

Hon. Sandra R. Klein, 255 E. Temple Street, Suite 1582, Los Angeles, CA 90012




                                                                       D Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



   1/10/2024          Baruch C. Cohen, Esq.                                    Isl Baruch C. Cohen
   Date                        Printed Name                                     Signature
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               (b)     the transferor or transferee pays to the Company all reasonable costs and
 expenses incurred by the Company in connection with such substitution; and

                 (c)    the transferee executes and delivers a Joinder Agreement.

          Section 10.4 Right of First Refusal.

                (a)     Except for Transfers pursuant to or contemplated by Section l 0.2, if any
 Member (a ••selling Member") receives a bona fide written offer from an independent third
 party (a "Third Party") to purchase any or all of such Selling Member's Interests for cash and
 such Selling Member desires to Transfer any or all of such Interests (the "Offered Interests")
 pursuant to such offer, prior to any Transfer it shall give written notice of the proposed Transfer
 (the "Notice of Intention") to the Company and the other Members (the "Remaining
 Members") specifying the number of Offered Interests which such Selling Member wishes to
 Transfer, the proposed transferee, the proposed purchase price for the Offered Interests (the
 "Offer Price") and the other material terms and conditions of the proposed Transfer.

                (b)      For a period of thirty (30) days after receipt of the Notice of Intention (the
 "Option Period"), each of the Remaining Members shall have the irrevocable option to purchase
 at the Offer Price and on the other terms specified in the Notice of Intention, all of the Offered
 Interests QfQ rata based on the Percentage Interest of each Remaining Member~ provided,
 however, that if any Remaining Member does not purchase any or all of its QrQ rata portion of
 such Offered Interests, 1he other Remaining Members shall have the right to purchase such
 portion, m:Q rata, until all of such Offered Interests are purchased. The option of a Remaining
 Member pursuant to this Section 10.4(b) (the "Remaining Members Option") shall be
 exercisable by delivery of a notice (the "Remaining Members Notice") setting forth the
 maximum number of Offered Interests that such Remaining Member wishes to purchase,
 including any number which would be allocated to such Remaining Member if any other
 Remaining Member does not purchase all or any portion of its ru:Q rata portion, to the Selling
 Member, the Company and the other Remaining Members and shall expire if the Remaining
 Members Notice is not delivered prior to the expiration of the Option Period.

                  (c)     If all notices required to be given pursuant to this Section 10.4 have been
  duly given, and the Remaining Members determine not to exercise their respective options to
  purchase all of the Offered Interests at the Offer Price and on the other ternis specified in the
  Notice of Intention or determine, with the consent of the Selling Member, to exercise their
  options to purchase less than all of the Offered Interests, then the Selling Member shall have the
  right, for a period of ninety (90) days from the earlier of (a) the expiration of the Option Period
  and (b) the date on which such Selling Member receives notice from the Remaining Members
  that they will not exercise the option granted pursuant to this Section 10.4, to accept the bona
  fide offer from the Third Party and enter into an agreement to sell the Offered Interests
  remaining W1Sold under this Section 10.4 at a price not less than the Offer -Price and on the same
  terms as set forth in the Notice of Intention; provided that prior to any such Transfer to a Third
  Party, such Third Party executes and delivers to the Company, for the benefit of the Company
  and all Members, a Joinder Agreement and thereby becomes a party to this Agreement.




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                 (d)    The closing of any purchase and sale of any Interests to a Remaining
 Member pursuant to this Section 10.4 shall take place at the offices of the Company on such
 date, not later than sixty (60) days after the delivery to the Selling Member of the Remaining
 Members Notice. At the closing of such purchase and sale, the Secretary or such other officer of
 the Company shall record such Transfer in the books of the Company against evidence of such
 Transfer, delivery of the Offer Price therefor and an executed Joinder Agreement.

                (e)     If the Remaining Members Option is not exercised, and the Offered
 Interests are not sold pursuant to Section 10.4(c) within the ninety (90) day period referred to
 therein, such sale may not be carried out without complying again with the terms of this
 Section l O.4.

          Section 10.5 Tag-Along Rights and Obligations.

                  (a)      In the event that after complying with the terms of Section I 0.4, the
 Selling Member desires to sell (the "Disposition") the Offered Securities to a Third Person (the
 "Acquirer"), the Selling Member's right to accept such offer to purchase the Offered Securities
 shall be conditioned on each Remaining Member being offered the right to sell to the Acquirer
 its ,QIQ rata portion of the Offered Securities (based on the Percentage Interest of each Remaining
 Member) in such Disposition in accordance with this Section 10.5. The Selling Member shall
 give notice (the "Disposition Notice") to each Remaining Member at least thirty (30) days prior
 to the consummation of the Disposition specifying the number of Offered Interests which such
 Selling Member wishes to Transfer in the proposed Disposition, the proposed transferee, the
 proposed purchase price for the Offered Interests and the other material terms and conditions of
 the proposed Disposition.

                 (b)      The election to participate in the Disposition by the Remaining Members
 pursuant to Section 10.5(a) shall be exercised by notice to the Selling Member given within the
 time period specified in the Disposition Notice, which time period shall not be less than fifteen
 (15) days after such Disposition Notice is given. If any Remaining Member gives notice of its
 election to sell, it shall be obligated to sell the number of Interests specified in such Remaining
 Member's notice upon the terms and subject to the conditions specified in Section 10.S(a) to the
 Acquirer (which shall be the same for the other Remaining Members and the Selling Member),
 conditional upon the closing of the Disposition.

                 (c)     The sale or Transfer of Interests to the Acquirer by the Selling Member
  and by the Remaining Members electing to participate in the Disposition pursuant to this
  Section 10.5 shall occur simultaneously and be on the same terms and at the same price as the
  Interests sold by the Selling Member; provided that prior to any such Transfer to an Acquirer,
  such Acquirer shall execute and deliver to the Company, for the benefit of the Company and all
  Members, a Joinder Agreement and thereby become a party to this Agreement.

                 (d)    If the Acquirer declines to purchase from such Remaining Members their
  respective proportionate number of lnterests calculated in accordance with this Section 10.5, the
  Selling Member will not sell any Interests to the Acquirer.




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          Section 10.6 Miscellaneous Provisions Affecting Transfer.

                (a)    Upon the Transfer of all or any portion of a Member's fnterests as
 permitted or required under this Agreement, including, without limitation, as provided in this
 Article X, (i) the income, loss, gain, deduction and credit attributable to the Interests so
 transferred shall be allocated between the transferor and transferee based upon the number of
 days during the applicable Fiscal Year that the Interests so transferred was held by each of them,
 without regard to the results of Company activities during the period in which each was the
 holder; provided that the Manager shall, at the request and expense of the transferring Member,
 cause an interim closing of the Company's books as of the effective date of Transfer for purposes
 of allocating such items between the transferor and transferee; and (ii) the transferor shall be
 entitled to all cash distributions in respect of the Interests so transferred, to the extent allocable to
 periods preceding the date of Transfer, and the transferee shall be entitled to all cash distributions
 in respect of the Interests so transferred, to the extent allocable to periods on and after the date of
 Transfer based upon the number of days during the applicable Fiscal Year that the Interests so
 transferred were held by each of them, without regard to the results of Company activities during
 the period in which each was the holder.

                (b)    The Company shall be entitled to treat the record owner of any Interests as
 the absolute owner thereof, and shall incur no liability for distributions of cash or other property
 or allocations of income, gain, loss, deduction or credit made in good faith to such owner until
 such time as a written assignment of such Interests has been received, accepted and recorded on
 the books of the Company.

                                     ARTICLE XI
               DISSOLUTION, LIQUIDATION, TERMINATION AND CONVERSION

          Section 11.1 Dissolution, etc. The Company shall be dissolved upon the occurrence of
  any of the following events (the date of such occurrence, the "Dissolution Date"):

                 (a)     As approved by the majority vote of the Members; or

                 (b)     As otherwise required by applicable law.

           Section 11.2 Winding Up.

                 (a)    Upon dissolution, an accounting shall be made by the Company's
  independent accountants of the accounts of the Company and of the Company's assets, liabilities
  and operations, from the date of the last previous accounting until the date of dissolution. The
  Manager shall immediately proceed to wind up the affairs of the Company in accordance with
  this Section 11.2.

                 (b)     Notwithstanding anything to the contrary in this Agreement, upon a
  liquidation within the meaning of Section 1.704-1 (b)(2)(ii)(g) of the Treasury Regulations, if any
  Member has a deficit Capital Account (after giving effect to all contributions, distributions,
  allocations and other Capital Account adjustments for all taxable years, including the year during
  which such liquidation occurs), such Member shall have no obligation to make any Capital
  Contribution, and the negative balance of such Member's Capital Account shall not be

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 considered a debt-owed by such Member to the Company or to any other Person for any purpose
 whatsoever.

                 (c)    The Members shall comply with all requirements of applicable law
 pertaining to the winding up of the affairs of the Company and the final distribution of its assets.

          Section 11.3 Final Distribution. After the application or distribution of the proceeds of
 the liquidation of the Company's assets in one or more installments to the satisfaction of the
 liabilities to creditors of the Company, including to the satisfaction of the expenses of the
 winding-up, liquidation and dissolution of the Company (whether by payment or the making of
 reasonable provision for payment thereof), the remaining proceeds, if any, plus any remaining
 assets of the Company shall be distributed to the Members in accordance with Sections 4.3 and
 8.2, as applicable.

          Section 11.4 Time for Liquidation, etc. A reasonable time period shall be allowed for
 the orderly winding up and liquidation of the assets of the Company and the discharge of
 liabilities to creditors so as to enable the Company to seek to minimize potential losses upon
 such liquidation. The provisions of this Agreement shall remain in full force and effect during
 the period of winding up and until the filing of a certificate of cancellation of the certificate with
 the Secretary of State of the State of California.

        Section 11.5 Termination. Upon completion of the winding up of the Company, the
 Manager (or any duly elected liquidating trustee or other duly designated representative) shall
 execute, acknowledge and cause to be filed a certificate of cancellation of the Certificate with the
 Secretary of State of the State of California. Upon the cancellation of the Certificate, this
 Agreement and the Company shall terminate.

         Section 11.6 Return of Contribution Nomecourse to Other Members. Except as
 provided by law or as expressly provided in this Agreement, upon dissolution, each Member
 shall look solely to the assets of the Company for the return of its Capital Contribution. If the
 Company property remaining after the payment or discharge of the debts and liabilities of the
 Company is insufficient to return the cash contribution of one or more Members, such Member
 or Members shall have no recourse against any other Member, except as otherwise provided by
 law.
                                          ARTICLE XII
                                      DISPUTE RESOLUTION

           Section 12.l Rabbinical Counsel. If any dispute arises between the Members regarding
  this Agreement or any provision hereof, that dispute shall be resolved through a binding
  arbitration proceeding to be conducted in the State of California in accordance with the
  commercial arbitration mies of the Rabbinical Council of California.

                                          ARTICLE XIII
                                         MISCELLANEOUS

        Section 13.1 Entire Agreement. This Agreement, taken together with the other
  documents expressly referred to herein, each as amended or supplemented, constitutes the entire

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 agreement among the parties with respect to the subject matter herein or therein and supersedes
 any prior agreement or understanding among the parties hereto.

        Section 13 .2 Other Ventures. The Manager or any Member, and any firm, corporation
 or association with which the Manager or any Member is in any way interested or connected,
 may act as attorney for, deal and contract with, and be employed by the Company, and the
 Manager or any Member may be, in any manner, interested in or connected with any corporation,
 association or business in which the Company is directly or indirectly interested, all in the same
 manner and with the same freedom as though not a Manager or a Member, as the case may be,
 and without accountability for any profit, benefit or compensation received in connection with
 such actions or relationships, none of which shall be void or voidable.

         Sectfon 13.3 Amendments. This Agreement may be amended only with the written
 consent of a Majority in Interest; provided that any such amendment that materially adversely
 affects the rights and privileges of any Member (other than any amendment effected in
 connection with the making of a Capital Contribution to the Company by, and/or the issuance of
 additional Interests to, any Member, including, without limitation, any amendment to the rights
 and privileges of the Interests to reflect dilution resulting from such Capital Contributions or
 issuance of additional Interests) must be consented to by each of the Members so affected[;
 provided further, that any amendment to this Agreement shall · not be effective without the
 consent of Rechnitz].

          Section 13.4 Choice of Law. This Agreement shall be construed in accordance with the
  l&ws of the State of California, without regard to the choice of laws rules thereof, and the
  obligations, rights and remedies of the Members hereunder shall be determined in accordance
  with such laws.

          Section 13.5 Successors and Assigns: Third Party Beneficiaries. This Agreement shall
  be binding upon, and, subject to Article X, shall inure to the benefit of, the parties and their legal
  representatives, heirs, administrators, executors, successors and permitted assigns. Except as
  otherwise expressly provided herein, none of the provisions of this Agreement shal1 be for the
  benefit of or enforceable by any Person not a party hereto.

         Section 13 .6 Interpretation. Wherever from the context it appears appropriate, each
  term stated in either the singular or the plural shall include the singular and the plural, and
  pronouns stated in the masculine, the feminine or neuter gender shall include the masculine, the
  feminine and the neuter.

          Section 13.7 Captions. Captions contained in this Agreement are inserted only as a
  matter of convenience and in no way define, limit or extend or otherwise affect the scope or
  intent of this Agreement or any provision hereof.

          Section 13.8 Severability. If any provision of this Agreement, or the application of
  such provision to any Person or circumstance, shall be held invalid, illegal or unenforceable in
  any jurisdiction, the validity, legality and enforceability of the remaining provisions of this
  Agreement, or the application of such provision in jurisdictions or to Persons or circumstances
  other than those to which it is held invalid, illegal or unenforceable, shall not be affected thereby.


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        Section 13.9 Counterparts. This Agreement may be executed in several counterparts,
 each of which shall be deemed an original but all of which shall constitute one and the same
 instrument.

         Section 13.10 Non-Waiver. No provision of this Agreement shall be deemed to have
 been waived unless such waiver is contained in a written notice given to the party claiming such
 waiver has occurred; provided that no such waiver shall be deemed to be a waiver of any other or
 further obligation or liability of the party or parties in whose favor the waiver was given.

         Section 13.11 Notices. All notices, requests, demands, claims and other communications
 that are required or may be given under this Agreement shall be in writing and shall be deemed
 to have been duly given when received if personally delivered; when transmitted if transmitted
 by confirmed facsimile with a copy sent by another means specified herein; the business day
 after it is sent, if sent for next day delivery to a domestic address by recognized overnight
 delivery service (e.g., Federal Express); and five business days after the date mailed by certified
 or registered mail, postage prepaid, if sent by certified or registered mail, return receipt
 requested. In each case notice shall be sent to:

                  ifto the Company:

                  c/o Shlomo Rechnitz
                          5697 W. 3rd Street, Suite 200, Los Angeles, Califomia 90036.


                  with a copy to:

                  Leslie Klein
                  14245 Ventura Blvd., Sherman Oaks, CA 91423




  and if to a Member, to the Member's address or facsimile number on the books records of the
  Company, or to such other address with respect to the Company or a Member as the Company or
  such Member, ·as applicable, notifies the Company and the other Members in writing as provided
  above.

                                           ARTICLE XIV
                                           DEFINITIONS

           Section 14. l   Definitions.

                 References in this Agreement to an "Exhibit" are intended to refer, unless
  otherwise specified, to an Exhibit attached to this Agreement, and references in this Agreement
  to an "Article" or a "Section" are intended to refer, unless otherwise specified, to an Article or·a
  Section of this Agreement. As used in this Agreement, the following terms shall have the
  respective meanings set forth below:

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                 "Account Bank." means PrivateBancorp, Inc.

                 "Act" shall have the meaning specified in the recitals to this Agreement.

                  "Affiliate" means any Person that, directly or indirectly, through one or more
  intermediaries, is Controlled by one or more Members. As used in this definition, "Control"
  means either (a) the ownership, directly or indirectly, of at least fifty percent (50%) of the voting
  stock of a corporation, or in the case of any Person which is not a corporation, the ownership,
  directly or indirectly, of at least fifty percent (50%) of the beneficial ownership interests in such
  Person, or (b) irrespective of stock ownership or other beneficial ownership, the possession,
  directly or indirectly, of the power to direct or cause the direction of the management and
  policies of such Person.

              "Agreement" means this Limited Liability Company Agreement, as the same
  may be amended hereafter from time to time as provided herein.

                 "Available Cash" means, at the time of determination, cash generated from
  revenues from the Company's operations, after provision has been made for (a) all expenditures
  paid or to be paid by the Company to non-Members and (b) such amounts as the Manager, in his
  sole discretion, shall deem reasonable in order to provide for any anticipated, contingent or
  unforeseen expenditures or liabilities of the Company. Available Cash shall be determined
  without regard to (i) Capital Contributions and (ii) principal advanced on Company
  indebtedness.

                 "Beneficiary" means, with respect to the Policy, the legal person or persons
  designated as the recipients of the Death Benefit for such Policy.

                   "Capital Account" means, with respect to any Member, the Capital Account
  maintained for such Member by crediting such Member's Capital Contributions, such Member's
  share of Net Income, and the amount of any Company liabilities that are assumed by such
  Member (other than liabilities that are secured by any Company property distributed to such
  Member) and by debiting the amount of cash and the gross fair market value of any Company
  property distributed to such Member pursuant to any provision of this Agreement (net of
  liabilities secured by such distributed property that such Member is considered to assume or take
  subject to under Code Section 752), such Member's share of Net Losses, and the amount of any
  liabilities of such Member that are assumed by the Company (other than liabilities that are
  secured by any property contributed by such Member to the Company).

                 "Capital Contribution" means, with respect to any Member, the amount of
  money and the initial gross fair market value of any property contributed (or deemed
  contributed) from time to time by such Member to the Company (net of any liabilities secured by
  such property or to which such property is otherwise subject). The initial gross fair market value
  of each Policy contributed by Klein shall equal the sum of the total amount of premium
  payments made on such Policy by Klein and all other costs and expenses incurred by Klein in
  servicing and maintaining such Policy as of the date of this Agreement. Any reference in this
  Agreement to the Capital Contribution of a Member shall include the Capital Contribution made



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 by any predecessor of a Member. For purposes of this Agreement, a Capital Contribution shall
 include, without limitation, any Initial Capital Contribution.

                "Certificate" has the meaning set forth in Section 1.1 .

                "Change Forms" means the forms changing the owner and Beneficiary of the
 Policy using such fqrm as is required by each of the relevant issuing insurance companies.

                "Code" means the Internal Revenue Code of 1986, as amended, and as the same
 may be amended hereafter from time to time.

                "Company" shall have the meaning specified in the preamble hereto.

                "Consumer Information" means medical, health, financial and personal
 information about an Insured, an Original Owner, a Beneficiary under a Policy or a person
 designated by an Insured to provide periodic information regarding the medical status of the
 Insured, or any spouse or other individual closely related by blood or law to any such person
 (each, a "Consumer"), including, without, limitation, a Consumer's name, street or mailing
 address, email address, telephone or other contact information, employer, social security or tax
 identification number, date of birth, driver's license number, photograph or docwnentation of
 identity or residency (whether independently disclosed or contained in any disclosed document
 such as a Policy, Hfe expectancy evaluation, life insurance application or life settlement
 application).

                 "Covered Person" shall have the meaning specified in Section 6.5 (a).

                 "Death Benefit" means the cash amount of a Policy to be paid upon the death of
  the applicable Insured under such Policy, which amount will be net of any policy loans ma.de
  under such Policy (and accrued interest thereon).

                 "Disposition" shall have the meaning specified in Section 10.S(a).

                 "Disposition Notice" shall have the meaning specified in Section 10.S{a).

                 "Dissolution Date" shall have the meaning specified in Section 11.1.

                 "Fiscal Period" means, subject to the provisions of Section 706 of the Code,
  (i) any Fiscal Year and (ii) any portion of a Fiscal Year for which the Company is required to
  allocate Net Income, Net Losses or other items of Company income, gain, loss or deduction
  pursuant to Article IV.

                 "Fiscal Year" shall have the meaning specified in Section 1. 7.

                 "Governmental Authority" means any nation or government, any state or other
  political subdivision thereof and any entity exercising executive, legislative, judicial, regulatory
  or administrative functions of or pertaining to government.

                 "Indemnified Liabilities" shall have the meaning specified in Section 6.12.


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                 "Indemnified Person" shall have the meaning specified in Section 6.12.

                 "Initial Capital Contribution" means, with respect to each Member, such
  Member's Initial Capital Contribution set forth on Schedule A.

                 "Insured" means, with respect to a Policy, each person whose life is insured
  under such Policy.

                "Interest" means, with respect to any Member, (a) such Member's share of the
  profits and losses of the Company and a Member's rights to receive distributions from the
  Company in accordance with the provisions of this Agreement and the Act and (b) such
  Member's other rights and privileges in respect of the Company as herein provided.

                 "Joinder Agreement" shall have the meaning specified in Section 10.2{a).

                "Klein Amount" shall mean, with respect to any Policy, (x) the total amount of
  Capital Contributions made by Klein related to such Policy and (y) the Priority Return for Klein
  on such Policy.

                 "Law" means any law, constitution, statute, ordinance, code, rule, regulation,
  decision, order, consent, decree, judgment, ordinance, release, license, permit, stipulation or
  other pronouncement having the effect of law enacted or issued by any Governmental Authority,
  any foreign country, or domestic or foreign state, country, city or other political subdivision,
  which includes binding judicial precedent and principles of common law.

                 "Lender" shall mean each lender identified on Schedule C.

                 "Majority in Interest" means Members that at the time in question together hold
  a Percentage Interest greater than 50% in the aggregate.

                 "Manager" means one or more persons designated as such pursuant to this
  Agreement.

                  "Members" means, collectively, the members signatory to this Agreement, and
  any other Persons admitted to the Company as members after the date hereof in accordance with
  the terms of this Agreement.

                  "Net Income" and "Net Losses" means, for each Fiscal Year or other period, an
  amount equal to the Company's taxable income or loss for such Fiscal Year or other period (for
  this purpose, all items of income, gain, loss or deduction required to be stated separately pursuant
  to Code Section 703(a)(l) shall be included in taxable income or loss and each item of income,
  gain, expense, deduction and loss shall be allocable to the Members in accordance herewith).

                 "Non-Payment Policy" shall have the meaning as specified in Section 8.2.

                 "Non-Payment Policy Member" shall have the meaning as specified m
  Section 8.2.


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                "Notice oflntention" shall have the meaning as specified in Section 10.4(a).

                "Offer Price" shall have the meaning as specified in Section 10.4(a).

                "Offered Interests" shall have the meaning specified in Section 10.4(a).

                "Option Period" shall have the meaning as specified in Section 10.4(b)

                "Original Owner" means, with respect to a Policy, the Person to which the
 Policy was initially issued and who was listed as owner on the initial declarations page of such
 Policy or the policy application, as applicable.

                  "Percentage Interest" means, with respect to any Member as of any date of
 determination, a fraction (expressed as a percentage) having as its numerator the aggregate
 number of Interests held by such Member at such time, and having as its denominator the
 aggregate number of Interests held by all Members at such time. Each Member's Percentage
 Interest as of the date hereof, and as adjusted from time to time, is set forth '?Il Schedule A.

                 "Permitted Transferee" means (a) with respect to any Member who is an
 individual, such member's siblings, parents, spouse (former spouse, if any), and children, and
 trusts solely for the benefit of any of the foregoing, and (b) with respect to any Member that is an
 entity, an Affiliate of such Member. [Anyone else?]

                  "Person" means any individual or any corporation, partnership, limited liability
  company, limited liability partnership, joint venture, estate, trust, unincorporated association,
  business trust, tenancy-in-common or other legal entity.

              "Policy" means each of the life insurance policies contributed to the capital of the
  Company by Klein, as specified in Schedule B hereto.

                 "Policy File" means, with respect to a Policy, the file relating to such Policy
  which file shall include, without limitation, the Policy, the original application for such Policy,
  any Policy Illustration and any other documentation in Klein's possession.

                  "Policy Illustration" means, with respect to a Policy, a policy Hlustration from
  the related issuing insurance company.

                 "Polter" shall have the meaning set forth in Section 6.2.

                  "Priority Return" of a Member with respect to any Policy shall mean an annual
  rate of return of 12% on the total amount of Capital Contributions made by a Member with
  respect .to such Policy from the date such Capital Contribution were made but computed no
  earlier than from the date of this Agreement. .

                "Recbnitz Amount" shall mean, with respect to any Policy, (x) the total amount
  of Capital Contributions made by Rechnitz related to such Policy and (y) the Priority Return for
  Rechnitz on such Policy.



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                "Remaining Members" shall have the meaning specified in Section 10.4(a).

                "Remaining Members Notice" shall have the meaning specified in
  Section 10.4(b).

                "Remaining Members          Option" shall have the meaning specified in
  Section 10.4(b).

                "Reserve Account" means account number LJ established at Account Bank.

                "Selling Member" shall have the meaning specified in Section 10.4(a).

                "Third Party" shall have the meaning as specified in Section 10.4(a).

                 ''Transfer" means, as a noun, any voluntary or involuntary, and direct or indirect,
  assignment, transfer, pledge, syndication, sale, hypothecation, contribution, encumbrance or
  other disposition or purported disposition, and, as a verb, voluntarily or involuntarily, and
  directly or indirectly, to assign, transfer, pledge, syndicate, sell, hypothecate, contribute,
  encumber or otherwise dispose of.

                 "Tax Matters Member" shall have the meaning specified in Section 9.4.

                 "Treasury Regulations" means the Income Tax Regulations promulgated under
  the Code, as the same may be amended hereafter from time to time.

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      IN WITNESS WHEREOF, the Wldersigned have executed this Limited Liability
 Company Agreement as of the date first set forth above.
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                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                            4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT UNDER
LBR 7055-1 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEFj: Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 12/19/2023,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Baruch C Cohen (PL)                bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
Michael I. Gottfried (IP)          mgottfried@elkinskalt.com, cavila@elkinskalt.com , lwageman@elkinskalt.com,
                                   docketing@elkinskalt.com
Nikko Salvatore Stevens (IP)       nikko@cym.law, mandi@cym.law
Clarisse Young (IP)                youngshumaker@smcounsel.com, levern@smcounsel.com
United States Trustee (LA)         ustpregion16.la.ecf@usdoj.gov



                                                                       D     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 12/19/2023, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be com pleted no later than 24 hours after the document is filed.

Leslie Klein, 322 N. June Street, Los Angeles, CA 90001


                                                                       D Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 12/19/2023, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed .

Hon. Sandra R. Klein, 255 E. Temple Street, Suite 1582, Los Angeles, CA 90012




                                                                        D Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



   12/19/2023         Baruch C. Cohen, Esq.                                     Isl Baruch C. Cohen
   Date                        Printed Name                                     Signature
Case 2:23-ap-01169-SK    Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44   Desc
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          EXHIBIT II B
     Case 2:23-ap-01169-SK                    Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44                                              Desc
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                                                   Main Document    Page 1 of 75

Attorney or Party Name, Address, Telephone & FAX                           I FOR COURT USE ONLy
Numbers, State Bar Number & Email Address
Baruch C. Cohen, Esq. (159455)
Law Office of Baruch C. Cohen, APLC
4929 Wilshire Boulevard, Suite 940
Los Angeles, CA 90010
Office (323) 937-4501 I Cell (323) 353-9535
Facsimile: (888) 316-6107
Email: bcc@baruchcohenesq.com




□ Plaintiff(s) appearing without attorney
181 Attorney for Plaintiff(s)
                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re:
LESLIE KLEIN                                                                 CASE NUMBER: 2:23-bk-10990-SK
                                                                            ADVERSARY NUMBER: 2:23-ap-01169-SK
                                                                             CHAPTER: 11
                                                           Debtor(s).

DAVID BERGER
                                                                                    PLAINTIFF'S MOTION FOR DEFAULT
                                                                                      JUDGMENT UNDER LBR 7055-1

                                                           Plaintiff(s),     DATE: 2/14/2024
                                  vs.                                        TIME: 9:00 am
LESLIE KLEIN                                                                 COURTROOM: 1575
                                                                             ADDRESS: 255 E. Temple Street, Los Angeles



                                                       Defendant( s).


TO THE DEFENDANT, DEFENDANT'S ATTORNEY AND OTHER INTERESTED PARTIES:

1.   Name of Defendant(s) against whom default judgment is sought (specify name): _L_E_S_L_IE
                                                                                            _ K_L_E_IN_ _ _ _ __ _


2.    Plaintiff filed the complaint in the above-captioned proceeding on (specify date): 06/09/2023
3.    The Summons and Complaint were served on Defendant by                            D personal service              181 mail service
      on the following date (specify date): 07/10/2023
4.    A true and correct copy of the completed return of summons form is attached.

                  •aankruptcy Code "' and ' 11 U.S.C." refer to fhe United States Bankniptcy Code, Title 11 of the United States Code.
      "FRBP" refers to the Federal Rules of Bankruptcy Procedure. "LBR" and 'LBRs" refer to the Local Bankruptcy Rule(s) of this court.

               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2017                                                              Page 1                           F 7055-1.2.DEFAULT.JMT.MOTION
     Case 2:23-ap-01169-SK                     Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44                                              Desc
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5.   The time for filing an answer or other response expired on (specify date): 08/22/2023
          Defendant was later ordered to respond to the Complaint by 11-18-2023
6.   No answer or other response has been filed or served by Defendant.
7.   The default of Defendant:
     a.   0   Has not yet been entered, but is requested
     b.   ~ Was entered on (specify date): 11/28/2023

8. A Status Conference:
     a.   ~ Is scheduled for (specify date, time, and place) : _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
               12/20/2023 at 09:00 AM 255 E. Temple St. Courtroom 1575 Los Angeles

     b.   D Was held on (specify date, time, and place): _ __ _ _ _ _ _ _ __ _ __ __ _ _


9.   As proof that Plaintiff is entitled to the relief requested in the complaint, Plaintiff:
     a.   ~ Relies on the complaint and attached documents.
     b.   ~ Attaches the following documents to establish a prima facie case:

          (1) ~ Declaration of (specify): _D_a_v_id_B
                                                    _e_r_g_e_
                                                            r _ _ __ _ __ _ __ __ _ __ __

          (2) D Declaration of (specify): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ __

          (3) D Other (specify): _ _ __ _ __ _ __ _ _ _ _ _ _ _ _ _ _ _ __

10. As further support for entry of a default judgment, Plaintiff submits a memorandum of points and authorities (optional).

11. DECLARATION OF NON-MILITARY STATUS (Servicemembers Civil Relief Act, 50 U.S.C. chapter 50 (§§ 3901-
    4043)). The undersigned party or counsel declares under penalty of perjury, with respect to each Defendant against
    whom a default judgment is sought by this motion:

     a.   ~ Defendant is not currently in military service. The facts that support this statement are as follows (see the
               court's website for information aboot how to verify non-military status):




     b.   D Defendant is currently in military service. The facts that support this statement are as follows (if this box is
               checked, the plaintiff must attach a supplement to this motion addressing the requirements in 50 U. s. c.
               § 3931 (b)(2) to appoint an attorney for the Defendant before entering a judgment):




     c. D      I am unable to determine whether or not Defendant is in military service. The facts that support this statement
               are as follows (if this box is checked, the plaintiff must attach a supplement to this motion addressing the
               bond requirement in 50 U.S.C. § 3931(b)(3)):




              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

 December 2017                                                         Page 2                               F 7055-1.2.DEFAULT.JMT.MOTION
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12. Defaulting party is not an infant or incompetent party.


Plaintiff requests that this court enter a default judgment in favor of Plaintiff. A copy of the lodged proposed default
judgment is attached.


Date: 12/19/2023                                                     Respectfully submitted,

                                                                     Law Office of Baruch C. Cohen, APLC




                                                                                                           ae
                                                                     Printed name of law firm




                                                                     Signature
                                                                               .f,J,o/<
                                                                     Baruch C. Cohen, Esq.
                                                                     Name of Attorney for Plaintiff or Plaintiff




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of Cal ifornia.

 December 2017                                                        Page 3                               F 7055-1.2.DEFAUL T.JMT.MOTION
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    l                                 DECLARATION OF DA VlD BERGER
    2             I, DAVID BERGER, declare and state as follows:
    3   1.        The facts stated below are true and correct to the best of my personal knowledge and if called
    4             upon to testify to them, I could and would competently do so.
    5   2.        This Declaration is in support of the PLAINTI.FF'S MOTION l?OR DEFAULT
    6             JUDGMENT UNDER LBR 7055-1 filed by me, David Berger.
    7                                        PROCEDURAL HISTORY
    8   3.        On 6-9- 2023, I filed this instant Complaint for Determination of Nondischargeability of
    9             Debts and to Deny Discharge pursuant to l I USC§ 523(a)(2)(A), 1 l USC§ 523(a)(4), & l l
   IO             USC§ 523(a)(6); & for Denial of Discharge Pursuant to 11 USC § 727(a)(2)(A); 11 USC§
   11             727(a)(2)(B); 1 l USC § 727(a)(3); 11 lJSC § 727(a)(4); 11 USC § 727(a)(S)("Complaint")
   12             against Defendant Leslie Klein ("Defendant"). (Dkt. No. ] ) Adv.# 2:23-ap-O 1169-SK.
   13   4.        On 11-9-2023, the Court dismissed, without prejudice, causes of action for Denial of
   14             Discharge Pursuant to 11 USC § 727{a)(2)(A); 11 USC§ 727(a)(2)(B); 11 USC§ 727(a)(3);
   15             11 USC § 727(a)(4); 11 USC § 727(a)(5)(Dkt No 38).
   16   5.        On 11-28-2023, this Court entered a default against Klein for Determination of
   17             Nondischargeability of Debts and to Deny Discharge pursuant to 11 USC§ 523(a)(2)(A), 11
   18             USC§ 523(a)(4), & 11 USC§ 523(a)(6) (Dkt No 43).
   19                         BACKGROUND FACTS SUPPORTING JUDGMENT
   20   6.        On 2-17-2009, Leslie Klein ("Klein") on behalf of Leslie Klien & Associates, entered into a
   21             ~Memorandum of Agreement for Joint Venture (the "Gardner Memo").
   22   7.        On 2-17-2009, Klein on behalf of BK Life Settlements, LLC ("BK Life"). entered into a Life
                                                                                                         .
   23             Insurance Policy Purchase Agreement ("Gardner LIPPA") with Andrew· and Yvette Gardner
   24             ("Gardner'') for the purchase of two (2) $5,000,000.00 life insurance Policies # 1625579 &
   25             #1621379 totaling $10,000,000.00 ("Gardner Policies") on the lives of Gardner. Klein
   26             designated Leslie Klien & Associates and myself as the sole beneficiaries of the Garner
   27             Policies. Klein had me sign the Gardner LIPPA on behalf of the buyer BK Life.
   28

        12/19-2:12pm
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       1   8.         In furtherance of the Gardner Memo, I paid Klein $400,000.00 towards the purchase of the
    2                 nvo Gardner Policies.

    3      9.         Per the Gardner Memo, Klein promised to pay me $5,000,000.00 upon the last Gardner to die.
    4      10.        Thereafter, Klein apparently sold portions or the entirety of the Gardner Po lie" to GMR Life
    5                 Settlements LLC ("GMR Life") without my consent. Klein concealed this information from
    6                 me.

    7      11.        111ereafter, on or about May of 2011, Klein apparently sold portions or the entirety of the
    8                 Gardner Policy and to Life Capital Group, LLC ("LCG"), without my consent. Klein
    9                 concealed this information from me.
   10      12.        According to information recently received by me, Klein and Shlomo Y ehuda Rechnitz of
   1I                 LCG, agreed that upon the death of Gardner, Klein and Reclmitz would be reimbursed the
   12                 premiums that they paid, plus interest on the premiums. Thereafter, Klein and Rechnitz would
   13                 split the profits 50/50 of the Gardner Policv, and that I would receive my $5,000,000.00.
   14      13.        The Gardner's apparently died in 2021 - 2022, and Klein collected the Gardner Proceeds, on
   15                 the Gardner Policv. Klein concealed this information from me, misappropriated & kept the
   16                 Gardner Proceeds for himself, and failed to pay me the $5,000,000.00 per the Gardner Memo.
   17                                           INTEREST CALCULATION
   18      14.        Pursuant to Bankruptcy Rule 3001 (c)(2){A), interest of I 0% on the $5,000,000.00 from
   19                 2-17-2009 until the petition date of 2-22-2023 came to $7,010,958.834 (5118 days at
   20                 $1,369.8630/day). The total amount due as of the filing date was $12,010,958.834. 1
   21      15.        Post-petition interest continues to accrue at the rate of $1,369.8630/day. The total post-
   22                 petition interest from 2-23-2023 through 12-19-2023 (299 days) comes to $409,589.037. The
   23                 total amount due as of 12-19-2023 is $12.511 .547.871.
   24

   25
                      1
                   A trne and correct copy of the Amended Proof of Claim which was filed in the main case on
   26      12/19/2023, incorporates copies of the Gardner LIPPA and the Limited Liability Cornpam A!.!.reement
   27      of Life Capital Grou p. LLC. is attached hereto as Exhibit "1" and is incorporated herein by this
           reference.
   28

           12il9-2:12prn
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    1               I declare under penalty of perjury under the laws of the United States, State of California that
    2   the foregoing is true and correct.

    3               Executed December 19, 2023, at Los Angeles CA.
    4                                                              By     Isl David Bern:er
                                                                        DAVID BERGER
    5

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        12/ 19-2: 12pm
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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &         FOR COURT USE ONLY
Email Address

Baruch C Cohen
4929 Wilshire Blvd Ste 940
Los Angeles, CA 90010

323-937-4501




Plaintiff or Attorney for Plaintiff

                                       UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES
In re:

                                                                               CASE NO.: 2:23-bk-10990-SK


 Leslie Klein                                                                  CHAPTER:     11



                                                                               ADVERSARY NUMBER: 2:23-ap-01169-SK
                                                                Debtorlsl.

David Berger

                                                                                           ANOTHER
                                                                Plaintiff(s)
                                Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Leslie Klein                                                                         PROCEEDING [LBR 7004-1]

                                                            n,.f.,ndant<sl




 TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
 you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
 response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a wntten response is
 08/07/2023. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
 demanded in the Complaint.

  A status conference in the adversary proceeding commenced by the Complaint has been set for:
                Date:                     September 6, 2023
                Time:                     09:00 AM
                Hearing Judge:            Sandra R. Klein
                Location:                 255 E Temple St., Crtrm 1575, Los Angeles, CA 90012



             This form is mandatory. It has been approved for use in the United Stales Bankruptcy Court for the Central District of California.

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                                                Ma'il'P-&mlment ~ B I 6


You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court-approved joint status report form is available on the court's website (LBR form F
7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016-1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Alias Summons and Notice of Status Conference in Adversary Proceeding: July 7, 2023




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                                                                                                       Deputy Clerk.




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

 December 2016                                                 Page2                         F 7004-1.SUMMONS.ADV.PROC
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              EARLY MEETING OF COUNSEL, JOINT STATUS REPORT AND
                      STATUS CONFERENCE INSTRUCTIONS

    1.     A copy of these instructions must be attached to the copy of the complaint served
    upon each party, and the proof of service of the summons and complaint must indicate
    that such copy was served therewith.

    2.      If the adversary proceeding involves money or property exceeding $10,000, or if
    plaintiff believes trial time will exceed 4 hours, plaintiff must serve, with the summons
    and complaint, a notice that compliance with Local Bankruptcy Rule 7026-1 and Federal
    Bankruptcy Procedure Rule 7026 is required. Plaintiff must also file a proof of service of
    the notice together with the proof of service of the summons and the complaint.

    3.   If Local Bankruptcy Rule 7026-1 is applicable, counsel for the parties MUST
    TIMELY MEET TO DISCUSS SETTLEMENT AND TO EXCHANGE DOCUMENTS
    OTHER EVIDENCE, AND LISTS OF WITNESSES, AND PRELIMINARY DISCOVERY
    SCHEDULES AS PROVIDED IN SAID RULE. FEDERAL RULE OF CIVIL
    PROCEDURE 26(f) DOES NOT APPLY TO THIS PROCEEDING.

    4.     Unless all defendants have defaulted, the parties must file a Joint Status Report
    pursuant to Local Bankruptcy Rule 7016-1 (a)(2) at least 14 court days before the date
    of the status conference using Local Farm No. F 7016-1.1. This form may be found on
    the Court's website, www.cacb.uscourts.gov, by clicking on "Forms/Rules/General
    Orders," then "Local Bankruptcy Rules & Forms," and scrolling down to F 7016-1.1. If
    Local Bankruptcy Rule 7026-1 is applicable, the parties shall include in the Joint Status
    Report a statement that they have met to discuss settlement and have exchanged
    documents . other evidence, lists of witnesses and preliminary discovery schedules.

    5.      If no response to the complaint is timely filed, plaintiff may request entry of
    default by the clerk or by the court pursuant to Local Bankruptcy Rule 7055-1 (a).
    Plaintiff may also request entry of a default judgment by filing and serving an
    appropriate motion pursuant to Local Bankruptcy Rule 7055-1(b). These motions may
    be brought pursuant to Local Bankruptcy Rule 9013-1.

    6.     If the parties dispute whether the adversary proceeding is "core" or "non-core,"
    they must file points and authorities in support of their positions. See 28 U.S.C. § 157.
    Any party that contends the proceeding is "non-core" must file and serve its points and
    authorities at least 14 days before the status conference. Any response must be filed
    and served at least 7 days before the status conference.

    7.    Unless a party objects in writing in the first Joint Status Report or the court orders
    otherwise, direct testimony at trial will be presented by declaration.

    8.     Failure to comply with these instructions may subject the responsible party to
    sanctions.
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     9.      At the initial status conference a date may be set for further status conference, a
     pre-trial conference and/or for trial.

     10.   Failure of counsel for any party to appear at a status conference or pre-trial
     conference may be considered an abandonment and the adversary proceeding may be
     dismissed or judgment entered against the defaulting party, without further hearing.

                                                      Sandra R. Klein
                                                      United States Bankruptcy Judge
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        Baruch C. Cohen, Esq. (SBN 159455)
        LAW OFFICE OF BARUCH C. COHEN
    2            A Professional Law Corporation
        4929 Wilshire Boulevard, Suite 940
    3   Los Angeles, Califomia 90010
        Tel : (323) 937-4501 Fax: (888) 316-6107
    4   email: baruchcohenra)baruchcohenesy.com
    5   Attorney For PlaintiffDavid Berger
    6                               UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
    7                                   LOS ANGELES ANA DIVISION
    8
    9    In re                                        Case No. 2:23-bk-10990-SK

   10    LESLIE KLEIN,                                Hon. Sandra Klein

   11          Debtor and Debtor in Possession,       Chapter 11

   12
   13    DAVID BERGER,                                 COMPLAINT FOR NONDISCHARGEABU.,ITY
                                                       OF DEBT PURSUANT TO 11 use §
   14                      Plaintiff                   523(a)(2)(A), 11 USC§ 523(a)(4), & 11 USC §
                                                       523(a)(6); & FOR DENIAL OF DISCHARGE
   15    vs.                                           PURSUANT TO 11 USC § 727(a)(2)(A); 11 USC
                                                       § 727(a)(2)(B); 11 USC § 727(a)(3); 11 USC §
   16    LESLIE KLEIN                                  727(a)(4); 11 USC§ 727(a)(5)

   17                     Defendant

   18

   19
                 TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY
   20
        .JUDGE, THE DEBTOR AND HIS COUNSEL, AND ALL OT.HER INTEREST.ED
   21
        PARTIES:
   22
                 Plaintiff-Creditor, David Berger ("Plaintiff'), complain for nondischargeability of debt &
   23
        for denial of discharge against Defendant-Debtor, Leslie Klein ("Defendant"), and allege
   24
        respectfully as follows :
   25
                                       CORE/NON-CORE DESIGNATION
   26
         1.      In accordance with Local Bankruptcy Rule 7008- 1, Plaintiff alleges that this adversary
   27
                 proceeding constitutes a core proceeding under 28 USC§ 157(b)(2). Plaintiff
   28
                 acknowledges that the Cowt has the power to enter final orders and judgments in this
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    1            matter. Plaintiff also consents to the Cou1t's entry of final orders and judgments in this
    2            matter under FRBP Rule 7008.
    3                                JURISDICTION, VENUE & STANDING
    4   2.       This adversary proceeding arises under In re Klein, 2:23-bk- l 0990-SK, a Chapter 11 case
    5            commenced in the United States Bankruptcy Court for the Central District of California
    6            ("Bankruptcy Case"). The Court has jurisdiction under 11 USC §§ 523 and 727, and 28
    7            USC §§ 157 and 1334.
    8   3.       The venue is proper in this Court pursuant to 28 USC§ 1409.
    9   4.       Plaintiff have standing to bring this action because Plaintiff is a(n omitted) creditor in the
   10            Bankruptcy Case under 11 USC§ 101( I0).
   l1                                                   PARTIES
   12   5.       The following is a description of the relevant parties involved in the facts forming the
   13            basis of this Complaint.
   14   6.       Plaintiff is an individual, residing in Los Angeles County.
   15   7.       Defendant is an individual, whose principal residence is in Los Angeles County,
   16            California and who regularly conducted business from Los Angeles County, California.
   17            Defendant was a certified public accountant, formerly licensed by the State of California,
   18            and a former, and an attorney licensed by the State of California. 1 Defendant is the debtor
   19            in the above-captioned Chapter 11 bankruptcy case.
   20                                        GENERAL ALLEGATIONS
   21   8.       The following general allegations form the background for the Plaintiff's claims for relief
   22

   23    1
             On September 10, 1992, the Supreme Court of the State of California, in State Bar Court Case No.
   24        86-0-14258, ordered that Defendant be suspended from the practice of law for 18 months and
             further ordered that he take and pass the California Professional Responsibility Examination
   25        ("CPRE"). Defendant failed the November 1993 and January 1994 CPREs. In Case No.
             86-0-14258, Defendant admitted to intentional misrepresentations. On August 3, 1995, the
   26        Supreme Court of the State of California, in State Bar Court Case No. 92-0-11716 (consolidated
             with Case Nos. 93-0-11825, 94-0-13951, 94-012055, and 94-015901) ordered that Defendant
   27        be suspended from the practice oflaw for one year. In Case No. 92-0-11716, as consolidated,
             Defendant admitted to willful violations of Rules of Professional Conduct concerning client trust
   28        accounts and conflicts of interest.

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                against Defendant.
    2    9.     Defendant was the Plaintiffs friend and neighbor for more than 55 years.

    3    10.    Plaintiff did not receive timely notice of this bankruptcy proceeding as the Debtor
    4           omitted listing Plaintiff on his Schedule F - general unsecured creditors.
    5    11.    On 2-17-2009, Leslie Klein ("Klein'') on behalf of Leslie Klien & Associates, entered
    6           into a Memorandum ofAgreementfor Joint Venture with Plaintiff (the "Gardner
    7

    8    12.    On 2-17-2009, Klein on behalf of BK Life Settlements, LLC ("BK Life'') entered into a
    9           Life Insurance Policy Purchase Agreement ("Gardner LIPPA") with Andrew and Yvette
   10           Gardner ("Gardner") for the purchase of two (2) $5,000,000.00 life insurance Policies
   11           # 1625579 & # 1621379 totaling $10,000,000.00 ("Gardner Policies") on the lives of
   12           Gardner. Kleit1 designated Leslie Klien & Associates and Plaintiff as the sole
   13           beneficiaries of the Garner Policies. Klein had Plaintiff sign the Gardner LIPPA on
   14           behalf of the buyer BK Life.
   15    13.    In furtherance of the Gardner Memo, Plaintiff paid Klein's IOL TA account with his law
   16           firm, Leslie Klien & Associates, $400,000.00 towards the purchase of the two Gardner
   17           Policies.
   18    14.    Per the Gardner Memo, Klein promised to pay Plaintiff $5,000,000.00 upon the last
   19           Gardner to die.
   20    15.    On or about 11-16-2015, Klein wrote to Plaintiff:
   21           Dear David: You are right. We have been friends for the last fifty years and I
                would not do anything that would adversely affect your interest in the Gardner
   22           policy.
   23     16.   Thereafter, Klein apparently sold portions or the entirety of the Gardner Policv to GMR
   24           Life Settlements LLC ("GMR Life") without Plaintiffs consent. Klein concealed this
   25           information from Plaintiff.
   26     17.   Thereafter, on or about May of 2011, Klein apparently sold po1tions or the entirety of the
   27            Gardner Policv and to Life Capital Group, LLC ("LCG"), without Plaintiff's consent.
    28
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              Klein concealed this information from Plaintiff.
    2   18.   According to information recently received by Plaintiff, Klein and Shlomo Yehuda
    3         Rechnitz of LCG, agreed that upon the death of Gardner, Klein and Reclmitz would be
    4         reimbursed the premiums that they paid, plus interest on the premiums. Thereafter, Klein
    5         and Rechnitz would split the profits 50/50 of the Gardner Policy, and that Plaintiff would
    6         receive his $5,000,000.00.
    7   19.   The Gardner's apparently died in 202 l - 2022, and Klein co11ected the Gardner Proceeds.
    8         on the Gardner Policv. Klein concealed this information from Plaintiff, misappropriated
    9         & kept the Gardner Proceeds for himself, and failed to pay Plaintiff the $5,000,000.00
   IO         per the Gardner Memo.
   11   20.   Pursuant to by Bankruptcy Rule 300l(c)(2)(A), interest of 10% on the $5,000,000.00,
   12         since 2-17-2009 (1565 days at $1,369.8630 interest per day) comes to $2,143,835.62,
   13         bringing the total amount due at $7,143 ,835.62.
   14   21.   During this entire time, Defendant repeatedly assured Plaintiff that premiums of the
   15         Gardner Policy were being timely made, and that his investment in the Gardner Polic\
   16         was secure and accruing interest.
   l7                     PLAINTIFF'S DISCOVERY OF DEFENDANT'S FRAUD
   18   22.   On or about 7-29-2022, Plaintiff discovered the above-referenced frauds and
   19         concealment.
   20                                FIRST CLAIM FOR RELIEF
                           (Nondischargeability of Debt - 11 USC§ 523(a)(2)(A))
   21
        23.   Plaintiff realleges and incorporates by reference all of the prior and subsequent
   22
              a11egations in this Complaint as though fully set forth herein.
   23
        24.   At all relevant times, Defendant acted as Plaintiff' fiducia1y - investment adviser.
   24
              Plaintiff entrusted Defendant implicitly with his investment in the Gardner insurance
   25
              policies.
   26
        25.   Defendant owed Plaintiff fiduciary duties at all relevant times, including the duty of
   27
              loyalty and candor. Defendant fm1her owed a duty to use Plaintiff funds for legitimate
   28

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    l         business purposes and to refrain from using their funds and other property for his ov,m
    2         personal non-business purposes.
    3   26.   Defendant embezzled and stole from Plaintiff. Defendant misrepresented the above-
    4         referenced information to Plaintiff for the purpose of convincing Plaintiff to invest in the
    5         Gardner Policy into Defendant's IOLTA client trust account. Defendant then stole more
    6         than $400,000.00 of Plaintiff' money in a complicated life insurance scam, constituting
    7         intentional fraudulent, fraudulent concealment, and breach of fiduciaiy duty.
    8   27.   Defendant's misappropriation of Plaintiffs funds and other property was unauthorized,
    9         without his consent and fraudulent. Defendant acted with the intent to permanently
   IO         deprive Plaintiff of the possession, use and benefit of their funds and other property.
   ]1   28.   As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintifr
   12         funds and other property and Defendant's false pretenses, false representations, and
   ]3
              actual fraud set forth herein, Plaintiff have suffered damages in the amount of not less
   14         than $7,143,835.62.
   15   29.   Defendant's debt to Plaintiff is nondischargeable under l 1 USC§ 523(a)(2) because it
   16         was incurred as a result of false pretenses, false representations, and actua I fraud.
   17   30.   The damages arising from Defendant's willful and malicious false pretenses, false
   18         representation and actual fraud to Plaintiff constitutes a debt against Defendant that is
   19         nondischargeable pursuant to 11 USC§ 523(a)(2)(A).
   20                                SECOND CLAJM FOR RELIEF
                             (Nondischargeability ofDebt - 11 USC§ 523(a)(4))
   21
        31.   Plaintiff realleges and incorporates by reference all of the prior and subsequent
   22
              allegations in this Complaint as though fully set forth herein.
   23
        32.   At all relevant times, Defendant acted as Plaintiff' fiduciaiy - investment adviser.
   24
              Plaintiff entrusted Defendant implicitly with his investments in the Gardner insurance
   25
              policies.
   26
        33.   Defendant owed Plaintiff fiduciary duties at all relevant times, including the duty of
   27
              loyalty and candor. Defendant further owed a duty to use Plaintiff' funds for legitimate
   28

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    l          business purposes and to refrain from using their funds and other property for his own
   2           personal non-business purposes.
   3    34.    Defendant embezzled and stole from Plaintiff. Defendant misrepresented the above-
    4          referenced information to Plaintiff for the purpose of convincing Plah1tiff to invest in the
    5          Gardner Policy into Defendant's TOLTA client trust account. Defendant then stole more
    6          than $400,000.00 of Plaintiff' money in a complicated life insurance scam, constituting
    7          intentional fraudulent, fraudulent concealment, breach of fiduciary duty and elder abuse.
    8   35.    Defendant's misappropriation of Plaintiff' funds and other property was unauthorized,
    9          without his consent and fraudulent. Defendant acted with the intent to pennanently
   10          deprive Plaintiff of the possession, use and benefit of his funds and other prope1ty.
   11   36.    As a result of Defendant' s unauthorized and fraudulent misappropriation of Plaintiff'
   12          funds and other property and Defendant's false pretenses, false representations, and
   13          actual fraud set forth herein, Plaintiff have suffered damages in the amount of not less
   14          than $7,143,835.62.
   15   37.    The damages to Plaintiff arising from Defendant's fraud, defalcation, embezzlement and
   16          larceny while acting in a fiduciary capacity constitutes a debt against Defendant that is
   17          non-dischargeable pursuant to 11 USC§ 523(a)(4).
   18                                  THIRD CLAIM FOR RELIEF
                              (Nondischargeability of Debt -11 USC§ 523(a)(6))
   19
        38.    Plaintiff realleges and incorporates by reference all of the prior and subsequent
   20
               allegations in this Complaint as though fully set forth herein.
   21
        39.    At all relevant times, Defendant acted as Plaintiff' fiduciary - investment adviser.
   22
               Plaintiff entrusted Defendant implicitly with their investments in the insurance policies.
   23
        40.    Defendant ov,-' ed Plaintiff fiduciary duties at all relevant times, including the duty of
   24
               loyalty and candor. Defendant fu1ther owed a duty to use Plaintiff' funds for legitimate
   25
               business purposes and to refrain from using his funds and other property for his own
   26
               personal non-business purposes.
   27
         41.    Defendant embezzled and stole from Plaintiff Defendant misrepresented the above-
   28

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               referenced information to Plaintiff for the purpose of convincing Plaintiff to invest in
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               Gardner policies into Defendant's IOLTA client trust account. Defendant then stole more
    3          than $400,000.00 of Plaintiff money in a complicated life insurance scan1, constituting
    4          intentional fraudulent, fraudulent concealment, breach of fiduciary duty and elder abuse.
    5    42.   Defendant's misappropriation of Plaintiff' funds and other property was unauthorized,
    6          without his consent and fraudulent. Defendant acted with the intent to permanently
    7          deprive Plaintiff of the possession, use and benefit of their funds and other p1:operly.
    8    43.   As a result of Defendant's unauthorized and fraudulent misappropriation of Plaintiff'
    9          funds and other property and Defendant's false pretenses, false representations, and
   10          actual fraud set forth herein, Plaintiff have suffered damages in the amount of not less
   II          than $7,143,835 .62.
   12    44.   The damages to Plaintiff arising from Defendant's willful and malicious i11jury to
   13          Plaintiff constitutes a debt against Defendant that is non-dischargeable pursuant to 11
   14          USC § 523(a)(6).
   15                                 FOURTH CAUSE O:F ACTION
                          (Objection to Debtor's Discharge 11 USC § 727(a)(2)(A))
   16
         45.   Plaintiff realleges and incorporates by reference all of the prior and subsequent
   17
               allegations in this Complaint as though fully set fo1th herein.
   18
         46.   Plaintiff is informed and believes that within one year before the Petition, Defendant
   19
               transferred, removed, and/or concealed, or permitted to be transferred, removed, and/or
   20
               concealed, Defendant's property.
   21
         47.   As of the dates of the transfers, removals, and/or concealments of Defendant's property,
   22
               Defendant had one or more unsecured creditors.
   23
         48.   The transfers, removals, and/or concealments of Defendant's property prevented the
   24
               distribution of Defendant's property to Defendant's unsecured creditors.
   25
         49.    Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant's
   26
               creditors, including, without limitation, Plaintiff, transferred, removed, and/or concealed,
   27
                or permitted to be transferred, removed, and/or concealed, Defendant's property.
   28

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    l   50.   By transferring, ren1oving, concealing, and/or permitting the transfer, removal, and/or
    2         concealment of Defendant's property with the intent to hinder, delay, and/or defraud at
    3         least one of Defendant's creditors, Defendant violated 11 USC§ 727(a)(2)(A).
    4   51.   Defendant failed to list valuable property on his schedule of assets and failed in his
    5         statement of affairs to disclose property transfers.
    6   52.   Defendant has a reckless indifference to the truth.
    7                                  FIFTH CAUSE OF ACTION
                         (Objection to Debtor's Discharge 11 USC § 727(a)(2)(B))
    8
        53.   Plaintiff realleges and incorporates by reference all of the prior and subsequent
    9
              allegations in this Complaint as though fu]ly set forth herein.
   ]0
        54.   Plaintiff is informed and believes that After the Petition, Defendant transferred, removed,
   ]1
              concealed, and/or permitted to be transferred, removed, and/or concealed, property of the
   12
              Bankmptcy estate.
   13
        55.   As of the dates of the transfers, removals, and/or concealments of the property of the
   14
              estate, Defendant had one or more unsecured creditors.
   15
        56.   The transfers, removals, and/or concealments of the property of the estate prevented the
   16
              distribution of this property to Defendant's unsecured creditors.
   17
        57.   Defendant, with intent to hinder, delay, and/or defraud at least one of Defendant's
   18
              creditors, transferred, removed, and/or concealed, or permitted to be transferred,
   19
              removed, and/or concealed, property of the estate.
   20
        58.   By transferring, removing, concealing, and/or permitting the transfer, removal, and/or
   21
              concealment of estate property, with the intent to hinder, delay, and/or defraud at least
   22
              one of Defendant's creditors, Defendant violated 11 USC§ 727(a)(2)(B).
   23
        59.   Defendant failed to list valuable property on his schedule of assets and failed in his
   24
              statement of affairs to disclose prope11y transfers.
   25
        60.   Defendant has a reckless indifference to the truth.
   26
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    1                                   SIXTH CAUSE OF ACTION
                            (Objection to Debtor's Discharge 11 USC § 727(a)(3)
    2
        61.    Plaintiffrealleges and incorporates by reference all of the prior and subsequent
    3
               allegations in this Complaint as though fully set forth herein.
    4
        62.    Plaintiff is informed and believes that Defendant has not maintained adequate books and
    5
               records from which Debtor's financial condition can be ascertained. Debtor has
    6
               consistently not maintained adequate books and records. His failure to keep adequate
    7
               books and records is not justified considering the circumstances articulated in this
    8
               Complaint.
    9
        63.    Defendant has concealed, destroyed, falsified, and/or failed to keep or preserve
   IO
               information from which Defendant's financial condition and/or business transactions
   ll
               might be ascertained.
   12
        64.    Defendant has not been cooperative with the Office of the United States Trustee
   13
               ("OUST") or with his creditors. Defendant has intentionally withheld records, books,
   14
               documents, and/or other papers relating to Defendant's property and/or financial affairs.
   15
        65.    Considering the foregoing, Defendant's discharge must be denied under 11 USC§
   16
               727(a)(3).
   17
                                       SEVENTH CAUSE OF ACTION
   18                        (Objection to Debtor's Discharge 11 USC§ 727(a)(4)
   19   66.    Plaintiff realleges and incorporates by reference all of the prior and subsequent allegations
   20          in this Complaint as though fully set forth herein.
   21   67.    Plaintiff is informed and believes that Defendant has not made simple isolated errors or
   22          omissions in his Bankruptcy filings. Defendant's filings, such as his schedules and
   23          statement of affairs, do not reflect inadvertence or incompetence; rather, they exhibit
   24          fraudulent intent.
   25   68.    Defendant has a pattern of misleading conduct.
   26   69.     Defendant has a rec-kless indifference to the truth.
   27    70.    Defendant has failed to list assets in his schedules.
   28

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    I   71.       Defendant has falsely testified in the 341 Meeting.2
    2   72.       Defendant has knowingly and fraudulently made false oaths and/or accounts in the
    3             Bankruptcy Case.
    4   73.       Defendant has failed to provide records which are necessary for the OUST and his
    5             creditors to properly understand Defendant's financial condition and/or recent business
    6             transactions.
    7   74.       Considering the foregoing, Defendant's discharge must be denied under 11 USC§
    8             727(a)(4).
    9                                       EIGHTH CAUSE OF ACTION
                                  (Objection to Debtor's Discharge 11 USC § 727(a)(5)
   10
        75.       Plaintiff realleges and incorporates by reference all of the prior and subsequent allegations
   11
                  in this Complaint as though fully set forth herein.
   12
        76.       Defendant has failed to explain satisfactorily his deficiency and/or loss of assets to meet
   13
                  Debtor's liabilities. No determination has yet been made of an entitlement to a discharge
   14
                  in this Bankruptcy Case.
   15
        77.       Considering the foregoing, Defendant's discharge must be denied under 11 USC§ 727(a)(5 .
   16

   17
         2
   18         At the 3-13-2023 341 (a) Meeting, Defendant at circa 11 :15 testified in response to omissions to
              be brought to the attention of the United States Trustee (''UST"), that there were only "three minor
   19         errors'' which he thought that his attorney cmTected. Defendant testified that there were "no" errors
              related to any assets that he owns. At circa I 2:52, Defendant testified that he identified all assets
   20         on his schedules. Defendant at circa I :18:30-1 :09:21 testified that in the year before the
              Bankruptcy, he received no commissions from his third-party life insurance deals. At circa 1:20: 18,
   21         Defendant testified that he has not ever collected money on his third-party life insurance deals. At
              circa 1:22: 18, Defendant testified that he has never received a payoff on his third-party life
   22         insurance deals. At circa l :23 :21, Defendant testified that four people have died and that he has
              received no money. Defendant at circa 1:39:00 testified, in response to whether he had transactions
   23
              with Shlomo Rechnitz in the last five or six months relating to the thirdparty life insurance policies,
   24         "nope." Defendant testified that he does not remember paying the premiums for these policies out
              of his attorney client trust account at any time. Defendant at circa 1:40:03 testified that he does not
   25         remember depositing his own funds into his attorney-client trust account so that these insurance
              premiwns could be paid. In response to the question of whether Defendant traveled out of the
   26         country anywhere recently, other than Israel, Defendant at circa 2:23:00 tes_tified, "nope." In
              response to the question of whether Defendant has bank accounts in Israel, Defendant at circa
   27         2:26:48 testified, "nope." Defendant at circa 2:59:15 testified that he has not transferred any assets
              within the last year to a third party. Defendant at circa 2:59:33 testified that he has not given any
   28         gifts more than $12,000.00 to his family.

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    l                                      PRAYER FOR RELIEF
    2         WHEREFORE, Plaintiff request judgment on the Complaint as follows:
    3   I.    On the First Claim for Relief, Plaintiff seek an order determining that Defendant is
    4         indebted to Plaintiff in an amount not less than $7,143,835.62 and that Defendant's debt is
    5         excepted from discharge pursuant to 11 USC§ 523(a)(2)(A);
    6   2.    On the Second Claim for Relief, Plaintiff seek an order determining that Defendant is
    7         indebted to Plaintiff in an amount not less than $7,143,835.62 and that Defendant's debt is
    8         excepted from discharge pursuant to 11 USC § 523(a)(4);
    9   3.    On the Third Claim for Relief, Plaintiff seek an order dete1mining that Defendant is
   JO         indebted to Plaintiff in an amount not less than $7,143,835.62 and that Defendant's debt is
   11         excepted from discharge pursuant to 11 USC § 523(a)(6);
   12   4.    On the Fourth Claim for Relief, Plaintiff seek an order denying Defendant his discharge
   13         pursuant to 11 USC § 727(a)(2)(A):
   14   5.    On the Fifth Claim for Relie1~ Plaintiff seek an order denying Defendant his discharge
   15         pursuant to 11 USC § 727(a)(2)(B);
   16   6.    On the Sixth Claim for Relief, Plaintiff seek an order denying Defendant his discharge
   17         pursuant to 11 USC § 727(a)(3);
   18   7.    On the Seventh Claim for Relief, Plaintiff seek an order denying Defendant his discharge
   19         pursuant to 11 USC§ 727(a)(4);
   20   8.    On the Eighth Claim for Relief~ Plaintiff seek an order denying Defendant his discharge
   21         pursuant to 11 USC § 727(a)(5);
   22   9.    For costs of suit incun-ed herein; and
   23   10.   For such other and further relief as the Court may deem appropriate.
   24
        DATED:       June 9, 2023                      LAW OFFICE OF BARUCH C. COHEN
   25                                                  A Professional Law Corporation
   26                                                  By     ISi Baruch C. Cohen
                                                       Baruch C. Cohen, Esq.
   27                                                  Attorney For Creditor David Berger
   28

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                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                     4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:
EARLY MEETING OF COUNSEL, JOINT STATUS REPORT AND STATUS CONFERENCE INSTRUCTIONS, and COMPLAINT FOR
NONDISCHARGEABILITY OF DEBT PURSUANT TO 11 USC§ 523(a)(2)(A), 11 USC § 523(a){4), & 11 USC § 523(a)(6); & FOR
DENIAL OF DISCHARGE PURSUANT TO 11 USC § 727(a)(2)(A); 11 use § 727(a)(2)(B); 11 use § 727(a)(3); 11 USC § 727(a}(4); 11
USC § 727(a)(5)
wilt be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document wilt be served by the court via NEF and hypertink to the document. On
   (date) 7/10/2023                 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:
   Baruch C Cohen (PL)             bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
   Michael I. Gottfried (IP)       mgottfried@elkinskalt.com, cavila@elkinskalt.com, lwageman@elkinskalt.com, docketing@elkinskalt.com
   Nikko Salvatore Stevens (IP)    nikko@cym.law, mandi@cym.law
   United States Trustee (LA)      ustpregion16.la.ecf@usdoj.gov
                                                                CT Service information continued on attached page
   2. SERVED BY UNITED STATES MAIL: On (date)             711   2
                                                              Dl 023                , I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge wiU be completed no later than 24 hours after
   the document is filed.

   Leslie Klein, 322 N. June Street, Los Angeles, CA 90001




                                                                          □    Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OYERNJGHI MAIL FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entjty served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR. on (date)
    7/10/2023                 , I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge~
   completed no later than 24 hours after the document is filed.

    Hon. Sandra R. Klein , 255 E. Temple Street, Suite 1582, Los Angeles, CA 90012



                                                                          D Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   7/10/2023                       Baruch C Cohen                                                   Isl Baruch Cohen
   Date                              Printed Name                                                       Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016                                                                                  F 7004-1.SUMMONS.ADV.PROC
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-         - - -----                 - - - - - - - -- - - - -                       ------
    Fill m this information to identify the case:

     Debtor 1              LESLIE KLEIN

     Deb!or 2
     {Spouse, if filing}

     un~ed States Bankruptcy Court for the: Central District of California

     Case number 2:23-bk-10990-SK



 Official Form 41 O
 Proof of Claim                                                                                                                                                          04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders. invoices, itemized statements of running accounts. contracts, judgments,
 mortgages. and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be tined up tci $500,000. imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571 .
    Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



                    Identify the Claim

1. Who is the current
   creditor?
                                     DAVID BERGER
                                     Name of the current creditor (the person or entity to be paid for this claim)

                                     Other names the credttor used w;th the debtor

 2. Has this claim been
      acquired from
                                     Gl No
      someone else?                  0 Yes. From whom? - - - -- - - - - - - - - - - - - - - - - - - - - - - - -- - - -
!·--·--·-·.... ... ..........
13 Where should notices              Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
      and payments to the                                                                                        different)
      creditor be sent?
                                      BARUCH C. COHEN, ESQ.
       Federal Rule of               Name                                                                        Name
       Bankruptcy Procedure
       (FRBPj 2002(9)                 4929 WILSHIRE BOULEVARD, SUITE 940
                                     Number           Street                                                     Number              Street
                                      LOS ANGELES                       CA               90010
                                     City                               State                   ZIP Code         City                              State                    ZIP Code

                                     Contact phone 32 3-9 3?-450 1                                               Contact phone

                                     contact email    baruchcohen@baruchcohenesq.com                                 contact email



                                     Uniform claim identifier for elec!ronic payments in chapter 13 (if you use one):


i . .--·------------------ - - - -- - -- - - - - - - - - - - - - · ·. . . . . . . . . -.............. - - - - - - - - -
r-.
.4. Does this claim amend            □ No
    one already filed?
                                     Ga' Yes. Claim number on court claims registry (if known)~                                               Filed on     06/05/2023
                                                                                                                                                           MM   i DD   ; YYYY



 5. Do you know if anyone            Gl No
    else has filed a proof           D Yes. Who made the earlier filing?
    of claim for this claim?




       Official Form 410                                                        Proof of Claim                                                                     page 1
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                                                           Main Document51 Page 25 of 75

                   Give Information About the Claim as of the Date the Case Was Filed

I
1
1
    6.    Do you have any number        0 No
          you use to identify the       i;a Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor: _§_ _£_ _B__ _Q._
          debtor?



          How much is the claim?          $                   12,010,958.83 Does this amount include interest or other charges?
17
                                                                                   0 No
                                                                                   li2f Yes. Attach statement itemizing interest. fees, expenses, or other
I                                                                                            charges required by Bankruptcy Rule 3001(c)(2)(A).


    8     What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongfl•I death. or cred it card.
          claim?
                                        Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001 (c).
                                        Limit disclosing information that is entitled to privacy, such as health care information.

                                        KLEIN MISAPPROPRIATED INSURANCE POLICY PROCEEDS


    9     Is all or part of the claim   (a No
          secured?                      0 Yes. The claim is secured by a lien on property.
                                                  Nature of property:
                                                  D Real estate. If the claim is secured by the debtor's principal residence, file a      Mo rtg age   Proof   of   Claim




                                                                    Attachment   (Official Form 410-A) with this   Proof   of   Claim.




                                                  D Motor vehicle
                                                  0 Other. Describe:

                                                  Basis for perfection:
                                                  Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                                  example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                                  been filed or recorded.)



                                                  Value of property:                            $._ _ __ _ __ _

                                                   Amount of the claim that is secured:         $_ _ __ _ __ _

                                                   Amount of the claim that is unsecured: $_ _ _ __ _ __ (The sum of the secured and unsecured
                                                                                                         amounts shou ld match the amount in line 7.)



                                                   Amount necessary to cure any default as of the date of the petition :                 $_ __ _ __ __ _



                                                   Annua l Interest Rate (when case was filed) _ _ _%
                                                   D Fixed
                                                   D Variable

     10. Is this claim based on a       -zl No
         lease?
                                         0 Yes. Amount necessary to cure any default as of the date of the petition.                     $_ __ _ _ __ __


     11 . Is this claim subject to a     -zl No
          right of setoff?
                                         0 Yes. Identify the property: _ _ _ _ __ _ __ _ _ _ __ _ __ _ _ __ __ __ __ __




         Official Form 410                                                   Proof of Claim                                                                page2
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                                                            Main Documen151 Page 26 of 75

12. Is a II or part of the claim   Ill No
    entitled to priority under
    11 U.S.C. § 507(a)?             0 Yes. Check one.·                                                                                              Amount entitled to priority

   A claim may be partly              D Domestic support obligations {including alimony and child support) under
                                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B}.                                                               $_ _ _ __ __ _
   priority and partly
   nonpriority. For example,
   in some categories. the                 D Up to $3,350' of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                       personal, family, or household ·use. 11 U.S.C. § 507(a)(7).                                          $ _ _ _ _ _ _ __
   entitled to priority
                                           D Wages, salaries, or commissions (up to $15,150') earned within 180 days before the
                                               bankruptcy petition is filed or the debtor's business ends, whichever is earlier.                    $_ _ _ __ _ __ _
                                               11 U.S.C. § 507(a)(4).
                                           D Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(B).                                  $._ _ _ __ __ __

                                           0 Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                      $_ _ _ _ _ _ __

                                           D Other. Specify subsection of 11 U.S.C. § 507(a)LJ that applies.                                        $_ _ _ __ __ _

                                           • Amounts are subject to adjusbnent on 4101125 and every 3 years after that for cases begun on or after the date of adjustment.




1¥11         Sign Below

 The person completing             Check the appropriate box:
 this proof of claim must
 sign and date it.                 0       I am the creditor.
 FRBP 9011(b).                     Iii' I am the creditor's attorney or authorized agent.
 If you file this claim            0       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                   0       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                               I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                   amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be         I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,             and correct.
 imprisoned for up to 5
 years, or both.
                                   I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                   Executed on date          12/19/2023
                                                            MM I DD      I   YYYY




                                       /s/ Baruch C. Cohen, Esq.
                                           Signature

                                   Print the name of the person who is completing and signing this claim :


                                   Name                     Baruch C. Cohen
                                                           First name                            Middle name                           Last name

                                   Title                    ATTORNEY FOR DAVID BERGER

                                   Company                  LAW OFFICE OF BARUCH C. COHEN, APLC
                                                            Identify the corporate servicer as the company if the authorized agent is a servicer.



                                   Addre ss                 4929 WILSHIRE BOULEVARD, SUITE 940
                                                            Number            Street
                                                            LOS ANGELES                                                  CA               90010
                                                            City                                                         State          ZIP Code

                                    Contact phone           323-937-4501                                                 Email baruchcohen@baruchcohenesq.com




  Official Form 410                                                             Proof of Claim                                                               page 3
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    1                                     DECLARATION OF DAVID BERGER
    2                I, DAVID BERGER, declare and state as follows:
    3     I.         The facts stated below are true and correct to the best of my personal knowledge and if called
    4                upon to testify to them, I could and would competently do so.
    5     2.         This Declaration is in support ofthe PLAINTIFF'S AMENDED PROOF OF CLAIM filed
    6                by me, David Berger.

    7     3.         I did not receive timely notice of this bankruptcy proceeding as the Debtor omitted listing me
    8                on his Schedule F - General Unsecured Creditors.
    9     4.         On 2-17-2009, Leslie Klein ("Klein") on behalf of Leslie Klien & Associates, entered into a
   10                lv.femorandum ofAgreementjbr Joint Venture (the '·Gardner Memo").
   11     5.         On 2-17-2009, Klein on behalf of BK Life Settlements, LLC ("BK Life") entered into a Ltfe
   12                Insurance Policy Purchase Agreement ("Gardner LIPPA") with Andrew and Yvette Gardner
   13                ("Gardner") for the purchase of two (2) $5,000,000.00 life insurance Policies #1625579 &
   14                # 16213 79 totaling $10,000,000.00 ("Gardner Policies") on the lives of Gardner. Klein
   15                designated Leslie Klien & Associates and myself as the sole beneficiaries of the Garner
   16                Policies. 1 Klein had me sign the Gardner LIPPA on behalf of the buyer BK Life.
   17     6.         In furtherance of the Gardner Memo, I paid Klein $400,000.00 towards the purchase of the
   18                t\vo Gardner Policies.
   19     7.         Per the Gardner Memo, Klein promised to pay me $5,000,000.00 upon the last Gardner to die.
   20     8.         Thereafter, Klein apparently sold portions or the entirety of the Gardner Policv to GMR Life
   21                Settlements LLC ("GMR Life") without my consent. Klein concealed this information from
   22                me.
   23     9.         Thereafter, on or about May of 2011, Klein apparently sold portions or the entirety of the
   24                Gardner Policy and to Life Capital Group, LLC ("LCG"), without my consent. 2 Klein
   25
                     1
   26              A true and correct copy of the Gardner LIPP A is attached hereto as Exhibit "I" and is
          incorporated herein by this reference.
   27
                     2
                  A true and correct copy of the Limited Liability Company Agreement ofLife Capital Group,
   28     LLC is attached hereto as Exhibit "2" and is incorporated herein by this reference.

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    1                concealed this information from m.e.
    2     IO.        According to information recently received by me, Klein and Shlomo Y ehuda Reclmitz of
    3                LCG, agreed that upon the death of Gardner, Klein and Rechnitz would be reimbursed the
    4                 premiums that they paid, plus interest on the premiums. Thereafter, Klein and Rechnitz would
    5                split the profits 50/50 of the Gardner Policy, and that I would receive my $5,000,000.00.
    6     11.        The Gardner's apparently died in 2021 - 2022, and Klein collected the Gardner Proceeds, on
    7                the Gardner Policv. Klein concealed this information from me, misappropriated & kept the
    8                 Gardner Proceeds for himself and failed to pay me the $5,000,000.00 per the Gardner Memo.
    9                                             INTEREST CALCULATION
   10     12.        Pursuant to Bankruptcy Rule 300 I (c)(2)(A), interest of 10%i on the $5,000,000.00 from
   11                 2-17-2009 until the petition date of 2-22-2023 comes to $7,010,958.834 (5118 days
   12                 at$1,369.8630 interest per day). The total amount as of the filing date was 12.010.958.834.
   13

   14                 l declare under penalty of pei:_jury under the laws of the United States, State of California that
   15    the foregoing is true and correct.

   16                 Executed December 19, 2023, at Los Angeles CA.

   17                                                                By     Isl David Bern.e r
                                                                          DAVID BERGER
   18

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          12/J 9- J:00pm
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                        LIFE INSURANCE POLICY PURCHASE AGREEMENT

           This PURCHASE AGREEMENT (the "Agreement") is entered into as of the 17th day of
  February, 2009 by and among BK LIFE SETTLEMENTS, LLC (together with its successors and
  assigns, the "Buyer"), and ANDREW GARDNER and YVETTE GARDNER Irrevocable
  Life Insurance Trust the Owner of the Policy (the "Sellef') and ANDREW
  GARDNER and YVETTE GARDNER (the '.'Insured").

  DEFINITIONS

  "Assignment Effective Date" shall mean, the date that the Insurer (or other appropriate
  entity) unconditionally transfers the ownership interest in the Policy from the
  Seller/Insured to the Buyer.

  "Beneficiary" shall mean the person or entity entitled to receive the benefits payable
  pursuant to the terms of the Policy.

  "Escrow Agent" shall mean LESLIE KLEIN & ASSOCIATES.

  "Escrow Agreement" shall mean the agreement entered into in conjunction with the
  Agreement between the Buyer and the Escrow Agent to provide escrow services.

  "Insurer" shall mean, the jnsurance company that issued the Policy that is subject of the
  Agreement, or any successor, as set forth in Exhibit A.

  "Lien" shall mean all liens, security interests, claims, charges, restrictions and
  encumbrances.

  "Owner" shall mean the owner of the Policy wishing to sell that Policy, who is also the
  insured under the Policy.

  "Party" or "Parties" shall mean the person or persons that are subject to the Agreement.

  "Person" shall mean anny natural person.

  BACKGROUND

          The Se1ler/Insured wishes to sell a certain life insurance policy, including all


                                                                                                                  'J·,,.
  Pn.ge ! of 16                                                     Sei icr/lnsured init ial                   ....
                                                                                                              ,._ •   ('

  Offer to Purd1::1se                                                        Buwr
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  benefits, riders and endorsements thereto (the "Policy"), as more fully defined in Exhibit
  A, for a cash payment and the Buyer is willing to purchase the Policy subject to the terms,
  conditions and representations contained herein. Certain capitalized tenns used herein are
  defined above, while others are defined within the text of the Agreement or the
  documents delivered herewith.

         NOW, THEREFORE, in consideration of and in reliance on the mutual
  covenants and representations contained in the Agreement, and for good and valuable
  consideration, the receipt and adequacy of which are hereby acknowledged, the Buyer and
  the Seller/Insured (the "parties" and individually a "Party") hereby agree as follows,
  intending to be legally bound:

  1.       ASSIGNMENT OF POLICY

          The Seller/Insured hereby sells, assigns and transfers to the Buyer or its nominee
  as of the Assignment Effective Date, all right, title and interest in and to the Policy, free
  and clear of all Liens, which assignment and transfer shall include, but not be limited to,
  the rights to:

  (i)      Change the Beneficiary on the Policy;

  (ii)     Assign or surrender the Policy;

  (iii)    Borrow on the Policy;

  (iv)     Apply for and maintain waiver of premiums under or conversion of the Policy; and

  (v)      Receive notification regarding any and all matters relative to the Policy as to which
           the Seller/Insured may or should be notified.

       EJ:fect~ve as·of ~he AS$i~µ.~u j=.ff~ivce Ilatti, the s,ller/ln~r~ t:A) irr,~p~t,ly
  def~t~s J,,BiLli l<LEU( & ASSOC[.\ TES ~nd DAVlD BEBGIR as me suie
  ~ficjiW}f (;)! the ~licy and (b) relinquishes and assigns to the Buyer all rights the
  Seller/Insured has to, arising out of or in connection with the Policy.

            The Seller/Insured shall promptly deliver to the Escrow Agent:

  (i)       The executed original of the Agreement and all complete, fully executed Related
           •Documents:



  P,-,ge 2 of i 6                                                    Se!ier/lnsured Initial                    1

  OffE:r t,:, Purch-,i,e                                                     Buyer 1nidl1 1         •- • , .
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                                                                                                      :s... .:


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  (ii)    The originals of any other fully executed fonns or written authorizations necessa1y
          or desirable to effect a change jn both the Beneficiary designation and the
          ownership of the Policy as contemplated by the Agreement; and

  (iii)   Such other information and documentation as the Buyer shall reasonably request.

  1.4   Upon receipt of the documentation described in Section 0, the Escrow Agent shall
  promptly forward to the Insurer, in form and substance satisfactory to the Buyer,
  documentation as may be required for the insurer to transfer ownership of the Policy and
  change the Beneficiary designation as contemplated by Section ~2 of the Agreement.

  1.5     The Buyer shall cause the purchase price as set forth in Exhibit A (the "Purchase
  Price") to be delivered to and deposited with the Escrow Agent along with documents in
  Paragraph 1.4. The Escrow Agent will hold the Purchase Price in a financial institution
  that is a member of the Federal Deposit Insurance Corporation (the ••FDIC"), where such
  proceeds shalJ remain until acknowledgment of the transfer by the Insurer.

  l.6     In the event the acknowledgment is not received within thirty (30) days of taking
  the action required by Section 1.4. the Seller/Insured, in conjunction with the Buyer or in
  accordance with its instructions, will directly contact the insurer to attempt to have the
  Insurer issue the acknowledgment.

  1.7    The Buyer is not obligated to direct the release of the Purchase Price by the
  Escrow Agent and may terminate the Agreement without further obligation to the
  Seller/Insured in the event that:

  (i)     The Insurer refuses with or without sufficient reason, to change the ownership or
          the Beneficiary designation as contemplated by the Agreement;

  (ii)    The Buyer reasonably believes that any representation, by the Seller/Insured
          contained in the Agreement or any related document is false;

  (iii)   The Buyer is unable to obtain financing due to incomplete or inaccurate
          information supplied by the Seller/Insured; or

  (iv)    Any condition of Section O has not been satisfied or waived in writing by the
          Buyer.


          Upon such tennination by the Buyer, the Buyer may request the Escrow A gem to

  h1ge 3 uf 16                                                    Seller/insu red 1nitia l        ~   "

  Offrr tc, 'Purchase                                                      Buvnr
                                                                             ~   h·iti/l l
                                                                                '\,, >   '   '.   ~
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  return the Purchase Price to the Buyer and the documentation described in Section Oto
  the Seller/Insured and the Escrow Agent shall do so promptly.

  I.8    Subject to Sections 1.7 and O of the Agreement, the Escrow Agent shall pay,
  $400,000.00 pursuant to the Escrow Agreement, the purchase Price to the Seller/Insured
  within two (2) business days following the latter of:

  (i)     Receipt by the Escrow Agent of written acknowledgment from the Insurer that (a)
          ownership of the policy has been transferred and (b) the Beneficiary designation
          has been changed as contemplated by the Agreement, and

  (ii)    Verification by the Buyer of any information deemed necessary or desirable,
          including each representation of the Seller/Insured.

  1.9     Following the Assignment Effective Date, the Buyer will be responsible for all
  payment of premiums on the Policy and will be entitled to all proceeds of the Policy
  including but not limited to the death benefit, cash value and dividends.

  2.      COVENANTS AND REPRESENTATIONS OF THE SELLER/INSURED

          The Seller/Insured represents to the Buyer:

  (i)     That the Seller/Insured is the sole and undisputed Owner of the policy;

  (ii)    The face amount of and net death benefit payable under the Policy, as well as other
          infonnation relating to the policy set forth in Exhibit A, is correctly set forth in
          Exhibit A;

  (iii)   The benefits under the Policy, including any portion of the death benefits, are
          incontestable, as set forth in the incontestable section of the Policy and there are no
          facts or circumstances in existence as of the date hereof which could serve as a
          defense to payment by the Insurer upon death of the Seller/Insured.

  (iv)    At all times after the transfer, the Seller/Insured will account for and repo11,
          on its books and records, in relevant disclosure documents filed with
          regulatory or administrative bodies or in documents made available to the
          public or third parties, with respect to each transferred Policy, as assets that
          have been sold by it to an unaffiliated third party:

  (v)     The.re are no Liens on the Policy:


  J'&gto 4 of ! 6                                                   S~ller/lnsured lniti.'d
  Offer to P11rcha:v~                                                        Buyer init1a! - -.':"':
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  (vi)     Nothing prohibits or restricts the Seller/Insured from executing the Agreement,
           transferring the ownership of the Policy or changing the Beneficiary designation as
           contemplated by the Agreement and, the Seller/Insured has the full right and
           authority to do so;

  (vii)    There are no restrictions on transfer of the Policy;

  (viii) There have been no unpaid premiums on the Policy;

  (ix)     The Policy is in full force and effect and has not lapsed, and the Seller/Insured
           thereof had an insurable interest at the time the Policy was first issued;

  (x)      All of the information contained in any document delivered to the Buyer is true,
           complete and correct;_none of such information, any representation by the
           Seller/Insured contained herein or otherwise made to the Buyer, contained any
           untrue statement of material fact, or omitted to state a material fact necessary to
           make such information or representation not misleading in light of the
           circumstances under which any said statement was made;

  (xi)     No representation by the Seller/Insured or any other person or entity contained in
           any application for the Policy, or otherwise made to the Insurer, contained any
           untrue statement of material fact, or omitted to state a material fact necessary to
           make such representation not misleading in light of the circumstances under
           which any such statement was made; and

  (xii)    The Seller/Insured does not have a catastrophic or life-threatening illness or
           condition.

  The Seller/Insured covenants to and agrees with the Buyer:

  (i)      That the Seller/Insured shall pay all premiums prior to the Assignment Effective
           Date as they become due;

  (ii)     That the Seller/Insured shall take all actions from time to time that may be
           necessary or desirable ih the Buyer's discretion, including executing all such
           documents as may be required by the Buyer or the Insurer to complete the transfer
           of ownership and change the Beneficiary designation of the Policy as contemplated
           by the Agreement, and the Seller/Insured shall cooperate in any way requested by
           the Buyer from time to time to assist the Buyer in keeping the Policy in force;



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  (iii)   That upon the request of the Buyer, but not more often than once every thirty (30)
          days if the Seller/Insured has a life expectancy of one ( 1) year or less, and no more
          than once every three (3) months if the Seller/Insured has a life expectancy of
          more than one (1) year, and within ten (10) days of such request, the Seller/Insured
          shall cause releases and authorizations to be executed from time to time, permitting
          or authorizing the Buyer to obtain current medical information regarding the
          Seller/Insured; and

  (iv)    That the Seller/Insured shall inform the Buyer within thirty (30) days of any and all
          changes in personal information of the Seller/Insured, including address, telephone
          number, employment status, or attending physician information. The
          Seller/Insured acknowledges that the Buyer may, from time to time but not more
          often than every thirty (30) days if the Seller/Insured has a life expectancy of one
          (1) year or less, and no more often than once every three (3) months if the
          Seller/Insured has a life expectancy of more than one (1) year, contact the
          Seller/Insured (or the Seller/Insured' s Designee) for confirmation of such
          information.

  3       COVENANTS OF THE BUYER

          The Buyer covenants to and agrees with the ·seller/Insured:

  (i)     That the Buyer shall maintain medical. information concerning the Seller/Insured
          in confidence, subject to applicable law, disclosure contemplated. by the
          Agreement or Related Documents, including the Medical Records Release, and
          reasonable requirements of the Buyer's business;

  (ii)    That the Seller/Insured will not be required to pay any advance fees or bear any
          costs related to the purchase of the Policy unless otherwise noted in Exhibit A; and

  (iii)    That the Buyer shall be responsible for and shall pay all, premiums on the Policy
           after the Assignment Effective Date.

  4.        CONDITIONS PRECEDENT

        The Agreement will not be binding upon the Buyer until the following conditions
  have been satisfied or waived in writing by the Buyer:

  (i) •    The Agreement, along with the Related Documents, in each case in form and
           substance satisfactory to the Buyer, must be received and accepted by the Buyer at

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             its executive office and be further executed, if applicable, by an authorized officer
             of the Buyer;

  (ii)       There shall not be any pending action, proceeding or governmental action, and
             there shall not have occurred any change in law or regulation, or interpretation of
             the same, which challenges, seeks to avoid or otherwise places in question the
             validity of the transactions contemplated by the Agreement;

  (iii)      There shall not be any insolvency, reorganization or like proceedings commenced
             or threatened against, by or involving the Seller/Insured, or the Insurer; and

  (iv)       The credit rating of the insurer shall not have been downgraded for any reason.

                         IT IS UNDERSTOOD THAT THE BUYER IS UNDER NO
                         OBLIGATION TO PURCHASE THE POLICY AT THE PURCHASE
                         PRICE UNTIL THE ASSIGNMENT EFFECTIVE DATE.
                         NOTWITHSTANDING THE FOREGOING, IF THE BUYER
                         DIRECTS THE-ESCROW AGENT TO RELEASE THE PURCHASE
                         PRICE TO THE SELLER/INSURED, THE FOREGOING
                         CONDITIONS SHALL BE DEEMED SATISFIED OR WAIVED.

  5.                     NOTICES

         Any notice required or permitted hereunder must be given in writing to the party to
  be notified either by personal delivery, guaranteed overnight courier or facsimile, and
  shall be deemed effectively given (I) in the case of personal delivery, upon delivery to the
  party to be notified; (ii) in the case of delivery by overnight courier, on the date of
  delivery guaranteed by such overnight courier, or (iii) in the case of notice by facsimile,
  upon telephone confirmation of receipt by the party to be notified. Any such notice shall
  be addressed to the relevant party at the address given below or to such other address as
  such party has given to the other parties hereto in the manner specified in this Section O.

                         Seller/Insured:    GARDENER Irrevocable Life Insurance Trust

                         Buyer:             BK LIFE SETTLEMENTS, LLC




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  6.       SUBSEQUENT CONTACT REGARDING HEALTH STATUS;
           SELLER/INSUREDtS DESIGNEE

          Upon execution of the Agreement, the Buyer shall have the right to contact the
  Seller/Insured or the Seller/Insured' s Designee to determine and monitor the health status
  of the SeUer/Insured. The Buyer may contact the Seller/Insured no more often than once
  every thirty (30) days if the Seller/Insured has a life expectancy of one (1) year or less and
  no more often than once every three (3) months if the Seller/Insured has a life expectancy
  of more than one (I) year. Within ten (10) days of such request, the Seller/Insured sh.all
  cause releases and authorizations to be executed from. time to time, permitting or
  authorizing the Buyer to obtain current medical information regarding the Seller/Insured.

          The Seller/Insured may designate any individual oflegal age, in regular contact
  with the Seller/Insured, as a contact for inquiries about the Seller/Insured's health status.
  upon written notice providing the name, address and telephone number of the individual
  (the "'Seller/Insured's Designee"). the Seller/Insured may change a designation at any
  time upon written notice to the Buyer.

           If the Seller/Insured makes a designation of any individual as provided in Section
  0, a life settlement provider, provider representative, or broker shall not contact the
  Seller/Insured for health status information about the seller/Insured, unless the life
  settlement provider, provider representative, or broker is unable, after diligent effort, to
  contact the Seller/lnsured's Designee for more than thirty (30) days, su~ject to the
  restrictions set forth in Section 0.

          No life settlement provider, provider representative_,or broker shall contact the
  Seller/Insured or the Seller/Insured's Designee to determine the SeUer/Insured's health
  status. more frequently than once every thirty (30) days if the Seller/Insured has a life
  expectancy of one (1) year or less, and no more often than once every three (3) months if
  the Seller/Insured has a life expectancy of more than one (l) year.

         The Buyer shall provide to the Seller/Insured, the name, address, and telephone
  number of the life settlement provider, provider representative, or broker that will contact
  the Seller/Insured or the Seller/lnsured's Designee, and shall notify the Seller/Insured of
  any change in such information.




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  7.             POST SALE OBLIGATIONS

         By entering into the Agreement, the Seller/Insured agrees to fulfill the continuing
  obligation to cooperate to the fullest extent possible with the Buyer until such time as the
  death benefit is paid to the designated Beneficiary, with respect to all matters concerning
  the Policy and the Agreement, including but not limited to:

  (i)     Assist the Buyer to maintain the Policy in full force.

  (ii)    Provide current contact information such as residence address, phone number and
          e-mail address in the event of any changes with respect to any of that information
          provided to the Buyer,

  (iii)   Complete additional paperwork in connection with the Policy, as needed, and

  (iv)    Provide updates and records as to the Seller/Insured 's medical status or condition,
          including to assist the Buyer in obtaining the Seller/Insured's current medical
          records.

          lfthe Policy is a group insurance policy, the Seller/Insured will maintain that
  policy status unless otherwise instructed by us, which such instructions the Seller/Insured
  shall follow, and the Buyer may also request infonnati_on regarding the Policy, including
  but not limited to the Seller/Insured's employment status, from the Seller/Insured or the
  Seller/Insured's Designee, from the Insurer, or from the group policyholder. The
  Seller/Insured shall:
  (i)     Notify the Buyer of any change in employment status, including but not limited to
          retirement, notice of termination or application for short or long-term disability or
          re-certification of disability status;

  (ii)    Direct any employer or policyholder to promptly respond to any request for
          infonnation necessary to maintain the coverage provided in force; and

  (iii)   Assign or re-assign the group life insurance contract to the Buyer if the Policy
          reverts to the Seller/Insured, for any reason.




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  8.             RIGHT TO RESCISSION

          The Seller/Insured has the right to rescind the Agreement within fifteen ( 15) days
  after the date that the Seller/Insured executes the Agreement, as evidenced by the date of
  the signature of the notary evidencing the signature of the Seller/Insured. If the
  Seller/Insured rescinds the Agreement, then the Seller/Insured must immediately return
  any of the Purchase Price received from the Buyer,- if any, in connection herewith.

         If the Seller/1nsured deceases during this rescission period, then the Agreement
  shall be deemed rescinded, subject to the Buyer receiving all of the Purchase Price and
  premiums, loans, loan interest or other amounts paid by the Buyer in connection with the
  Agreement.

          Upon rescission of the Agreement by the Seller/Insured and the receipt by the
  Buyer of all of the Purchase Price paid by the Buyer, if any, in connection with the
  Agreement, our rights and interests in the Policy will terminate, the Company will cause
  such forms as are necessary to execute a cha.nge of ownership to be filed with the Insurer,
  to designate reversion of Policy ownership to the Seller/Insured (or to the estate of the
  Seller/Insured if the Seller/Insured is then deceased), and the Seller/Insured then, as
  owner of the Policy, may designate beneficiaries under the Policy.

  9.              RULES OF CONSTRUCTION

          All words used herein shall be construed to be of such gender or number as the
  circumstances require. The words "herein", "hereby", "hereof', "hereto", "hereinbefore",
  and "hereinafter", and words of similar import, refer to the Agreement in its entirety and
  not to any particular paragraph, clause or other subdivision, unless otherwise specified.
  Descriptive headings are for convenience only and shall not control or affect the meaning
  or construction of any provision of the Agreement. Except as otherwise expressly
  provided in the Agreement, the following rules of interpretation apply to the Agreement:
  (i) "or" and "any" are not exclusive and '"include" and "'including" are not limiting; (ii) a
  reference to a law includes any amendment or modification to such law and any rules or
  regulations issued, thereunder; (iii) a reference to a person or entity includes its
  successors and permitted assigns; (iv) each reference to a determination, judgment,
  approval or consent to be made or given by the Purchaser shall be made or given by the
  Purchaser in its sole discretion and in good faith; (v) a reference in the Agreement to an
  Article, Section, Annex, Exhibit or Schedule is to the Article, Section, Annex, Exhibit or
  Schedule of the Agreement; and (vi) ··U.S. dollars" or "dollars" or"$" or "USS" refer to
  lav.iful currency of the United States of America.



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  10.           MISCELLANEOUS
         The Agreement, together with the Related Documents, constitutes the entire
  understanding and agreement between the Parties, and supersedes any and all prior or
  contemporaneous representations, understandings and agreements between the Parties
  with respect to the subject matter of the Agreement, all of which are merged in the
  Agreement.

         All amendments to or modifications of the Agreement shall be binding upon the
  Parties, despite any lack of consideration, so long as such amendments or modifications
  shall be in writing and executed by all Parties. No person, other than an executive officer
  of the Buyer, has the authority to change the Agreement or to waive any of its provisions.
  In the absence of fraud, all statements made by the Seller/Insured and the Buyer shall be
  deemed representations and not warranties.

          In the event that any portion of the Agreement is found invalid or unenforceable
  pursuant to judicial decree or decision, the remainder of the Agreement shall remain valid
  and enforceable according to its terms and such portion shall be reformed and interpreted
  so that it is enforceable to the maximum extent permitted by law.

         The Seller/Insured shall not have any right to assign or transfer the Agreement or
  any rights, duties or obligations of the Seller/Insured under the Agreement, and the
  Agreement may not be involuntarily assigned or transferred by the Seller/Insured by
  operation oflaw, without the prior written consent of the Buyer, which consent may be
  granted or withheld by the Buyer in its sole discretion. Any attempted assignment or
  transfer without such consent shall he null and void. The Buyer shall have the right to
  assign the Agreement or the Policy, including all rights, benefits and obligations
  hereunder, in its sole and absolute discretion, to a person unknown to the Seller/Insured,
  without notice to or consent from the Seller/Insured or any other person.

         Except as provided in Section 0, it is not the intention of the Agreement or the
  Parties to confer a third party beneficiary right of action upon any third party or entity
  whatsoever, and nothing set forth in the Agreement shall be construed so as to confer
  upon any third party or entity other than the Parties a right of action under the Agreement
  or in any manner whatsoever.

           All disputes and controversies of every kind and nature between the Parties to the
  Agreement arising out of or in connection with the Agreement including. but not limited
  to, its existence, construction, validity, interpretation or meaning, perfonnance,
  non~performance, enforcement, operation, breach, continuance or tem1ination thereof
  shall be submitted and settled by arbitration in accordance 'vvith the rules of the American

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  arbitration Association. The arbitration shall be held in California before a panel of three
  (3) arbitrators, hereafter referred to as "arbitrator", knowledgeable in the business of life
  insurance, one to be chosen by each party, and the third to be chosen by the two
  previously chosen arbitrators. The arbitrator's decision and award shall be final and
  binding and may be entered in any court having jurisdiction thereof. The arbitrator shall
  not have the power to award punitive, exemplary or consequential damages. No party
  may bring a claim or action, regardless of form, arising out of or related to the Agreement
  more than one year after the cause of action accrues. The laws of the State of California
  shall govern the Agreement, without regard to conflicts of law provisions.

         Failure to insist upon strict compliance with any of the terms, conditions or
  representations of the Agreement shall not be deemed a waiver of such terms, conditions
  or representations.

        The Agreement may be executed in one or more counterparts, each of which shall
  be deemed an original, but all of which together shall constitute on·e and the same
  Agreement.


          NEITHER THE BUYER., NOR ANY REPRESENTATIVE, IS OFFERING
          LEGAL ORTAX ADVICE IN CONNECTION WITH THE SALE OF LIFE
          INSURANCE POLICY(S) DESCRIBED IN THIS DOCUMENT. THE
          SELLER/INSURED AGREES THAT HE/SHE HAS SOUGHT
          INDEPENDENT ADVICE FROM A QUALIFIED TAX PROFESSIONAL
          OR THAT HE/SHE HAS DECIDED NOT TO SEEK SUCH ADVISE. THE
          SELLER/INSURED SHOULD SEEK PERSONALIZED ASSISTANCE
          FROM A TAX OR ESTATE PLANNING ATTORNEY, AND OTHER
          QUALIFIED FINANCIAL PROFESSIONAL IN HIS/HER STATE OF
          RESIDENCE, WHEN CREATING AND COMPLETING ANY TAX OR
          ESTATE PLAN, SUCH AS THIS TRANSACTION.




          IN WITNESS WHEREOF, the Parties have executed the Agreement on the date
  first above written.

                       SIGNATURES APPEAR ON THE FOLLOWING PAGE




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   Signature of fhe Buyer                                   Signature of the Seller/Insured
  DAVID BERG~R                                                  The GARDNER Irrevocable Life
                                                                Insurance Trust
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                                                                YVETTE GARDNERr
                                                                       / ··· •
                                                                                                                                        (


                                                                ANDREW GARDNER



  STATE OF CALIFORNIA                                   )
                                                        )       ss
  COUNTY OF LOS ANGELES                                 )


                On _ _ _ ___ 2009, before me, _ __ _ _ _ __ _ _ , a
  Notary Public in and for said County and State, personally appeared ANDREW
  GARDNER who proved to me on the basis of satisfactory evidence to be the person
  whose name is subscribed to the within instrument and acknowledged. to me that he
  executed the same in his authorized capacity, and that by his signature on the instrument
  the person, or the entity upon behalf of which the person acted, executed the inst:mment.

  I certify under PENALTY OF PERJURY under the laws of the State of California that
  the foregoing paragraph is true and correct.

  \VITNESS my hand and official seal

  Signature: _ _ __ _ _ _ __ _ _ __ __
  NOTARY PUBLIC IN AND FOR SAID COUNTY
                                   [SEAL]


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  STATE OF CALIFORNIA                             )
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 COUNTY OF LOS ANGELES                            )


               On ~                   2009, before me, L.f"-dt--r~       ktJ-r, a
 Notary Public in and for said County and State, personally appeared YVETTE
 GARDNER who proved to me on the basis of satisfactory evidence to be the person
 whose name is subscribed to the within jnstrument and acknowledged to me that she
 executed the same in her authorized capacity, and that by her signature on the instrument
 the person, or the entity upon beha]f of which the person acted, executed the instrument.

 I certify under PENAL TY OF PERJURY under the laws of the State of California that
 the foregoing paragraph is true and correct.

 WITNESS my hand and official seal
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  STATE OF CALIFORNIA                                       )
                                                            )            ss
  COUNTY OF LOS ANGELES                                     )


                On     1.,,/-( L•     2009, before me,        U::-v'-'( C    ,.;:t~r- a
  Notary Public in and for said County and State, personally appeared DAVID BERGER
  who proved to me on the basis of satisfactory evidence to be tbe person whose name is
  subscribed to the within instrument and acknowledged to me that he executed the same in
  hIS authorized capacity, and that by hlS signature on the instrument the person, or the
  entity upon behalf of which the person acted, executed the instrument.

  I certify under PENALTY OF PERJURY under the laws of the State of California that
  the foregoing paragraph is true and correct.

  WITNESS my hand and official seal

                       //1   /0(
               PUBLIC IN AND FOR SAID COUNTY
                                         [SEAL]



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                            LIMITED LIABILITY COMP ANY AGREEMENT

                                                            OF

                                           LIFE CAPITAL GROUP, LLC

                                       A California Limited Liability Company




                                                 Dated as of June l, 2011




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                LIMITED LIABILITY COMPANY AGREEMENT of LIFE CAP IT AL GROUP,
  LLC (this "Agreement"), a California limited liability company (the "Company"), dated as of
  June 1, 2011, among Shlomo Rechnitz, an individual residing in the State of California
  ("Rechnitz"), Leslie Klein, an individual residing in the State of California ("Klein"), and the
  Persons that become Members from time to time after the date hereof in accordance with the
  tenns hereof.

                                       W IT NE S SETH:

                 WHEREAS, the Members desire to operate the Company as a limited liability
  company under Title 2.5 of the California Corporations Code, as amended from time to time (the
  "Act"), in order to accomplish certain lawful business objectives;

                 WHEREAS, the Certificate of Formation of Life Capital Group, LLC was filed
  with the Secretary of State of the State of California on April 8, 2011, in accordance with the
  provisions of the Act; and

               WHEREAS the Members desire to set forth herein the manner in which the
  Company shall be governed and operated.

                NOW, TI-IEREFORE, in consideration of the mutual covenants set forth herein,
  and for other good and valuable consideration, the receipt and sufficiency of which are hereby
  acknowledged, the Members agree as follows:

                                     ARTICLE I
                       FORMATION AND BUSINESS OF TI-IE COMP ANY

           Section 1.1  Fonnation. The Company was formed on April 8, 2011 by the filing of a
   Certificate of Formation (the "Certjficate") with the Secretary of State of California. The
   Members hereby agree to operate the Company as a limited liability company pursuant to the
   provisions of the Act and upon and subject to the tenns and conditions set forth in this
   Agreement. Except as expressly provided herein to the contrary, the rights and obligations of the
   Members and the administration and termination of the Company shall be governed by the Act.

          Section 1.2 Name. The name of the Company shall be Life Capital Group, LLC,
   under which name all business and affairs of the Company shall be conducted.

           Section 1.3    Purpose. The purpose of the Company is to engage in any lawful act or
   activity for which a limited liability company may be organized under the Act.

          Section 1.4   Term. The term of the Company shall continue until terminated in
   accordance with the provisions of Article XI of this Agreement or otherwise dissolved and
   wound up pursuant to the Act.

           Section 1.5    Place of Business. The Company shall have its principal place or places
   of business at such place or places as the Manager may, from time to time, select.
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        Section 1.6 Registered Office and Agency. The address of the registered office of the
 Company in the State of California is 5697 W. 3rd Street, Suite 200, Los Angeles, California
 90036. The name and address of the registered agent for service of process on the Company in
 the State of California is Sblomo Rechnitz, 5697 W. 3rd Street, Suite 200, Los Angeles,
 California 90036.

         Section 1.7 Fiscal Year. The term "Fiscal Year" shall mean, subject to the provisions
 of Section 706 of the Code, each of (a) the period commencing on the date of formation of the
 Company and ending on December 31, 2011, (b) any subsequent 12-month period commencing
 on January l and ending on December 31 and (c) the period commencing on January 1 and
 ending on the Dissolution Date.

                                           ARTICLE II
                                           MEMBERS

        Section 2.1 Members. The Company shall consist of the Members executing this
 Agreement and any substitute or additional Members admitted to the Company in accordance
 with the terms hereof. Each initial Member shall be deemed admitted as a Member of the
 Company at such time as such Member has made its Initial Capital Contribution to the Company.

         Section 2.2 Company Property; Company Interest. No property of the Company shall
 be deemed to be owned by any Member individually, but all of such property shall be owned by,
 and title thereto shall be vested solely in, the Company.

                                        ARTICLE III
                                  CAPITAL CONTRIBUTIONS

          Section 3 .1   Initial Capital Contribution of Members, Capital Accounts. Each Member
  has contributed to the capital of the Company, as such Member's Initial Capital Contribution, the
  amount of cash, or property with a value, set forth on Schedule A. The Company shall maintain
  a record of: (a) the number oflnterests held by each Member and (b) the respective Percentage
  Interest of each Member. The Manager shall update such Schedule A from time to time to
  reflect changes in such information. The Members agree that Klein's Initial Capital Contribution
  associated with each Policy shall equal the sum of the total amount of premium payments made
  on such Policy by Klein and all other costs and expenses incurred by Klein in servicing and
  maintaining such Policy as of the date of this Agreement. The Members agree that Rechnitz's
  Initial Capital Contribution associated with the Policies (in the order of each Policy that first
  generates proceeds) shall be deemed to be $3,800,000. The Company will establish and maintain
  a Capital Account for each Member throughout the full term of the Company.

          Section 3 .2 Additional Capital Contributions.      Other than the Initial Capital
  Contributions made by the Members upon admission to the Company in accordance with
  Section 3.1 and Article Vlll, the Members shall not be required to make any additional
  contributions to the Company; except that Rechnitz shall be obligated to contribute to the
  Company all premium payments and all other costs and expenses incurred by the Company in
  servicing and maintaining the Policies which are not Non-Payment Policies after the date of this
  Agreement and each Non-Payment Policy Member shall be obligated to contribute to the


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  Company all premium payments and all other costs and expenses incurred by the Company in
  servicing and maintaining the applicable Non-Payment Policy after the date such Non-Payment
  Policy Member was admitted to the Company as a Member.

          Section 3.3   Withdrawal and Return of Capital Contributions.

                 (a)     No Member shall be entitled to demand a return of such Member's Capital
  Contribution (including any earnings thereon) or to withdraw any portion of such Member's
  Capital Account except as expressly provided in this Agreement. Except as expressly provided
  herein, no Member shall have the right to demand a distribution of property other than cash for
  its Interest. Each Member hereby waives any right such Member may otherwise have to cause
  any asset of the Company to be partitioned or to file a complaint or institute any proceeding at
  law or in equity seeking the partition of any such asset. Except as otherwise provided herein, no
  Member shall have priority over any other Member, either as to a return of such Member's
  Capital Contribution or as to Net Income, Net Losses, any other item of Company income, gain,
  loss or deduction, or Company distributions.

                 (b)    No Member shall be personally liable for the return of the Capital
  Contributions of any other Member or any portion thereof, it being expressly understood that any
  such return shall be made solely from available Company assets, if any.

         Section 3.4 Interest. Interest, if any, earned on funds contributed or held by the
  Company shal1 inure to the benefit of the Company. The Members shal] not be entit1ed to
  receive interest or any other payments from the Company with respect to their Capital
  Contributions or Capital Accounts, except as otherwise provided for herein.

          Section 3.5 Negative Capital Accounts. Except as may be required by the provisions
  of the Act or in respect of any negative balance resulting from a withdrawal of capital or
  distribution in contravention of this Agreement, at no time shall any Member with a negative
  Capital Account balance have any obligation to the Company or the other Members to restore
  such negative balance, and such negative balance shall not be treated as an asset of the Company.

                                       ARTICLE IV
                             DISTRIBUTIONS AND ALLOCATIONS

           Section4.1    Allocation ofNet Income and Net Losses.

                  (a)    Net Income with respect to a Policy for any Fiscal Year shall be allocated
  (i) first, to Recbnitz to the extent of Rechnitz's Priority Return with respect to such Policy; (ii)
  second, to Rechnitz until $3,800,000 of Net Income has been allocated to Rechnitz in the
  aggregate (without regard to allocations of Net Income under sub clause (i)); (iii) third, to Klein,
  to the extent of Klein's Priority Return with respect to such Policy; and (iv) thereafter, to Klein
  and Rechnitz in proportion to their Percentage [nterests.

                (b)     Net Losses with respect to a Policy for any Fiscal Year shall be allocated
  to Klein and Rechnitz in proportion to their Capital Contributions associated with such Policy.



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         Section 4.2 Cash Available for Distribution. Subject to Article XI, the Company shall
 distribute Available Cash to the Members at such times and in such amounts as determined by
 Rechnitz in accordance with this Agreement.

        Section 4.3    Proceeds of Policies. If at any time the Company receives any proceeds
 from any Policy that is not a Non-Payment Policy (following the death of an Insured or
 otherwise), then any such proceeds shall be distributed as follows:

               (a)     first, to Rechnitz by wire transfer into an account designated by Rechnitz,
 in an amount up to the Rechnitz Amount for such Policy;

                 (b)    second, (A) first, to each of the Lenders, pro-rata, based on the outstanding
 principal balance owed to such Lender as set forth on Schedule C, until such outstanding
 principal balance is equal to zero, in an aggregate amount up to the Klein Amount for such
 Policy and (B) second, any remaining Klein Amount with respect to such Policy to Klein by wire
 transfer into an account designated by Klein;

                 (c)    third, (i) 50% to Rechnitz by wire transfer into an account designated by
 Rechnitz and (ii) 50% to Klein by wire transfer into an account designated by Klein, provided,
 however, that if the balance of the Reserve Account is less than $2,500,000, then proceeds
 distributable to Klein under clause (ii) above shall be deposited in the Reserve Account until
 such balance is equal to $2,500,000.

        Section 4.4    Constructive Trust. If any Member receives any proceeds in respect of
 any Policy (following the death of an Insured or otherwise), such Member shall hold such
 proceeds in a constructive trust for the Company and shall within one (1) Business Day inform
 the other Members and the Manager and deposit such proceeds in the Reserve Account.

        Section 4.5    Sale of Policies. The Company shall be entitled to sell any Policy to any
 Person with the prior written consent of each of the Members. Notwithstanding the immediately
 preceding sentence, upon Klein's written consent, Rechnitz or his designee shall be entitled to
 purchase any Policy that is not a Non-Payment Policy from the Company by transferring an
 amount equal to the Klein Amount for such Policy to the Company, which for administrative
 convenience shall be subsequently distributed to an account designated by Klein.

          •Section 4.6 Lenders. The Members agree that (i) the Company may pay amounts
  pursuant to Section 4.3(b) directly to the Lenders, and in such event, the payments will be treated
  as distributions by the Company to Klein and subsequently transferred by Klein to the Lenders,
  (ii) nothing herein is intended to grant to the Lenders an equity interest in the Company, and (iii)
  nothing herein is intended to imply that the Company is assuming the obligations owed to the
  Lenders.

                                           ARTICLEV
                                       RESERVE ACCOUNT

          Section 5.1    Establishing a Reserve Account. As soon as practicable the Company
  shall establish the Reserve Account with the Account Bank in the name of Company.


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                     Section 5.2 Distribution of Reserve Account. Amounts in: the Reserve Account shall
             be distributed to certain Members in certain specified amounts under the following
             circumstances: (a) if the amount of Net Income allocated to Klein with respect to a Policy under
             Section 4.1 for a Fiscal Year exceeds the amount of proceeds distributed to Klein with respect to
             such Policy pursuant to Section 4.3; then 40% of such excess shall be distributed to Klein from
             the Reserve Account; (b) if upon a disposition of a Policy or the receipt of proceeds from such
             policy, the Rechnitz Amount with respect to the Policy exceeds the amount of proceeds
             distributed to Rechnitz with respect to such Policy pursuant to Section 4.3, then the amount of
             such excess shall be distributed to Rechnitz from the Reserve Account; and (c) if agreed upon by
             the Members, then the amount agreed upon by the Members shall be distributed to Klein from
             the Reserve Account.

                                          ARTICLE VI
                  MANAGEMENT; CONDUCT OF MEMBERS; GOVERNANCE OF THE COMP ANY

                     Section 6.1   Rights and Powers of Manager. The business and affairs of the Company
             shall be managed by the Manager. The Manager shall direct, manage, and control the business
             of the Company to the best of the Manager's ability. Except for situations in which the approval
             of the Members is expressly required by this Agreement or by nonwaivable provisions of
             applicable law, the Manager shall have full and complete authority, power and discretion to
             manage and control the business, affairs and properties of the Company, to make all decisions
             regarding those matters and to perform any and all acts or activities customary or incident to the
             management of the Company's business. Nothing contained in this Agreement shall require any
             person to inquire into the authority of the Manager to execute and deliver any docwnent on
             behalf of the Company or to bind the Company pursuant to such document.

                     Section 6.2 Number, Tenure and Qualifications. The Company shall have one
             Manager, which initially shall be Jonathon Polter ("Polter"), an individual residing at 2000
             Town Center, Suite 1490, Southfield, Michigan 48075. Polter shall remain as the Manager
             unless he resigns from such position, is relieved of his duties by (i) if there are two Members or
             less, a unanimous vote of the Members and (ii) otherwise, an affirmative vote of Members
             holding a majority of the Interests. Subsequent Managers shall be elected by the affirmative vote
             of Members holding a majority of the Interests. Managers need not be residents of the State of
             California.

                     Section 6.3    Officers. The Manager may delegate the management of the Company's
             day-to-day business affairs to a Chief Executive Officer and other officers of the Company
             designated by the Manager and approved by an affirmative vote of Members holding a majority
             of the Interests and, unless otherwise decided by the Manager, all actions of the Company may
             be taken by the appropriate duly authorized officers.

                    Section 6.4 Reliance. The Manager shall be fully protected in relying in good faith
             upon the records of the Company and upon such information, opinions, reports or statements
             presented to the Company by any officers, employees, or committees of the Company. or by any
             other Person as to matters such Manager reasonably believes are within such other Person's
             professional or expert competence and who has been selected with reasonable care by or on
             behalf of the Company, including, without limitation, information, opinions, reports or


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 statements as to the va1ue and amount of the assets, liabilities, profi1s or losses of the Company
 or any other facts pertinent to the existence and amount of assets from which distributions to
 Members might properly be paid.

          Section 6.5   Indemnification of Manager, Members and Officers.

                 (a)     General. The Company shall indemnify any Person (a "Covered
 Person") who was or is a party or is threatened to be made a party to any threatened, pending or
 completed action, suit or proceeding, whether civil, criminal, administrative or investigative
 (including an action by or in the right of the Company) by reason of the fact that he is or was a
 Manager, Member or officer of the Company, or is or was serving at the request of the Company
 as a director, manager or officer of another limited liability company, corporation, partnership,
 joint venture, trust or other enterprise, against expenses (including attorneys' fees), judgments,
 fines and amounts paid in settlement actually and reasonably incurred by him in connection with
 such action, suit or proceeding if he acted in good faith with no willful misconduct or gross
 negligence and in a manner he reasonably believed to be in or not opposed to the best interests of
 the Company; and, with respect to any criminal action or proceeding, had no reasonable cause to
 believe his conduct was unlawful. The termination of any action, suit or proceeding by
 judgment, order, settlement, conviction, or upon a plea of nolo contendere or its equivalent, shall
 not, of itself, create a presumption that the Person did not act in good faith and in a manner
 which he reasonably believed to be in or not opposed to the best interests of the Company, and,
 with respect to any criminal action or proceeding, had reasonable cause to believe that his
 conduct was unlawful.

                 (b)     Indemnification in Certain Cases. To the extent that a Covered Person has
  been successful on the merits or otherwise in defense of any action, suit or proceeding referred to
  in clause (a) of this Section 6.5 , or in defense of any claim, issue or matter therein, he shall be
  indemnified against expenses (including attorneys' fees) actually and reasonably incurred by him
  in connection therewith.

                  (c)    Advances for Expenses. Expenses (including attorneys' fees) incurred in
  defending a civil, crimina1, administrative or investigative action, suit or proceeding may be paid
  by the Company in advance of the final disposition of such action, suit or proceeding upon
  receipt of an undertaking by or on behalf of the Covered Person to repay such amount if it shall
  be ultimately determined that he is not entitled to be indemnified by the Company as authorized
  in this Section 6.5.

                 (d)     Rights Non-Exclusive. The indemnification and advancement of expenses
  provided by, or granted pursuant to, the other subparagraphs of this Section 6.5 shall not be
  deemed exclusive of any other rights to which those seeking indemnification or advancement of
  expenses may be entitled under any law, agreement or otherwise, both as to action in his official
  capacity and as to action in another capacity while holding such office.

                ( e)   Insurance. The Company shall have the power to purchase and maintain
  insurance on behalf of any Person who is or was a Covered Person against any liability asserted
  against him and incurred by him in any such capacity, or arising out of his status as such,



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  whether or not the Company would have the power to indemnify him against such liability under
  the provisions of this Section 6.5.

                 (t)    Survival of Rights. The indemnification and advancement of expenses
  provided by, or granted pursuant to this Section 6.5 shall continue as to a Person who has ceased
  to be an officer, Manager or Member and shall inure to the benefit of the heirs, executors and
  administrators of such Person.

          Section 6.6    Exculpation. No Member, Manager or officer of the Company shall be
  liable, in damages or otherwise, to the Company or its Members for any act or omission
  perfonned or omitted by such Member, Manager or officer pursuant to authority granted by this
  Agreement except to the extent such Person fails to meet the standard for indemnification set
  forth in Section 6.5(a).

          Section 6.7 No Duties. Any duties (including fiduciary duties) of a Covered Person to
  the Company or to any other Covered Person that would otherwise apply at law or in equity are
  hereby eliminated to the fullest extent permitted under the Act and any other applicable law,
  provided, that (i) the foregoing shall not eliminate the obligation of each Member and the
  Manager to act in compliance with the express terms of this Agreement and (ii) the foregoing
  shall not be deemed to eliminate the implied covenant of good faith and fair dealing.

          Section 6.8    Protection of Insured's Private Information. Manager and each Member
  acknowledge that insurance regulations and other applicable Laws are structured to provide
  confidentiality to policy owners and insureds with respect to Consumer Information in
  connection with ownership or sale of their policies, and that the Manager and each Member and
  all of their respective agents and representatives, are obligated to keep Consumer Information
  confidential in accordance with applicable Laws. The Manager and each Member agree to
  comply with all applicable Laws with respect to the confidentiality of Consumer Information;
  provided, that (i) the Manager and each Member may disclose such information to their internal
  or external auditors and attorneys and as required or permitted by Law, and (ii) Klein may take
  all necessary and appropriate actions to transfer ownership of the Policies to the Company.

         Section 6.9   Delivery of Policy Files. Klein shall deliver each Policy File as directed
  by the Manager within thirty (30) Business Days of the date of this Agreement.

          Section 6.10 Change Forms. On the date of this Agreement, Klein shall execute and
  deliver Change Forms to the Company or at the Company's direction, changing the owner and
  Beneficiary of the Policy to the Company or the Company's designee. In addition, Klein shall
  execute and deliver any additional instruments of transfer that the Company may reasonably
  request necessary to evidence the assignment of the Policy and any rights therein to the
  Company or its designee.

         Section 6.11 Further Assurances. From and after the date hereof, each Member shall
  execute and deliver such other documents and instruments, and take such further actions, as may
  be reasonably requested from time to time by another Member to carry out the provisions of this
  Agreement and give effect to the transactions contemplated hereby. Without limiting the
  foregoing, Klein shall cooperate with Rechnitz in causing the Company or its designee to be


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 recorded as the owner and beneficiary of each Policy on the boo.ks and records of the relevant
 issuing insurance companies.

          Section 6.12 Indemnification of Rechnitz. Klein shall indemnify and hold harmless
 (which indemnification shall survive any termination of this Agreement and the dissolution of
 the Company) Rechnitz and his Affiliates, and each such Person's respective officers, directors,
 employees, attorneys, agents and representatives (each, an "Indemnified Person"), from and
 against any and all suits, actions, proceedings, claims, damages, losses, liabilities and actual
 expenses incurred (including reasonable attorneys' fees and disbursements and other costs of
 investigation or defense, including those incurred upon any appeal) that may be instituted or
 asserted against or incurred by any such Indemnified Person, and in connection with or arising
 out of (i) any breach of any representation, covenant or other obligation of Klein hereunder,
 (ii) the transactions contemplated hereunder, (iii) any· actions or failures to act in connection
 therewith or (iv) and any and all reasonable legal costs and actual expenses arising out of or
 incurred in connection with disputes between or among Klein and Rechnitz (collectively,
 "Indemnified Liabilities"); provided, that Klein shall not be liable for any indemnification to an
 Indemnified Person to the extent that any such Indemnified Liability results from that
 Indemnified Person's gross negligence or willful misconduct; provided, further, that the
 aggregate amount of Klein's liability under this Section 6.12 shall be limited to the aggregate of
  the Rechnitz Amounts for all of the Policies.

                                  ARTICLE VII
                REPRESENTATIONS AND WARRANTIES OF THE MEMBERS

          Section 7.1   Representations and Warranties of Klein.

                (a)    Power and Authority. Klein has full power, authority and right to execute
 and deliver this Agreement and has, and will continue to have during the entire term of this
 Agreement, full power and authority to perform his obligations hereunder, and has taken all
 necessary action to authorize the execution and delivery of this Agreement, as well as the
 performance of its obligations hereunder.

                 (b)   Binding Obligation. This Agreement constitutes the legal, valid and
 binding obligations of Klein enforceable against Klein in accordance with its terms, subject to
 applicable bankruptcy, insolvency, reorganization and similar laws affecting creditors' rights and
 remedies generally, and subject, as to enforceability, to general principles of equity, including
 principles of commercial reasonableness, good faith and fair dealing.

                 (c)    Consent of Third Parties. No consent, waiver, approval, order, permit or
  authorization of, or declaration or filing with, or notification to, any Person or Governmental
  Authority is required by Klein in connection with the execution of this Agreement and the
  compliance by Klein with any of the provisions hereof or thereof, the consummation of the
  transactions contemplated hereby or the taking by Klein of any other action contemplated
  hereby.

                  (d)   Policies. With respect to each Policy, to the best of Klein's knowledge:



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                  (i)     at the issuance of such Policy, the related Insured or Original Owner
          thereof was not a party to any written or oral agreement or arrangement to cause the same
          or interests therein to be issued, assigned, sold, transferred, or otherwise disposed of in
          violation of applicable law or public policy;

                  (ii)   at the issuance of such Policy, the related Insured or Original Owner
          thereof had the financial capacity to pay the premiums necessary to maintain such Policy
          in force;

                  (iii) at the issuance of such Policy the related Original Owner had an insurable
          interest in the life of the Insured;

                  (iv)   the material medical or financial information supplied by or on behalf of
          the Insured or Original Owner of such Policy in the application and related materials
          delivered to the applicable issuing insurance company in connection with the issuance of
          such Policy was not false, incomplete or misleading in any material respect;

                  (v)    Klein does not possess or control any material documentation or
          information related to such Policy, or the acquisition or maintenance thereof by Klein,
          that has not been delivered or disclosed in writing to Rechnitz or his agents;

                  (vi)   prior to the date of this Agreement and the consummation of the
          transactions contemplated by [insert transfer agreement title], Klein was trustee of the
          applicable Original Owner which held sole legal and beneficial title thereto;

                   (vii) Klein, in his capacity as trustee of the applicable Original Owner, acquired
           sole legal and beneficial title thereto and had the power and authority to enter into this
           Agreement;

               . (viii) Immediately prior to its transfer to the Company hereunder, Klein held
           sole legal and beneficial title thereto;

                   (ix)  upon the transfer of such Policy, Company or its designee, will hold good
           and marketable title to and ownership of such Policy free and clear of any liens, charges,
           rights, encumbrances or other interests;

                   (x}     such Policy was acquired in a manner in compliance, in all material
           respects, with the Laws applicable to the purchase of life insurance policies, as then in
           effect and as then interpreted by the relevant regulators or in case law;

                   (xi)     except as disclosed to Rechnitz in writing, no previous owner of such
           Policy has waived, amended or terminated any material provision of, or any material
           rights in relation to, such Policy;

                  (xii) except as disclosed on Schedule 7.l (d)(xii), the premiums for such Policy
           have been paid such that such Policy will not be in a grace period as of the date of this
           Agreement and such Policy has not been cancelled as of the date of this Agreement;


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                               (xiii) Klein has disclosed or delivered to Rechnitz and the Company in writing
                       all information received by Klein or any of his agents from the related issuing insurance
                       company related to any change in the terms of such Policy, including with respect to an
                       intent to increase the cost of insurance for such Policy~

                              (xiv) there is no current or pending written notice that has been issued to Klein
                       by the related issuing insurance company of such issuing insurance company's intention
                       to cancel, contest, rescind or refuse payment under such Policy;

                              (xv) all the information contained in each of the documents in the related
                       Policy File or otherwise delivered by or on behalf of Klein to the Company and Rechnitz
                       in coIU1ection with such Policy is true, complete and correct in all material respects;

                               (xvi) the related Policy File contains the Policy, the original application for such
                       Policy, any Policy Illustration and any other documentation in Klein's possession.

                             (xvii) there is not any pending or threatened Proceeding challenging the validity,
                       ownership or enforceability of such Policy or Klein's ownership rights in such Policy;

                              (xviii) such Policy was not issued pursuant to or in connection with an agreement
                       whereby the premiums required to be paid on such Policy were paid by any Person
                       pursuant to a recourse or non-recourse premium financing program;

                              (xix) Klein has not required any broker to sign an agreement offering Klein or
                       any other Person the "right of last offer" in connection with the purchase of such Policy;
                       and

                                   (xx) such Policy has been issued by the related issuing insurance company and
                           is in force and any related contestability period and any suicide exclusion period has
                           expired.

                     Section 7.2         Representations and Warranties of Rechnitz. Rechnitz hereby represents
              and warrants that:

                                  (i)     Authority. Rechnitz has full power, authority and right to execute this
                           Agreement and has, and will continue to have during the entire term of this Agreement,
                           full power and authority to perform his obligations hereunder, and has taken all necessary
                           action to authorize the execution and delivery of this Agreement, as well as the
                           performance of his obligations hereunder.

                                   (ii)   Binding Obligation. This Agreement constitutes Rechnitz's legal, valid
                           and binding obligation, enforceable against Rechnitz in accordance with its terms, subject
                           to applicable bankruptcy, insolvency, reorganization and similar laws affecting creditors'
                           rights and remedies generally, and subject, as to enforceability, to general principles of
                           equity, including priric1ples of commercial reasonableness, good faith and fair dealing.

                                  (iii)  Consent of Third Parties. No consent, waiver, approval, order, permit or
                           authorization of, or declaration or filing with, or notification to, any Person or

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          Governmental Authority is required by Rechnitz in co!ll).ection with the execution of this
          Agreement and the compliance by Rechnitz with any of the provisions hereof or thereof,
          the consummation of the transactions contemplated hereby or the taking by Rechnitz of
          any other action contemplated hereby.

                                        ARTICLE VIII
                                   ADMISSION OF MEMBERS

         Section 8.1     Admission of Members. Subject to Section 8.2, upon the approval of the
 Members by majority vote, one or more Persons may be admitted to the Company as Members.
 The Members by majority vote shall determine the number of Interests and the Percentage
 Interest to be offered to any such Member and the Initial Capital Contribution to be made by any
 such Member. Each such Person shall be admitted as a Member at the time such Person (a)
 executes and delivers a copy of this Agreement to the Manager and (b) if applicable, makes its
 Initial Capital Contribution to the Company. The Manager shall update Schedule A to reflect the
 admission of any such Members.

         Section 8.2 Admission of Non-Payment Polic Members.                 It is agreed and
 acknowledged by the Members that Rechnitz's sole obligation with respect to the Company is
 making Capital Contributions for the payment of premiums on the Policies and the expenses
 associated with the Policies, in each case after the date of this Agreement. Rechnitz shall
 provide the Company and Klein with six (6) months prior written notice if Rechnitz elects to
 cease paying premiums in respect of any Policy (such Policy, a "Non-Payment Policy"). After
 delivery of such notice, Rechnitz or Klein shall have the right to introduce any Person to the
 Company as a potential Member who agrees in writing to assume Rechnitz's obligations for the
 payment of premiums and other costs and expenses with respect to such Non-Payment Policy,
 which person shall be admitted as a Member upon the approval of the Members by [majority]
 vote (such a Member, a "Non-Payment Policy Member"). With respect to any Non-Payment
 Policy, any payment of premiums and other costs and expenses shall be contributed to the capital
 of the Company by the applicable Non-Payment Policy Member. If at any time the Company
 receives any proceeds from any Non-Payment Policy (following the death of an Insured or
 otherwise), then any such proceeds shall be distributed as follows:

                  (a)    First, to the applicable Non-Payment Policy Member by wire transfer into
  an account designated by such Non-Payment Policy Member, in an amount up to (x) the total
  amount of Capital Contributions made on such Policy by such Non-Payment Policy Member and
  (y) the Priority Return of such Non-Payment Policy Member on such Policy computed starting
  on the date such Non-Payment Policy Member was admitted as a Member;

                (b)    Second, by wire transfer into an account designated by Rechnitz, in an
  amount equal to the Rechnitz Amount for such Policy;

                 (c)   Third, by wire transfer into an account designated by Klein, in an amount
  equal to the Klein Amount for such Policy;




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                (d)      Fourth, to the applicable Non-Payment Policy Member by wire transfer
  into an account designated by such Non-Payment Policy Member, in an amount equal to fifty
  percent (50%) of all remaining proceeds from such Policy;

                 (e)     Fifth, to Recbnitz and Klein by wire transfers into accounts respectively
  designated by them in proportion to the Capital Contributions made by them with respect to each
  such Non-Payment Member Policy; provided, however that if Klein introduced the related Non-
  Payment Policy Member to the Company, then 25% of the amount distributable under this clause
  (e) to Rechnitz shall be distributed to Klein instead.

  Notwithstanding Section 4.1 hereof, Net Income associated with a Non-Payment Policy shall be
  allocated to each Member to the extent of any Priority Return distributed to such Member with
  respect to the Non-Payment Policy and to the extent of any distributions made to a Member
  pursuant to Section 8.2(d) or Section 8.2(e) above with respect to such Non-Payment Policy .
  Notwithstanding Section 4.1 hereof, Net Losses associated with a Non-Payment Policy shall be
  allocated to each Member in proportion to the Capital Contributions made by such Member with
  respect to such Non-Payment Policy.

                                      ARTICLE IX
                          MAINTENANCE OF BOOKS AND RECORDS;
                           REPORTS TO MEMBERS; TAX RETIJRNS

         Section 9.1      Accounting Method and Records.            Rechnitz shall determine the
  accounting method to be used by the Company. The Company shall maintain such accounting
  records as shall reflect all Company transactions and as shall be appropriate and adequate for the
  Company's business.

          Section 9.2      Company Records. The Company shall maintain the following records,
  within or .outside the State of California: (a) a copy of the Company's accounting records and
  federal, state, local and foreign income tax or information returns and reports, if any, for the five
  most recent Fiscal Years; and (b) all other records and reports required by the Act or otherwise to
  be maintained by the Company. Each Member, and such Member's duly authorized
  representatives or agents, shall, for any purpose reasonably related to his interest as a Member,
  have reasonable access to such books and records at such office and shall have the right to
  inspect and copy such books and records; provided, however, that if a Member was an officer,
  consultant or employee of the Company received his/her Interest pursuant to a profits interests
  grant agreement ceases to be an employee, consultant or officer of the Company, such Member
  shall only have the right to receive books and records that he/she has the right to require the
  Company to provide to him/her in accordance with applicable law.

          Section 9.3     Company Reports. The Company shall cause to be furnished to each
  Member and each other Person who was a Member during the period in question (a) such reports
  and financial statements as may be reasonably required for his financial reporting requirements,
  including, without limitation, copies of all annual, quarterly and monthly financial statements,
  and (b) detailed financial statements and information and documents (including Form K-1)
  necessary or desirable for the preparation or support of such Member's tax returns required in
  any jurisdiction, as soon as practicable after the end of each Fiscal Year.

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          Section 9.4 Designation of Tax Matters Member. Rechnitz is designated the "Tax
  Matters Member" (as defined in Code Section 6231 ), and is authorized and required to
  represent the Company (at the Company's expense) in connection with all examinations of the
  Company's affairs by tax authorities, including, without limitation, administrative and judicial
  proceedings, and to expend Company funds for professional services and costs associated
  therewith. The Members agree to cooperate with each other and to do or refrain from doing any
  and all things reasonably required to conduct such proceedings.

          Section 9.5 Tax Treatment and Elections. The Company shall be treated as a
  partnership for federal income tax purposes, the Members shall be treated as partners for federal
  income tax purposes, and each of the Members agrees to report consistently with such treatment.
  The Manager shall make all elections necessary to give effect to such treatment.

                                        ARTICLEX
                         TRANSFER OF INTERESTS; SPECIAL PROVISIONS

          Section 10.1    Transfers and Assignments.

                 (a)    No Member shall be permitted to Transfer any Interest to a Person other
  than a Permitted Transferee, except in accordance with the provisions set forth in this Article X.

           Section 10.2 Permitted Transfers.

                  (a)     Each Member shall notify the Manager and the other Members of any
  proposed Transfer to a Permitted Transferee by -such Member, or by any of its Affiliates, in the
  case of an indirect Transfer of an Interest, which notice shall set forth the name and address of
  the Permitted Transferee and the nature of the relationship between such Member and such
  Permitted Transferee, at least ten (10) calendar days prior to the proposed date of such Transfer.
  Each Member shall be responsible for paying all transfer, gains or similar taxes, if any, and all
  reasonable costs and expenses of the Company, including reasonable attorneys' fees, arising out
  of any Transfer by such Member of all or a portion of its Interest (or by any of its Affiliates in
  the case of an indirect Transfer of an Interest) to a Permitted Transferee. As a condition to any
  Transfer of all or any portion of an Interest in the Company to a Permitted Transferee shall
  execute and deliver to the Company a joinder agreement, in form of Exhibit A (a "Joinder
  Agreement"). All of the provisions of this Agreement, including without limitation, the
  IJrovisions of this Article X, shall be applicable to and binding upon each Permitted Transferee.

                   (b)     The transfer by a Member of all or any portion of its Interest (including,
  without limitation, any transfer to a Permitted Transferee) shall not release such Member from
  any or all of its obligations under this Agreement arising prior to the date of such Transfer.

           Section 10.3 Substitute Members. A Permitted Transferee of the Interest of a Member
  or a transferee of the Interest of a Member pursuant to Sections 10.4 and 10.5 of this Agreement,
  or any portion thereof, shall become a substitute Member entitled to all the rights, and subject to
  all of the obligations and restrictions, of the transferor Member if, and only if:

                  (a)      the transferor assigns the transferee such right;


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               (b)     the transferor or transferee pays to the Company all reasonable costs and
 expenses incurred by the Company in connection with such substitution; and

                 (c)    the transferee executes and delivers a Joinder Agreement.

          Section 10.4 Right of First Refusal.

                (a)     Except for Transfers pursuant to or contemplated by Section l 0.2, if any
 Member (a ••selling Member") receives a bona fide written offer from an independent third
 party (a "Third Party") to purchase any or all of such Selling Member's Interests for cash and
 such Selling Member desires to Transfer any or all of such Interests (the "Offered Interests")
 pursuant to such offer, prior to any Transfer it shall give written notice of the proposed Transfer
 (the "Notice of Intention") to the Company and the other Members (the "Remaining
 Members") specifying the number of Offered Interests which such Selling Member wishes to
 Transfer, the proposed transferee, the proposed purchase price for the Offered Interests (the
 "Offer Price") and the other material terms and conditions of the proposed Transfer.

                (b)      For a period of thirty (30) days after receipt of the Notice of Intention (the
 "Option Period"), each of the Remaining Members shall have the irrevocable option to purchase
 at the Offer Price and on the other terms specified in the Notice of Intention, all of the Offered
 Interests QfQ rata based on the Percentage Interest of each Remaining Member~ provided,
 however, that if any Remaining Member does not purchase any or all of its QrQ rata portion of
 such Offered Interests, 1he other Remaining Members shall have the right to purchase such
 portion, m:Q rata, until all of such Offered Interests are purchased. The option of a Remaining
 Member pursuant to this Section 10.4(b) (the "Remaining Members Option") shall be
 exercisable by delivery of a notice (the "Remaining Members Notice") setting forth the
 maximum number of Offered Interests that such Remaining Member wishes to purchase,
 including any number which would be allocated to such Remaining Member if any other
 Remaining Member does not purchase all or any portion of its ru:Q rata portion, to the Selling
 Member, the Company and the other Remaining Members and shall expire if the Remaining
 Members Notice is not delivered prior to the expiration of the Option Period.

                  (c)     If all notices required to be given pursuant to this Section 10.4 have been
  duly given, and the Remaining Members determine not to exercise their respective options to
  purchase all of the Offered Interests at the Offer Price and on the other ternis specified in the
  Notice of Intention or determine, with the consent of the Selling Member, to exercise their
  options to purchase less than all of the Offered Interests, then the Selling Member shall have the
  right, for a period of ninety (90) days from the earlier of (a) the expiration of the Option Period
  and (b) the date on which such Selling Member receives notice from the Remaining Members
  that they will not exercise the option granted pursuant to this Section 10.4, to accept the bona
  fide offer from the Third Party and enter into an agreement to sell the Offered Interests
  remaining W1Sold under this Section 10.4 at a price not less than the Offer -Price and on the same
  terms as set forth in the Notice of Intention; provided that prior to any such Transfer to a Third
  Party, such Third Party executes and delivers to the Company, for the benefit of the Company
  and all Members, a Joinder Agreement and thereby becomes a party to this Agreement.




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                 (d)    The closing of any purchase and sale of any Interests to a Remaining
 Member pursuant to this Section 10.4 shall take place at the offices of the Company on such
 date, not later than sixty (60) days after the delivery to the Selling Member of the Remaining
 Members Notice. At the closing of such purchase and sale, the Secretary or such other officer of
 the Company shall record such Transfer in the books of the Company against evidence of such
 Transfer, delivery of the Offer Price therefor and an executed Joinder Agreement.

                (e)     If the Remaining Members Option is not exercised, and the Offered
 Interests are not sold pursuant to Section 10.4(c) within the ninety (90) day period referred to
 therein, such sale may not be carried out without complying again with the terms of this
 Section l O.4.

          Section 10.5 Tag-Along Rights and Obligations.

                  (a)      In the event that after complying with the terms of Section I 0.4, the
 Selling Member desires to sell (the "Disposition") the Offered Securities to a Third Person (the
 "Acquirer"), the Selling Member's right to accept such offer to purchase the Offered Securities
 shall be conditioned on each Remaining Member being offered the right to sell to the Acquirer
 its ,QIQ rata portion of the Offered Securities (based on the Percentage Interest of each Remaining
 Member) in such Disposition in accordance with this Section 10.5. The Selling Member shall
 give notice (the "Disposition Notice") to each Remaining Member at least thirty (30) days prior
 to the consummation of the Disposition specifying the number of Offered Interests which such
 Selling Member wishes to Transfer in the proposed Disposition, the proposed transferee, the
 proposed purchase price for the Offered Interests and the other material terms and conditions of
 the proposed Disposition.

                 (b)      The election to participate in the Disposition by the Remaining Members
 pursuant to Section 10.5(a) shall be exercised by notice to the Selling Member given within the
 time period specified in the Disposition Notice, which time period shall not be less than fifteen
 (15) days after such Disposition Notice is given. If any Remaining Member gives notice of its
 election to sell, it shall be obligated to sell the number of Interests specified in such Remaining
 Member's notice upon the terms and subject to the conditions specified in Section 10.S(a) to the
 Acquirer (which shall be the same for the other Remaining Members and the Selling Member),
 conditional upon the closing of the Disposition.

                 (c)     The sale or Transfer of Interests to the Acquirer by the Selling Member
  and by the Remaining Members electing to participate in the Disposition pursuant to this
  Section 10.5 shall occur simultaneously and be on the same terms and at the same price as the
  Interests sold by the Selling Member; provided that prior to any such Transfer to an Acquirer,
  such Acquirer shall execute and deliver to the Company, for the benefit of the Company and all
  Members, a Joinder Agreement and thereby become a party to this Agreement.

                 (d)    If the Acquirer declines to purchase from such Remaining Members their
  respective proportionate number of lnterests calculated in accordance with this Section 10.5, the
  Selling Member will not sell any Interests to the Acquirer.




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          Section 10.6 Miscellaneous Provisions Affecting Transfer.

                (a)    Upon the Transfer of all or any portion of a Member's fnterests as
 permitted or required under this Agreement, including, without limitation, as provided in this
 Article X, (i) the income, loss, gain, deduction and credit attributable to the Interests so
 transferred shall be allocated between the transferor and transferee based upon the number of
 days during the applicable Fiscal Year that the Interests so transferred was held by each of them,
 without regard to the results of Company activities during the period in which each was the
 holder; provided that the Manager shall, at the request and expense of the transferring Member,
 cause an interim closing of the Company's books as of the effective date of Transfer for purposes
 of allocating such items between the transferor and transferee; and (ii) the transferor shall be
 entitled to all cash distributions in respect of the Interests so transferred, to the extent allocable to
 periods preceding the date of Transfer, and the transferee shall be entitled to all cash distributions
 in respect of the Interests so transferred, to the extent allocable to periods on and after the date of
 Transfer based upon the number of days during the applicable Fiscal Year that the Interests so
 transferred were held by each of them, without regard to the results of Company activities during
 the period in which each was the holder.

                (b)    The Company shall be entitled to treat the record owner of any Interests as
 the absolute owner thereof, and shall incur no liability for distributions of cash or other property
 or allocations of income, gain, loss, deduction or credit made in good faith to such owner until
 such time as a written assignment of such Interests has been received, accepted and recorded on
 the books of the Company.

                                     ARTICLE XI
               DISSOLUTION, LIQUIDATION, TERMINATION AND CONVERSION

          Section 11.1 Dissolution, etc. The Company shall be dissolved upon the occurrence of
  any of the following events (the date of such occurrence, the "Dissolution Date"):

                 (a)     As approved by the majority vote of the Members; or

                 (b)     As otherwise required by applicable law.

           Section 11.2 Winding Up.

                 (a)    Upon dissolution, an accounting shall be made by the Company's
  independent accountants of the accounts of the Company and of the Company's assets, liabilities
  and operations, from the date of the last previous accounting until the date of dissolution. The
  Manager shall immediately proceed to wind up the affairs of the Company in accordance with
  this Section 11.2.

                 (b)     Notwithstanding anything to the contrary in this Agreement, upon a
  liquidation within the meaning of Section 1.704-1 (b)(2)(ii)(g) of the Treasury Regulations, if any
  Member has a deficit Capital Account (after giving effect to all contributions, distributions,
  allocations and other Capital Account adjustments for all taxable years, including the year during
  which such liquidation occurs), such Member shall have no obligation to make any Capital
  Contribution, and the negative balance of such Member's Capital Account shall not be

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 considered a debt-owed by such Member to the Company or to any other Person for any purpose
 whatsoever.

                 (c)    The Members shall comply with all requirements of applicable law
 pertaining to the winding up of the affairs of the Company and the final distribution of its assets.

          Section 11.3 Final Distribution. After the application or distribution of the proceeds of
 the liquidation of the Company's assets in one or more installments to the satisfaction of the
 liabilities to creditors of the Company, including to the satisfaction of the expenses of the
 winding-up, liquidation and dissolution of the Company (whether by payment or the making of
 reasonable provision for payment thereof), the remaining proceeds, if any, plus any remaining
 assets of the Company shall be distributed to the Members in accordance with Sections 4.3 and
 8.2, as applicable.

          Section 11.4 Time for Liquidation, etc. A reasonable time period shall be allowed for
 the orderly winding up and liquidation of the assets of the Company and the discharge of
 liabilities to creditors so as to enable the Company to seek to minimize potential losses upon
 such liquidation. The provisions of this Agreement shall remain in full force and effect during
 the period of winding up and until the filing of a certificate of cancellation of the certificate with
 the Secretary of State of the State of California.

        Section 11.5 Termination. Upon completion of the winding up of the Company, the
 Manager (or any duly elected liquidating trustee or other duly designated representative) shall
 execute, acknowledge and cause to be filed a certificate of cancellation of the Certificate with the
 Secretary of State of the State of California. Upon the cancellation of the Certificate, this
 Agreement and the Company shall terminate.

         Section 11.6 Return of Contribution Nomecourse to Other Members. Except as
 provided by law or as expressly provided in this Agreement, upon dissolution, each Member
 shall look solely to the assets of the Company for the return of its Capital Contribution. If the
 Company property remaining after the payment or discharge of the debts and liabilities of the
 Company is insufficient to return the cash contribution of one or more Members, such Member
 or Members shall have no recourse against any other Member, except as otherwise provided by
 law.
                                          ARTICLE XII
                                      DISPUTE RESOLUTION

           Section 12.l Rabbinical Counsel. If any dispute arises between the Members regarding
  this Agreement or any provision hereof, that dispute shall be resolved through a binding
  arbitration proceeding to be conducted in the State of California in accordance with the
  commercial arbitration mies of the Rabbinical Council of California.

                                          ARTICLE XIII
                                         MISCELLANEOUS

        Section 13.1 Entire Agreement. This Agreement, taken together with the other
  documents expressly referred to herein, each as amended or supplemented, constitutes the entire

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 agreement among the parties with respect to the subject matter herein or therein and supersedes
 any prior agreement or understanding among the parties hereto.

        Section 13 .2 Other Ventures. The Manager or any Member, and any firm, corporation
 or association with which the Manager or any Member is in any way interested or connected,
 may act as attorney for, deal and contract with, and be employed by the Company, and the
 Manager or any Member may be, in any manner, interested in or connected with any corporation,
 association or business in which the Company is directly or indirectly interested, all in the same
 manner and with the same freedom as though not a Manager or a Member, as the case may be,
 and without accountability for any profit, benefit or compensation received in connection with
 such actions or relationships, none of which shall be void or voidable.

         Sectfon 13.3 Amendments. This Agreement may be amended only with the written
 consent of a Majority in Interest; provided that any such amendment that materially adversely
 affects the rights and privileges of any Member (other than any amendment effected in
 connection with the making of a Capital Contribution to the Company by, and/or the issuance of
 additional Interests to, any Member, including, without limitation, any amendment to the rights
 and privileges of the Interests to reflect dilution resulting from such Capital Contributions or
 issuance of additional Interests) must be consented to by each of the Members so affected[;
 provided further, that any amendment to this Agreement shall · not be effective without the
 consent of Rechnitz].

          Section 13.4 Choice of Law. This Agreement shall be construed in accordance with the
  l&ws of the State of California, without regard to the choice of laws rules thereof, and the
  obligations, rights and remedies of the Members hereunder shall be determined in accordance
  with such laws.

          Section 13.5 Successors and Assigns: Third Party Beneficiaries. This Agreement shall
  be binding upon, and, subject to Article X, shall inure to the benefit of, the parties and their legal
  representatives, heirs, administrators, executors, successors and permitted assigns. Except as
  otherwise expressly provided herein, none of the provisions of this Agreement shal1 be for the
  benefit of or enforceable by any Person not a party hereto.

         Section 13 .6 Interpretation. Wherever from the context it appears appropriate, each
  term stated in either the singular or the plural shall include the singular and the plural, and
  pronouns stated in the masculine, the feminine or neuter gender shall include the masculine, the
  feminine and the neuter.

          Section 13.7 Captions. Captions contained in this Agreement are inserted only as a
  matter of convenience and in no way define, limit or extend or otherwise affect the scope or
  intent of this Agreement or any provision hereof.

          Section 13.8 Severability. If any provision of this Agreement, or the application of
  such provision to any Person or circumstance, shall be held invalid, illegal or unenforceable in
  any jurisdiction, the validity, legality and enforceability of the remaining provisions of this
  Agreement, or the application of such provision in jurisdictions or to Persons or circumstances
  other than those to which it is held invalid, illegal or unenforceable, shall not be affected thereby.


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        Section 13.9 Counterparts. This Agreement may be executed in several counterparts,
 each of which shall be deemed an original but all of which shall constitute one and the same
 instrument.

         Section 13.10 Non-Waiver. No provision of this Agreement shall be deemed to have
 been waived unless such waiver is contained in a written notice given to the party claiming such
 waiver has occurred; provided that no such waiver shall be deemed to be a waiver of any other or
 further obligation or liability of the party or parties in whose favor the waiver was given.

         Section 13.11 Notices. All notices, requests, demands, claims and other communications
 that are required or may be given under this Agreement shall be in writing and shall be deemed
 to have been duly given when received if personally delivered; when transmitted if transmitted
 by confirmed facsimile with a copy sent by another means specified herein; the business day
 after it is sent, if sent for next day delivery to a domestic address by recognized overnight
 delivery service (e.g., Federal Express); and five business days after the date mailed by certified
 or registered mail, postage prepaid, if sent by certified or registered mail, return receipt
 requested. In each case notice shall be sent to:

                  ifto the Company:

                  c/o Shlomo Rechnitz
                          5697 W. 3rd Street, Suite 200, Los Angeles, Califomia 90036.


                  with a copy to:

                  Leslie Klein
                  14245 Ventura Blvd., Sherman Oaks, CA 91423




  and if to a Member, to the Member's address or facsimile number on the books records of the
  Company, or to such other address with respect to the Company or a Member as the Company or
  such Member, ·as applicable, notifies the Company and the other Members in writing as provided
  above.

                                           ARTICLE XIV
                                           DEFINITIONS

           Section 14. l   Definitions.

                 References in this Agreement to an "Exhibit" are intended to refer, unless
  otherwise specified, to an Exhibit attached to this Agreement, and references in this Agreement
  to an "Article" or a "Section" are intended to refer, unless otherwise specified, to an Article or·a
  Section of this Agreement. As used in this Agreement, the following terms shall have the
  respective meanings set forth below:

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                 "Account Bank." means PrivateBancorp, Inc.

                 "Act" shall have the meaning specified in the recitals to this Agreement.

                  "Affiliate" means any Person that, directly or indirectly, through one or more
  intermediaries, is Controlled by one or more Members. As used in this definition, "Control"
  means either (a) the ownership, directly or indirectly, of at least fifty percent (50%) of the voting
  stock of a corporation, or in the case of any Person which is not a corporation, the ownership,
  directly or indirectly, of at least fifty percent (50%) of the beneficial ownership interests in such
  Person, or (b) irrespective of stock ownership or other beneficial ownership, the possession,
  directly or indirectly, of the power to direct or cause the direction of the management and
  policies of such Person.

              "Agreement" means this Limited Liability Company Agreement, as the same
  may be amended hereafter from time to time as provided herein.

                 "Available Cash" means, at the time of determination, cash generated from
  revenues from the Company's operations, after provision has been made for (a) all expenditures
  paid or to be paid by the Company to non-Members and (b) such amounts as the Manager, in his
  sole discretion, shall deem reasonable in order to provide for any anticipated, contingent or
  unforeseen expenditures or liabilities of the Company. Available Cash shall be determined
  without regard to (i) Capital Contributions and (ii) principal advanced on Company
  indebtedness.

                 "Beneficiary" means, with respect to the Policy, the legal person or persons
  designated as the recipients of the Death Benefit for such Policy.

                   "Capital Account" means, with respect to any Member, the Capital Account
  maintained for such Member by crediting such Member's Capital Contributions, such Member's
  share of Net Income, and the amount of any Company liabilities that are assumed by such
  Member (other than liabilities that are secured by any Company property distributed to such
  Member) and by debiting the amount of cash and the gross fair market value of any Company
  property distributed to such Member pursuant to any provision of this Agreement (net of
  liabilities secured by such distributed property that such Member is considered to assume or take
  subject to under Code Section 752), such Member's share of Net Losses, and the amount of any
  liabilities of such Member that are assumed by the Company (other than liabilities that are
  secured by any property contributed by such Member to the Company).

                 "Capital Contribution" means, with respect to any Member, the amount of
  money and the initial gross fair market value of any property contributed (or deemed
  contributed) from time to time by such Member to the Company (net of any liabilities secured by
  such property or to which such property is otherwise subject). The initial gross fair market value
  of each Policy contributed by Klein shall equal the sum of the total amount of premium
  payments made on such Policy by Klein and all other costs and expenses incurred by Klein in
  servicing and maintaining such Policy as of the date of this Agreement. Any reference in this
  Agreement to the Capital Contribution of a Member shall include the Capital Contribution made



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 by any predecessor of a Member. For purposes of this Agreement, a Capital Contribution shall
 include, without limitation, any Initial Capital Contribution.

                "Certificate" has the meaning set forth in Section 1.1 .

                "Change Forms" means the forms changing the owner and Beneficiary of the
 Policy using such fqrm as is required by each of the relevant issuing insurance companies.

                "Code" means the Internal Revenue Code of 1986, as amended, and as the same
 may be amended hereafter from time to time.

                "Company" shall have the meaning specified in the preamble hereto.

                "Consumer Information" means medical, health, financial and personal
 information about an Insured, an Original Owner, a Beneficiary under a Policy or a person
 designated by an Insured to provide periodic information regarding the medical status of the
 Insured, or any spouse or other individual closely related by blood or law to any such person
 (each, a "Consumer"), including, without, limitation, a Consumer's name, street or mailing
 address, email address, telephone or other contact information, employer, social security or tax
 identification number, date of birth, driver's license number, photograph or docwnentation of
 identity or residency (whether independently disclosed or contained in any disclosed document
 such as a Policy, Hfe expectancy evaluation, life insurance application or life settlement
 application).

                 "Covered Person" shall have the meaning specified in Section 6.5 (a).

                 "Death Benefit" means the cash amount of a Policy to be paid upon the death of
  the applicable Insured under such Policy, which amount will be net of any policy loans ma.de
  under such Policy (and accrued interest thereon).

                 "Disposition" shall have the meaning specified in Section 10.S(a).

                 "Disposition Notice" shall have the meaning specified in Section 10.S{a).

                 "Dissolution Date" shall have the meaning specified in Section 11.1.

                 "Fiscal Period" means, subject to the provisions of Section 706 of the Code,
  (i) any Fiscal Year and (ii) any portion of a Fiscal Year for which the Company is required to
  allocate Net Income, Net Losses or other items of Company income, gain, loss or deduction
  pursuant to Article IV.

                 "Fiscal Year" shall have the meaning specified in Section 1. 7.

                 "Governmental Authority" means any nation or government, any state or other
  political subdivision thereof and any entity exercising executive, legislative, judicial, regulatory
  or administrative functions of or pertaining to government.

                 "Indemnified Liabilities" shall have the meaning specified in Section 6.12.


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                 "Indemnified Person" shall have the meaning specified in Section 6.12.

                 "Initial Capital Contribution" means, with respect to each Member, such
  Member's Initial Capital Contribution set forth on Schedule A.

                 "Insured" means, with respect to a Policy, each person whose life is insured
  under such Policy.

                "Interest" means, with respect to any Member, (a) such Member's share of the
  profits and losses of the Company and a Member's rights to receive distributions from the
  Company in accordance with the provisions of this Agreement and the Act and (b) such
  Member's other rights and privileges in respect of the Company as herein provided.

                 "Joinder Agreement" shall have the meaning specified in Section 10.2{a).

                "Klein Amount" shall mean, with respect to any Policy, (x) the total amount of
  Capital Contributions made by Klein related to such Policy and (y) the Priority Return for Klein
  on such Policy.

                 "Law" means any law, constitution, statute, ordinance, code, rule, regulation,
  decision, order, consent, decree, judgment, ordinance, release, license, permit, stipulation or
  other pronouncement having the effect of law enacted or issued by any Governmental Authority,
  any foreign country, or domestic or foreign state, country, city or other political subdivision,
  which includes binding judicial precedent and principles of common law.

                 "Lender" shall mean each lender identified on Schedule C.

                 "Majority in Interest" means Members that at the time in question together hold
  a Percentage Interest greater than 50% in the aggregate.

                 "Manager" means one or more persons designated as such pursuant to this
  Agreement.

                  "Members" means, collectively, the members signatory to this Agreement, and
  any other Persons admitted to the Company as members after the date hereof in accordance with
  the terms of this Agreement.

                  "Net Income" and "Net Losses" means, for each Fiscal Year or other period, an
  amount equal to the Company's taxable income or loss for such Fiscal Year or other period (for
  this purpose, all items of income, gain, loss or deduction required to be stated separately pursuant
  to Code Section 703(a)(l) shall be included in taxable income or loss and each item of income,
  gain, expense, deduction and loss shall be allocable to the Members in accordance herewith).

                 "Non-Payment Policy" shall have the meaning as specified in Section 8.2.

                 "Non-Payment Policy Member" shall have the meaning as specified m
  Section 8.2.


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                "Notice oflntention" shall have the meaning as specified in Section 10.4(a).

                "Offer Price" shall have the meaning as specified in Section 10.4(a).

                "Offered Interests" shall have the meaning specified in Section 10.4(a).

                "Option Period" shall have the meaning as specified in Section 10.4(b)

                "Original Owner" means, with respect to a Policy, the Person to which the
 Policy was initially issued and who was listed as owner on the initial declarations page of such
 Policy or the policy application, as applicable.

                  "Percentage Interest" means, with respect to any Member as of any date of
 determination, a fraction (expressed as a percentage) having as its numerator the aggregate
 number of Interests held by such Member at such time, and having as its denominator the
 aggregate number of Interests held by all Members at such time. Each Member's Percentage
 Interest as of the date hereof, and as adjusted from time to time, is set forth '?Il Schedule A.

                 "Permitted Transferee" means (a) with respect to any Member who is an
 individual, such member's siblings, parents, spouse (former spouse, if any), and children, and
 trusts solely for the benefit of any of the foregoing, and (b) with respect to any Member that is an
 entity, an Affiliate of such Member. [Anyone else?]

                  "Person" means any individual or any corporation, partnership, limited liability
  company, limited liability partnership, joint venture, estate, trust, unincorporated association,
  business trust, tenancy-in-common or other legal entity.

              "Policy" means each of the life insurance policies contributed to the capital of the
  Company by Klein, as specified in Schedule B hereto.

                 "Policy File" means, with respect to a Policy, the file relating to such Policy
  which file shall include, without limitation, the Policy, the original application for such Policy,
  any Policy Illustration and any other documentation in Klein's possession.

                  "Policy Illustration" means, with respect to a Policy, a policy Hlustration from
  the related issuing insurance company.

                 "Polter" shall have the meaning set forth in Section 6.2.

                  "Priority Return" of a Member with respect to any Policy shall mean an annual
  rate of return of 12% on the total amount of Capital Contributions made by a Member with
  respect .to such Policy from the date such Capital Contribution were made but computed no
  earlier than from the date of this Agreement. .

                "Recbnitz Amount" shall mean, with respect to any Policy, (x) the total amount
  of Capital Contributions made by Rechnitz related to such Policy and (y) the Priority Return for
  Rechnitz on such Policy.



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                "Remaining Members" shall have the meaning specified in Section 10.4(a).

                "Remaining Members Notice" shall have the meaning specified in
  Section 10.4(b).

                "Remaining Members          Option" shall have the meaning specified in
  Section 10.4(b).

                "Reserve Account" means account number LJ established at Account Bank.

                "Selling Member" shall have the meaning specified in Section 10.4(a).

                "Third Party" shall have the meaning as specified in Section 10.4(a).

                 ''Transfer" means, as a noun, any voluntary or involuntary, and direct or indirect,
  assignment, transfer, pledge, syndication, sale, hypothecation, contribution, encumbrance or
  other disposition or purported disposition, and, as a verb, voluntarily or involuntarily, and
  directly or indirectly, to assign, transfer, pledge, syndicate, sell, hypothecate, contribute,
  encumber or otherwise dispose of.

                 "Tax Matters Member" shall have the meaning specified in Section 9.4.

                 "Treasury Regulations" means the Income Tax Regulations promulgated under
  the Code, as the same may be amended hereafter from time to time.

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      IN WITNESS WHEREOF, the Wldersigned have executed this Limited Liability
 Company Agreement as of the date first set forth above.
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                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                            4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT UNDER
LBR 7055-1 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEFj: Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 12/19/2023,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Baruch C Cohen (PL)                bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
Michael I. Gottfried (IP)          mgottfried@elkinskalt.com, cavila@elkinskalt.com , lwageman@elkinskalt.com,
                                   docketing@elkinskalt.com
Nikko Salvatore Stevens (IP)       nikko@cym.law, mandi@cym.law
Clarisse Young (IP)                youngshumaker@smcounsel.com, levern@smcounsel.com
United States Trustee (LA)         ustpregion16.la.ecf@usdoj.gov



                                                                       D     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 12/19/2023, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be com pleted no later than 24 hours after the document is filed.

Leslie Klein, 322 N. June Street, Los Angeles, CA 90001


                                                                       D Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 12/19/2023, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed .

Hon. Sandra R. Klein, 255 E. Temple Street, Suite 1582, Los Angeles, CA 90012




                                                                        D Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



   12/19/2023         Baruch C. Cohen, Esq.                                     Isl Baruch C. Cohen
   Date                        Printed Name                                     Signature
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         EXHIBIT Ill A
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                                                                         I                          I
 1   Leslie Klein
     322 North June Street
 2
     Los Angeles, California 90004                                            JAN 12 lm~
 3   TELEPHONE: (818) 501-2663
                                                                      ~~~~YCOURT
     EMAIL: les.kleinlaw@gmail.com                                     "'"'
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                                                                                 ,......,T OF CA1..FORNiA
                                                                                             0....-,Cltdt
 4
     Debtor In Pro Se
 5

 6                                UNITED STATES BANKRUPTCY COURT

 7                                CENTRAL DISTRICT OF CALIFORNIA
 8
                                        LOS ANGELES DIVISION
 9
     In re                                            Case No.: 2:23-bk-10990-SK
10
     LESLIE KLEIN,                                    Chapter 11
11

12                  Debtor.                           Adv. No.: 2:23-ap-01153-SK

13   ROBERT & ESTHER MERMELSTEIN,
                                                      ANSWER TO COMPLAINT TO DENY
14
                    Plaintiffs,                       DISCHARGE OF DEBT AND DENIAL OF
15                                                    DISCHARGE (AS AMENDED BY
               V.                                     AMENDED PROOF OF CLAIM FILED
16                                                    1/10/2024)
     LESLIE KLEIN,
17
                                                      Place:       Courtroom 1575
18                  Defendant.

19

20             Comes now the Defendant, Leslie Klein (' 1Defendant") for himself only, and fo

21   his answer to the Complaint to Deny Discharge of Debt and Denial of Discharge (th
22   11
          Complaint") filed by Robert Mermelstein and Esther Mermelstein (the 11 Plaintiffs"), an
23
     states as follows:
24
                                                PREFACE
25

26             Plaintiff caused a request for entry default to be filed November 28, 2023 an

27   Default was entered thereon November 28, 2023. Plaintiff filed 6 amended Proof of Clai
28
     dated January 10, 2024 thereby opening the default.

                                                    -I-
            ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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                               CORE/NON-CORE DESIGNATION
2
        1. The Defendant admits the allegations contained in paragraph 1 of the Complaint
3
           and consents to entry of final orders or judgment by the bankruptcy court.
4
                             JURISDICTION , VENUE & STANDING
5

6       2. The Defendant admits the allegations contained in paragraph 2 of the Complaint.

7       3. The Defendant admits the allegations contained in paragraph 3 of the Complaint.
8
        4. The Defendant admits the allegations contained in paragraph 4 of the Complaint.
9
                                            PARTIES
10
        5. The Defendant admits the allegations contained in paragraph 5 of the Complaint.
11

12       6. The Defendant admits the allegations contained in paragraph 6 of the Complaint.

13       7. The Defendant admits the allegations contained in paragraph 7 of the Complaint.
14
                                   GENERAL ALLEGATIONS
15
         8-36. The Defendant generally denies all material allegations contained in paragraph
16
      8-36 of the Complaint and refers to the proceedings in the underlying state court actio
17

18    and other proceedings relating to the funds alleged. The judgment alleged has bee

19    appealed.
20
       PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT'S IOLTA ACCOUNT
21
        37. The Defendant denies the allegations contained in paragraph 37 of the Complaint.
22
                     PLAINTIFF'S DISCOVERY OF DEFENDANT'S FRAUD
23

24      38-40. The Defendant generally denies all material allegations contained in paragraph

25    38-40 of the Complaint and refers to the proceedings in the underlying state court actio
26
      and other proceedings relating to the funds alleged. The judgment alleged has bee
27
      appealed.
28

                                           -2-
          ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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                               PLAINTIFFS' PROOF OF CLAIMS
2
       41. The Defendant denies the allegations contained in paragraph 38 of the Complaint.
3
                                  FIRST CLAIM FOR RELIEF
4
                    (Nondischargeability of Debt - 11 U.S.C §523(a)(2)(A))
5

6       42-49. The Defendant generally denies all material allegations contained i

7    paragraphs 42-49 of the Complaint and refers to the proceedings in the underlying stat
8
     court action and other proceedings relating to the funds alleged. The judgment allege
9
     has been appealed .

                                 SECOND CLAIM FOR RELIEF
11

12                   (Nondischargeability of Debt-11 U.S.C. §523(a)(4))

13       50-56. The Defendant generally denies all material allegations contained i
14
     paragraphs 50-56 of the Complaint and refers to the proceedings in the u·nderlying stat
15
     court action and other proceedings relating to the funds alleged. The judgment allege
16
     has been appealed.
17

18                                 THIRD CLAIM FOR RELIEF

19                    (Nondischarqeability of Debt - 11 U.S.C. §523(a)(6H
20
         57-63. The Defendant generally denies all material allegations contained i
21
      paragraphs 57-63 of the Complaint and refers to the proceedings in the underlying stat
22
      court action and other proceedings relating to the funds alleged. The judgment allege
23

24    has been appealed.

25                                FOURTH CLAIM FOR RELIEF
26
                  (Obiection to Debtor's Discharge - 11 U.S.C. §727(a)(2)(A)}
27
         64-71. Fourth Claim for Relief is dismissed by Order dated November 8, 2023.
28

                                           -3-
          ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DJSCHARGE
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                                      FIFTH CLAIM FOR RELIEF
2
                    (Objection to Debtor's Discharge - 11 U.S.C. §727(a){2HB))
3
           72-79. Fifth Claim for Relief is dismissed by Order dated November 8, 2023.
4
                                      SIXTH CLAIM FOR RELIEF
5

6                     (Objection to Debtor's Discharge -11 U.S.C. §727(a){3))

7          80-84. Sixth Claim for Relief is dismissed by Order dated November 8, 2023.
8
                                    SEVENTH CLAIM FOR RELIEF
9
                      (Objection to Debtor's Discharge - 11 U.S.C. §727(a)(4})

           85-93. Seventh Claim for Relief is dismissed by Order dated November 8, 2023.
11

12                                   EIGHTH CLAIM FOR RELIEF

13                    (Ob jection to Debtor's Discharge -11 U.S.C. §727{a){5))
14
           94-96. Eighth Claim for Relief is dismissed by Order dated November 8, 2023.
15
                                    FIRST AFFIRMATIVE DEFENSE
16
               The Complaint fails to state a claim for which relief can be granted.
17

18                                SECOND AFFIRMATIVE DEFENSE

19             As a separate and affirmative defense, Defendant is informed and believes and o
20
      that basis avers that Plaintiff and each person whose rights it purports to assert hav
21
      unclean hands, and Plaintiff accordingly is barred from relief against Defendant for an
22
      reason stated in the Complaint or any purported Claim for Relief therein.
23

24                                  THIRD AFFIRMATIVE DEFENSE

25             As a separate and affirmative defense, Defendant avers that the Complaint, an
26
      each purported Claim for Relief therein, is uncertain, ambiguous, and unintelligible.
27
      II
28

                                             -4-
            ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
     Case 2:23-ap-01169-SK       Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44            Desc
                                Main Document    Page 351 of 473




                                FOURTH AFFIRMATIVE DEFENSE
2
            As a separate and affirmative, Defendant is informed and believes and on tha
3
     basis avers that all equitable relief sought in the Complaint, and each purported Claim to
4
     Relief therein, is barred by laches.
5

6                                  FIFTH AFFIRMATIVE DEFENSE

7           As a separate and affirmative, Defendant is informed and believes and on tha
8
     basis avers that Plaintiff and each person whose rights it purports to assert are estoppe
9
     from asserting each and every purported Claim for Relief in the Complaint, or fro

     seeking any relief thereby.
11

12                                 SIXTH AFFIRMATIVE DEFENSE

13          As a separate and affirmative, Defendant is informed and believes and on tha
14
     basis avers that Plaintiff and each person whose rights it purports to assert have waive
15
     any and all right to relief against Defendant for any reason stated in the Complaint or an
16
     purported Claim for Relief therein and that the claims contained in the Complaint ar
17

18   subject to setoff and/or recoupment.

19                              SEVENTH AFFIRMATIVE DEFENSE
20
             As a separate and affirmative defense to each and every cause of action of th
21
      Complaint, Defendants allege that Plaintiff is barred from recovery against Defendants
22
      in whole or in part, because Plaintiff has failed to satisfy conditions or obligation
23

24    precedent to Defendants' performance of the contract or contracts.

25

26

27
      II
28

                                                  -5-
           ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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                                  EIGHT AFFIRMATIVE DEFENSE
2
           As a separate and affirmative defense to each and every cause of action of th
3
     Complaint, Defendants allege that Plaintiffs claims are barred by the doctrine of releas
4
     and waiver.
5

6                                 NINTH AFFIRMATIVE DEFENSE

7          As a separate and affirmative defense to each and every cause of action of th
8
     Complaint, Defendants allege that Plaintiffs claims are barred by the doctrine of equitabl
9
     estoppel.
10
                                  TENTH AFFIRMATIVE DEFENSE
11

12          As a separate and affirmative defense to each and every cause of action of th

13   Complaint, Defendants allege that Plaintiff's claims are barred or reduced by their failur
14
     to mitigate their damages.
15
                              ELEVENTH AFFIRMATIVE DEFENSE
16
            As a separate and affirmative defense to each and every cause of action of th
17

18   Complaint, Defendants allege that Plaintiffs claims are barred because Plaintiff

19   consented to Defendant's actions.
20
                               TWELFTH AFFIRMATIVE DEFENSE
21
            Defendants reserve their rights to assert additional defenses as and when the
22
      learn of all the claims asserted against them, whether submitted or not, and as thei
23

24    discovery and investigation continues.

25          WHEREFORE, Defendant, respectfully requests an entry of order.
26
                       •   Dismissing the Complaint with prejudice;
27

28

                                           -6-
          ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
     Case 2:23-ap-01169-SK    Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44          Desc
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                    •   Entitling Defendant to recover the costs incurred in defending thi
 2
                        action, including attorney's fees; and
 3
                    •   Granting such other and further relief as this Court deems just an
 4

 5                      proper.

 6

 7    Dated: January_, 2024
 8

 9
                                                 LESLIE KLEIN
10
                                                 Defendant


12

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                                          -7-
         ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
Case 2:23-ap-01169-SK    Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44   Desc
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      In re: LESLIE KLEIN                         Chapter: 11
                      Debtor(s)                   Case No: 2:23-bk-10990-SK
2
      ROBERT & ESTHER MERMELSTEIN                 Adv. No: 2:23-a -01153-SK
3

4                            PROOF OF SERVICE OF DOCUMENT
5
            I am over the age of 18 and not a party to this bankruptcy case or adversa
6    proceeding. My business address is 301 East Colorado Boulevard, Suite 520, Pasadena
     California 91101.
7

8
     A true and correct copy of the foregoing document described as ANSWER T
     COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE will b
9    served or was served (a) on the judge in chambers in the form and manner required b
     LBR 5005-2(d); and (b) in the manner indicated below:
10
     I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING C'NEF")
11
     Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR"), th
12   foregoi~ _.Slocument will be served by the court via NEF and hyperlink to the document
     On 1/..t;;:22024, I checked the CM/ECF docket for this bankruptcy case or adversa
13   proceeding and determined that the following person(s) are on the Electronic Mail Notic
     List to receive NEF transmission at the email address(es) indicated below:
14

15                                         [x] Service information continued on attached pag

16
     11.            Y U.S. MAIL OR OVERNIGHT MAIL indicated method for each erson o
17
     enti serv :
18   On 1/     72024, I served the following person(s) and/or entity(ies) at the last know
     addre s(es) in this bankruptcy case or adversary proceeding by placing a true and correc
19   copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid
     and/or with an overnight mail service addressed as follows. Listing the judge her
20
     constitutes a declaration that mailing to the judge will be completed no later than 24 hour
21   after the document is filed.

22                                         {xJ Service information continued on attached page
23

24    I declare under penalty of perjury under the laws of the United      s of America that th
      foregoing is true and correct.
25

26
       1/ [}12024        Eric J Olson
27    Date                Type Name                           Signature

28

                                            -8-
           ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
      Case 2:23-ap-01169-SK    Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44   Desc
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       In re: LESLIE KLEIN                    Chapter: 11
                       Debtor(s)              Case No: 2:23-bk-10990-SK
2
       ROBERT & ESTHER MERMELSTEIN            Adv. No: 2:23-ao-01153-SK
3
      I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")
4
         •   Baruch C. Cohen bcc@baruchcohenesq.com,
5
             paralegal@baruchcohenesg.com
6        •   Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com,
             lwageman@elkinskalt.com, docketing@elkinskalt.com
7        •   Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
8        •   United States Trustee (LA) ustpregio16.la.ecf@usdoj.gov
         •   Clarisse Young       youngshumaker@smcounsel.com, levern@smcounsel.com
9

io    11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL - VIA U.S. MAIL
11
      Hon. Sandra Klein
12    U.S. Bankruptcy Court
      255 E. Temple Street #1582
13
      Los Angeles, California 90012
14

15

16

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             ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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                             Main Document    Page 1 of 9



1     Leslie Klein
                                              FILED
      322 North June Street
2
      Los Angeles, California• 900
3     TELEPHONE: (818) 501-26 3 cit~~i"'~~wJi'11.";~=~r4-J
      EMAIL: les.kleinlaw@gmail.   av,
4
      Debtor In Pro Se
5

6
                                 UNITED STATES BANKRUPTCY COURT

7                                 CENTRAL DISTRICT OF CALIFORNIA

8                                      LOS ANGELES DIVISION
9
      In re                                           Case No.: 2:23-bk-10990-SK
10
      LESLIE KLEIN,                                   Chapter 11
11

12                  Debtor.                           Adv. No.: 2:23-ap-01169-SK

13
                                                      ANSWER TO COMPLAINT TO DENY
14                                                    DISCHARGE OF DEBT AND DENIAL OF
      DAVID BERGER,
15
                                                      DISCHARGE (AS AMENDED BY PROOF
                    Plaintiff,                        OF CLAIM DATED DECEMBER 19,
16                                                    2023)
               V.
17

1s    LESLIE KLEIN,                                   Place:       Courtroom 1575

19                  Defendant.
20

21              Comes now the Defendant, Leslie Klein ("Defendant") for himself only, and fo

22     his answer to the Complaint to Deny Discharge of Debt and Denial of Discharge (th
23
       "Complaint") filed by David Berger (the "Plaintiff''), and states as follows:
24
                                                PREFACE
25
                Plaintiff caused a request for entry default to be filed November 28, 2023 and
26

27     Default was entered thereon November 29, 2023. Plaintiff filed Proof of Claim dated

28     December 19, 2023 thereby opening the default.



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              ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DTSCHARGF.
     Case 2:23-ap-01169-SK Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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                                 CORE/NON-CORE DESIGNATION
2
         1. The Defendant admits the allegations contained in paragraph 1 of the Complaint.
3
                               JURISDICTION, VENUE & STANDING
4
         2. The Defendant admits the allegations contained in paragraph 2 of the Complaint.
5

6        3. The Defendant admits the allegations contained in paragraph 3 of the Complaint.

7        4. The Defendant admits the allegations contained in paragraph 4 of the Complain
8
             except the Plaintiff has filed a Proof of Claim dated December 19, 2023.
9
                                               PARTIES

          5. The Defendant admits the allegations contained in paragraph 5 of the Complaint.
11

12        6. The Defendant admits the allegations contained in paragraph 6 of the Complaint.

13        7. The Defendant admits the allegations contained in paragraph 7 of the Complain
14
             except that the second sentence (including footnote) should be striken.
15
                                     GENERAL ALLEGATIONS
16
          8-21. The Defendant generally denies all material allegations contained in paragraph
17

18     8-21 of the Complaint and further alleges that Plaintiff has filed a Proof of Claim o

19     December 19, 2023 increasing the alleged damages to $12,010,958.83; Oefendan
20
       generally denies all material allegations contained in said Proof of Claim.
21
                       PLAINTIFF's DISCOVERY OF DEFENDANT'S FRAUD
22
          22. The Defendant denies the allegations contained in paragraph 22 of the Complaint
23

24                                    FIRST CLAIM FOR RELIEF

25                    (Nondischargeability of Debt - 11 U.S.C §523(a)(2)(A))
26
           23-30. The Defendant generally denies all material allegations contained i
27
       paragraphs 23-30 of the Complaint and further alleges that Plaintiff has filed a Proof o
28




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           ANSWER TO COMPLAINT TO DENY DISCHARGE OF DRRT ANn ORNJ AT ' OF m~rH ARr.li'
     Case 2:23-ap-01169-SK Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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I     Claim on December 19, 2023 increasing the alleged damages to $12,010,958.83
2
      Defendant generally denies all material allegations contained in said Proof of Claim.
3
                                  SECOND CLAIM FOR RELIEF
4
                      (Nondischargeability of Debt - 11 U.S.C. §523(aH4)}
5

6        31-37. The Defendant generally denies all material allegations contained i

7     paragraphs 31-37 of the Complaint and further alleges that Plaintiff has filed a Proof o
8
      Claim on December 19, 2023 increasing the alleged damages to $12,010,958.83
9
      Defendant generally denies all material allegations contained in said Proof of Claim.

                                    THIRD CLAIM FOR RELIEF
11

12                     (Nondischargeability of Debt - 11 U.S.C. §523(a)(6))

13        38-44. The Defendant generally denies all material allegations contained i
14
      paragraphs 38-44 of the Complaint and further alleges that Plaintiff has filed a Proof o
15
      Claim on December 19, 2023 increasing the alleged damages to $12,010,958.83
16
      Defendant generally denies all material allegations contained in said Proof of Claim.
17

18                                 FOURTH CLAIM FOR RELIEF

19                 (Objection to Debtor's Discharge - 11 U.S.C. §727(a)(2)(A))
20
          45-52. Fourth Claim for Relief is dismissed by Order dated November 9, 2023.
21
                                     FIFTH CLAIM FOR RELIEF
22
                   (Ob jection to Debtor's Discharge - 11 U.S.C. §727(a)(2)(8 ))
23

24        53-60. Fifth Claim for Relief is dismissed by Order dated November 9, 2023.

25                                   SIXTH CLAIM FOR RELIEF
26
                     (Ob jection to Debtor's Discharge - 11 U.S.C. §727(a)(3))
27
          61-65. Sixth Claim for Relief is dismissed by Order dated November 9, 2023.
28




                                            -3-
           ANSWER TO COMPLAINT TO DENY DlSCHARGE OF DEBT AND DENIAL OF DISCHARGE
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                                   SEVENTH CLAIM FOR RELIEF
2
                     (Objection to Debtor's Discharge - 11 U.S.C. §727(a)(4))
3
          66-74. Seventh Claim for Relief is dismissed by Order dated November 9, 2023.
4
                                       EIGHTH CLAIM FOR RELIEF
5

6                    (Objection to Debtor's Discharge - 11 U.S.C. §727(a){5))

7         75-77. Eighth Claim for Relief is dismissed by Order dated November 9, 2023.
8
                                   FIRST AFFIRMATIVE DEFENSE
9
      The Complaint fails to state a claim for which relief can be granted.

                                 SECOND AFFIRMATIVE DEFENSE
11

12     As a separate and affirmative defense, Defendant is informed and believes and on tha

13     basis avers that Plaintiff and each person whose rights it purports to assert have unclea
14
       hands, and Plaintiff accordingly is barred from relief against Defendant for any reaso
15
       stated in the Complaint or any purported Claim for Relief therein.
16
                                   THIRD AFFIRMATIVE DEFENSE
17

18     As a separate and affirmative defense, Defendant avers that the Complaint, and eac

19     purported Claim tor Relief therein, is uncertain, ambiguous, and unintelligible.
20
                                 FOURTH AFFIRMATIVE DEFENSE
21
       As a separate and affirmative, Defendant is informed and believes and on that basis aver
22
       that all equitable relief sought in the Complaint, and each purported Claim for Relie
23

24     therein, is barred by laches.

25                                 FIFTH AFFIRMATIVE DEFENSE
26
       As a separate and affirmative, Defendant is informed and believes and on that basis aver
27
       that Plaintiff and each person whose rights it purports to assert are estopped fro
28




                                            -4-
           ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISC.HARr■ F.
     Case 2:23-ap-01169-SK   Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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1     asserting each and every purported Claim for Relief in the Complaint, or from seekin
2
      any relief thereby.
3
                                   SIXTH AFFIRMATIVE DEFENSE
4
      As a separate and affirmative, Defendant is informed and believes and on that basis aver
5

6     that Plaintiff and each person whose rights it purports to assert have waived any and al

7     right to relief against Defendant for any reason stated in the Complaint or any purporte
8
      Claim for Relief therein and that the claims contained in the Complaint are subject t
9
      setoff and/or recoupment.
10
                                 SEVENTH AFFIRMATIVE DEFENSE
11

12    As a separate and affirmative defense to each and every cause of action of the Complaint

13    Defendants allege that Plaintiff is barred from recovery against Defendants, in whole o
14
      in part, because Plaintiff has failed to satisfy conditions or obligations precedent t
15
      Defendants' performance of the contract or contracts.
16
                                   EIGHT AFFIRMATIVE DEFENSE
17

18    As a separate and affirmative defense to each and every cause of action of the Complaint

19     Defendants allege that Plaintiff's claims are barred by the doctrine of release and waiver
20
                                    NINTH AFFIRMATIVE DEFENSE
21
      As a separate and affirmative defense to each and every cause of action of the Complaint
22
       Defendants allege that Plaintiff's claims are barred by the doctrine of equitable estoppel.
23

24                                 TENTH AFFIRMATIVE DEFENSE

25     As a separate and affirmative defense to each and every cause of action of the Complaint
26
       Defendants allege that Plaintiffs claims are barred or reduced by their failure to mitigat
27
       their damages.
28




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           ANSWER TO COMPLAINT TO DENY DISCHARC.F. OF OF.RT A. Nn nli'Nl A I 011' nt~ru An.,......,
     Case 2:23-ap-01169-SK Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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                               Main Document    Page 6 of 9



                                ELEVENTH AFFIRMATIVE DEFENSE
2
      As a separate and affirmative defense to each and every cause of action of the Complaint
3
      Defendants allege that Plaintiffs claims are barred because Plaintiff's consented t
4
      Defendant's actions.
5

6                                TWELFTH AFFIRMATIVE DEFENSE

7      Defendants reserve their rights to assert additional defenses as and when they learn o
8
       all the claims asserted against them, whether submitted or not, and as their discove
9
       and investigation continues.
10
             WHEREFORE, Defendant, respectfully requests an entry of order.
11

12                      •    Dismissing·the Complaint ~s -Amended by the Proof of Claim wit

13                           prejudice;
14
                        •    Entitling Defendant to recover the costs incurred in defending thi
15
                             action, including attorney's fees; and
16

17
                        •    Granting such other and further relief as this Court deems just an

18                           proper.
19     Dated: December _, 2023
20

21
                                                      LESLIE KLEIN
22                                                    Defendant
23

24

25

26

27

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           ANSWER TO COMPLAINT TO DENY DlSCHARr.F. OF nF.RT ANn IWNU I nl? m-.:ru ,1, Dt"cl.'
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                                      '     Da.M-"11 . . . . . ,,_ ,.__,,.. _,,,,8 -                ,..,._ oecause Ptalntlff"S conserited I



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                           Main Document    Page 365 of 473
      Case 2 23-ap-01169-SK Doc 50 Filed 01/02/24 Entered 01/03/24 14-30-30 Desc
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       AAln re: LESLIE KLEIN                        Chapter: 11
                           Debtor(s)                Case No: 2:23-bk-10990-SK
2
       DAVID BERGER                                 Adv. No: 2:23-ao-01169-SK
3

4                               PROOF OF SERVICE OF DOCUMENT
5
             I am over the age of 18 and not a party to this bankruptcy case or adversar)
6     proceeding. My business address is 301 East Colorado Boulevard, Suite 520, Pasadena
      California 91101 .
7
      A true and correct copy of the foregoing document described as ANSWER TC
8
      COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE will be
9     served or was served (a) on the judge in chambers in the form and manner required b~
      LBR 5005-2(d); and (b) in the manner indicated below:

      I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF" } -
11
      Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR"), the
12    foregoi~J,g. cument will be served by the court via NEF and hyperlink to the document
      On 12/ h 023, I checked the CM/ECF docket for this bankruptcy case or adversan
13    procee ing and determined that the following person(s) are on the Electronic Mail Notic~
      List to receive NEF transmission at the email address(es) indicated below:
14

15                                          [x] Service information continued on attached page

16
      11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicated method for each oerson 0 1
17
      entity served):
18    On 12!J:/}2023, I served the following person(s) and/or entity(ies) at the last knowr
      address(es) in this bankruptcy case or adversary proceeding by placing a true and correc
19    copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid
      and/or with an overnight mail service addressed as follows. Listing the judge here
20
      constitutes a declaration that mailing to the judge will be completed no later than 24 hours
21    after the document is filed .

22                                          [x] Service information continued on attached pag e
23

24     I declare under penalty of perjury under the laws of the United States of America that the


: to~::;~:: e :□:~e~Olson
21     Date
                        and

                              Type Name
                                                        £-2_/:lSignature

28




                                            -7-
           ANSWER TO COMPLAINT TO DENY DISCHARC.F. OF OF.RT ANO Oli'.NJAJ 01< m~rH1,.12r.l<'
     Case 2:23-ap-01169-SK    Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
                             Main Document    Page 366 of 473
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       In re: LESLIE KLEIN                               Chapter: 11
                                 Debtor(s)               Case No: 2:23-bk-10990-SK
2
       DAVID BERGER                                      Adv. No: 2:23-ap-01169-SK
3
      I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")
4

5
         •     Baruch C. Cohen bcc@baruchcohenesq.com,
               paralegal@baruchcohenesg.com
6        •     Michael I. Gottfried mqottfried@elkinskalt.com, cavila@elkinskalt.com,
               lwageman@elkinskalt.com, docketing@elkinskalt.com
7
         •     Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
8        •     United States Trustee (LA) ustpregion16.la.ecf@esdoj.gov

9     II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL - VIA U.S. MAIL
10
      Hon. Sandra Klein
11    U.S. Bankruptcy Court
      255 E. Temple Street #1582
12    Los Angeles, California 90012
13

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             ANSWER TO COMPl ,AINT TO OF.NV JllSC'H4R~l< OF OF.RT ANn Oll'NT Ar 01" f\14-:ru .t.Dtcli'
Case 2:23-ap-01169-SK    Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44   Desc
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        EXHIBIT IV A
Case 2:23-ap-01169-SK   Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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                         Main Document   Page 1 of 37



  1       l,.eslie Klein                                                   FILED
  2
         ·322 North.June-Street
        . LQ.s Angelo$, Celifomi$ 90004                              [ FEB 122024]
  3      T'Eµ:~HONE: {81'8} 501...ieei                             CLERK ,U.S. BMJKRUPrCY COURT
        EMAlL;les.kfilnlaw@g,ngU.com                              CFNTRAL DISTRiC T OF CALIFORNIA
                                                                  BY:                 De;,:.,t Cler!<
  4
        Oebtor In Pro Se
  ~

  ~-                                    UNITED STATES BANKRUPTCY COURT
  ?-                                    CENTRAL DISTRICT OP CALIFORNIA
  8
                                             LOS ANGELES DIVISION
  9
        In re                                           Case No.: 2:23-bk-10990-SK
 10
                                                        Chapter 11

 1l                                                     Adv. No.: 2:23-,ap-01153-SK

 13     ROBERT & ESTHER MERMELSTEIN,
                                                        DECLARATION OF ERte·J. OUSON JN
 J4                                                     RESPONSE TO PLAINTIFF'S MOTION
                    P
                    .   ialntiffs
                        .           I


 15                                                     FOR DEFAULT JUDGMENT
 16 .                                                   Place.:      Coul'U()Om 1575
        LESLJE KLErN,                                   Date:        February 14. 2024
 17                                                     Time:        9:00A.M.
 l8

  19
 ;20            Comes now the Defendant, Le~die Klein ("Defendant'') for hirnsetf only, M,d to

 21     his response tc the Motion for Default Judgment (the •Mt>t1onH) filed by Ro
 22     Mennelstein ~nd esther Mermelstein (the "Plaintiffs"), presents the attac
 23
        Declaration of Eric J. Olso.n:
        Oa~ Februaiy _'L. 2024
 25
 26

  27                                                    LESLIE KLEIN
                                                        Defendant
  28
                                                      - 1-
           J>J:CLARATION OFEJUC J. OlSON IN RESPONSE TO PLAINTIFF•S MOTION FOR DEFAULT
                                                   JUDGMENT
 Case 2:23-ap-01169-SK Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
   ::ase 2:23-ap-01153-SK Main
                           DocDocument     Page 369
                               52 Filed 02/12/24     of 47302/12/24 13:38:42 Desc
                                                  Entered
                            Main Document    Page 2 of 37




2

3    In re: LESLIE KLEIN                           Chapter: 11
                     Debtor(s)                     Case No: 2:23-bk-10990-SK
4    ROBERT & ESTHER MERMELSTEIN                   Adv. No: 2:23-ap-01153-SK
5

6                            PROOF OF SERVICE OF DOCUMENT

7           I am over the age of 18 and not a party to this bankruptcy case or adversan
     proceeding. My business address is 301 East Colorado Boulevard, Suite 520, Pasadena
                                                                                               .
8
     California 91101.
9
     A true and correct copy of the foregoing document described as DECLARATION Of
10   ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAUL7
11
     JUDGMENT will be served or was served (a) on the judge in chambers in the form anc
     manner required by LBR 5005-2(d); and (b) in the manner indicated below:
12
     I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING {"NEF" ) -
13   Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR"), the
     foregoing document will be served by the court via NEF and hyperlink to the document
14
     On 2/12/2024, I checked the CM/ECF docket for this bankruptcy case or adversan
15   proceeding and determined that the following person(s) are on the Electronic Mail Notice
     List to receive NEF transmission at the email address(es) indicated below:
16
                                           [x] Service information continued on attached page
17

18
     11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicated method for each oerson o
19   entity served):
     On 2/12/2024, I served the following person(s) and/or entity(ies) at the last knowr
20
     address(es) in this bankruptcy case or adversary proceeding by placing a true and correc
21   copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid
     and/or with an overnight mail service addressed as follows. Listing the judge here
22   constitutes a declaration that mailing to the judge will be completed no later than 24 hour~
     after the document is filed.
23

24                                         [x] Service information continued on attached page

25
     I declare under penalty of perjury under the laws of the United States of America that the
26
     foregoing is true and correct.
27

28                                               -2-
        DECLARATION OF ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAULT

                                             JUDGMENT
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      2/12/2024        Jasper Pantaleon
     Date               Type Name
2

3
     In re: LESLIE KLEIN                     Chapter: 11
4                    Debtor(s)               Case No: 2:23-bk-10990-SK
     ROBERT & ESTHER MERMELSTEIN             Adv. No: 2:23-ap-01153-SK
5

6    I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")

7       •   Baruch C. Cohen bcc@baruchcohenesq.com,
            paralegal@baruchcohenesq.com
8
        •   Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com,
9           lwaqeman@elkinskalt.com, docketing@elkinskalt.com
        •   Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
        •   United States Trustee (LA) ustpreqio16.la.ecf@usdoj.gov
11      •   Clarisse Young       youngshumaker@smcounsel.com, levern@smcounsel.com

12
     11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL - VIA U.S. MAIL
13

14   Hon. Sandra Klein
     U.S. Bankruptcy Court
15   255 E. Temple Street #1582
     Los Angeles, California 90012
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        DECLARATION OF ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAULT

                                          JUDGMENT
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         DECLARATION OF ERIC J OLSON RE MOTIONS FOR DEFAULT
 2
                  JUDGMENT BY BERGER AND MERMELSTEIN
 3

 4    ERIC OLSON states:
 5
           1.   I am an attorney at law, at one period I appeared on behalf o
 6

 7
           Leslie Klein while he engaged a bankruptcy lawyer, but I wa

 8         substituted out in favor of the bankruptcy lawyer. Subsequently I have
 9
           without appearing, consulted with Mr. Klein and drafted documents fo

II         him in prose. All matters set forth herein are based on my own first
12
           hand knowledge unless stated otherwise and I am competent to testif
13

14
           thereto.

 IS        2.    Based on the facts below, the motions of both plaintiffs shoul
 16
           be denied because:
 17

 18              a.    EACH PLAINTIFF RECOGNIZED HIS/HER OBLIGATIO
 19
                 TO GIVE DEFENDANT KLEIN WARNING OF A POTENTIA
 20

 21
                 DEFAULT BUT THEN THE NEXT DAY,                     FILED THEI

 22              REQUESTS FOR DEFAULT.               DEFENDANT RESPONDE
 23
                 PROMPTLY BUT PLAINTIFFS FAILED TO RESPOND TO HI
 24

 25              REQUEST TO STIPULATE TO SET ASIDE THE DEFAULTS
 26
                 THE ANSWERS COULD BE FILED. THE COURT SHOUL
 27

 28

        DECLARATION OF ERIC J. OLSON RE: MOTIONS FOR DEFAULT JUDGMENT BY BERGER AND
                                         MERMELSTEIN
                                              - 1-
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               PERMIT THE ANSWERS REFERRED TO BELOW TO B
 2
               FILED.
 3

 4             b.    SUBSEQUENTLY                EACH    PLAINTIFF         FILE
 5
               AMENDMENTS           TO   THEIR      CLAIMS    SUBSTANTIALL
 6

 7
               INCREASING THEM.          TAKING THE POSITION THAT THI
 8             "OPENED" THE         DEFAULTS,       DEFENDANT HAS          FILE
 9
               ANSWERS TO THE MOTIONS AS AMENDED BY TH
10

11             AMENDED CLAIMS, NO OBJECTION HAS BEEN RECEIVE
12
               OR MOTION TO STRIKE OR OTHERWISE SET ASIDE sue
13

 14
               ANSWERS . BY REASON OF SUCH ANSWERS DEFAUL
 15            JUDGMENTS SHOULD BE DENIED.
 16
          3.   On November 27. 2023 the Attorney for Plaintiff Berger sent th
 17

 18       letter dated November 27, 2023 attached as Exhibit A warning o
 19
          Proposed Default. He also sent an identical letter on behalf of th
 20

 21
          Mermelstein Plaintiffs.

 22       4.   The authorities cited by the Attorney regarding warning includ
 23
          reference to Weil & Brown, Civil Procedure Before Trial (Rutter 2007
 24

 25       5:68- 5.70 . In 5.71 Rutter states: "PRACTICE POINTER If you'r
 26
          representing plaintiff and have had any contact with a lawye
 27

 28
          representing defendant, don't even attempt to get a default entere

      DECLARATION OF ERIC J. OLSON RE: MOTIONS FOR DEFAULT JUDGMENT BY BERGER AND
                                       MERMELSTEIN
                                          . 2.
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             without giving such lawyer written notice of your intent to request ent
 2
             of default, and a reasonable time within which time within whic
 3

 4           defendant's pleading must be filed to prevent your doing so. (Fasuyi v
 5
             Permatex, Inc., supra 167 CA4th at 701 ... [quoting text]
 6

 7
             5.    At an earlier time, when I was attorney of record for Mr. Klein,

 8           dealt with the attorney for Plaintiffs herein and .prepared a stipulatio
 9
             for extension to plead which both parties signed and the Cou
10

11           approved.
12
             6.    Mr. Klein contacted us on or about November 28, 2023 to dra
13

14
             answers for him. On or about November 28, 2023 I asked my assistan

15    I      to check the dockets and he reported that such Plaintiffs had alread
16
             requested entry of default. I sent the attorney a letter on November 29
17

 18          2023, a copy of which, together with the additional sections from Rutte
 19
             that I referred to therein as Exhibit B. I never heard back from him.
20

 21
             7.    On December 8, 2023 I followed up with an email, a copy o

 22          which is attached as Exhibit C. I never heard back from him.
 23
              8.    I was informed that there was a status conference on or abou
 24

 25           December 20, 2023 where Mr. Klein was instructed to present hi
 26
              grounds for being permitted to file answers and set aside the default
 27

 28
              at hearings scheduled 2/14/24. Such grounds appear herein.

          DECLARATION OF ERIC J. OLSON RE: MOTIONS FOR DEFAULT JUDGMENT BY BERGER AND
                                           MERMELSTEIN
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           9.   Subsequently in each case the Plaintiff(s) filed amendments t
 2
           their claims and I revised the draft answers referred to in Exhibit C fa
 3

 4         Mr. Klein and had my assistant present them for filing on his behalf
 5
           Such Answers were filed and conformed copies are attached heret
 6

 7
           as Exhibit D (as to Berger) and E (as to Mermelstein). I have not hear

 8         directly or indirectly from the attorney for Plaintiffs about them.
 9
      I declare under penalty of perjury under the laws of the United States tha
10

11    the foregoing is true and correct and executed at Pasadena, California thi
12
      February 2, 2024.
13

14

 15

 16
                                                       Eric J. Olson
 17

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        DECLARATION OF ERIC J. OLSON RE: MOTIONS FOR DEFAULT JUDGMENT BY BERGER AND
                                         MERMELSTEIN
                                              -4-
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3    In re: LESLIE KLEIN                           Chapter: 11
                     Debtor(s)                     Case No: 2:23-bk-10990-SK
4    ROBERT & ESTHER MERMELSTEIN                   Adv. No: 2:23-ap-01153-SK
5

6                            PROOF OF SERVICE OF DOCUMENT

7           I am over the age of 18 and not a party to this bankruptcy case or adversal)
     proceeding. My business address is 301 East Colorado Boulevard, Suite 520, Pasadena
8
     California 91101.
9
     A true and correct copy of the foregoing document described as DECLARATION OF
IO   ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEF AUL7
     JUDGMENT will be served or was served (a) on the judge in chambers in the form anc
11
     manner required by LBR 5005-2(d); and (b) in the manner indicated below:
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     I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF") -
13   Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR"), the
     foregoing document will be served by the court via NEF and hyperlink to the document
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     On 2/12/2024, I checked the CM/ECF docket for this bankruptcy case or adversal)
1s   proceeding and determined that the following person(s) are on the Electronic Mail Notice
     List to receive NEF transmission at the email address(es) indicated below:
16
                                           [x] Service information continued on attached page
17

18
     11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicated method for each oerson o
19   entity served):
     On 2/12/2024, I served the following person(s) and/or entity(ies) at the last knowr
20
     address(es) in this bankruptcy case or adversary proceeding by placing a true and correc
21   copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid
     and/or with an overnight mail service addressed as follows. Listing the judge here
22   constitutes a declaration that mailing to the judge will be completed no later than 24 hour~
     after the document is filed.
23

24                                         [x] Service information continued on attached page

25
     I declare under penalty of perjury under the laws of the United States of America that the
26
     foregoing is true and correct.
27

28                                               -2-
        DECLARATION OF ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAULT

                                             JUDGMENT
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                                                          _,..,..,···,
                                                            ,,    /   .-,
      2/12/2024        Jasper Pantaleon                   ~f(j u.
                                                            /    L,,~«M_r-----
     Date               Type Name                    Signetuf-e
2

3
     In re: LESLIE KLEIN                     Chapter: 11
4                    Debtor(s)               Case No: 2:23-bk-10990-SK
     ROBERT & ESTHER MERMELSTEIN             Adv. No: 2:23-ap-01153-SK
5

6    I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")

7       •   Baruch C. Cohen bcc@baruchcohenesg.com,
            paralegal@baruchcohenesq.com
8
        •   Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com,
9           lwageman@elkinskalt.com, docketing@elkinskalt.com
        •   Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
10
        •   United States Trustee (LA) ustpregio16.la.ecf@usdoj.gov
11      •   Clarisse Young       youngshumaker@smcounsel.com , levern@smcounsel.com

12
     11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL - VIA U.S. MAIL
13

14   Hon. Sandra Klein
     U.S. Bankruptcy Court
15   255 E. Temple Street #1582
     Los Angeles, California 90012
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        DECLARA TION OF ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAULT

                                          JUDGMENT
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    Law Office of
    Baruch C. Cohen, Esq.
    A Professional Law Corporation


    4929 Wilshire BoulevaTd, Suite 940                                       Telephone: (323) 937-4501
    Los Angeles, California 900 l 0-3823                                      Facsimile: (888) 316-6107
    Emai 1: baruchcohen@baruchcohenesq.com                                        bcc4929@gmail.com
                                                November 27, 2023

    Via Email: les.kleinla H@gmailcom

    Leslie Klein                                              Leslie Klein
    322 North June Street                                     14245 Ventura Boulevard, 3rd Floor
    Los Angeles, CA 9000 l                                    Sherman Oaks, CA 91423

    Re:     David Berger vs Leslie Klein, 2:23-ap-OJ 169-SK, Warning of Proposed Default
    Dear Mr. Klein:

    Per the Court's Order on Defendant's Motion for Order Dismissing Certain Causes of Action in
    Complaint, you were supposed to respond to the Complaint by 11-18-2023. As of today, ] ] -27-
    2023, you failed to respond to the Complaint. As you are representing yourself in pro per, I am
    giving you a professional courtesy notice of our intentions to pursue a default against the you. 1
    If you have any questions or comments regarding the above, please do not hesitate to call.



    ~~~~
    BARUCH C. COHEN
    cc:  David Berger
    D:\DATA\DOCSIBERGER-2\WARNING OF PROPOSED DEFAULl .wpd
    l l/27•9:SOam




             1
              Pursuant to: Section 15 of the State Bar's enacted California Attorney Guidelines of
     Civility and Professionalism; Shapell Socal Rental Properties, LLC v. Chico's FAS, Inc., (2019)
     36 Cal.App.5th at 134,137, No. 0060411, 2022 Cal. App. LEXIS 854 (Ct. App. Oct. 17, 2022); ;
     Fasuyi v. Permatex, Inc., 84 Cal. Rptr. 3d 351 (Cal. Ct. App. 2008), quoting Au-Yang v. Barton,
     90 Cal. Rptr. 2d 227 (1999)); Lasalle v. Vogel, 36 Cal. App. 5th 127, 248 Cal. Rptr. 3d 263
     (2019); Pearson v. Continental Airlines, (l 970) 11 Ca1.3d 613, 619); Weil & Brown, Civil
     Procedure Before Trial (Rutter 2007) 5:68-5:70
                                                        Page 1 of 1
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    Eric J. Olson
    Attorney at Law                                                                 T: (818) 245 2246
                                                                                    C: (626) 224 5619
                                                                               www.EJOlsonLaw.com
                                                                             Eric@EJOlsonLaw.com



     November 29, 2023

     Baruch C. Cohen, Esq.              email: baruchcohen@baruchcohenesq.com


     Re: Mermelstein v. Leslie Klein - Case No. 2:23-ap-01153-SK
         Berger v. Leslie Klein - Case No. 2:23-ap-01169-SK

     Dear Mr. Cohen:

            I am writing regarding your letters dated November 27 "Warning of Proposed
     Default".

            Mr. Klein, who is still in prose, requested that I contact you to advise that I have
     been asked to assist him in drafting answers. To my surprise, my assistant advised that
     he found notices from the Clerk that your office had submitted requests to enter default
     yesterday and they were entered.

             I am requesting that you confirm that you will stipulate to setting aside the default
     to permit him to file his answers (which I would contemplate tendering to the Court with
     the stipulation). That would be consistent with 9th Circuit authority. See Ahanchian v.
     Xenon Pictures, Inc. (9 th Cir 2010). See also Civil Procedure Before Trial (TRG) 5.29-
     5.29.1 (b). I hope to have answers ready by December 8, 2023.

              Mr. Klein is still in prose as he seeks to engage a new "real" bankruptcy lawyer.

            I understand that the Court has urged the parties to see if they cannot mediate
     the various complaints and we hope to have arrangements soon .

                                         Very truly yours,



                                          Eric Olson




                         301 E. Colorado Blvd, Ste 520, Pasadena, CA 91101
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                    (b) Examples
                        1) (5:27] In a personal injury action, if summons        (
                           is served by substitute service, D's re-
                           sponse is not due until 40 days after copies
                           of the summons and complaint were mailed
                           to defendant (10 days after the mailing, plus
                           30 days to respond), whereas if D had been
                           served personally, he or she would have had
                           only 30 days to respond.
                        2) [5:28] In an unlawful detainer action, H the
                           summons and complaint are served personally,
                           D has only 5 days within which to file a respa,sive
                           pleading, but if substitute service is used, D
                           would have 15 days after copies are mailed.
              (2)   [5:29) Where time extended: Defendant's time to
                    respond to the complaint may be extended, either by
                    stipulation with plaintiff's counsel (limited to 15 days-
                    Gov.C. §68616), or by court order on a showing ol "good
                    cause• (limited to 30 days without adverse party's
                    consent-CCP §1054).
                    (a) l5:29.1] Duty to extend: Unless time is of the
                        essence, judges expect counsel to grant a request
                        for extension within the 15-day limitation imposed
                        by Gov.C. §68616, so as to obviate the need for
                        defendant making an ex parte application which
                         the court is likely to grant.
                        Some local rules recommend that consideration
                        be given to an opponent's "schedule of profes-
                        sional and personal engagements• and that no unfair
                        and extraneous conditions be attached to a stip-
                        ulated extension of time to plead. {See L.A. Sup.Ct
                        Rule 3.26, App. 3.A(a)]                         '
                         Civility Guidelines:
                             ''Unless time is of the essence, an attorney should
                              agree to an extension without requiring motions
                              or other formalities, regardless of whether the
                              requesting counsel previously refused to grant
                              an extension;
                              "An attorney should place conditions on an
                              agreement to an extension only if they are 1air
                              and essential or if the attorney is entitled to
                              impose them, for instance to preserve rights
                              or seek reciprocal scheduling concessions."
                              [State Bar California Attorney Guidelines of CMlity
                               and Professionalism §6]
                         As stated by one court, "We do not approve of the
                         'hardball' tactics unfonunatefy used by some law


       5-8
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                             finns tcx:Jay . . . Where, as here, there is no indication
                             of bad faith, prejudice or undue delay, attorneys
                             should not oppose reasonable requests for extensiom
                             of time brought by their adversaries." (Ahanchian
                             v. Xenon Pictures, Inc. (9th Cir. 2010) 624 F3d 1253,
                             1263 (emphasis added; internal quotes omitted)
                             (citing Cat. Attorney Guidelines of Civility & Prof.
                             §6)]
                        (b) (5:29.2] Duty to warn? On expiration of the
                            extension, plaintiff's counsel may request entry of
                            defendant's default. However, where the time to
                            respond was extended by stipulation, plaintiff's duty
                            to wam before entry of defa uh is particularly strong.
                            Entry of default immediately upon expiration of the
                            extension, without prior warning to defense counsel,
                            is a professional discourtesy and would almost cer1ailly
                            be set aside. See ,is:68 ff.
                             Civility Guideline: An attorney should not take the
                             defauh of an opposing party known to be represented
                             by counsel without giving the party advance warning.
                             [State Bar California Attorney Guidelines of Civility
                             and Professionalism §15]
                         (c) [5:29.3] Limitation: Parties may not stipulate
                             to more than one 15-day extension of time to plead
                             without court order. [Gov.C. §68616, see ,J6:386;
                             CAC 3.11 0(d)]
                         (d) (5:29.4] Application for further extension: The
                             court may extend the time to respond sua sponte
                             or on a party's application. [CRC 3.110(e)]
                              A party's application for an order extending the time
                              to serve any pleading (complaint, cross-
                              complaint, or responsive pleading) must be filed
                              with the court before the time for service has expired.
                              In addition, the application must be ac-
                              companied by a declaration:
                                   "showing why service has not been completed;
                                   "documenting the efforts that have been made
                                   to complete service; and
                                   "specifying the date by which service is proposed
                                   to be completed." [CRC 3.110(e)]
                              FORM: The application for further extension may
                              be made on optional Judicial Council form CM-020,
                              Ex Pane Application for Extension of lime to Serve
                              Pleading and Orders.
                               See Form 5:2 in Rivera, Cal. Prac. Guide: Civ. Pro.
                               Before Trial FORMS (TAG).


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             EXHIBIT C
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                            Main Document    Page 16 of 37


Eric@EJOlsonLaw.com

From:                            eric@EJOtsonLaw.com
Sent:                            Friday, December 8, 2023 1:03 PM
To:                              baruchcohen@baruchcohenlaw.com
Subject:                         FW: klein - ltr cohen 11-29-23a
Attachments:                     klein - ltr cohen , 1-29-23a.pdf



Mr. Cohen, I am writing to follow up on this letter. As estimated I have a draft answer and would like to reiterate my
request to let me prepare a suitable stipulation and get the answer on file as part of moving forward to attempting to
mediate a resolution to this matter. Please let me know.

Note New Address


&"4fl0~
E J Olson Law
301 E. Colorado Blvd. Ste 520
Pasadena, CA 91101
T: 818 245 2246
C: 626 224 5619
Eric@EJOlsonlaw.com


From: eric@EJOlsonLaw.com <eric@EJOlsonLaw.com>
Sent: Wednesday, November 29, 2023 4:36 PM
To: baruchcohen@baruchcohenesq.com
Subject: klein - ltr cohen 11-29-Ba




 Note New Address


 &'I«,   9 0'4on
 E J Olson Law
 301 E. Colorado Blvd. Ste 520
 Pasadena, CA 91101
 T: 818 245 2246
 C: 626 224 5619
 Eric@EJOlsonlaw.com
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                                                 Entered 02/12/24 13:38:42 Desc
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              EXHIBIT D
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 1       Leslie Klein
                                               FILED
         322 North June Street
 2
         Los Angeles, California 900
 3       TELEPHONE: (818) 501-2
         EMAIL: les.kleinlaw@qmail
 4
         Debtor In Pro Se
 5

 6
                                    UNITED ST ATES BANKRUPTCY COURT

 7                                   CENTRAL DISTRICT OF CALIFORNIA

 8                                        LOS ANGELES DIVISION
 9
         In re                                          Case No. : 2:23-bk-10990-SK
 JO
         LESLIE KLEIN,                                  Chapter 11
 11

 12
                       Debtor                           Adv. No.: 2:23-ap-01169-SK

 J3
                                                         ANSWER TO COMPLAINT TO DENY
 14
         DAVID BERGER,                                   DISCHARGE OF DEBT ANO DENIAL OF
 15                                                      DISCHARGE {AS AMENDED BY PROOF
                       Plaintiff,                        OF CLAIM DATED DECEMBER 19,
 16                                                      2023)
                  V.
 17

 ts       LESLIE KLEIN ,                                \ Place:     Courtroom 1575

 19                    Defendant.
 20

 21                Comes now the Defendant, Leslie Klein ("Defendant") for himself only, and fo

 22       his answer to the Complaint to Deny Discharge of Debt and Denial of Discharge (th
 23
          "Complaint") filed by David Berger (the "Plaintitr'}, and states as follows:
 24
                                                   PREFACE
 25
                   Plaintiff caused a request for entry default to be filed November 28, 2023 and
 26

 27       Default was entered thereon November 29, 2023 . Plaintiff filed Proof of Claim dated

  28      December 19, 2023 thereby opening the default.



                                                        -] .
                 ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISf:HARGF.
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                                 CORE/NON-CORE DESIGNATION
2
          1. The Defendant admits the allegations contained in paragraph 1 of the Complaint.
3
                               JURISDICTION, VENUE & STANDING
4
          2. The Defendant admits the allegations contained in paragraph 2 of the Complaint.

6         3. The Defendant admits the allegations contained in paragraph 3 of the Complaint.

7         4. The Defendant admits the allegations contained in paragraph 4 of the Complain
8
              except the Plaintiff has filed a Proof of Claim dated December 19, 2023.
 9
                                               PARTIES
10
          5. The Defendant admits the allegations contained in paragraph 5 of the Complaint.
11

12        6. The Defendant admits the allegations contained in paragraph 6 of the Complaint.

13        7. The Defendant admits the allegations contained in paragraph 7 of the Complain
14
              except that the second sentence (including footnote) should be striken .
15
                                      GENERAL ALLEGATIONS
16
           8-21 . The Defendant generally denies all material allegations contained in paragraph
 17

 18     8-21 of the Complaint and further alleges that Plaintiff has filed a Proof of Claim o

 19     December 19, 2023 increasing. the alleged damages to $12,010,958.83; Defendan
20
        generally denies all material allegations contained in said Proof of Claim .
21
                        PLAINTIFF's DISCOVERY OF DEFENDANT'S FRAUD
22
            22. The Defendant denies the allegations contained in paragraph 22 of the Complaint
23

24                                     FIRST CLAIM FOR RELIEF

 25                     (Nondischargeability of Debt - 11 U.S.C §523(a)(2)(A))
 26
            23-30. The Defendant generally denies all material allegations contained i
 27
        paragraphs 23-30 of the Complaint and further alleges that Plaintiff has filed a Proof o
 28




                                             - 2.
            ANSWER TO COMPLAINT TO DENY DISCHARGE OF OF.RT ANO OF.NIAi OF msr-iuvr.a:-
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1        Claim on December 19, 2023 increasing the alleged damages to $12,010,958.83
2
         Defendant generally denies all material allegations contained in said Proof of Claim.
3
                                     SECOND CLAIM FOR RELIEF
4
                         (Nondischargeability of Debt- 11 U.S.C. §523(a )(4 ))
5

6           31-37. The Defendant generally denies all material allegations contained i

7        paragraphs 31-37 of the Complaint and further alleges that Plaintiff has filed a Proof 0
8
         Claim on December 19, 2023 increasing the alleged damages to $12,010,958.83
9
         Defendant generally denies all material allegations contained in said Proof of Claim.

                                       THIRD CLAIM FOR RELIEF
11

12                        (Nondischargeability of Debt - 11 U.S.C. §523(a)(6))

13           38-44. The Defendant generally denies all material allegations contained i
14
         paragraphs 38-44 of the Complaint and further alleges that Plaintiff has filed a Proof 0
15
         Claim on December 19, 2023 increasing the alleged damages to $12,010,958.83
16
         Defendant generally denies all material allegations contained in said Proof of Claim.
17

 18                                   FOURTH CLAIM FOR RELIEF

 19                    (Objection lo Debtor's Discharge - 11 U.S.C. §727 (a)(2)(A))
 20
              45-52. Fourth Claim for Relief is dismissed by Order dated November 9, 2023.
 21
                                        FIFTH CLAIM FOR RELIEF
 22
                       (Objection to Debtor's Discharge - 11 U.S.C. §727 fa)(2)(B))
 23

 24           53-60. Fifth Claim for Relief is dismissed by Order dated November 9, 2023.

 25                                     SIXTH CLAIM FOR RELIEF
 26
                         (Objection lo Debtor's Discharge -11 U.S.C. §727(a )(3))
 27
              61-65. Sixth Claim for Relief is dismissed by Order dated November 9, 2023.
    28




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              ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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                                     SEVENTH CLAIM FOR RELIEF
2
                       (Objection to Debtor•s Discharge - 11 U.S.C. §727 (a)(4 U
3
            66-74. Seventh Claim for Relief is dismissed by Order dated November 9, 2023.
4
                                      EIGHTH CLAIM FOR RELIEF
5

6                      {Objection to Debtor's Discharge -11 U.S.C. §727 (a)(5 ))

7           75-77. Eighth Claim for Relief is dismissed by Order dated November 9, 2023.
    8
                                     FIRST AFFIRMATIVE DEFENSE
    9
         The Complaint fails to state a claim for which relief can be granted .
10
                                   SECOND AFFIRMATIVE DEFENSE

12       As a separate and affirmative defense, Defendant is informed and believes and on tha

13       basis avers that Plaintiff and each person whose rights it purports to assert have unclea
14
         hands, and Plaintiff accordingly is barred from relief against Defendant for any reaso
15
         stated in the Complaint or any purported Claim for Relief therein.
16
                                     THIRD AFFIRMATIVE DEFENSE
    17

    18   As a separate and affirmative defense, Defendant avers that the Complaint, and eac

    19   purported Claim for Relief therein, is uncertain, ambiguous, and unintelligible.
    20
                                    FOURTH AFFIRMATIVE DEFENSE
    21
         As a separate and affirmative, Defendant is informed and believes and on that basis aver
22
         that all equitable relief sought in the Complaint, and each purported Claim for Relie
    23

    24   therein, is barred by laches .

    25                                FIFTH AFFIRMATIVE DEFENSE
    26
          As a separate and affirmative, Defendant is informed and believes and on that basis aver
    27
          that Plaintiff and each person whose rights it purports to assert are estopped fro
    28




                                               - 4-
              ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF Ol!i.C:HARC.F.
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     1     asserting each and every purported Claim for Relief in the Complaint, or from seekin
     2
           any relief thereby.
     3
                                       SIXTH AFFIRMATIVE DEFENSE
     4
           As a separate and affirmative, Defendant is informed and believes and on that basis aver
     5

     6     that Plaintiff and each person whose rights it purports to assert have waived any and al

     7     right to relief against Defendant for any reason stated in the Complaint or any purporte
     8
           Claim for Relief therein and that the claims contained in the Complaint are subject t
     9
           setoff and/or recoupment.
     10
                                     SEVENTH AFFIRMATIVE DEFENSE
     11

     12    As a separate and affirmative defense to each and every cause of action of the Complaint

     13    Defendants allege that Plaintiff is barred from recovery against Defendants, in whole o
     14
            in part, because Plaintiff has failed to satisfy conditions or obligations precedent t
     15
            Defendants' performance of the contract or contracts.
     16
                                       EIGHT AFFIRMATIVE DEFENSE
     17

     18     As a separate and affirmative defense to each and every cause of action of the Complaint

     19     Defendants allege that Plaintiffs claims are barred by the doctrine of release and waiver
     20
                                        NINTH AFFIRMA TJVE DEFENSE
     21
            As a separate and affirmative defense to each and every cause of action of the Complaint
     22
            Defendants allege that Plaintiffs claims are barred by the doctrine of equitable estoppel.
     23

     24                                 TENTH AFFIRMATIVE DEFENSE

     25     As a separate and affirmative defense to each and every cause of action of the Complaint
     26
            Defendants allege that Plaintiff's claims are barred or reduced by their failure to mitigat
     27
            their damages.
      28




                                                  - 5-
                 ANSWER TO COMPLAINT TO DENY DISCHARr.F. CW OFRT 6.NO OJ;'NI • 1 n..- n1<::ru • nrr.
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                                          ELEVENTH AFFIRMATIVE DEFENSE
        2
              As a separate and affirmative defense to each and every cause of action of the Complaint
        3
              Defendants allege that Plaintiffs claims are barred because Plaintiff's consented                                     t




        4
              Defendant's actions.
        5

        6                                  TWELFTH AFFIRMATIVE DEFENSE

        7      Defendants reserve their rights to assert additional defenses as                   a n d      when    t h e y   learn 0
        8
               all the claims asserted against them, whether submitted or not, and as their discove
        9
               and investigation continues.
        10
                         WHEREFORE, Defendant, respectfully requests an entry of order.
        11

        12                         •   Dismissing the Complaint as Amended by the Proof of Claim wit

        13                             prejudice;
        14
                                   •   Entitling Defendant to recover the costs incurred in defending thi
        15
                                       action, including attorney's fees; and
        16

        17
                                   •   Granting such other and further relief as this Court deems just an

        18                             proper.

        19      Dated: December_, 2023
        20

        21
                                                                   LESLIE KLEIN
        22                                                         Defendant
        23

        24

        25

        26

         27

         28




                                                        -6•
                        ANSWER TO COMPLAINT TO DENY DISCHARr.f. ni. nw:-RT A-Nn nw:-Nur nil,' nt'-ruAor~
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       AAln re: LESLIE KLEIN                        Chap1er: 11
                           Debtor(s)                Case No: 2:23-bk-10990-SK
 2
       DAVID BERGER                                 Adv. No: 2:23-a -01169-SK
 3

 4                             PROOF OF SERVICE OF DOCUMENT
 5
              I am over the age of 18 and not a party to this bankruptcy case or adversa
  6    proceeding. My business address is 301 East Colorado Boulevard, Suite 520, Pasadena
       California 91101.
  7
       A true and correct copy of the foregoing document described as ANSWER T
  8
       COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE will b
  9    served or was served (a) on the judge in chambers in the form and manner required b
       LBR 5005-2(d); and (b) in the manner indicated below:
 10

 11
       I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING {"NEF" )
       Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR"), th
 12    foregoin~cument will be served by the court via NEF and hyperlink to the document
       On 12/ h 023, I checked the CM/ECF docket for this bankruptcy case or adversa
 13    procee ing and determined that the following person(s) are on the Electronic Mail Notic
       List to receive NEF transmission at the email address(es) indicated below:
 14

 15                                          (x] Service information continued on attached pag

  16
       11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL indicated method for each erson o
  17
       entity served):       •
  18   On 121J:/J2023, I served the following person(s) and/or entity(ies) at the last know
       address(es) in this bankruptcy case or adversary proceeding by placing a true and correc
  19   copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid
       and/or with an overnight mail service addressed as follows. Listing the judge her
  20
       constitutes a declaration that mailing to the judge will be completed no later than 24 hour
  21   after the document is filed.

  22                                         fxl Service information continued on attached pag
  23

  24    I declare under penalty of perjury under the laws of the United States of America that th
        foregoing is true and correct.                                  · •••  ___.)
  25

  26
          12, ll,2023       ---'E
                                =r=ic;....::J-'--.-"--
                                                  O=ls-=
                                                       on
                                                        ' - - - - - - -- - ~2 --  2l_
  27    Date                 Type Name                                    Signature

  28




                                               -i .
            ANSWER TO COMPLAINT TO DENY lllSC.HARC F. OF OF.RT A.NO hl<NIAI nr;- T\l~rl-hur....-
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                                    Main Document       Page 9 of 9



       In re: LESLIE KLEIN                           Chapter: 11
                              Debtor(s)              Case No: 2:23-bk-1O990-SK
 2
       DAVID BERGER                                  Adv. No: 2:23-ap-01169-SK
 3
       I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (•1NEF")
 4
         •   Baruch C. Cohen bcc@baruchcohenesg.com,
 5
             paralegal@baruchcohenesq.com
 6       •   Michael I. Gottfried mqottfried@elkinskalt.com, cavila@elkinskalt.com,
             lwaqeman@elkinskalt.com, docketinq@elkinskalt.com
 7
         •   Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
 8       •   United States Trustee (LA) ustpreqion16.la.ecf@esdoj.gov

 9     II . SERVED BY U.S. MAIL OR OVERNIGHT MAIL- VIA U.S. MAIL
 10
       Hon. Sandra Klein
 11    U.S. Bankruptcy Court
       255 E. Temple Street #1582
 12    Los Angeles, California 90012
 13

 14

 15

 16

 17

 18

  19

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 21

 22

 23

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                                                 - 8.
             ANSWER TO COMPI.AINT TO Ot:'NY Ol~C'"AlU~Ji' OP nt:'RT A.Nn nJi'N1A1 OJi' m~ruAor.r:
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             EXHIBIT E
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                                     Main Document         Page 1 of 10

                                                                           FILED
   I   Leslie Klein                                                       JAN 12 202~
   2
       322 North June Street
       Los Angeles, California 90004
   3   TELEPHONE: (818) 501-2663
       EMAIL: les,kiejnlaw@gmall.com
   4
       Debtor In Pro Se
   s
   6                              UNITED STATES BANKRUPTCY COURT

   7                               CENTRAL DISTRICT OF CALIFORNIA
   8
                                        LOS ANGELES DIVISION
   9
       In re                                          Case No.: 2:23-bk-10990-SK
  10
       LESLIE KLEIN,                                  Chapter 11
  11

  12                Debtor.                           Adv. No.: 2:23-ap-01153-SK

  13   ROBERT & ESTHER MERMELSTEIN,
  14                                                  ANSWER TO COMPLAINT TO DENY
                    Plaintiffs,                       DISCHARGE OF DEBT AND DENIAL OF
  IS                                                  DISCHARGE (AS AMENDED BY
               V.                                     AMENDED PROOF OF CLAIM FILED
  16                                                  1/10/2024)
  17
       LESLIE KLEIN,
                                                      Place:        Courtroom 1575
  18                Defendant.
  19

  20           Comes now the Defendant, Leslie Klein (11 Defendant") for himself only, and fo

  21   his answer to the Complaint to Deny Discharge of Debt and Denial of Discharge (th
  22
       ••complaint") filed by Robert Mermelstein and Esther Mermelstein (the "Plaintiffs"). an
  23
       states as follows:
  24
                                               PREFACE
  25

  26           Plaintiff caused a request for entry default to be filed November 28, 2023 an

  2i   Default was entered thereon November 28, 2023. Plaintiff filed 6 amended Proof of Clai
  28
       dated January 10, 2024 thereby opening the default.
                                                     -I•
           ANSWER TO COMPLAINT TO DENY DISCHARGE OF D£BT AND DENIAL OF DISCHARGE
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                                   CORE/NON-CORE DESIGNATION
    2
             1. The Defendant admits the allegations contained in paragraph 1 of the Complaint
    3
                and consents to entry of final orders or judgment by tlie bankruptcy court.
    4
                                  JURISDICTION, VENUE & STANDING
    s
    6        2. The Defendant admits the allegations contained in paragraph 2 of the Complaint.

    7        3. The Defendant admits the allegations contained in paragraph 3 of the Complaint.
    8
             4. The Defendant admits the allegations contained in paragraph 4 of the Complaint.
    9
                                                 PARTIES
    10
             5. The Defendant admits the allegations contained in paragraph 5 of the Complaint.
    II

    12       6. The Defendant admits the allegations contained in paragraph 6 of the Complaint.

    13        7. The Defendant admits the allegations contained in paragraph 7 of the Comptaint.
    14
                                        GENERAL ALLEGATIONS
    IS
              8-36. The Defendant generally denies all material allegations contained in paragraph
    16
           8-36 of the Complaint and refers to the proceedings in the underlying state court actio
    17

    18     and other proceedings relating to the funds alleged. The judgment alleged has bee

    19     appealed.
    20
             PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT'S IOLTA ACCOUNT
    21
             37. The Defendant denies the allegations contained in paragraph 37 of the Complaint.
    22
                          PLAINTIFF'S DISCOVERY OF DEFENDANT'S FRAUD
    23

    24       38-40. The Defendant generally denies all material allegations contained in paragraph

    25     38-40 of the Complaint and refers to the proceedings in the underlying state court actio
    26
           and other proceedings relating to the funds alleged. The judgment alleged has bee
    27
           appealed.
     28

                                                -2-
               ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
Case 2:23-ap-01169-SK    Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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                                  PLAINTIFFS' PROOF OF CLAIMS
  2      I
        41. The Defendant denies the allegations contained in paragraph 38 of the Complaint.
  3
                                      FIRST CLAIM FOR RELIEF

                        (Nondischargeablllty of Debt - 11 U.S.C §523(a)(2)(A))
  s
  6          42-49. The Defendant generally denies all material allegations contained i

  7    paragraphs 42-49 of the Complaint and refers to the proceedings in the underlying stat
  8
       court action and other proceedings relating to the funds alleged. The judgment allege
  9
       has been appealed.
  10
                                     SECOND CLAIM FOR RELIEF
  II

  12                     (Nondischargeability of Debt -11 U.S.C. §523(a)(4))

  13          60-56. The Defendant generally denies all material allegations contained i
  14
       paragraphs 50-56 of the Complaint and refers to the proceedings in the underlying stat
  IS
       court action and other proceedings relating to the funds alleged. The judgment allege
  16
       has been appealed.
  17

  18                                   THIRD CLAIM FOR RELIEF

  19                      (Nondlscharqeability of Debt - 11 U.S.C. §523Ca)(6)}
  20
              57-63. The Defendant generally denies all material allegations contained i
  21
       paragraphs 57-63 of the Complaint and refers to the proceedings in the underlying stat
  22
       court action and other proceedings relating to the funds alleged. The judgment alleg
  23

  24   has been appealed.

  25                                  FOURTH CLAIM FOR RELIEF
  26
                       (Obiection to Debtor's Discharge -11 U.S.C. §727(a)(2UA))
  27
              64-71. Fourth Claim for Relief is dismissed by Order dated November 8, 2023.
  28

                                               . 3.
              ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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                                    FIFTH CLAIM FOR RELIEF
  2
                   (Objection to Debtor's Dlscharge-11 U.S.C. §727 (a ){2)(8 1)
  3
         72-79. Fifth Claim for Relief is dismissed by Order dated November 8, 2023.
  4

  5
                                    SIXTH CLAIM FOR RELIEF

  6                  (Objection to Debtor's Discharge -11 U.S.C. §727(a )(3))

  7        80-84. Sixth Claim for Relief is dismissed by Order dated November 8, 2023.
  8
                                   SEVENTH CLAIM FOR RELIEF
  9
                     (Objection to Debtor's Discharge -11 u.s.c. §727{a){4))
  10
           85-93. Seventh Claim for Relief is dismissed by Order dated November 8, 2023.
  II

  !2                                EIGHTH CLAIM FOR RELIEF

  13                  (Objection to Debtor's Discharge -11 U.S.C. §727{a )(5 )l
  14
           94-96. Eighth Claim for Relief is dismissed by Order dated November 8, 2023.
  15
                                   FIRST AFFIRMATIVE DEFENSE
  16
              The Complaint fails to state a claim for which relief can be granted.
  17

  18                             SECOND AFFIRMATIVE DEFENSE

  19           As a separate and affirmative defense, Defendant is informed and believes and 0
  20
       that basis avers that Plaintiff and each person whose rights it purports to assert ha
  21
       unclean hands, and Plaintiff accordingly is barred from relief against Defendant for an
  22
       reason stated in the Complaint or any purported Claim for Relief therein.
  23

  24                               THIRD AFFIRMA TIYE DEFENSE

  25           As a separate and affirmative defense, Defendant avers that the Complaint, an
  26
       each purported Claim for Relief therein, is uncertain, ambiguous, and unintelligible.
  27

  28   "
                                                    - 4.
            ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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  case. 2·23-an-01153-SK Doc 52 Filed 02/12/24 Entered 02/12/24 13:38:42 Desc
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.                                Main Document Page 5 of 10




                                         FOURTH AFFIRMATIVE DEFENSE
       2
                    As a separate and affirmative, Defendant is informed and believes and on tha
       3
              basis avers that all equitable relief sought in the Complaint, and each purported Claim fo

              Relief therein, is barred by laches.
       5
       6                                    FIFTH AFFIRMATIVE DEFENSE
       7             As a separate and affirmative, Defendant is informed and believes and on tha
       8
              basis avers that Plaintiff end each person whose rights it purports to assert are estoppe
       9
              from asserting each and every purported Claim for Relief in the Complaint, or fro
       10
              seeking any relief thereby.
       11

       12                                   SIXTH AFFIRMATIVE DEFENSE
       13            As a separate and affirmative, Defendant is informed and believes and on tha
       14
              basis avers that Plaintiff and each person whose rights it purports to assert have waive
       15
              any and all right to relief against Defendant for any reason stated in the Complaint or an
       16
              purported Claim for Relief therein and that the claims contained in the Complaint ar
       17

       18     subject to setoff and/or recoupment.

       19                                SEVENTH AFFIRMATIV E DEFENSE
       20
                      As a separate and affirmative defense to each and every cause of action of th
       21
               Complaint, Defendants allege that Plaintiff is barred from recovery against Defendants
       22
               in whole or in part, because Plaintiff has failed to satisfy conditions or obligation
       23

       2-4     precedent to Defendants' performance of the contract or contracts.

       25

       26

        27
               II
        28

                                                     -5-
                    ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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 _                                  Main Document Page 6 of 10




                                          EIGHT AFFIRMATIVE DEFENSE
       2
                   As a separate and affirmative defense to each and every cause of action of th
       3
             Complaint, Defendants allege that Plaintiff's claims are barred by the doctrine of releas
       4
             and waiver.
       5

       6                                  NINTH AFFIRMATIVE DEFENSE

       7            As a separate and affirmative defense to each and every cause of action of th
       8
             Complaint, Defendants allege that Plaintiffs claims are barred by the doctrine of equitabl
       9
             estoppel.
       10
                                          TENTH AFFIRMATIVE DEFENSE
       11

       12           As a separate and affirmative defense to each and every cause of action of th

       13    Complaint, Defendants allege that Plaintiffs claims are barred or reduced by their failur
       14
             to mitigate their damages.
       15
                                      ELEVENTH AFFIRMATIVE DEFENSE
       16
                    As a separate and affirmative defense to each and every cause of action of th
       17

       18     Complaint, Defendants allege that Plaintiffs claims are barred because Plaintiff

       19     consented to Defendant's actions.
       20
                                       TWELFTH AFFIRMATIVE DEFENSE
       21
                     Defendants reserve their rights to assert additional defenses as and when the
       22
              learn of all the claims asserted against them, whether submitted or not, and as thei
       23

       24     discovery and investigation continues.

       25            WHEREFORE, Defendant, respectfully requests an entry of order.
       26
                               •   Dismissing the Complaint with prejudice;
       27

        28

                                                          -6-
                  ANSW[R TO COMPLAINT TO DEN\' DISCHARGE OF DEBT AND DENIAL Of' DISCHARGE
Case 2:23-ap-01169-SK    Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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  case 2:23-ap-01153-SK Do~ 52 Filed 02/12/24 Entered 02/12/2413:38:42 Desc
•• Case 2:23-ap-01153-SK tv'ffin:Q9cu1111mto11fMW 3~~ft7'd 01/16/24 18:22:37 Desc
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                    •   Entitling Defendant to recover the costs incurred in defending thi
  2
                        action, including attorney's fees; and
  3

  4
                    •   Granting such other and further relief as this Court deems just an

  s                     proper.

  6

  7   Dated: January _ , 2024
  8

  9

 10
                                                 LESLIE KLEIN
                                                 Defendant
 II

 12

 13

 14

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 16

 17

 IS

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                                                .7.
         ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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         In re: LESLIE KLEIN                         Chapter: 11
   2
                         Debtor(s)                   Case No: 2:23-bk-10990-SK
         ROBERT & ESTHER MERMELSTEIN                 Adv. No: 2:23-a -01153-SK
   J

   4                             PROOF OF SERVICE OF DOCUMENT
   s
              I am over the age of 18 and not a party to this bankruptcy case or adversa
   6    proceeding. My business address is 301 East Colorado Boulevard, Suite 520, Pasadena
        California 91101.
   1

   8
        A true and correct copy of the foregoing document described as ANSWER T
        COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE will b
   9    served or was served (a) on the judge In chambers in the form and manner required b
        LBR 5005-2(d); and (b) in the manner indicated below:

  11
        I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (" NEF"}
        Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR"), th
  12    foregoiDP 20cument will be served by the court via NEF and hypertink to the document
        On 1/.f-.::.12024, I checked the CMIECF docket for this bankruptcy case or adversa
  13    proceeding and detennined that the following person(s) are on the Electronic Mail Notic
        List to receive NEF transmission at the email address(es) indicated below:
  14

  15                                          [x] Service information continued on attached pag

   16
                             . MAIL OR OVERNIGHT MAIL indicated method for each             rson o
   17

   18   On 1/     2024, I served the following person(s) and/or entity(ies) at the last know
        addre (es) in this bankruptcy case or adversary proceeding by placing a true and correc
   19   copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid
        and/or with an overnight mall service addressed as follows. Listing the judge her
   20
        constitutes a declaration that mailing to the judge will be completed no later than 24 hour
   21    after the document is filed.

   22                                         [x] Service information continued on attached pag
   23

   24    I declare under penalty of perjury under the laws of the United      s of America that th
         foregoing is true and correct.
   25

   26
          1/ ['l,t2024       Eric J s n
   2,    Date                 Type Name

   28

                                                     - 8.
             ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
 Case 2:23-ap-01169-SK             Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44    Desc
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            In re: LESLIE KLEIN                    Chapter: 11
                                  Debtor(s)        Case No: 2:23-bk-10990-SK
   2
            ROBERT & ESTHER MERMELSTEIN            Adv. No: 2:23-ap-01153-SK
   3
            I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")
   4

              • Baruch C. Cohen bcc@baruchcohenesg.com,
                paralegal@baruchcohenesg.com
   6          • Michael I. Gottfried mqottfried@etkjnskalt.com, cavila@elkinskalt.com
                lwaqeman@elkinskatt.com, docketing@elkinskalt.com                     '
   7
              • Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
   8          • United States Trustee {LA) ustpregio16.la,ecf@usdoj.gov
              • Clarisse Young       younqshumaker@smcounset.com, levern@smcounsel.com
   9

   10
            11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL - VIA U.S. MAIL
   II
            Hon. Sandra Klein
   12       U.S. Bankruptcy Court
            255 E. Temple Street #1582
   13
            Los Angeles, California 90012
   14

   15

   16

   l7

   18

    19

   20

    21

    22

    23




    25

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       28

                                                   -9-
                  ANSWER TO COMPLAINT TO DENV DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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        EXHIBIT IV B
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                                                                       ~i-L_E_D__---i
                                                                  .----F
  J ~Ii, Klein.
  2
    322 North June Street
        •lo$ ·A nge-., e&lifomio 90004
                                                                        ' FE~]
  l     TEL~HONE:.~tt8) 50146153                                       CLEP.1{ U.S. 01'.~,.-awPTCY C0'JHT
        •EMAIL; lt§.fslelnWJIQmaJt.com                                CENTRAL DISTRICT OF CA:..if'G H;-:;A
                                                                      BV:                   O t.:!'FJi~• CJ.~-r>:
  4

  s •t1e~ lg Pro Se
  ti                                  UNrTeD STATES BANKRUPTCY COURT
  1                                    CENTRAL DIST'RICT OF CALIFORNIA
  8
                                            LOS ANGELES DIVISION
  9
        In re                                          Case No.: 2:23-bk-10990.SK
 10
       . LESLIE KLE1N,                                 Chapter 11
 lJ

 12                                                    Adv. No.: 2:23-ap-0116~K

 13
                                                       DECLARATION OF ERIC J. OLSON IN
 14
       - DAVID BERGER.                                 aESPO~!IE TO PLAINTIFF'S MOTJPN
 15                                                    FOR DEFAULT JUDGMENT
                         Plaintfff1
 16
 17
                v.                                      Place:      Courtroom 1575
                     .                                  Date:       February 14, 2024
 18 t.ESUE KLEIN,                                      Time:        9:00A.M.
 19                      Defendant.
 20

 21             Comes now lhe Defendant. L~lfe Klein ("Defendant") for himself only, and fo
 22     his response ta the Motion for Default Judgment (the "Motion") filed by David Berge
 23
        {the "PlalDtlff") .Pf$$8tlt$ the attached Declaration 01 Eric J. Olson:
 24
        Dated: February :L,., 2024
 25

 26<
 27                                                    LESLIE KLEIN
                                                       Defendant
 28

                                                     -1-
           DICLARATION OP EIUCJ. OLSON JN USPONSE TO PLAINTIFF'S MOTION JlOR DEFAULT
                                                  ,JUDQ..ENT
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                                               Entered
                         Main Document    Page 2 of 39




  .1   l.esne,Klein
       822 :North June Street
  l    Loa-Angelea, Galifomia &l)00.4.
  3    TELEP.HON!: J81:B).501:..26li3
       EMAIL: lesJd@lm. . .maB&em
  4
  s •Debt.or 111 Pl"O Se
  f                                  UNITED STATES BANKftUPTCY COURT
  1                                   CENTRAL OISTRICT OF CALIFORNIA
  8
                                          LOS ANGELES DIVISION
  9
       In re                                          Case No.: 2;23-bk-10990-SK
 10
       ·LESUE KLEIN,                                  Chapter 11
 11

 12                     Debtor.                       Adv. No.: 2:23-EIJ)-0116e;.$K
 1)
 14
                                                      DECLARATION OF ERIC J. OL$ON IN
       DAVID BERGER,                                  RE$PONSE TO PLAINTIFF'S MOTION
 15                                                   FOR b.EFAULT JUDGMENT •
                        Plaintiff;
 16

 17
               v.                                     Place:       Courtroom 1575
                    .                                 Date:        February 14, 2024
 1a    LESLIE KLEIN,                                  Time:        9:00.AM,

                        Defendant.


 21            Comes now the ·Defendant. Leslie Kleln {11Oefendanfl) ·for himself only, and fo

 22 . hie re&P008e to the Motion for Default Judgment (the "Motion") flied by David Berge

 23
       (the "Plaintiff") .Presents the attached Declaration of Erle J. Olson:
 24

 25
       Dated: February        _L 2024

                                                      LESLIE KLEIN
                                                      Defendant


                                                    --1-
          JJECLARATION'OF ERIC J. OLSON IN RESPONSE TO PLAINTIF'rS MOTION POR DEFAULT
                                                 JUDGMENT
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                                                    Entered 02/12/24 13:43:24 Desc
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        In re: LESLIE KLEIN                          Chapter: 11
                              Debtor(s)              Case No: 2:23-bk-10990-SK
2
        DAVID BERGER                                 Adv. No: 2:23-ap-01169-SK
3

4                              PROOF OF SERVICE OF DOCUMENT
5
              I am over the age of 18 and not a party to this bankruptcy case or adversar,
6      proceeding. My business address is 301 East Colorado Boulevard, Suite 520, Pasadena
       California 91101.
7
       A true and correct copy of the foregoing document described as DECLARATION OF
8
       ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAULl
9      JUDGMENT will be served or was served (a) on the judge in chambers in the form ana
       manner required by LBR 5005-2(d); and (b) in the manner indicated below:
10
       I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF") -
11
       Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR"), the
12     foregoing document will be served by the court via NEF and hyperlink to the document
       On 2/12/2024, I checked the CM/ECF docket for this bankruptcy case or adversal")
13     proceeding and determined that the following person(s) are on the Electronic Mail Notice
       List to receive NEF transmission at the email address(es) indicated below:
14

15                                            [x] Service information continued on attached page

16
       II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicated method for each oerson 0 1
17
       entity served):
18     On 2/12/2024, I served the following person(s) and/or entity(ies) at the last knowr
       address(es) in this bankruptcy case or adversary proceeding by placing a true and correc
19     copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid
       and/or with an overnight mail service addressed as follows. Listing the judge here
20
       constitutes a declaration that mailing to the judge will be completed no later than 24 hours
21     after the document is filed.

22                                            [x] Service information continued on attached page
23

24     I declare under penalty of perjury under the laws of the United States of America that the
       foregoing is true and correct.
25

26
        2/12/2024          Jasper Pantaleon
21     Date                 Type Name                           Signati

28


                                              -2-
          DECLARATION OF ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAULT

                                                JUDGMENT
    Case 2:23-ap-01169-SK Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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                                                   Entered  02/12/24 13:43:24 Desc
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       In re: LESLIE KLEIN                        Chapter: 11
                             Debtor(s)            Case No: 2:23-bk-10990-SK
2
       DAVID BERGER                               Adv. No: 2:23-ao-01169-SK
3
      I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")
4

5
         •   Baruch C. Cohen bcc@baruchcohenesq.com,
             paralegal@baruchcohenesg.com
6        •   Michael I. Gottfried mqottfried@elkinskalt.com, cavila@elkinskalt.com,
             lwageman@elkinskalt.com , docketing@elkinskalt.com
7
         •   Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
8        •   United States Trustee (LA) ustpregion16.la.ecf@esdoj.gov

9     II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL - VIA U.S. MAIL
10
      Hon. Sandra Klein
11    U.S. Bankruptcy Court
      255 E. Temple Street #1582
12    Los Angeles, California 90012
13

14

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                                             -3-
         DECLARATION OF ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAULT

                                             JUDGMENT
Case 2:23-ap-01169-SK    Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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        DECLARATION OF ERIC J OLSON RE MOTIONS FOR DEFAULT
2
                 JUDGMENT BY BERGER AND MERMELSTEIN
3

4    ERIC OLSON states:
5
          1.    I am an attorney at law, at one period I appeared on behalf o
6

7
          Leslie Klein while he engaged a bankruptcy lawyer, but I wa
g
          substituted out in favor of the bankrupt~y lawyer. Subsequently I have
9
          without appearing, consulted with Mr. Klein and drafted documents fo
10

11        him in pro se. All matters set forth herein are based on my own first
12
          hand knowledge unless stated otherwise and I am competent to testif
13

14
          thereto.

15        2.    Based on the facts below, the motions of both plaintiffs shoul
16
          be denied because:
17

18              a.    EACH PLAINTIFF RECOGNIZED HIS/HER OBLIGATIO
19
                TO GIVE DEFENDANT KLEIN WARNING OF A POTENTIA
20

21
                DEFAULT BUT THEN THE NEXT DAY,                     FILED THEI

22               REQUESTS FOR DEFAULT.              DEFENDANT RESPONDE
23
                 PROMPTLY BUT PLAINTIFFS FAILED TO RESPOND TO HI
24

25               REQUEST TO STIPULATE TO SET ASIDE THE DEFAULT S
26
                 THE ANSWERS COULD BE FILED. THE COURT SHOUL
27

28


       DECLARATION OF ERIC J. OLSON RE: MOTIONS FOR DEFAULT JUDGMENT BY BERGER AND
                                        MERMELSTEIN
                                             -1-
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               PERMIT THE ANSWERS REFERRED TO BELOW TO B
2
               FILED.
3

4              b.    SUBSEQUENTLY            EACH        PLAINTIFF         FILE
5
               AMENDMENTS           TO   THEIR    CLAIMS      SUBSTANTIALL
6

7
               INCREASING THEM.          TAKING THE POSITION THAT THI

8              "OPENED"      THE    DEFAULTS,      DEFENDANT        HAS    FILE
9
               ANSWERS TO THE MOTIONS AS AMENDED BY TH

11             AMENDED CLAIMS, NO OBJECTION HAS BEEN RECEIVE
12
               OR MOTION TO STRIKE OR OTHERWISE SET ASIDE sue
13

14
               ANSWERS. BY REASON OF SUCH ANSWERS DEFAUL

15             JUDGMENTS SHOULD BE DENIED.
16
          3.   On November 27, 2023 the Attorney for Plaintiff Berger sent th
17

18        letter dated November 27, 2023 attached as Exhibit A warning o
19
          Proposed Default. He also sent an identical letter on behalf of th
20

21
          Mermelstein Plaintiffs.

22        4.   The authorities cited by the Attorney regarding warning includ
23
          reference to Weil & Brown, Civil Procedure Before Trial (Rutter 2007
24

25        5:68- 5.70. In 5.71 Rutter states: "PRACTICE POINTER If you'r
26
          representing plaintiff and have had any contact with a lawye
27

28
          representing defendant, don't even attempt to get a default entere

      DECLARATION OF ERIC J. OLSON RE: MOTIONS FOR DEFAULT JUDGMENT BY BERGER AND
                                       MERMELSTEIN
                                            -2-
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         without giving such lawyer written notice of your intent to request entr
2
         of default, and a reasonable time within which time within whic
3

4        defendant's pleading must be filed to prevent your doing so. [Fasuyi v
5
         Permatex, Inc., supra 167 CA4th at 701 ... [quoting text]
6

7
         5.    At an earlier time, when I was attorney of record for Mr. Klein,

8        dealt with the attorney for Plaintiffs herein and prepared a stipulatio
9
         for extension to plead which both parties signed and the Cou
10

11       approved.
12
         6.    Mr. Klein contacted us on or about November 28, 2023 to dra
13

14
         answers for him. On or about November 28, 20231 asked my assistan

15       to check the dockets and he reported that such Plaintiffs had alread
16
         requested entry of default. I sent the attorney a letter on November 29
17

JR       2023, a copy of which, together with the additional sections from Rutte
19
         that I referred to therein as Exhibit B. I never heard back from him .
20

21
         7.    On December 8, 2023 I followed up with an email, a copy o

22        which is attached as Exhibit C. I never heard back from him.
23
          8.    I was informed that there was a status conference on or abou
24

25        December 20, 2023 where Mr. Klein was instructed to present hi
26
          grounds for being permitted to file answers and set aside the default
27

28
          at hearings scheduled 2/14/24. Such grounds appear herein.

      DECLARATION OF ERIC J. OLSON RE: MOTIONS FOR DEFAULT JUDGMENT BY BERGER AND
                                       MERMELSTEIN
                                            - 3-
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          9.    Subsequently in each case the Plaintiff(s) filed amendments t
 2
          their claims and I revised the draft answers referred to in Exhibit C fo
 3

 4        Mr. Klein and had my assistant present them for filing on his behalf
 5
          Such Answers were filed and conformed copies are attached heret
 6

 7        as Exhibit D (as to Berger) and E (as to Mermelstein). I have not hear
 8
          directly or indirectly from the attorney for Plaintiffs about them.
 9
     I declare under penalty of perjury under the laws of the United States tha
10

11   the foregoing is true and correct and executed at Pasadena , California thi
12
     February 2, 2024.
13

14

15

16
                                                      Eric J. Olson
17

18

19

20

21

22

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      DECLARATION OF ERIC J. OLSON RE: MOTIONS FOR DEFAULT JUDGMENT BY BERGER AND
                                       MERMELSTEIN
                                            -4-
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      In re: LESLIE KLEIN                          Chapter: 11
                            Debtor(s)              Case No: 2:23-bk-10990-SK
2
      DAVID BERGER                                 Adv. No: 2:23-ap-01169-SK
3

4                             PROOF OF SERVICE OF DOCUMENT
5
            I am over the age of 18 and not a party to this bankruptcy case or adversal)
6    proceeding. My business address is 301 East Colorado Boulevard, Suite 520, Pasadena
     California 91101.
7
     A true and correct copy of the foregoing document described as DECLARATION OF
8
     ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAUL7
9    JUDGMENT will be served or was served (a) on the judge in chambers in the form anc
     manner required by LBR 5005-2(d); and (b) in the manner indicated below:
10
     I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF"l -
11
     Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR"), the
12   foregoing document will be served by the court via NEF and hyperlink to the document
     On 2/12/2024, I checked the CM/ECF docket for this bankruptcy case or adversal)
13   proceeding and determined that the following person(s) are on the Electronic Mail Notice
     List to receive NEF transmission at the email address(es) indicated below:
14

15                                          [x] Service information continued on attached page

16
     11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicated method for each oerson 0 1
17
     entity served):
18   On 2/12/2024, I served the following person(s) and/or entity(ies) at the last knowr
     address(es) in this bankruptcy case or adversary proceeding by placing a true and correc
19   copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid
     and/or with an overnight mail service addressed as follows. Listing the judge here
20
     constitutes a declaration that mailing to the judge will be completed no later than 24 hour~
21   after the document is filed.

22                                          [x] Service information continued on attached page
23

24    I declare under penalty of perjury under the laws of the United States of America that the
      foregoing is true and correct.
25

26
       2/12/2024         Jasper Pantaleon
21    Date                Type Name                          Sign

28


                                             -2-
         DECLARATION OF ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAULT

                                              JUDGMENT
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       In re: LESLIE KLEIN                        Chapter: 11
                             Debtor(s)            Case No: 2:23-bk-10990-SK
2
       DAVID BERGER                               Adv. No: 2:23-ao-01169-SK
3
      I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF" )
4
         •   Baruch C. Cohen bcc@baruchcohenesg.com,
5
             paralegal@baruchcohenesg.com
6        •   Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com,
             lwaqeman@elkinskalt.com, docketing@elkinskalt.com
7        •   Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
8        •   United States Trustee (LA) ustpregion16.la.ecf@esdoj.gov

9     II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL - VIA U.S. MAIL
10
      Hon. Sandra Klein
11    U.S. Bankruptcy Court
      255 E. Temple Street #1582
12    Los Angeles, California 90012
13

14

15

16

17

18

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20

21

22

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                                                 -3-
         DECLARATION OF ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAULT

                                             JUDGMENT
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   Law Office of
   Baruch C. Cohen, Esq.
   A Professional Law Corporation


   4929 Wilshire Boulevard, Suite 940                                         Telephone: (323) 937-4501
   Los Angeles, California 90010-3823                                          Facsimile: (888) 316-6107
   Email: baruchcoben@baruchcohenesq.com                                           bcc4929@gmail.com
                                                November 27, 2023

    Via Email: les.kleinlaw@gmaiLcom

   Leslie Klein                                                Leslie Klein
   322 North June Street                                       14245 Ventura Boulevard, 3rd Floor
   Los Angeles, CA 9000 l                                      Sherman Oaks, CA 91423

   Re:        David Berger vs Leslie Klein, 2:23-ap-0l 169-SK, Warning of Proposed Default

   Dear Mr. Klein:
    Per the Court's Order on Defendant's Motion for Ordt,!r Dismissing Certain Causes of Action in
    Complaint, you were supposed to respond to the Complaint by 11-18-2023. As of today, 11-27-
    2023, you failed to respond to the Complaint. As you are representing yourself in pro per, I am
    giving you a professional courtesy notice of our intentions to pursue a default against the you. 1
    If you have any questions or comments regarding the above, please do not hesitate to call.



    (j;r;~~
    BARUCH C. COHEN
    cc: David Berger
    D:IDATAIDOCS\llERGER-2\WARNING OF PROPOSED DEFAULT.wpd
    JI 127-9:50am




            1
             Pursuant to:. Section 15 of the State Bar's enacted California Attorney Guidelines of
    Civility and Professionalism; Shapell Socal Rental Properties. LLC v. Chico's FAS, Inc., (2019)
    36 Cal.App.5th at 134,137, No. G060411, 2022 Cal. App. LEXIS 854 (Ct. App. Oct. 17, 2022); ;
    Fasuyi v. Permatex, Inc., 84 Cal. Rptr. 3d 351 (Cal. Ct. App. 2008), quoting Au-Yang v. Barton,
    90 Cal. Rptr. 2d 227 (1999)); Lasalle v. Vogel, 36 Cal. App. 5th 127, 248 Cal. Rptr. 3d 263
    (2019); Pearson v. Continental Airlines, (1970) 11 Cal.3d 613,619); Weil & Brown, Civil
    Procedure Before Trial (Rutter 2007) 5:68-5:70
                                                        Page l of l
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            EXHIBIT B
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    Eric J. Olson
    Attorney at Law                                                              T: (818) 245 2246
                                                                                 C: (626) 224 5619
                                                                              www.EJOlsonLaw.com
                                                                            Erlc@EJOlsonLaw.com



    November 29, 2023

    Baruch C. Cohen, Esq.              email: baruchcohen@baruchcohenesq.com


    Re: Mermelstein v. Leslie Klein - Case No. 2:23-ap-01153-SK
        Berger v. Leslie Klein - Case No. 2:23-ap-01169-SK

    Dear Mr. Cohen:

           I am writing regarding your letters dated November 27 "Warning of Proposed
    Default".

          Mr. Klein, who is still in prose, requested that I contact you to advise that I have
    been asked to assist him in drafting answers. To my surprise, my assistant advised that
    he found notices from the Clerk that your office had submitted requests to enter default
    yesterday and they were entered .

            I am requesting that you confirm that you will stipulate to setting aside the default
    to permit him to file his answers {which I would contemplate tendering to the Court with
    the stipulation) . That would be consistent with 9th Circuit authority. See Ahanchian v.
    Xenon Pictures, Inc. (9th Cir 2010) . See also Civil Procedure Before Trial (TRG) 5.29-
    5.29.1 (b). I hope to have answers ready by December 8, 2023.

             Mr. Klein is still in pro se as he seeks to engage a new "real" bankruptcy lawyer.

            I understand that the Court has urged the parties to see if they cannot mediate
     the various complaints and we hope to have arrangements soon .

                                        Very truly yours,



                                         Eric Olson




                        301 E. Colorado Blvd, Ste 520, Pasadena, CA 91101
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                    (b) Examples
                        1) (5:27] In a personal injury action, tt summons             (
                           is served by substitute service, D's re-
                           sponse is not due until 40 days after copies
                           of the summons and complaint were mailed
                           to defendant (10 days after the mailing, plus
                           30 days to respond), whereas ii D had been
                           served personally, he or she would have had
                           only 30 days to respond.
                        2)   [5:28] In an unlawful detainer action, if the
                             summons and complaint are served personally,
                             D has only 5 days within which to file a responsive
                             pleading, but if substitute service is used, D
                             would have 15 days after copies are mailed.
              (2)   [5:29] Where time extended: Defendant's time to
                    respond to the complaint may be extended, either by
                    stipulation with plaintiff's counsel (limited to 15 days-
                    Gov.C. §68616), or by court order on a showing of "good
                    cause· (limited to 30 days without adverse party's
                    consent-CCP §1054).
                    (a) [5:29.1] Duty to extend: Unless time is of the
                        essence, judges expect counsel to grant a request
                        for extension within the 15-day limitation imposed
                        by Gov.C. §68616, so as to obviate the need for
                        defendant making an ex parte application which
                        the court is likely to grant.
                        Some local rules recommend that consideration
                        be given to an opponent's "schedule of profes-
                        sional and personal engagements" and that no unfair
                        and extraneous conditions be attached to a stip-
                        ulated extension of time to plead. !See L.A. Sup.Ct.
                        Rule 3.26, App. 3.A(a)]                         '
                         Civility Guidelines:
                             "Unless time is of the essence, an attorney should
                             agree to an extension without requiring motions
                             or other formalities, regardless of whether the
                              requesting counsel previously refused to grant
                              an extension;
                              "An attorney should place conditions on an
                              agreement to an extension only if they are fair
                              and essential or if the attorney is entitled to
                              impose them, for instance to preserve rights
                              or seek reciprocal scheduling concessions."
                              [State Bar California Attorney Guidelines of Civility
                              aod Professionalism §61
                         As stated by one court, "We do not approve of the
                         'hardball' tactics unfortunately used by some law


      5-8
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                             firms today . . . Where, as here, there is no indication
                             of bad faith, prejudice or undue delay, attorneys
                             should not oppose reasonable requests for extensions
                             of time brought by their adversaries." (Ahanchian
                             v. Xenon Pictures, Inc. (9th Cir. 2010) 624 F3d 1253,
                             1263 (emphasis added; internal quotes omitted)
                             (citing Cal. Attorney Guidelines of Civility & Prof.
                             §6))
                        (b) [5:29.2] Duty to warn? On expiration of the
                            extension, plaintiff's counsel may request entry of
                            defendant's default. However, where the time to
                            respond was extended by stipulation, plaintiff's duty
                            to wam before entry of default is particularly strong.
                            Entry of default immediately upon expiration of the
                            extension, without prior warning to defense counsel,
                            is a professional dscourtesy and would almost oertainly
                            be set aside. See 'jj5:68 ff.
                              Civility Guideline: An attorney should not take the
                              default of an opposing party known to be represented
                              by counsel without giving the party advanoe warning.
                              [State Bar California Attorney Guidelines of Civility
                              and Professionalism §15}
                         (c) (5:29.3) Limitation: Parties may not stipulate
                             to more than one 15-day extension of lime to plead
                             without court order. [Gov.C. §68616, see i]6:386;
                             CRC 3.110(d))
                         (d) [5:29.4) Appllcatlon for further extension: The
                             court may extend the time to respond sua sponte
                             or on a party's application. {CRC 3.11 0(e )]
                              A party's application for an order extending the time
                              to serve any pleading (complaint, cross- ,
                              complaint, or responsive pleading) must be filed
                              with the court before the time for service has expired.
                              In addition, the application must be ac-
                              companied by a declaration:
                                   "showing why service has not been completed;
                                   "documenting the efforts that have been made
                                   to complete service; and
                                   "specifying the date by which service is proposed
                                   to be completed." [CRC 3.110(e}]
                               FORM: The application for further extension may
                               be made on optional Judicial Council tonn CM-020,
                               Ex Parte Application for Extension of lime to Serve
                               Pleading and Orders.
                               See Form 5:2 in Rivera, Cal. Prac. Guide: Civ. Pro.
                               Before Trial FORMS (TRG).


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             EXHIBIT C
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Eric@EJOlsonLaw.com

From:                            eric@EJOlsonLaw.com
Sent:                            Friday, December 8, 2023 1:03 PM
To:                              baruchcohen@baruchcohenlaw.com
Subject:                         FW: klein - ltr cohen 11 - 29-23a
Attachments:                     klein - ltr cohen 11-29-23a.pdf



Mr. Cohen, I am writing to follow up on this letter. As estimated I have a draft answer and would like to reiterate my
request to let me prepare a suitable stipulation and get the answer on file as part of moving forward to attempting to
mediate a resolution to this matter. Please let me know.

Note New Address


&'U(,   f) ()~
E J Olson Law
301 E. Colorado Blvd. Ste 520
Pasadena, CA 91101
T: 818 245 2246
C: 626 224 5619
Eric@EJOlsonLaw.com


From: eric@EJOlsonLaw.com <eric@EJOlsonLaw.com>
Sent: Wednesday, November 29, 2023 4:36 PM
To: ba ruchcohen@baruchcohenesq.com
Subject: klein • ltr cohen 11-29 -23a




Note New Address


&,zu f) ()fAtue
E J Olson Law
301 E. Colorado Blvd. Ste 520
Pasadena, CA 91101
T: 818 245 2246
C: 626 224 5619
Eric@EJOlsonLaw.com
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             EXHIBIT D
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      Leslie Klein
                                             FfLEO
      322 North June Street
2
      Los Angeles, California 900( ~
                                        JAN D2 2024
3     TELEPHONE: (818) 501-26l 3 cii~r~i\~f."!'2';YcoUllr
                                           ··~ %~!tlF~~L"
4
      EMAi L: les.kleinlaw@gmail. ~~av,
                                                 .
      Oeb1or In Pro Se
5

6                                UNITED ST ATES BANKRUPTCY COURT

7                                 CENTRAL DISTRICT OF CALIFORNIA

8                                      LOS ANGELES DIVISION
9
      In re                                          Case No.: 2:23-bk-10990-SK
10
      LESLIE KLEIN,                                  Chapter 11
II

12
                    Debtor                           Adv. No.: 2:23-ap-01169-SK

13
                                                      ANSWER TO COMPLAINT TO DENY
14
      DAVID BERGER,                                   DISCHARGE OF DEBT AND DENIAL OF
IS                                                    DISCHARGE (AS AMENDED BY PROOF
                    Plaintiff,                        OF CLAIM DATED DECEMBER 19,
16                                                    2023)
               V.
\7

1&    LESLIE KLEIN,                                   Place:      Courtroom 1575

19                  Defendant.
20

21              Comes now the Defendant, Leslie Klein ("Defendant") for himself only, and fo

22     his answer to the Complaint to Deny Discharge of Debt and Denial of Discharge (th
23
       "Complaint") filed by David Berger (the "Plaintiff'), and states as follows:
24
                                                PREFACE
25
                Plaintiff caused a request for entry default to be filed November 28, 2023 and
26

27     Default was entered thereon November 29, 2023. Plaintiff filed Proof of Claim dated

 28    December 19, 2023 thereby opening the default.



                                               . 1.
              ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF OISC.HARGF.
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                              CORE/NON-CORE DESIGNATION
2
       1. The Defendant admits the allegations contained in paragraph 1 of the Complaint.
3
                            JURISDICTION , VENUE & STANDING
4
       2. The Defendant admits the allegations contained in paragraph 2 of the Complaint.
s
6      3. The Defendant admits the allegations contained in paragraph 3 of the Complaint.

7      4. The Defendant admits the allegations contained in paragraph 4 of the Complain
8
           except the Plaintiff has filed a Proof of Claim dated December 19, 2023.
9
                                            PARTIES
10
       5. The Defendant admits the allegations contained in paragraph 5 of the Complaint.
\I

12     6. The Defendant admits the allegations contained in paragraph 6 of the Complaint.

13      7. The Defendant admits the allegations contained in paragraph 7 of the Complain
14
           except that the second sentence (including footnote) should be striken.
15
                                   GENERAL ALLEGATIONS
16
       8-21. The Defendant generally denies all material allegations contained in paragraph
17

18   8-21 of the Complaint and further alleges that Plaintiff has filed a Proof of Claim o

19   December 19, 2023 increasing the alleged damages to $12,010,958.83; Defendan
20
     generally denies all material allegations contained in said Proof of Claim.
21
                     PLAINTIFF's DISCOVERY OF DEFENDANT'S FRAUD
22
        22. The Defendant denies the allegations contained in paragraph 22 of the Complaint
23

24                                  FIRST CLAIM FOR RELIEF

25                   (Nondischargeability of Debt - 11 U.S.C §523(a)(2)(A)}
26
         23-30. The Defendant generally denies all material allegations contained i
27
     paragraphs 23-30 of the Complaint and further alleges that Plaintiff has filed a Proof o
28




                                          -2-
         ANSWER TO COMPLAINT TO DENY DISCHARGE OF DERT ANO OF.NIAi . OF nt~<'I-URC.P
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       •                                Mam Document        Pige 3 of 9



   1        Claim on December 19, 2023 increasing the alleged damages to $12,010,958.83
   2
            Defendant generally denies all material allegations contained in said Proof of Claim.
   3
                                         SECOND CLAIM FOR RELIEF
   4
                             {Nondischargeability of Debt-11 U.S.C. §523(a)(4))
   5

   6            31-37. The Defendant generally denies all material allegations contained i

   7        paragraphs 31-37 of the Complaint and further alleges that Plaintiff has filed a Proof o
       8
            Claim on December 19, 2023 increasing the alleged damages to $12,010,958.83
       9
             Defendant generally denies all material allegations contained in said Proof of Claim.

                                           THIRD CLAIM FOR RELIEF
   I1

   12                        (Nondischargeability of Debt - 11 U.S.C. §523(a)(6))

   13            38-44. The Defendant generally denies all material allegations contained i
   14
             paragraphs 38-44 of the Complaint and further alleges that Plaintiff has filed a Proof o
   15
             Claim on December 19, 2023 increasing the alleged damages 1o $12,010,958.83
   16
             Defendant generally denies all material allegations contained in said Proof of Claim.
   17

   18                                     FOURTH CLAIM FOR RELIEF

   19                     (Objection to Debtor's Discharge - 11 U.S.C. §727 (a)(2)(A })
   20
                 45-52. Fourth Claim for Relief is dismissed by Order dated November 9, 2023.
   21
                                            FIFTH CLAIM FOR RELIEF
   22
                          {Objection to Debtor's Discharge -11 U.S.C. §727(a)(2)(B))
   23

   24            53-60. Fifth Claim for Relief is dismissed by Order dated November 9, 2023.

   25                                       SIXTH CLAIM FOR RELIEF
       26
                            (Objection to Debtor's Discharge - 11 U.S.C. §727(a )(3))
       27
                 61-65. Sixth Claim for Relief is dismissed by Order dated November 9, 2023.
       28




                                                         - 3•
                  ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
 Case 2:23-ap-01169-SK        Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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                                  SEVENTH CLAIM FOR RELIEF
 2
                    (Ob jection to Debtor's Discharge -11 U.S.C. §727 (a)(4 ))
 3
         66-74. Seventh Claim for Relief is dismissed by Order dated November 9, 2023
 4
                                   EIGHTH CLAIM FOR RELIEF
 5

 6                  (Ob jection to Debtor's Discharge -11 U.S.C. §727 (a)(5})

 7       75-77. Eighth Claim for Relief is dismissed by Order dated November 9, 2023.
 8
                                  FIRST AFFIRMATIVE DEFENSE
 9
      The Complaint fails to state a claim for which relief can be granted.
 10
                                SECOND AFFIRMATIVE DEFENSE
 11

 12   As a separate and affirmative defense, Defendant is informed and believes and on tha

 13   basis avers that Plaintiff and each person whose rights it purports to assert have unclea
 14
      hands, and Plaintiff accordingly is barred from relief against Defendant for any reaso
 15
      stated in the Complaint or any purported Claim for Relief therein.
 16
                                  THIRD AFFIRMATIVE DEFENSE
 I7

 I8   As a separate and affirmative defense, Defendant avers that the Complaint, and eac

 19   purported Claim for Relief therein, is uncertain, ambiguous, and unintelligible.
 20
                                 FOURTH AFFIRMATIVE DEFENSE
 21
      As a separate and affirmative, Defendant is informed and believes and on that basis ave
 22
      that all equitable relief sought in the Complaint, and each purported Claim for Relie
 23

 24   therein, is barred by !aches.

 25                                FIFTH AFFIRMATIVE DEFENSE
 26
      As a separate and affirmative, Defendant is informed and believes and on that basis aver
 27
       that Plaintiff and each person whose rights it purports to assert are estopped fro
 28




                                            - 4-
           ANSWER TO COMPLAINT TO DENY DISCHARGE Of DEBT AND DENIAL OF Dl~C.HAR<:J'.
 Case 2:23-ap-01169-SK        Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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 1    asserting each and every purported Claim for Relief in the Complaint, or from seekin
 2
      any relief thereby.
 3
                                 SIXTH AFFIRMATIVE DEFENSE
 4
      As a separate and affirmative, Defendant is informed and believes and on that basis aver
 5

 6    that Plaintiff and each person whose rights it purports to assert have waived any and al

 7    right to relief agains1 Defendant for any reason stated in the Complaint or any purporte
 8
      Claim for Relief therein and that the claims contained in the Complaint are subject t
 9
      setoff and/or recoupment

                                SEVENTH AFFIRMATIVE DEFENSE
 11

 12   As a separate and affirmative defense to each and every cause of action of the Complaint

 13   Defendants allege that Plaintiff is barred from recovery against Defendants, in whole 0
 14
      in part, because Plaintiff has failed to satisfy conditions or obligations precedent t
 15
      Defendants' performance of the contract or contracts.
 16
                                  EIGHT AFFIRMATIVE DEFENSE
 17

       As a separate and affirmative defense to each and every cause of action of the Complaint

 19    Defendants allege that Plaintiff's claims are barred by the doctrine of release and waiver
 20
                                  NINTH AFFIRMATIVE DEFENSE
 21
       As a separate and affirmative defense to each and every cause of action of the Complaint
 22
       Defendants allege that Plaintiff's claims are barred by the doctrine of equitable estoppel.
 23

 24                               TENTH AFFIRMATIVE DEFENSE

 25    As a separate and affirmative defense to each and every cause of action of the Complaint
 26
       Defendants allege that Plaintiffs claims are barred or reduced by their failure to mitigat
 27
       their damages.
 28




                                                   . 5.
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                               ELEVENTH AFFIRMATIVE DEFENSE
2
     As a separate and affirmative defense to each and every cause of action of the Complaint
3
     Defendants allege that Plaintiffs claims are barred because Plaintiffs consented t
4
     Defendant's actions.
5

6                               TWELFTH AFFIRMATIVE DEFENSE

7    Defendants reserve their rights to assert additional defenses as and when they learn 0
8
     all the claims asserted against them, whether submitted or not, and as their discove
9
     and investigation continues.
10
            WHEREFORE, Defendant. respectfully requests an entry of order.
11

12                    •     Dismissing the Complaint as Amended by the Proof of Claim wit

13                          prejudice;
14
                      •     Entitling Defendant to recover the costs incurred in defending thi
!5
                            action, including attorney's fees; and
16

17
                      •     Granting such other and further relief as this Court deems just an

18                          proper.
19    Dated: December_, 2023
20

21
                                                    - - -~~=-=--- - - - - - - - -
                                                    LESLIE KLEIN
22                                                    Defendant
23

24

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26

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28




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          ANSWER TO COMPLAINT TO DENY DISC.HARr~F. OF nFRT ANn nJ;'!\ll.61 011 nr~l'UADr:E"
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      AAtn re: LESLIE KLEIN                          Chapter: 11
                          Debtor(s)                  Case No: 2:23-bk-10990-SK
2
      DAVID BERGER                                   Adv . No: 2:23-ap-01169-SK
3

4                              PROOF OF SERVICE OF DOCUMENT
5
             I am over the age of 18 and not a party to this bankruptcy case or adversal)
6     proceeding. My business address is 301 East Colorado Boulevard, Suite 520, Pasadena
      California 91101.
7
      A true and correct copy of the foregoing document described as ANSWER TC
8
      COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE will be
9     served or was served (a) on the judge in chambers in the form and manner required b~
      LBR 5005-2(d); and (b) in the manner indicated below:
10

]]
      I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING C-'NEF"} -
      Pursuant to controlling General Order(s) and local Bankruptcy Rule(s) ("LBR"}, the
12    foregoin~cument will be served by the court via NEF and hyperlink to the document
      On 12/ h. 023, I checked the CM/ECF docket for this bankruptcy case or adversal')
13    procee ing and determined that the following person(s) are on the Electronic Mail Notice
      List to receive NEF transmission at the email address(es) indicated below:
14

IS                                            [x) Service information continued on attached page

16
      11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicated method for each oerson o 1
17
      entity served}:
18    On 12~/2023, I served the following person(s) and/or entity(ies) at the last knowr
      address(es) in this bankruptcy case or adversary proceeding by placing a true and correc
19    copy thereof in a sealed envelope in the United States Mail, first class, postage prepaid
      and/or with an overnight mail service addressed as follows. Listing the judge here
20
      constitutes a declaration that mailing to the judge will be completed no later than 24 hour~
21    after the document is filed.

22                                            (x) Service information continued on attached page
23

24     I declare under penalty of perjury under the laws of the United States of America that the
       foregoing is true and correct.                                  .• -·- -->
25

26
        12, l/,2023         ~EricJ~.Olson' " ' - - - - -_ ~ / Z l _
27     Date                 Type Name                     Signature

 28




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           ANSWER TO COMPLAINT TO DENY DISCH ARC.F OF 011.RT A NO JWNl A. I 01? nt<.:ri.t A 12r.s:-
Case 2:23-ap-01169-SK         Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44         Desc
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      In re: LESLIE KLEIN                        Chapter: 11
                            Debtor(s)            Case No: 2:23-bk-10990-SK
2
      DAVID BERGER                               Adv. No: 2:23-ao-01169-SK
3
      I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF"}
4
        •   Baruch C. Cohen bcc@baruchcohenesg.com,
5
            paralegal@baruchcohenesg.com
6       •   Michael I. Gottfried mqottfried@elkinskalt.com, cavila@elkinskalt.com,
            lwageman@elkinskalt.com, docketinq@elkinskalt.com
7
        •   Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
8       •   United States Trustee (LA) ustpreqion16.la.ecf@esdoj.gov

9     11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL - VIA U.S. MAIL
10
      Hon. Sandra Klein
11    U.S. Bankruptcy Court
      255 E. Temple Street #1582
12    Los Angeles, California 90012
13

14

15

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                                                                              FILED
     1      Leslie Klein                                                     JAN 12 20l\
     2
            322 North June Street
            Los Angeles, California 90004                                 ~-·
                                                                         ~-~w«-Ai,ma:i
                                                                         In.     a...c,,c..
     3      TELEPHONE: (818) 501-2663
            EMAIL: les.klejnlaw@gmail.com
     4
            Debtor In Pro Se
     5

     6                                 UNITED STATES BANKRUPTCY COURT

     7                                    CENTRAL DISTRICT OF CALIFORNIA
     8
                                               LOS ANGELES DIVISION
     9
            In re                                         Case No.: 2:23-bk-10990-SK
    JO
            LESLIE KLEIN,                                 Chapter 11
    II

    12                   Debtor.                          Adv. No.: 2:23-ap-01153-SK

    13      ROBERT & ESTHER MERMELSTEIN,
    14
                                                          ANSWER TO COMPLAINT TO DENY
                         Plaintiffs,                      DISCHARGE OF DEBT AND DENIAL OF
    15                                                    DISCHARGE (AS AMENDED BY
                    V.                                    AMENDED PROOF OF CLAIM FILED
    16                                                    1/10/2024)
            LESLIE KLEIN,
    17
                                                          Place:       Courtroom 1575
    18                   Defendant.

    19

    20              Comes now the Defendant, Leslie Klein ("Defendant'') for himself only, and fo

    21      his answer to the Complaint to Deny Discharge of Debt and Denial of Discharge (th
    22
            .,Complaint") filed by Robert Mermelstein and Esther Mermelstein (the "Plaintiffs"), an
    23
            states as follows:
    24
                                                     PREFACE
    25

    26              Plaintiff caused a request for entry default to be filed November 28, 2023 an

    21      Default was entered thereon November 28, 2023. Plaintiff filed 6 amended Proof of Clai
    28
            dated January 10, 2024 thereby opening the default.

                                                        - J-
                ANSWER TO COMPI...AJNT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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'
                                         CORE/NON-CORE DESIGNATION
         2
                  1. The Defendant admits the allegations contained in paragraph 1 of the Complaint
         3
                     and consents to entry of final orders or judgment by the bankruptcy court.
         4
                                       JURISDICTION, VENUE & STANDING
         5

         6        2. The Defendant admits the allegations contained in paragraph 2 of the Complaint.

         7        3. The Defendant admits the allegations contained in paragraph 3 of the Complaint.
         8
                  4. The Defendant admits the allegations contained in paragraph 4 of the Complaint.
         9
                                                      PARTIES
         10
                   5. The Defendant admits the allegations contained in paragraph 5 of the Complaint.
         II

         12        6. The Defendant admits the allegations contained in paragraph 6 of the Complaint.

         13        7. The Defendant admits the allegations contained in paragraph 7 of the Complaint.
         14
                                             GENERAL ALLEGATIONS
         15
                   8-36. The Defendant generally denies all material allegations contained in paragraph
         16
                8-36 of the Complaint and refers to the proceedings in the underlying state court actio
         17

         18     and other proceedings relating to the funds alleged. The judgment alleged has bee

         19     appealed.
         20
                 PERIODIC PAYMENTS TO PLAINTIFFS FROM DEFENDANT'S IOLTA ACCOUNT
         21
                  37. The Defendant denies the allegations contained in paragraph 37 of the Complaint.
         22
                               PLAINTIFF'S DISCOVERY OF DEFENDANT'S FRAUD
         23

         24       38-40. The Defendant generally denies all material allegations contained in paragraph

         2s     38-40 of the Complaint and refers to the proceedings in the underlying state court actio
         26
                and other proceedings relating to the funds alleged. The judgment alleged has bee
         27
                appealed.
         28

                                                     • 2.
                    ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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                                  PLAINTIFFS' PROOF OF CLAIMS
  2      I
        41. The Defendant denies the allegations contained in paragraph 38 of the Complaint.
  3
                                     FIRST CLAIM FOR RELIEF
  4
                       (Nondischargeablllty of Debt - 11 U.S.C §523(a)(2)(A)}
  s
  6          42-49. The Defendant generally denies all material allegations contained i

  7    paragraphs 42-49 of the Complaint and refers to the proceedings in the underlying stat
  8
       court action and other proceedings relating to the funds alleged. The judgment alleg
  9
       has been appealed.
  10
                                    SECOND CLAIM FOR RELIEF
  II

  12                     (Nondischargeability of Debt - 11 u.s.c. §523(a)(4))

  13         50-56. The Defendant generally denies all material allegations contained i
  14
       paragraphs 50-56 of the Complaint and refers to the proceedings in the underlying stat
  IS
       court action and other proceedings relating to the funds alleged. The judgment allege
  16
       has been appealed.
  17

  18                                  THIRD CLAIM FOR RELIEF

  19                     (Nondischargeability of Debt - 11 U.S.C. §523(a)(6))
  20
              57-63. The Defendant generally denies all material allegations contained i
  21
       paragraphs 57-63 of the Complaint and refers to the proceedings in the underlying stat
  22
       court action and other proceedings relating to the funds alleged. The judgment alleg
  23

  24   has been appealed.

  25                                 FOURTH CLAIM FOR RELIEF
  26
                      (Qbiection to Debtor's Discharge - 11 U.S.C. §727(a)(2)(A))
  27
             64-71. Fourth Claim for Relief is dismissed by Order dated November 8, 2023.
  28

                                               . 3.
              ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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                                             FIFTH CLAIM FOR RELIEF
      2
                           (Objection to Debtor's Discharge -11 U.S.C. §727 (a)(2)(B ))
      3
                  72-79. Fifth Claim for Relief is dismissed by Order dated November 8, 2023.

                                             SIXTH CLAIM FOR RELIEF

      6                      (Oblection to Debtor's Discharge -11 U.S.C. §727Ca)(3H

      7           80-84. Sixth Claim for Relief is dismissed by Order dated November 8, 2023.
      8
                                           SEVENTH CLAIM FOR RELIEF
      9
                             (Obiection to Debtor's Discharge-11 U.S.C. §727(a)(4))
      10
                  85-93. Seventh Claim for Relief is dismissed by Order dated November 8, 2023.
      II

      12                                    EIGHTH CLAIM FOR RELIEF

      13                     (Obiection to Debtor's Discharge -11 U.S.C. §727(a)(6}}
      14
                  94-96. Eighth Claim for Relief is dismissed by Order dated November 8, 2023.
      15
                                           FIRST AFFIRMATIVE DEFENSE
      16
                      The Complaint fails to state a claim for which relief can be granted.
      17

      18                                 SECOND AFFIRMATIVE DEFENSE

      19              As a separate and affirmative defense, Defendant is informed and believes and 0
      20
             that basis avers that Plaintiff and each person whose rights it purports to assert hav
      21
             unclean hands, and Plaintiff accordingly is barred from relief against Defendant for an
      22
             reason stated in the Complaint or any purported Claim for Relief therein.
      23

      24                                   THIRD AFFIRMATIVE DEFENSE

      25              As a separate and affirmative defense. Defendant avers that the Complaint, an
      26
             each purported Claim for Relief therein, is uncertain, ambiguous. and unintelligible.
      27
             II
      28

                                                            •4-
                   ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF' DISCHARGE
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                                           FOURTH AFFIRMATIVE DEFENSE
         2
                       As a separate and affirmative, Defendant is informed and believes and on tha
         3
                basis avers that all equitable relief sought in the Complaint, and each purported Claim fo
         4
                Relief therein, is barred by laches.
         :5

         6                                    FIFTH AFFIRMATIVE DEFENSE
         i             As a separate and affirmative, Defendant is informed and believes and on tha
         8
                basis avers that Plaintiff and each person whose rights it purports to assert are estoppe
         9
                from asserting each and every purported Claim for Relief in the Complaint, or fro
         10
                seeking any relief thereby.
         11

         12                                   SIXTH AFFIRMATIVE DEFENSE

         13            As a separate and affirmative, Defendant is infonned and believes and on tha
         14
                basis avers that Plaintiff and each person whose rights it purports to assert have waive
         15
                any and all right to relief against Defendant for any reason stated in the Complaint or an
         16
                purported Claim for Relief therein and that the claims contained in the Complaint ar
         Ii

         18     subject to setoff and/or recoupment.

         19                                SEVENTH AFFIRMATIVE DEFENSE
         20
                       As a separate and affirmative defense to each and every cause of action of th
         21
                Complaint, Defendants allege that Plaintiff is barred from recovery against Defendants
         22
                in whole or in part, because Plaintiff has failed to satisfy conditions or obligation
         23

         24     precedent to Defendants' performance of the contract or contracts.

         25

         26

         27
                 II
         28

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                      ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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                                     EIGHT AFFIRMATIVE DEFENSE
 2
              As a separate and affirmative defense to each and every cause of action of th
 3
       Complaint, Defendants allege that Plaintiff's claims are barred by the doctrine of releas
 4
       and waiver.
 5

 6                                   NINTH AFFIRMATIVE DEFENSE

 7            As a separate and affirmative defense to each and every cause of action of th
 8
       Complaint, Defendants allege that Plaintiffs claims are barred by the doctrine of equitabl
 9
       estoppel.
 10
                                     TENTH AFFIRMATIVE DEFENSE
 II

 12           As a separate and affirmative defense to each and every cause of action of th

 13     Complaint, Defendants allege that Plaintiff's claims are barred or reduced by their failur
 14
        to mitigate their damages.
 15
                                 ELEVENTH AFFIRMATIVE DEFENSE
 16
               As a separate and affirmative defense to each and every cause of action of th
 17

 18     Complaint, Defendants allege that Plaintiffs claims are barred because Plaintiff

 19     consented to Defendant's actions.
 20
                                  TWELFTH AFFIRMATIVE DEFENSE
 21
               Defendants reserve their rights to assert additional defenses as and when the
 22
        learn of all the claims asserted against them, whether submitted or not, and as thei
 23

 24     discovery and investigation continues.

 25            WHEREFORE, Defendant, respectfully requests an entry of order.
 26
                          •   Dismissing the Complaint with prejudice;
  27

  28

                                                     -6-
             ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
 Case 2:23-ap-01169-SK Doc 69 Filed 03/01/24 Entered 03/01/24 16:27:44 Desc
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                      •   Entitling Defendant to recover the costs incurred in defending thi
  2
                          action, including attorney's fees; and
  3
                      •   Granting such other and further relief as this Court deems just an
  4

  5                       proper.

  6

  7    Dated: January _ , 2024
  8

  9
                                                   LESLIE KLEIN
 10
                                                   Defendant
 II

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                                                  _,_
           ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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            In re: LESLIE KLEIN                           Chapter: 11
     2
                            Debtor(s)                     Case No: 2:23-bk-10990-SK
            ROBERT & ESTHER MERMELSTEIN                   Adv. No: 2:23-a -01153-SK
     3

     4                             PROOF OF SERVICE OF DOCUMENT
     5
                  I am over the age of 18 and not a party to this bankruptcy case or adversa
     6     proceeding. My business address is 301 East Colorado Boulevard, Suite 520, Pasadena
           California 91101.
      7

      8
           A true and correct copy of the foregoing document described as ANSWER T
           COMPLAINT TO DENY DISCHARGE OF DEBT ANO DENIAL OF DISCHARGE will b
      9    served or was served (a) on the judge in chambers in the form and manner required b
           LBR 5005-2(d); and (b) in the manner indicated below:
     10

     11
           I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (" NEF")
           Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR·), th
     12    foregoiep ~cument will be served.by the court via NEF and hyper1ink to the document
           On 1/.[..;22024, I checked the CM/ECF docket for this bankruptcy case or adversa
     13    proceeding and determined that the following person(s) are on the Electronic Mail Notic
           List to receive NEF transmission at the email address(es) indicated below:
     14

     15                                           [x] Service infonnation continued on attached pag

     16
           11. SERVED BY U.S. MAIL OR OVERNIGHT MAIL indica ed method for each erson o
     17
           enti ~ :.p~
           X!.!.!~
     18    On 1/ 72024, I served the following person(s) and/or entity(ies) at the last know
           addre (es) in this bankruptcy case or adversary proceeding by placing a true and corre
     l9    copy thereof in a sealed envelope in the United States Mall, first class, postage prepaid
           and/or with an overnight mail service addressed as follows. Listing the judge he
     20    constitutes a declaration that mailing to the judge w.ill..he. completed no later than 24 hour
     21    after the document is filed.

     22                                            [xJ Service information continued on attached pag
     23

     24    I declare under penalty of perjury under the laws of the United          s of America that th
           foregoing is true and correct.
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               ANSWER TO COMPLAINT TO DENY DISCHARGE OF DEBT AND DENIAL OF DISCHARGE
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         In re: LESLIE KLEIN                        Chapter: 11
                               Oebtor(s)            Case No: 2:23-bk-10990-SK
   2
         ROBERT & ESTHER MERMELSTEIN                Adv. No: 2:23-ao-01153-SK
   3
         I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")
   4

   s       •   Baruch C. Cohen bcc@baruchcohenesa.com.
               garalegal@baruchcohenesa.com
   6       •    Michael I. Gottfried mgotlfried@e)kjnskalt.com, cavila@elkinskatt.com,
                lwageman@elkinskalt.com, docketing@elkinskalt.com
   7
           •    Nikko Salvatore Stevens nikko@cym.law, mandi@cvm.law
   8       •    United States Trustee (LA) ustpregio16.la.ecf@usdol.gov
           •    Clarisse Young      youngshumaker@smcounset.com, levern@smcounsel.com
   9

  10
         II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL - VIA U.S. MAIL:
  11
         Hon. Sandra Klein
   12    U.S. Bankruptcy Court
         255 E. Temple Street #1582
   13
         Los Angeles, California 90012
   14

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          EXHIBITV A
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   1   Baruch C. Cohen, Esq. (SBN 159455)
       LAW OFFICE OF BARUCH C. COHEN
   2           A Professional Law Corporation
       4929 Wilshire Boulevard, Suite 940
  3    Los Angeles, California 90010
       Tel: (323) 937-4501 Fax: (888) 316-6107
  4    email: baruchcohen@baruchcohenesg.com
  5    Attorney For Plaintiffs Robert & Esther Mermelstein
   6                              UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
  7                                     LOS ANGELES DMSION
   8
   9    Inre                                          Case No. 2:23-bk-10990-SK
  10    LESLIE KLEIN,                                 Adv.# 2:23-ap-01153-SK
  11          Debtor and Debtor in Possession,        Hon. Sandra Klein

  12                                                  Chapter 11
  13    ROBERT & ESTHER MERMELSTEIN,                  ROBERT & ESTHER MERMELSTEIN'S
                                                      REPLY TO DECLARATION OF ERIC J.
  14                      Plaintiffs                  OLSON IN RESPONSE TO PLAINTIFF'S
                                                      MOTION FOR DEFAULT JUDGMENT
  15    vs.                                           [Doc-49]

  16    LESLIE KLEIN                                  Date: 2-14-2024
                                                      Time: 9:00am
  17                     Defendant                    Place: 255 E. Temple Street, Los Angeles
                                                      Courtroom: 1575
  18   ----------------'
  19            TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY

 20    JUDGE, THE DEBTOR AND ms COUNSEL, AND ALL OTHER INTERESTED
 21    PARTIES:

 22             Plaintiffs-Creditors, Robert & Esther Mermelstein ("Plaintiffs"), hereby reply to the
  23   Declaration of Eric J. Olson in Response to Plaintiff's Motion for Default Judgment "'Olson
  24   Declaration") [Doc-49].
  25   DATED:          February 7, 2024               LAW OFFICE OF BARUCH C. COHEN
                                                      A Professional Law Corporation
  26
                                                      By     Isl Baruch C. Cohen
  27                                                  Baruch C. Cohen, Esq.
                                                      Attorney For Plaintiffs Robert & Esther
  28                                                  Mermelstein
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  13                             INADVERTENCE, SURPRISE, OR EXCUSABLE NEGLECT, UNDER
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   1                                                   TABLE OF AUTHORITIES
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   3   Falkv. Allen, 739 F.2d 461 (9th Cir. 1984) ................... . ......... . .. . ..... .. -5-
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   5   Franchise Holding II, LLC. v. Huntington Restaurants G-rp., Inc., 375 F.3d 922, 926 (9th Cir.
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   8   U.S. v. Signed Pers. Check No. 730 ofYubran S. Mesle, 615 F.3d 1085, 1091 (9th Cir. 2010)
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  11   STATUTES

  12   FRBP 7055 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -4-

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  18
       OTHER
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       1 Schwarzer, Tashima and Wagstaffe, California Practice Guide: Federal Civil Procedure Before
  20   Trial, 1 6: 150 at 6-40 (2011). . . . . . . . . . . . . . . . . . . . . .. .. . . . . . . . . . . . . . . . . . . . . . . . . . . . -4-
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  1    1.     MEMORANDUM OF POINTS & AUTHORITIES
  2           a.      RELEVANT FACTS
  3           On 5-12-2023, Plaintiffs Robert & Esther Mermelstein filed the Complaint for
  4    Nondischargeability of Debt Pursuant to 11 USC§ 523(a)(6) & for Denial of Discharge Pursuant
  5    to 11 USC§ 727(a) ("Complaint'') against the Debtor/Defendant Leslie Klein [Doc-1].
  6           On 5-12-203, the Court's Summons & Notice ofStatus Conference ("Summons") [Doc-2-
  7    1] set 6-12-2023 as the Defendant's deadline to respond to the Complaint.
  8           On 5-17-2023, Plaintiffs filed and served the Complaint, Summons and Early Meeting of
  9    Counsel and Status Conference Instructions Effective February 17, 2012 on Defendant [Doc-3].
  10          On 6-8-2023, Debtor's counsel Eric Olson ("Olson") contacted Plaintiffs' counsel
  11   Baruch Cohen ("Cohen") requesting a 30-day extension to respond to the Complaint, on the
  12   representation that the Defendant needed time to retain a "real attorney" for the adversary ("1 st
  13   Extension Request'').
  14          On 6-12-2023, the parties executed and signed a Stipulation to Extend Time to Respond
  15   to Complaint for Nondischargeability, etc. [Doc-7]
  16           On 6-13-2023, the Court signed the Order on Stipulation to Extend Time to Respond to
  17   Complaint for Nondischargeability, etc, continuing Defendant's response date to 7-12-2023.
  18   [Doc-9].
  19           On 7-17-2023, Cohen gave Olson a professional courtesy notice of Plaintiffs' intentions
  20   to pursue a default against the Debtor/Defendant, pursuant to Section 15 of the State Bar's
  21   enacted California Attorney Guidelines of Civility and Professionalism; Shapell Socal Rental
  22   Properties, LLC v. Chico's FAS, Inc., (2019) 36 Cal.App.5th at 134,137, No. G060411, 2022

  23   Cal. App. LEXIS 854 (Ct. App. Oct. 17, 2022); Fasuyi v. Permatex, Inc., 84 Cal. Rptr. 3d 351
  24   (Cal. Ct. App. 2008), quoting Au-Yang v. Barton, 90 Cal. Rptr. 2d 227 (1999)); Lasalle v. Vogel,
  25   36 Cal. App. 5th 127,248 Cal. Rptr. 3d 263 (2019); Pearson v. Continental Airlines, (1970) 11
  26   Cal.3d 613,619); Weil & Brown, Civil Procedure Before Trial (Rutter 2007) 5:68-5:70.
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  28                                                    -1-
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  1           On 7-17-2023, Olson wrote Cohen that Klein retained counsel to defend the adversary,
  2    but declined to infonn Cohen who that lawyer was/is, and that he intended to request yet another
  3    30-day extension.
  4           On 7-18-2023, without a named defense counsel with whom to stipulate with for another
  5    extension, Plaintiffs proceeded with the request for default which was entered on that date [Doc-
  6    12].

  7           On 7-24-2023, Klein susbstituted Michael Kogan as his defense counsel. [Doc-13].
  8           On 7-24-2023, the parties filed a Stipulation By Leslie Klein and Stipulation (1) to
  9    Extend Time to Respond to Complaint, (2) Withdraw Request for the Clerk to Enter Default, and
 10    (3) to Continue Status Conference [Doc-14], which was entered on that date [Doc-16].
  11   Defendant's new response date was 8-15-2023 ("200 Extension Request").
  12          On 8-14-2023, Kogan moved to dismiss the 727 causes of action. [Doc-18].
  13          On l 0-18-2023, the Court held its hearing on Defendant's Motion for Order Dismissing
  14   Certain Causes of Action in Complaint [Doc-36], and granted the Motion, dismissing without
  15   prejudice causes of action for Denial of Discharge Pursuant to 11 USC § 727(a)(2)(A); 11 USC
  16   § 727(a)(2)(B); 11 USC§ 727(a)(3); 11 USC§ 727(a)(4); 11 USC§ 727(a)(5) [Doc-36].
  17   Defendant appeared at 5th hearing in pro per and the Court instructed him to respond to the
  18   Complaint by 11-18-2023.
  19          On 10-19-2023, Kogan moved to withdraw as Klein's counsel [Doc-30].
  20           On 11-27-2023, Cohen gave Klein yet another professional courtesy notice of Plaintiffs'
  21   intentions to pursue a default against the Defendant, pursuant to Section 15 of the State Bar's
  22   enacted California Attorney Guidelines of Civility and Professionalism.
  23           On 11-28-2023, this Court entered a default against Klein for Determination of

  24   Nondischargeability of Debts and to Deny Discharge pursuant to 11 USC § 523(a)(2)(A), 11
  25   USC § 523(a)(4), & 11 USC§ 523(a)(6) (Dkt No 41).
  26           On 11-29-2023, after the default was entered, Olson resurfaced - without a filed
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  28                                                   -2-
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  1    substitution of attorney - requested yet another stipulation setting aside the default, and a
  2    continued response date. See, Olson Declaration, Exhibit''B" [Doc-49] ('"3rd Extension
  3    Request").
  4           On 12-6-2023, Plaintiffs filed their Unilateral Status Report - since Defendant defaulted.
  5    [Doc-44]
  6            On 12-7-2023, Defendant - in pro per - filed a Unilateral Status Report [Doc-45], wherein
  7    Defendant acknowledged that his answer was not filed and might have to file a motion to set
   8   aside the default.
   9           On 12-8-2023, Olson followed up with Cohen requesting same. See, See, Olson
  10 • Declaration, Exhibit "C" [Doc-49]
  11           Olson's 11-29-2023 and 12-8-2023 letters ("2nd Extension Request") were irrelevant and
  12   nullities since Olson was not counsel of record for Defendant. Olson never substituted into this
  13   adversary as counsel for Defendant, admitting that he's not even a "real bankruptcy attorney."
  14   Accordingly, bis letters to Plaintiff's counsel are ofno consequence, as Plaintiffs counsel had no
  15   obligation to respond to Defendant's non-lawyer. Plaintiffs, after being victimized by Defendant
  16   for so long, and out of so much money, could not in good faith agree to Defendant's further
  17   requests for extensions.
  18           On 1-10-2024, Plaintiffs filed their Motion for Default Judgment [Doc-46] scheduled for
  19   2-14-2024.
  20           On 1-12-2024, Defendant filed his Answer to Complaint to Deny Discharge of Debt and
  21   Denial of Discharge [Doc-48] - without first setting aside the 11-28-2023 default.
  22           On 2-5-2024, Defendant filed the Olson Declaration [Doc-49].
  23           b.      LEGAL ARGUMENT

  24           The Olson Declaration is borne from status quo of Defendant's strategic delay tactics and
  25   the Court should deny it. Defendant fails to satisfy all three of the Falk factors, notwithstanding
  26   that failure to satisfy any is grounds to deny relief to Defendant. The culpability for Defendant's
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  28                                                     -3-
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  1    failure to file a response by the twice--postponed deadlines rests with Defendant. Moreover, the
  2    Olson Declaration does not allege facts constituting defenses to the Complaint. Finally,
  3    reopening the litigation prejudices Plaintiffs who will suffer more injury prosecuting the
  4    Complaint incurring more fees and costs against Defendant. The Olson Declaration fails under
  5    the Falk factors, therefore Defendant's request for relief is properly denied.
  6                   i.       THE OLSON DECLARATION - TO THE EXTENT IT SERVES AS

  7                            AN OPPOSITION - IS LATE AND PROPERLY DISREGARDED

  8           LBR 9013-1 (f)(l) requires opposition to be filed not later than 14 days before the date
  9    designated for hearing. The hearing date is 2-14-2024, and any opposition was due 1-31-2024.
  10   On 2-5-2024, Defendant filed the Olson Declaration [Doc-49]
  11                  ii.      THE OLSON DECLARATION DOES NOT QUALIFY AS A
  12                           MOTION TO SET ASIDE ENTRY OF DEFAULT.

  13           FRCP 5S(c), incorporated into bankruptcy proceedings by FRBP 7055, allows a court to
  14   set aside entry of default for "good cause," and allows the court to set aside default pursuant to
  15   FRCP 60(b), incorporated into bankruptcy proceedings by FRBP 9024, wherein the court may
  16   grant relief from a final judgment or order for mistake, inadvertence, surprise, or excusable
  17   neglect. See FRCP 60(b)(1 ). Such a motion must be brought within a reasonable time of the
  18   court's entry of default. See 1 Schwarzer, Tashima and Wagstaffe, California Practice Guide:
  19   Federal Civil Procedure Before Trial, ,r 6: 150 at 6-40 (2011 ).
  20           The Olson Declaration was not filed within a reasonable time. On 11-28-2023, this Court
  21   entered a default against Klein [Doc-41], and the Olson Declaration was filed on 2-5-2024, sixty-
  22   nine (69) days later.
  23           Defendant's 1-5-2024 Answer is also a nullity, since Plaintiff did not first obtain an
  24   order setting aside the 11-28-2023 default. Plaintiff had no obligation t move to set aside
  25   Defendant's Answer for that reason - it was procedurally improper. Defendant's 1-5-2024
  26   Answer is also meritless, since Defendant has provided no authority for his proposition that
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  28                                                     -4-
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  1    Plaintiffs "opened up the default' by filing their Amended Proofs of Claim to reflect the
  2    increased interest owed.
  3           The Olson Declaration is also a nullity since Eric Olson is not counsel of record for
  4    Defendant. Olson did substitute into this adversary as counsel for Defendant - after Kogan
  5    withdrew as counsel. Olson admitted that he's not even a bankruptcy attorney. Accordingly,
  6    Olson's letters to Plaintiff's counsel are irrelevant, as Cohen had no obligation to respond to
  7    Defendant's non-lawyer.
  8                   iii.    THE OLSON DECLARATION FAILS TO PRESENT "GOOD
  9                           CAUSE" GROUNDS UNDER FRCP SS(c) AND FRBP 7055, AND
  10                          FAILS TO PRESENT EVIDENCE AND GROUNDS FOR
  11                          MISTAKE, INADVERTENCE, SURPRISE, OR EXCUSABLE
  12                          NEGLECT, UNDER FRCP 60(B)(l).
  13          The Ninth Circuit has explained three factors must be satisfied to meet the "good
  14   cause" standard ofFRCP 55(c):
  15          To determine "good cause", a court must "consider three factors: (1) whether the
              party seeking to set aside the default engaged in culpable conduct that led to the
  16          default; (2) whether it had no meritorious defense; or (3) whether reopening the
              default judgment would prejudice the other party .... This standard, which is the
  17          same as is used to determine whether a default judgment should be set aside under
              Rule 60(b), is disjunctive, such that a finding that any one of these factors is true
  18          is sufficient reason for the district court to refuse to set aside the default.
  19   U.S. v. Signed Pers. Check No. 730 ofYubran S. Mesle, 615 F.3d 1085, 1091 (9th Cir. 2010)
  20   (citing Falk v. Allen, 739 F.2d 461 (9th Cir. 1984) (the "Falk Factors"). The party seeking to
  21   vacate the default bears the burden of proof. See, Franchise Holding II, LLC. v. Huntington
  22   Restaurants Grp., Inc., 375 F.3d 922, 926 (9th Cir. 2004).
  23                  iv.     DEFENDANT WAS CULPABLE WHICH LED TO THE DEFAULT

  24           The Olson Declaration lacks merit under the factors set forth in Falk v. Allen, 739 F.2d
  25   461 (9th Cir. 1984) that Defendant's culpable conduct led to the default because Defendant had
  26   actual knowledge of his deadline to timely respond to the complaint and let the deadline
  27
  28                                                    -5-
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  1    knowingly and intentionally pass (presumably because Defendant benefitted from two prior
  2    stipulations to extend the deadline).
  3           "The Ninth Circuit has held that a 'defendant's conduct is culpable for purposes of the
  4    Falk factors where there is no explanation of the default inconsistent with a devious, deliberate,
  5    willful, or bad faith failure to respond." Halper v. Cohen (In re Halper), 2019 WL 2762340,
  6    BAP No. CC-18-1225-TaLS, at *5 (B.A.P. 9th Cir. Jun. 28, 2019). If a defendant "has received
  7    actual or constructive notice of the filing of the action and failed to answer, its conduct is
  8    culpable." Franchise Holding II, 375 F.3d, at 926.
  9           In this instance, there is no question that Defendant had actual notice of the extended
  10   Response Deadline of 11-18-2023. Per the Court's instructions on 10-18-2023 on Defendant's
  11   Motion for Order Dismissing Certain Causes of Action in Complaint [Doc-36], Defendant was at
  12   the hearing and was instructed by the Court to respond to the Complaint by 11-18-2023. On 11-
  13   27-2023, Cohen gave Klein yet another professional courtesy notice of Plaintiffs' intentions to
  14   pursue a default against the Defendant, pursuant to Section 15 of the State Bar's enacted
  15   California Attorney Guidelines of Civility and Professionalism. Defendant's 12-7-2023
  16   Unilateral Status Report [Doc-45], further acknowledged that his answer was not filed and might
  17   have to file a motion to set aside the default.
  18           Thus, no argument can be made that Defendant did not have notice-actual or
  19   constructive----0f the continued Response Deadline of 11-18-2023 and, under controlling Ninth
  20   Circuit law, the failure to file a response by the Response Deadline is culpable conduct by
  21   Defendant.
  22           The Olson Declaration did not raise an argument that excusable neglect exists in this
  23   case, and if did, it would be groundless. The Olson Declaration does not attest to any error,
  24   mistake, misunderstanding, or other excuse for failure to comply with the requirement to timely
  25   respond to the Complaint. Next, even ifit had submitted one, the testimony would lack
  26    credibility. A deadline to respond to a complaint and summons is not unique to bankruptcy law
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  28                                                     -6-
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  1    and Olson :furthermore demonstrated his familiarity with the importance of such deadline when
  2    he requested and obtained the first extension. There is no excusable neglect. Defendant and his
  3    non-counsel simply ignored the deadline. This is a prime example of culpable conduct.
  4           Defendant is also a (dubious) attorney himself and should understand the importance of a
  5    deadline for responding to a complaint, as well as the consequences of missing such a deadline.
  6                   v.      DEFENDANT HAS NO MERITORIOUS DEFENSE TO THE
  7                           COMPLAINT
  8           With regard to this second factor:
  9           A defendant seeking to vacate a default judgment must present specific facts
              that would constitute a defense. But the burden on a party seeking to vacate a
  10          default judgment is not ex1raordinarily heavy.... All that is necessary to satisfy
              the 'meritorious defense' requirement is to allege sufficient facts that, if true,
  11          would constitute a defense: 'the question whether the factual allegation is true' is
              not to be determined by the court when it decides the motion to set aside the
  12          default .... Rather, that question 'would be the subject of the later litigation.'
              [Emphasis Added]
  13
       U.S. v. Signed Pers. Check, 615 F.3d 1085 at 1094.
  14
               Here, the Olson Declaration and the Defendant's Answer alleged zero facts that would
  15
       constitute a defense to the claims for relief under 11 U.S.C. §§ 523(a)(2)(A), (a)(4), and (a)(6)
  16
       (collectively, "523 Claims"). The burden is on Defendant to present the "specific facts" that
  17
       would constitute a defense to the 523 Claims. See Franchise Holding II, 375 F.3d at, 926. The
  18
       Olson Declaration and the Defendant's Answer failed to carry that burden.
  19
               There is nothing whatsoever in the Olson Declaration and the Defendant's Answer that
  20
       amounts to allegations of "sufficient facts that, if true, would constitute a defense" (u.S. v.
  21
       Signed Pers. Check, supra), nor do they assert any such facts. Instead, Defendant merely, baldly
  22
       contends that he has meritorious legal defenses - without specifying the facts supporting them.
  23
        This argument does not even come close to addressing the requirement that Defendant "must
  24
        present specific facts that would constitute a defense." U.S. v. Signed Pers. Check, supra. To
  25
        obtain relief from default, the burden is on Defendant to demonstrate a meritorious defense.
  26
        Reliance on the fallacious argument "Plaintiff has not proved the elements of those causes of
  27
  28                                                     -7-
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  1    action" is unavailing.
  2           Defendant through the Olson Declaration must prove a meritorious case. This is near to
  3    impossible considering the circumstances - Defendant is a criminal, fraudster, thief, a
  4    "sophisticated" attorney, and discredited accountant. In Plaintiff's 2-1.:.2024 Comments to the
  5    Chapter 11 Trustee's Third Status Report [Doc-637], Plaintiffs presented the Court with David
  6    Levy's 1-25-2024 Proof of Claim# 36-1, which attached a curious 2001 Memorandum
  7    Agreement between Klein and Levy dated 5-18-2010, where on page 2 of the agreement, Klein
  8    recorded the ownership percentages of the parties of the Kohn policy - policy # USOO 16289L -
  9    showing that Klein had no ownership in the Kohn policy. However, in 2011 Klein made a deal
 10    with Life Capital ("LCG") without informing Mermelstein - and without informing LCG - that
 11    he did not have ownership in the Kohn policy. Levy's Proof of Claim adds major fuel to the
 12    existing fire of Klein's brazen fraud to Plaintiffs (Klein charged Levy premiums up to 2023 even
  13   though he allegedly sold the Kohn Policy to LCG in 2011) and raises serious questions whether
  14   Klein's sale of the Kohn Policy to LCG was valid- since Klein sold something he did not own
  15   under his name.
  16                   vi.      REOPENING THE LITIGATION PREJUDICES PLAINTIFFS

  17           "Under Falk, the question for prejudice is whether the plaintiff's ability to pursue
  18   its claim will be hindered" and attorneys' fees incurred by the non-defaulting party "are
  19   a significant source of prejudice." Halper, supra at *6.
  20           Here, Plaintiffs will be prejudiced if the Olson Declaration somehow constituted an
  21   effective Motion in that they will be forced to incur additional and duplicative attorneys' fees to
  22   potentially relitigate facts and issues for which Defendant has no defense (as acknowledged by
  23   his failure to even allege facts to contest the allegations of the Complaint). Defendant wants to
  24   delay and waste time litigating against the Complaint. But Plaintiff does not. More delay is the
  25    sole motivation for the Olson Declaration, a tactic overused by Defendant.
  26           C.      CONCLUSION
  27
  28                                                    -8-
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   1          Plaintiffs understand the preference for judgment on the merits. But this is not that. The
   2   Olson Declaration proffers no excuse for the neglect of Defendant. The [late and procedurally
   3   improper] Olson Declaration does not proffer the requisite showing of a defense based on the
   4   merits - because there is no defense. The burden is on Defendant and he failed to carry it.
   5          Based on the foregoing, Plaintiff requests the [late and procedurally improper] Olson
   6   Declaration be disregarded, in that Defendant has failed to carry his burden to show the absence
   7   of all or frankly any of the three Falk factors. Defendant engaged in culpable conduct, failed to
   8   allege any facts that would constitute a meritorious defense, and reopening the litigation would
   9   severely prejudice Plaintiff.
  10
  11   DATED:         February 7, 2024              LAW OFFICE OF BARUCH C. COHEN
                                                    A Professional Law Corporation
  12
                                                    By     Isl Baruch C. Cohen
  13                                                Baruch C. Cohen, Esq.
                                                    Attorney For Plaintiffs Robert & Esther
  14                                                Mermelstein
  15
  16
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                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                            4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: ROBERT & ESTHER MERMELSTEIN'S REPLy TO
DECLARATION OF ERIC J. OLSON IN RESPONSE TO PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT [Doc-49)
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d}; and (b} in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 2.{f/2024,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Baruch C Cohen (PL)                bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
Michael I. Gottfried (IP)          mgottfried@elkinskalt.com, cavila@elkinskalt.com, lwageman@elkinskalt.com,
                                   docketing@elkinskalt.com
Nikko Salvatore Stevens (IP)       nikko@cym.law, mandi@cym.law
United States Trustee (LA)         ustpregion16.la.ecf@usdoj.gov
Clarisse Young (IP)                youngshumaker@smcounsel.com, levem@smcounsel.com


                                                                       D Service information continued on attached page
2. SERVED BY UNITED STATES MAIL: On 2ll/2024, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Leslie Klein, 322 N. June Street, Los Angeles, CA 90001

                                                                       D Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2fl/2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Hon. Sandra R. Klein, 255 E. Temple Street, Suite 1582, Los Angeles, CA 90012




                                                                       D Service information continued on attached page

I declare under penalty of pe~ury under the laws of the United States that the foregoing is true and correct.



   2.{f/2024         Baruch C. Cohen, Esq.                                     Isl Baruch C. Cohen
   Date                        Printed Name                                    Signature
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          EXHIBIT VB
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  1    Baruch C. Cohen, Esq. (SBN 159455)
       LAW OFFICE OF BARUCH C. COHEN
  2            A Professional Law Corporation
       4929 Wilshire Boulevard, Suite 940
  3    Los Angeles, California 90010
       Tel: (323) 937-4501 Fax: (888) 316-6107
  4    email: baruchcohen@baruchcohenesq.com
  5    Attorney For PlaintiffDavid Berger
  6                               UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
  7                                     LOS ANGELES DMSION
   8
   9    Inre                                           Case No. 2:23-bk-10990-SK

  10    LESLIE KLEIN,                                  Adv. No. 2:23-ap-01169-SK
  11          Debtor and Debtor in Possession,         Hon. Sandra Klein

  12                                                   Chapter 11

  13    DAVID BERGER,                                  DAVID BERGER'S REPLY TO
                                                       DECLARATION OF ERIC J. OLSON IN
  14                      Plaintiff                    RESPONSE TO PLAINTIFF'S MOTION FOR
                                                       DEFAULT JUDGMENT [Doc-St]
  15    vs.
                                                       Date: 2-14-2024
  16    LESLIE KLEIN                                   Time: 9:00am
                                                       Place: 255 E. Temple Street, Los Angeles
  17                     Defendant                     Courtroom: 1575

  18
  19            TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY

  20   JUDGE, THE DEBTOR AND ms COUNSEL, AND ALL OTHER INTERESTED

  21   PARTIES:

  22            Plaintiff David Berger ("Plaintiff''), hereby replies to the Declaration of Eric J. Olson in
  23   Response to Plaintiffs Motion for Default Judgment "Olson Declaration") [Doc-51].

  24   DATED:          February 7, 2024                LAW OFFICE OF BARUCH C. COHEN
                                                       A Professional Law Corporation
  25
  26                                                   By    Isl Baruch C. Cohen
                                                       Baruch C. Cohen, Esq.
  27                                                   Attorney For PlaintiffDavid Berger

  28
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  12                              PRESENT EVIDENCE AND GROUNDS FOR MISTAKE,
  13                              INADVERTENCE, SURPRISE, OR EXCUSABLE NEGLECT, UNDER
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   1                                                    TABLE OF AUIBORITIES
   2   CASES

   3   Falkv. Allen, 739 F.2d 461 (9th Cir. 1984) ............ . . . .. .................. . .... -5-

   4   Franchise Holding II, 375 F.3d at, 926 ............... . . ... ....................... -7-
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   8   U.S. v. Signed Pers. Check No. 730 ofYubran S. Mesle, 615 F.3d 1085, 1091 (9th Cir. 2010)
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  19
       1 Schwarzer, Tashima and Wagstaffe, California Practice Guide: Federal Civil Procedure Before
  20   Trial, ,r 6: 150 at 6-40 (2011). . . . . .. . . . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -4-
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  1    1.     MEMORANDUM OF POINTS & AUTHORITIES
  2           a.     RELEVANT FACTS
  3           On 6-9-2023, Plaintiff filed this instant Complaint for Determination of

  4    Nondischargeability of Debts and to Deny Discharge pursuant to 11 USC§ 523(a)(2}(A), 11
  5    USC § 523(a)(4), & 11 USC§ 523(a)(6); & for Denial of Discharge Pursuant to 11 USC §
  6    727(a)(2)(A); 11 use§ 727(a)(2)(B); 11 use§ 727(a)(3); 11 usc § 727(a)(4); 11 use §

  7    727(a)(S)("Complaint") against Defendant Leslie Klein ("Defendant"). [Doc-1] Adv.#
  8    2:23-ap-0 1169-SK.
  9           On 6-9-2023, the Court's Summons & Notice ofStatus Conference ("Summons") [Doc-3]

  10   set 7-10-2023 as the Defendant's deadline to respond to the Complaint.
  11          On 7-7-2023, the Court's 2nd Summons & Notice ofStatus Conference ("Summons")
  12   [Doc-10] set 8-7-2023 as the Defendant's deadline to respond to the Complaint.
  13          On 7-10-2023, Plaintiffs filed and served the Complaint, Summons and Early Meeting of

  14   Counsel and Status Conference Instructions Effective February 17, 2012 on Defendant [Doc-11].
  15          On 7-24-2023, Klein substituted Michael Kogan as his defense counsel. [Doc-13].
  16          On 7-24-2023, the parties executed and signed a Stipulation to Extend Time to Respond
  17   to Complaint for Nondischargeability, etc. [Doc-14]
  18          On 7-24-2023, the Court signed the Order on Stipulation to Extend Time to Respond to

  19   Complaint for Nondischargeability, etc, continuing Defendant's response date to 8-22-2023.
  20   [Doc-16].
  21          On 8-14-2023, Kogan moved to dismiss the 727 causes of action. [Doc-18].
  22          On 10-18-2023, the Court held its hearing on Defendant's Motion for Order Dismissing
  23   Certain Causes of Action in Complaint [Doc-36], and granted the Motion, dismissing without
  24   prejudice causes of action for Denial of Discharge Pursuant to 11 USC § 727(a)(2)(A); 11 USC§
  25   727(a)(2)(B); 11 USC § 727(a)(3); 11 USC § 727(a)(4); 11 USC§ 727(a)(5).
  26           On 10-19-2023, Kogan moved to withdraw as Klein's counsel [Doc-30].
  27           On 11-9-2023, the Court entered its Order Granting Motion of Leslie Klein for an Order
  28

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  1    Dismissing Certain Causes of Action in the Complaint [Doc-38].

  2           On 11-27-2023, Cohen gave Klein a professional courtesy notice of Plaintiffs' intentions
  3    to pursue a default against the Defendant, pursuant to Section 15 of the State Bar's enacted
  4    California Attorney Guidelines of Civility and Professionalism.
  5           On 11-28-2023, this Court entered a default against Klein for Determination of
  6    Nondischargeability of Debts and to Deny Discharge pursuant to 11 USC § 523(a)(2)(A), 11
  7    USC § 523(a)(4), & 11 USC § 523(a)(6) [Doc-43].
   8          On 11-29-2023, after the default was entered, Olson surfaced - without a filed

   9   substitution of attorney - requested a stipulation setting aside the default, and a continued
  10   response date. See, Olson Declaration, Exhibit"B" [Doc-51]
  11           On 12-6-2023, Plaintiff filed his Unilateral Status Report - since Defendant defaulted.
  12   [Doc-42]

  13           On 12-7-2023, Defendant - in pro per - filed a Unilateral Status Report [Doc-47], wherein
  14   Defendant acknowledged that his answer was not filed and might have to file a motion to set
  15   aside the default.
  16           On 12-8-2023, Olson followed up with Cohen requesting same. See, See, Olson
  17   Declaration, Exhibit "C" [Doc-51]
  18           Olson's 11-29-2023 and 12-8-2023 letters were irrelevant and nullities since Olson was
  19   not counsel of record for Defendant. Olson never substituted into this adversary as counsel for
  20   Defendant, admitting that he's not even a "real bankruptcy attorney." Accordingly, his letters to
  21   Plaintiff's counsel are ofno consequence, as Plaintiff's counsel had no obligation to respond to
  22   Defendant's non-lawyer. Plaintiffs, after being victimized by Defendant for so long, and out of

  23   so much money, could not in good faith agree to Defendant's further requests for extensions.
  24           On 12-19-2023, Plaintiff filed his Motion for Default Judgment [Doc-48] scheduled for
  25   2-14-2024.
  26           On 1-2-2024, Defendant filed his Answer to Complaint to Deny Discharge of Debt and
  27   Denial of Discharge [Doc-50] - without first setting aside the 11-28-2023 default.
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  1           On 2-5-2024, Defendant filed the Olson Declaration [Doc-52].
  2           b.      LEGAL ARGUMENT
  3           The Olson Declaration is borne from status quo of Defendant's strategic delay tactics and
  4    the Court should deny it. Defendant fails to satisfy all three of the Falk factors, notwithstanding
  5    that failure to satisfy any is grounds to deny relief to Defendant. The culpability for Defendant's
  6    failure to file a response by the twice-postponed deadlines rests with Defendant. Moreover, the
  7    Olson Declaration does not allege facts constituting defenses to the Complaint. Finally,
  8    reopening the litigation prejudices Plaintiffs who will suffer more iajury prosecuting the
  9    Complaint incurring more fees and costs against Defendant. The Olson Declaration fails under
  10   the Falk factors, therefore Defendant's request for relief is properly denied.
  11                  i.      THE OLSON DECLARATION - TO THE EXTENT IT SERVES AS

  12                          AN OPPOSITION - IS LATE AND PROPERLY DISREGARDED

  13           LBR 9013-l(f)(l) requires opposition to be filed not later than 14 days before the date
  14   designated for hearing. The hearing date is 2-14-2024, and any opposition was due 1-31-2024.
  15   On 2-5-2024, Defendant filed the Olson Declaration [Doc-49]
  16                   ii.    THE OLSON DECLARATION DOES NOT QUALIFY AS A
  17                          MOTION TO SET ASIDE ENTRY OF DEFAULT.
  18           FRCP 55(c), incorporated into bankruptcy proceedings by FRBP 7055, allows a court to
  19   set aside entry of default for "good cause," and allows the court to set aside default pursuant to
  20   FRCP 60(b), incoq,orated into bankruptcy proceedings by FRBP 9024, wherein the court may
  21   grant relief from a final judgment or order for mistake, inadvertence, surprise, or excusable
  22   neglect. See FRCP 60(b)(1 ). Such a motion must be brought within a reasonable time of the
  23   court's entry of default. See I Schwarzer, Tashima and Wagstaffe, California Practice Guide:
  24   Federal Civil Procedure Before Trial, ,r 6:150 at 6-40 (2011).
  25           The Olson Declaration was not filed within a reasonable time. On 11-28-2023, this Court
  26   entered a default against Klein, and the Olson Declaration was filed on 2-5-2024, sixty-nine (69)
  27   days later.
  28

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  1           Defendant's 1-2-2024 Answer is also a nullity, since Plaintiff did not first obtain an

  2    order setting aside the 11-28-2023 default. Plaintiff had no obligation t move to set aside

  3    Defendant's Answer for that reason - it was procedurally improper. Defendant's 1-2-2024

  4    Answer is also meritless, since Defendant has provided no authority for his proposition that
  5    Plaintiffs "opened up the default' by filing their Amended Proofs of Claim to reflect the

  6    increased interest owed.

  7           The Olson Declaration is also a nullity since Eric Olson is not counsel of record for

   8   Defendant. Olson did substitute into this adversary as counsel for Defendant - after Kogan

   9   withdrew as counsel. Olson admitted that he's not even a bankruptcy attorney. Accordingly,

  10   Olson's letters to Plaintiff's counsel are irrelevant, as Cohen had no obligation to respond to
  11   Defendant's non-lawyer.
  12                  iii.    THE OLSON DECLARATION FAILS TO PRESENT "GOOD
  13                          CAUSE" GROUNDS UNDER FRCP SS(c) AND FRBP 7055, AND
  14                          FAILS TO PRESENT EVIDENCE AND GROUNDS FOR
  15                          MISTAKE, INADVERTENCE, SURPRISE, OR EXCUSABLE
  16                          NEGLECT, UNDERFRCP 60(B)(l).
  17           The Ninth Circuit has explained three factors must be satisfied to meet the "good
  18   cause" standard ofFRCP 55(c):
  19           To determine "good cause", a court must "consider three factors: (1) whether the
               party seeking to set aside the default engaged in culpable conduct that led to the
  20           default; (2) whether it had no meritorious defense; or (3) whether reopening the
               default judgment would prejudice the other party .... This standard, which is the
  21           same as is used to determine whether a default judgment should be set aside under
               Rule 60(b), is disjunctive, such that a finding that any one of these factors is true
  22           is sufficient reason for the district court to refuse to set aside the default.
  23   U.S. v. Signed Pers. Check No. 730 ofYubran S. Mesle, 615 F.3d 1085, 1091 (9th Cir. 2010)
  24   (citing Falk v. Allen, 739 F.2d 461 (9th Cir. 1984) (the "Falk Factors"). The party seeking to
  25   vacate the default bears the burden of proof. See, Franchise Holding II, LLC. v. Huntington
  26   Restaurants Grp., Inc., 375 F.3d 922,926 (9th Cir. 2004).
  27   ///
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  1    ///
  2                   iv.     DEFENDANT WAS CULPABLE WHICH LED TO THE DEFAULT

  3            The Olson Declaration lacks merit under the factors set forth in Falk v. Allen, 739 F.2d
  4    461 (9th Cir. 1984) that Defendant's culpable conduct led to the default because Defendant had
  5    actual knowledge of his deadline to timely respond to th,e complaint and let the deadline
  6    knowingly and intentionally pass (presumably because Defendant benefi.tted from two prior
  7    stipulations to extend the deadline).

  8            "The Ninth Circuit has held that a 'defendant's conduct is culpable for purposes of the
  9    Falk factors where there is no explanation of the default inconsistent with a devious, deliberate,
 10    willful, or bad faith failure to respond." Halper v. Cohen (In re Halper), 2019 WL 2762340,
 11    BAP No. CC-18-1225-TaLS, at *5 (B.A.P. 9th Cir. Jun. 28, 2019). If a defendant "has received
 12    actual or constructive notice of the filing of the action and failed to answer, its conduct is
 13    culpable." Franchise Holding II, 375 F.3d, at 926.
 14            In this instance, there is no question that Defendant had actual notice of the extended
 15    Response Deadline of 11-18-2023. Per the Court's instructions on 10-18-2023 on Defendant's
 16    Motion for Order Dismissing Certain Causes of Action in Complaint, Defendant was at the
  17   hearing and was instructed by the Court to respond to the Complaint by 11-18-2023. On 11-27-
  18   2023, Cohen gave Klein a professional courtesy notice of Plaintiffs' intentions to pursue a
  19   default against the Defendant, pursuant to Section 15 of the State Bar's enacted California
 20    Attorney Guidelines of Civility and Professionalism. Defendant's 12-7-2023 Unilateral Status
 21    Report [Doc-47], further acknowledged that his answer was not filed and might have to file a
  22   motion to set aside the default.
  23           Thus, no argument can be made that Defendant did not have notice-actual or
  24   constructive-of the continued Response Deadline of 11-18-2023 and, under controlling Ninth
  25    Circuit law, the failure to file a response by the Response Deadline is culpable conduct by
  26    Defendant.

  27           The Olson Declaration did not raise an argument that excusable neglect exists in this
  28

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  1    case, and if did, it would be groundless. The Olson Declaration does not attest to any error,

  2    mistake, misunderstanding, or other excuse for failure to comply with the requirement to timely
  3    respond to the Complaint. Next, even if it had submitted one, the testimony would lack

  4    credibility. A deadline to respond to a complaint and summons is not unique to bankruptcy law
  5    and Olson furthermore demonstrated his familiarity with the importance of such deadline when
  6    he requested and obtained the first extension. There is no excusable neglect. Defendant and his
  7    non-counsel simply ignored the deadline. This is a prime example of culpable conduct.

  8           Defendant is also a (dubious) attorney himself and should understand the importance of a
  9    deadline for responding to a complaint, as well as the consequences of missing such a deadline.
  10                  v.      DEFENDANT HAS NO MERITORIOUS DEFENSE TO THE
  11                          COMPLAINT
  12          With regard to this second factor:
  13           A defendant seeking to vacate a default judgment must present specific facts
               that would constitute a defense. But the burden on a party seeking to vacate a
  14           default judgment is not extraordinarily heavy .... All that is necessary to satisfy
               the 'meritorious defense' requirement is to allege sufficient facts that, if true,
  15           would constitute a defense: 'the question whether the factual allegation is true' is
               not to be 4etermined by the court when it decides the motion to set aside the
  16           default .... Rather, that question 'would be the subject of the later litigation.'
               [Emphasis Added]
  17
       U.S. v. Signed Pers. Check, 615 F.3d 1085 at 1094.
  18
               Here, the Olson Declaration and the Defendant's Answer alleged zero facts that would
  19
       constitute a defense to the claims for relief under 11 U.S.C. §§ 523(a)(2)(A), (a)(4), and (a)(6)
  20
       {collectively, "523 Claims"). The burden is on Defendant to present the "specific facts" that
  21
       would constitute a defense to the 523 Claims. See Franchise Holding II, 375 F.3d at, 926. The
  22
       Olson Declaration and the Defendant's Answer failed to carry that burden.
  23
               There is nothing whatsoever in the Olson Declaration and the Defendant's Answer that
  24
       amounts to allegations of "sufficient facts that, if true, would constitute a defense" (U.S. v.
  25
       Signed Pers. Check, supra), nor do they assert any such facts. Instead, Defendant merely, baldly
  26
        contends that he has meritorious legal defenses - without specifying the facts supporting them.
  27
        This argument does not even come close to addressing the requirement that Defendant "must
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  1    present specific facts that would constitute a defense." U.S. v. Signed Pers. Check, supra. To
  2    obtain relief from default, the burden is on Defendant to demonstrate a meritorious defense.
  3    Reliance on the fallacious argument "Plaintiff has not proved the elements of those causes of
  4    action" is unavailing.
  5           Defendant through the Olson Declaration must prove a meritorious case. This is near to
  6    impossible considering the circumstances - Defendant is a criminal, :fraudster, thief, a
  7    "sophisticated" attorney, and discredited accountant.
  8                   vi.       REOPENING THE LITIGATION PREJUDICES PLAINTIFFS
  9            ''Under Falk, the question for prejudice is whether the plaintiff's ability to pursue
  10   its claim will be hindered" and attorneys' fees incurred by the non-defaulting party "are
  11   a significant source of prejudice." Halper, supra at *6.
  12           Here, Plaintiff will be prejudiced if the Olson Declaration somehow constituted an
  13   effective Motion in that they will be forced to incur additional and duplicative attorneys' fees to
  14   potentially relitigate facts and issues for which Defendant has no defense (as acknowledged by
  15   his failure to even allege facts to contest the allegations of the Complaint). Defendant wants to
  16   delay and waste time litigating against the Complaint. But Plaintiff does not. More delay is the
  17   sole motivation for the Olson Declaration, a tactic overused by Defendant.
  18           c.      CONCLUSION
  19           Plaintiff understands the preference for judgment on the merits. But this is not that. The
  20   Olson Declaration proffers no excuse for the neglect of Defendant. The [late and procedurally
  21   improper] Olson Declaration does not proffer the requisite showing of a defense based on the
  22   merits - because there is no defense. The burden is on Defendant and he failed to carry it.
  23           Based on the foregoing, Plaintiff requests the [late and procedurally improper] Olson
  24   Declaration be disregarded, in that Defendant has failed to carry his burden to show the absence
  25    of all or frankly any of the three Falk factors. Defendant engaged in culpable conduct, failed to
  26    allege any facts that would constitute a meritorious defense, and reopening the litigation would
  27    severely prejudice Plaintiff.
  28

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   1 Ill
   2   DATED:    February 7, 2024       LAW OFFICE OF BARUCH C. COHEN
                                        A Professional Law Corporation
   3
                                       By     ISi Baruch C. Cohen
   4                                   Baruch C. Cohen, Esq.
                                       Attorney For PlaintiffDavid Berger
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                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                            4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: DAVID BERGER'S REPLY TO DECLARATION OF ERIC J.
OLSON IN RESPONSE TO PLAINTIFPS MOTION FOR DEFAULT JUDGMENT [Doc-51] will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 2[7/2024,
I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Baruch C Cohen (PL)               bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
Michael I. Gottfried (IP)         mgottfried@elkinskalt.com, cavlla@elkinskalt.com, lwageman@elkinskalt.com,
                                  docketing@elkinskalt.com
Nikko Salvatore Stevens (IP)      nikko@cym.law, mandi@cym.law
Clarisse Young (IP)               youngshumaker@smcounsel.com, levem@smcounsel.com
United States Trustee (LA)        ustpregion16.la.ecf@usdoj.gov



                                                                       0   Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 2/7/2024, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that malling to the judge w jll be completed no later than 24 hours after the document is filed.

Leslie Klein, 322 N. June Street, Los Angeles, CA 90001


                                                                       D Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/7/2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method}, by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be com pleted no later than 24 hours after the document is filed.

Hon. Sandra R. Klein, 255 E. Temple Street, Suite 1582, Los Angeles, CA 90012




                                                                       D Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



   2/7/2024           Baruch C. Cohen, Esq.                                    Isl Baruch C. Cohen
   Date                        Printed Name                                     Signature
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       In re: LESLIE KLEIN                          Chapter: 11
                             Debtor(s)              Case No: 2:23-bk-10990-SK
 2
       DAVID BERGER                                 Adv. No: 2:23-ap-01169-SK
 3

 4                            PROOF OF SERVICE OF DOCUMENT
 5
            I am over the age of 18 and not a party to this bankruptcy case or adversary
 6    proceeding. My business address is 301 East Colorado Boulevard, Suite 520,
      Pasadena, California 91101.
 7
      A true and correct copy of the foregoing document described as MOTION FOR RELIEF
 8
      FROM JUDGMENT will be served or was served (a) on the judge in chambers in the
 9    form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:

10    I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF")
      Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s) ("LBR"), the
11
      foregoing document will be served by the court via NEF and hyperlink to the document.
12    On 03/01/2024, I checked the CM/ECF docket for this bankruptcy case or adversary
      proceeding and determined that the following person(s) are on the Electronic Mail
13    Notice List to receive NEF transmission at the email address(es) indicated below:
14
                                           [x] Service information continued on attached page
15
      II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicated method for each person
16    or entity served):
      On 03/01/2024, I served the following person(s) and/or entity(ies) at the last known
17
      address(es) in this bankruptcy case or adversary proceeding by placing a true and
18    correct copy thereof in a sealed envelope in the United States Mail, first class, postage
      prepaid, and/or with an overnight mail service addressed as follows. Listing the judge
19    here constitutes a declaration that mailing to the judge will be completed no later than
      24 hours after the document is filed.
20

21                                         [x] Service information continued on attached page

22
      I declare under penalty of perjury under the laws of the United States of America that
23
      the foregoing is true and correct.
24
       03/01 /2024        Jasper Pantaleon
25    Date                Type Name
26

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                                MOTION FOR RELIEF FROM JUDGMENT
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       In re: LESLIE KLEIN                        Chapter: 11
                             Debtor(s)            Case No: 2:23-bk-10990-SK
 2
       DAVID BERGER                               Adv. No: 2:23-ap-01169-SK
 3
      I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF"l
 4

 5
         •   Baruch C. Cohen bcc@baruchcohenesg.com,
             paralegal@baruchcohenesg.com
 6       •   Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com,
             lwageman@elkinskalt.com, docketing@elkinskalt.com
 1       •   Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
 8       •   United States Trustee (LA) ustpregion16.la.ecf@esdoj.gov

 9    11. SERVED BY U.S. MAIL
10
      Hon. Sandra Klein
11    U.S. Bankruptcy Court
      255 E. Temple Street #1582
12    Los Angeles, California 90012
13

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                               MOTION FOR RELIEF FROM JUDGMENT
